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    7 Attorneys for Defendants
    8
    9                     UNITED STATES DISTRICT COURT
   10                  SOUTHERN DISTRICT OF CALIFORNIA
   11
   12 WHITEWATER WEST INDUSTRIES,            CASE NO. 3:17-cv-01118-BEN-BLM
      INC,, a Canadian corporation,
   13                                        DECLARATION OF WILLIAM J.
                  Plaintiff,                 KOLEGRAFF IN SUPPORT OF
   14                                        DEFENDANT’S REPLY TO
                                             PLAINTIFF’S OPPOSITION TO
   15 vs.                                    DEFENDANTS MOTION FOR
                                             ATTORNEYS’ FEES UNDER 35
   16 PACIFIC SURF DESIGNS, INC., a          U.S.C. §285 (ECF NO. 369)
      Delaware corporation and FLOW
   17 SERVICES, INC., a California           The Hon. Roger T. Benitez
      Corporation,                           Courtroom: 5A
   18                                        Hearing Date: November 23, 2020
                   Defendants.               Time: 10:30 a.m.
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   28                                                             3:17-cv-01118-BEN-BLM
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    1                  DECLARATION OF WILLIAM J. KOLEGRAFF
    2         I, William J. Kolegraff, declare:
    3         1.    I am an attorney duly admitted to practice law in the State of California
    4 and am a partner with Thomas, Whitelaw & Kolegraff LLP, attorneys of record for
    5 Pacific Surf Designs, Inc. in the above-entitled action. I am one of the attorneys
    6 responsible for the handling of the above matter. If called as a witness, I could and
    7 would testify competently as to the facts set forth below, as I know each to be true
    8 based upon my own personal knowledge or upon my review of the files and records
    9 maintained by Thomas Whitelaw & Kolegraff LLP in the regular course of its
   10 representation of the Defendants. I submit this Declaration in support of Defendant’s
   11 Reply to Plaintiff's Opposition to Defendant's Motion for Attorney's Fees Under
   12 U.S.C. §285.
   13         2.    In its Motion for Attorney’s Fees (ECF 369), PSD provides a native
   14 spreadsheet A-1 and B-1 that set out the fees and costs requested by PSD for the
   15 third lawsuit (the 2017 action).
   16         3.    In its Opposition (ECF 375), Whitewater provided modified native
   17 spreadsheets A-1 and B-1 where Whitewater argued that certain fees and costs were
   18 not recoverable. PSD now attaches further modified native spreadsheets A-1 and B-
   19 1 that sets out PSD’s position in columns L and M of A-1 and columns I and J of B-
   20 1.
   21         4.    Thomas Whitelaw & Kolegraff did not enter this lawsuit until October
   22 2019, so is unfamiliar with billing in the case prior to that time. To avoid any
   23 appearance of over-reach, if there was any uncertainty if an entry was for the third
   24 lawsuit or another matter, PSD did not dispute Whitewater’s removal of the fee.
   25 However, much of the other fees removed by Whitewater are done so with a cursory
   26 statement that a charge is unreasonable, or might have been done by a lower billing
   27
   28                                                                      3:17-cv-01118-BEN-BLM


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    1 rate person. We believe it is inappropriate for Whitewater to attempt to make a
    2 determination of how PSD managed the case and the attorneys.
    3        5.     In this Court’s Order Setting Fees and Costs, Flowrider Surf Dkt. 316,
    4 this Court awarded fees and costs, including those for the ‘016 IPR, which this
    5 Court found would not have been incurred but for the assertion of the ‘016 patent. In
    6 the Court’s ruling, the Court denied all fees which could not solely be attributable to
    7 the ‘016 patent. This included many mixed fee entries which included costs incurred
    8 for the ‘016 patent IPR, which is properly recoverable by PSD. Thus, PSD has
    9 included all mixed fee entries which contain ‘016 patent IPR fees and costs. PSD
   10 has excluded all fees and costs that were only attributable to the ‘589 IPR, or PSD
   11 could not properly make a determination between the ‘016 IPR and the ‘589 IPR.
   12        6.     Accordingly, PSD believes those fees are recoverable, as detailed in the
   13 attached spreadsheets A-1 and B-1. Below is a summary of the fees for the third
   14 lawsuit (2017):
   15       Troutman Sanders LLP Attorney Fees (A-1 LLP tab)                 $1,399,339
   16       Troutman Sanders e-merge Attorney Fees (A-1 eMerge tab)          $   16,659
   17       Troutman Sanders Costs (A-1 Costs tab)                           $ 149,741
   18       Thomas Whitelaw & Kolegraff Attorney Fees (B-1 Fee tab)          $ 804,956
   19       Thomas Whitelaw & Kolegraff Costs (B-1 Costs tab)                $   40,458
   20       TOTAL FEES AND COSTS FOR THIRD LAWSUIT                           $2,411,153
   21
   22        7.     Attached hereto as Exhibit A-1 is a true and accurate copy of a
   23 modified native spreadsheet depicting set out the fees and costs requested by PSD
   24 for the third lawsuit for Troutman Sanders fees and costs.
   25        8.     Attached hereto as Exhibit B-1 is a true and accurate copy of a
   26 modified native spreadsheet that set out the fees and costs requested by PSD for the
   27 third lawsuit for Thomas Whitelaw & Kolegraff’s fees and costs.
   28                                                                      3:17-cv-01118-BEN-BLM


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    1         9.    As set out in PSD’s Motion in section IV(C)(2), it spent $472,936 on
    2 expert witness fees in the third lawsuit (2017). Whitewater did not provide any
    3 modified spreadsheet with regard to expert witness fees.
    4         10.   In its Motion for Attorney’s Fees (ECF 369), PSD provides a native
    5 spreadsheet B-6 that set out the fees and costs requested by PSD for the second
    6 lawsuit (the 2015 action) that the Court did not award in its Order Granting In Part
    7 and Denying In Part Defendant’s Renewed Motion for Attorney’s Fees and Costs
    8 (ECF 308) with regard to the ‘016 patent.
    9         11.   In its Opposition (ECF 375), Whitewater provided a modified sheet B-
   10 6 where Whitewater argued that certain fees and costs were not recoverable. PSD
   11 now attaches a further modified spreadsheet B-6 that sets out PSD’s position in
   12 columns I and J.
   13         12.   Thomas Whitelaw & Kolegraff did not enter this lawsuit until October
   14 2019, so is unfamiliar with billing in the case prior to that time. To avoid any
   15 appearance of over-reach, if there was any uncertainty if an entry was for the second
   16 lawsuit or another matter, PSD did not dispute Whitewater’s removal of the fee.
   17 However, much of the other fees removed by Whitewater are done so with a cursory
   18 statement that a charge is unreasonable, or might have been done by a lower billing
   19 rate person. We believe it is inappropriate for Whitewater attempt to make a
   20 determination of how PSD managed the case and the attorneys.
   21         13.   Accordingly, PSD believes those fees are recoverable, as detailed in the
   22 attached spreadsheet B-6. Below is a summary of the fees for the second lawsuit
   23 (2015):
   24       Troutman Sanders LLP Attorney Fees (B-6 LLP tab)                 $1,288,045
   25       Troutman Sanders e-merge Attorney Fees (B-6 eMerge tab)          $    25,052
   26       Troutman Sanders Costs (B-6 Costs tab)                           $    99,150
   27       TOTAL FEES AND COSTS FOR SECOND LAWSUIT                          $1,412,247
   28                                                                      3:17-cv-01118-BEN-BLM


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    1
    2         14.    Attached hereto as Exhibit B-6 is a true and accurate copy of a
    3 modified native spreadsheet that set out the fees and costs requested by PSD for the
    4 second lawsuit (2015).
    5         15.    As set out in PSD’s Motion in section IV(C)(4), it spent $4,280 in the
    6 first lawsuit (2014). Whitewater did not provide any modified spreadsheet with
    7 regard to the first lawsuit.
    8         16.    I have carefully reviewed the spreadsheets attached to Whitewater’s
    9 opposition, and if an entry has any ambiguity, then PSD has indicated that it “will
   10 not dispute” that entry and it should not be awarded. The total award is summarized
   11 below:
   12
                     Third Lawsuit (¶ 6)                           $2,411,153
   13
                     Experts in Third Lawsuit (¶ 9)                $ 472,936
   14
                     Second Lawsuit (¶ 13)                         $1,412,247
   15
                     First Lawsuit (¶ 15)                          $     4,280
   16
                     TOTAL                                         $4,300,616
   17
   18
              I declare under penalty of perjury under the laws of the United States of
   19
        America that the foregoing is true and correct.
   20
              Executed November 16, 2020, at Irvine, California.
   21
   22
                                                  s/ William J. Kolegraff
   23                                             William J. Kolegraff

   24
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   28                                                                       3:17-cv-01118-BEN-BLM


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    1                                 Certificate of Service
    2        The undersigned hereby certifies that a true and correct copy of the foregoing
    3 document has been served on November 16, 2020, to all counsel of record who are
    4 deemed to have consented to electronic service via the Court’s CM/ECF system per
    5 Civil Local Rule 5.4. Any counsel of record who have not consented to electronic
    6 service through the Court’s CM/ECF system will be served by electronic mail, first
    7 class mail, facsimile and/or overnight delivery.
    8
    9
   10 DATED: November 16, 2020             THOMAS, WHITELAW & KOLEGRAFF LLP
   11
   12
                                           By:           /s/ Tierra Mendiola
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                            EXHIBIT A-1
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17720 Page 8 of
                                                                             203

        A          B       C                                        D                                       E          F            G          H        I               J               K                        L                     M
                                                                                                                                                               Reason Fee Not   Amount Not
1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable      Recoverable           PSD Response           PSD - Not recoverable
     6/2/2017      CB      x     Review newly filed complaint re '589 patent infringement and discuss           1.7   $1,142.16   1893981               x
2                                strategy re motion to dismiss/answer with team.
     6/2/2017      CF      x     Review new complaints from WW; draft correspondence regarding                  0.4    $175.18    1893981               x
3                                proposed reply strategy
     6/2/2017     JMB      x     Attention to multiple issues regarding newly filed case; communicate           0.6    $403.12    1893981               x
4                                with client regarding same
5    6/2/2017     MCM      x     Review and analyze refiled '589 complaint                                      1.2    $462.00    1899972               x
6    6/3/2017     MCM      x     Phone call with Yong Yeh re refiled '589 complaint                             0.5    $191.60    1893981               x
7    6/6/2017     MCM      x     Prepare response to refiled '589 complaint                                     0.6    $229.93    1893981               x
     6/7/2017      CF      x     Review correspondence regarding consolidation strategy; draft                  0.5    $218.98    1893981               x
                                 correspondence regarding same; review correspondence from client
                                 regarding answer strategy to new 589 suit; draft correspondence
                                 regarding same and previous discovery responses; draft
8                                correspondence regarding
     6/12/2017    AMS      x     Confer with J. Barnes regarding Motion for Preliminary Injunction and          1.1    $487.22    1893981               x
9                                Motion to Consolidate
     6/13/2017    JMB      x     Prepare for and attend team meeting; work on response to new                   2.2   $1,478.10   1893981               x
10                               Whitewater complaint
11   6/14/2017    AMS      x     Draft Motion to Dismiss '589 Complaint                                         0.8    $354.34    1893981               x
     6/14/2017    JMB      x     Review and analyze Order regarding separate judgment; multiple                 1.7   $1,142.16   1893981               x
                                 conversations regarding motion to dismiss 589 complaint
12
     6/15/2017    SBH      x     Pull cases cited in WWI's Motion to Consolidate and Motion for                 1.5    $306.07    1893981               x      Administrative   $             306.07 Appropriate Paralegal
13                               Preliminary Injunction re: Case No. 3:17-cv-1118                                                                                                                    time
14   6/15/2017    AMS      x     Draft Motion to Dismiss '589 Case                                              4.7   $2,081.77   1893981               x
15   6/16/2017    AMS      x     Draft Motion to Dismiss '589 Patent Complaint                                  2.7   $1,195.91   1893981               x
     6/16/2017     CB      x     Revise motion to dismiss new complaint re '589 patent for inequitable          2.4   $1,612.47   1893981               x
16                               conduct.
     6/16/2017     CF      x     Review correspondence from opposing counsel regarding meet and                 1.3    $569.34    1893981               x
                                 confer, assignability, and assignment; research same; contact opposing
                                 counsel regarding same; conference regarding assignability; review
                                 notice of errata from opponent; draft and finalize correspondence
17                               regarding same
18   6/16/2017    JMB      x     Attention to issues related to motion to dismiss                               1.3    $873.42    1893981               x
     6/19/2017    AMS      x     Draft Opposition to Motion to Consolidate; review cases cited in the           3.3   $1,461.67   1893981               x
19                               same
     6/20/2017    AMS      x     Revise Motion to Dismiss '589 Patent Complaint; complete first draft of        4.6   $2,037.48   1893981               x
20                               Opposition to Motion to Consolidate and Lift Stay
     6/20/2017     CB      x     Revise motion to dismiss and opposition to motion to consolidate;              1.8   $1,209.35   1893981               x
                                 discuss strategy for motion to dismiss in breach of contract case with
21                               team in light of Court conference call.
     6/20/2017     CF      x     Review correspondence regarding revisions to Motion to Dismiss;                1.2    $525.54    1893981               x
                                 research same; draft correspondence regarding revisions and statute of
                                 limitations, assignability, and Plaintiff counter arguments; draft
                                 correspondence regarding telephonic hearing strategy
22
     6/20/2017    JMB      x     Attention to issues related to motion to dismiss and opposition to             1.8   $1,209.35   1893981               x
23                               consolidation motion
     6/21/2017    AMS      x     Revise Opposition to Motion to Consolidate; call with C. Brahma and J.         3.3   $1,461.67   1893981               x
24                               Barnes regarding the same
     6/21/2017     CB      x     Revise opposition to motion to consolidate and motion to dismiss               2.5   $1,679.65   1893981               x
25                               renewed '589 patent complaint and discuss with team
     6/21/2017     CF      x     Research certain arguments and revise and finalize draft of Motion to           6    $2,627.72   1893981               x
                                 Dismiss; conference regarding same; draft memo regarding same
                                 further to telephonic hearing; hearing with Judge; conference with
                                 opposing counsel following hearing; continue drafting motion to
26                               dismiss
     6/21/2017    JMB      x     Review and edit opposition to motion to consolidate and lift stay;             2.9   $1,948.40   1893981               x
27                               discussion with Anup Shah and Charan Brahma re same




                                                                                                           Defendant's Exhibit A-1                                                                                                1
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                                                                             203

        A          B       C                                         D                                        E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                   Reason Fee Not      Amount Not
1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
     6/22/2017     CF      x     Revise and finalize draft of motion to dismiss; draft and finalize               2.8   $1,226.27     1893981               x
                                 supporting declaration; review correspondence from opposing counsel
                                 regarding additional errata notice; analyze same and draft
                                 correspondence; review correspondence from opposing counsel
28                               regarding amended complaint
29   6/22/2017    JMB      x     Work on opposition to consolidation motion                                       0.6    $403.12      1893981               x
     6/22/2017    SBH      x     Prepare Corporate Disclosure Statements for PSD and FS regarding                 0.3        $61.21   1893981               x
30                               WWI Case No. 3:17-cv-1118
     6/22/2017    SBH      x     Pull case law and cite and quote check PSD and FS's Motion to Dismiss            0.8    $163.24      1893981               x
31                               regarding WWI Case No. 3:17-cv-1118
     6/23/2017     CF      x     Revise and finalize draft of motion to dismiss and draft; draft                   2     $875.91      1893981               x
                                 correspondence regarding exhibits; review correspondence from
                                 opposing counsel regarding amended complaint; review amended
                                 complaint; draft correspondence regarding same, changes to pleadings,
                                 and advised reply strategy; contact clerk regarding same, hearing date,
                                 and motion to dismiss; draft correspondence regarding same
32
     6/26/2017     CF      x     Review, revise and finalize draft of motion to dismiss in 589 patent suit        1.3    $569.34      1893981               x
                                 regarding inequitable conduct; revise and finalize declaration; draft
                                 correspondence regarding additional exhibits; review correspondence
                                 regarding protective order and potential violation; draft
33                               correspondence regarding strategy of same
34   6/26/2017    JMB      x     Finalize and file motion to dismiss                                              0.7    $470.30      1893981               x
     6/26/2017    MCM      x     Review Motion to Dismiss against new complaint on '589 patent                    0.8    $306.57      1893981               x
35
     6/26/2017    SBH      x     Create Exhibit A and draft declaration in support of motion to dismiss in        0.3        $61.21   1893981               x
                                 WWI v. PSD and FS matter (Case No. 3:17- CV-01118)
36
     6/27/2017    AMS      x     Participate in team call re upcoming filings; draft Opposition to Motion         6.1   $2,701.88     1893981               x
                                 for Preliminary Injunction; research case-law regarding the same
37
38   6/27/2017    JMB      x     Participate in team call; attention to opposition briefs                         1.1    $739.05      1893981               x
     6/27/2017    MCM      x     Review additional facts in file regarding standing as to WWI; assess             1.9    $728.10      1893981               x
                                 current status of cases, and develop additional strategies for defense
39                               and offense
     6/28/2017    MCM      x     Revise and finalize Motion to Dismiss against new complaint on                   0.9    $344.89      1893981               x      Motion to Dismiss   $             344.89 Will not dispute    $               344.89
                                 '589 patent                                                                                                                       was filed on
40                                                                                                                                                                 6/26/2017
     6/28/2017    AMS      x     Draft Opposition to Motion for Preliminary Injunction; revise                    5.7   $2,524.71     1893981               x
41                               Opposition to Motion to Consolidate
     6/28/2017     CF      x     Review correspondence regarding opposition brief to preliminary                  0.3    $131.39      1893981               x
                                 injunction; draft correspondence regarding same; begin revising brief
42
     6/28/2017    SBH      x     Cite check opposition motions in WWI v. PSD and FS matter (Case No.              0.9    $183.64      1893981               x
43                               3:17-CV-01118)
     6/30/2017    MCM      x     Finalize Motion to Dismiss against new complaint on '589 patent                  0.7    $268.25      1893981               x      Motion to Dismiss   $             268.25 Will not dispute    $               268.25
                                                                                                                                                                   was filed on
44                                                                                                                                                                 6/26/2017
45   6/30/2017    JMB      x     Review and edit opposition to preliminary injunction motion                      3.3   $2,217.14     1893981               x
46   7/1/2017     AMS      x     Revise Opposition to Motion to Consolidate                                       0.8    $356.00      1899972               x
47   7/2/2017     JMB      x     Work on opposition briefs                                                        0.6    $405.00      1899972               x
     7/3/2017      CB      x     Revise opposition to plaintiff's motion for preliminary injunction.               1     $675.00      1899972               x
48
     7/3/2017      CF            Draft and finalize corporate disclosure statement; draft correspondence          0.2        $88.00   1898098      x
49                               regarding file and service of same
50   7/3/2017     MCM      x     Work on dismissal strategies                                                     1.1    $423.50      1899972               x
     7/3/2017     SBH      x     Prepare exhibits for opposition motions, cite check case law in                  4.5    $922.50      1899972               x
                                 opposition motions, draft motion to file under seal and proposed order
                                 regarding opposition to motion for preliminary injunction regarding
51                               Case No. 3:17-cv-01118




                                                                                                             Defendant's Exhibit A-1                                                                                                2
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        A          B       C                                           D                                        E          F              G          H        I                J                   K                        L                M
                                                                                                                                                                     Reason Fee Not        Amount Not
1     DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable           Recoverable           PSD Response      PSD - Not recoverable
     7/10/2017     CF      x     Review Plaintiff briefs regarding PI, inequitable conduct, and                     0.7    $308.00      1899972               x
                                 consolidation; draft correspondence regarding preliminary analysis of
52                               same
     7/11/2017     CF      x     Analyze PI, Consolidation, and MTD briefs from Plaintiff; draft and                2.1    $924.00      1899972               x
                                 finalize correspondence regarding analysis of each and proposed
53                               arguments in rn reply, if any
54   7/11/2017    JMB      x     Review and analyze briefing from WW; discuss with Anup Shah                        0.5    $337.50      1899972               x
     7/13/2017     CF      x     Draft correspondence regarding reply brief inequitable conduct motion              0.4    $176.00      1899972               x
                                 to dismiss reply; draft correspondence regarding surreply for PI and
55                               consolidation briefs
56   7/14/2017    MCM      x     Assess current status and defense strategies of case                               0.5    $192.50      1899972               x
     7/17/2017     CF      x     Begin drafting reply brief in support of MTD re Inequitable Conduct                5.7   $2,508.00     1899972               x
57
     7/18/2017     CB      x     Discuss response to Patent Owner's objection to evidence with                      0.3    $202.50      1899972               x      IPR for U.S. Patent   $             202.50 Will not dispute    $               202.50
                                 team.                                                                                                                               No. 8,088,016
                                                                                                                                                                     (IPR2016-01454,
                                                                                                                                                                     Paper 21 at 2)

58
59   7/18/2017     CF      x     Continue drafting and finalizing reply brief ISO MTD                               6.5   $2,860.00     1899972               x
     7/20/2017     CF      x     Revise reply brief; conference regarding same; further research                     5    $2,200.00     1899972               x
                                 regarding certain arguments; draft and finalize revisions to brief and
60                               conference regarding same
61   7/20/2017    JMB      x     Review and edit reply brief for motion to dismiss                                  2.2   $1,485.00     1899972               x
62   7/20/2017    MH       x     Organize and prepare exhibits for subsequent attorney review                        1     $275.00      1899972               x
63   7/21/2017    AMS      x     Revise Reply in Support of Motion to Dismiss                                       1.1    $489.50      1899972               x
     7/21/2017     CF      x     Continue revising and finalize reply brief, exhibits, and supporting               3.5   $1,540.00     1899972               x
64                               declaration
65   7/23/2017    AMS      x     Revise Reply in Support of Motion to Dismiss                                       0.5    $222.50      1899972               x
     7/24/2017    MH       x     Organize and prepare Petitioner's Updated Exhibit List and                         0.8    $220.00      1899972               x      IPR for U.S. Patent   $             220.00 Will not dispute    $               220.00
                                 accompanying exhibits for subsequent attorney review                                                                                No. 8,088,016
                                                                                                                                                                     (IPR2016-01454,
                                                                                                                                                                     Paper 21 at 2)

66
     7/24/2017    AMS      x     Finalize Reply in Support of Motion to Dismiss, supporting Declaration,            2.1    $934.50      1899972               x
67                               and Motion to File Under Seal
     7/24/2017     CF      x     Revise and finalize final draft of reply brief; revise and finalize                3.2   $1,408.00     1899972               x
                                 supporting declaration; revise and finalize motion to file under seal and
                                 proposed order; draft correspondence regarding same and coordinate
                                 service of documents under seal to opposing counsel
68
69   7/24/2017    JMB      x     Review and edit reply brief for motion to dismiss                                  1.2    $810.00      1899972               x
     7/27/2017     CF      x     Review correspondence from opposing counsel regarding sur-reply;                   0.2        $88.00   1899972               x
                                 analyze cited rule; draft correspondence regarding same and proposed
70                               strategy
     7/28/2017     CB      x     Review plaintiffs' ex parte motion to file sur-reply and attached sur-             0.4    $270.00      1899972               x
                                 reply brief opposing motion to dismiss renewed suit asserting
71                               infringement of '589 patent.
     7/28/2017     CF      x     Review sur reply from opposing counsel; draft and finalize                         0.4    $176.00      1899972               x
                                 correspondence regarding same; preliminary analysis of brief; draft
72                               correspondence regarding proposed reply strategy
73   7/28/2017    JMB      x     Attention to ex parte motion; discuss with team                                    0.3    $202.50      1899972               x
     7/29/2017     CF      x     Analyze cited case, regulation, and exhibits previously provided for               1.5    $660.00      1899972               x
                                 Plaintiff sur-reply; draft and finalize outline for opposition to Plaintiff
74                               sur-reply
75   7/30/2017    AMS      x     Review Response to Ex Parte Motion to File Surreply                                0.1        $44.50   1899972               x
76   7/30/2017    JMB      x     Review and analyze ex parte motion from WW; draft opposition                       2.3   $1,552.50     1899972               x
77   7/30/2017    MCM      x     Review and analyze recent filings                                                  0.5    $192.50      1899972               x




                                                                                                               Defendant's Exhibit A-1                                                                                                  3
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                                                                           203

        A          B       C                                         D                                         E          F              G          H        I                  J            K                        L                M
                                                                                                                                                                    Reason Fee Not   Amount Not
1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable           PSD Response      PSD - Not recoverable
     7/31/2017     CF      x     Revise and finalize draft of opposition to sur reply; draft                       1.5    $660.00      1899972               x
                                 correspondence regarding same; draft and finalize correspondence
                                 regarding 589 IPR; review correspondence regarding same; draft and
                                 finalize correspondence regarding further considerations for 589 IPR
78
79   7/31/2017    JMB      x     Finalize and file opposition to ex parte motion                                   0.4    $270.00      1899972               x
     8/3/2017      CF      x     Review order from Court regarding consolidation and lifting stay; draft           0.2        $88.00   1911551               x
80                               correspondence regarding same
     8/4/2017      CF      x     Review order from Court regarding sealing of documents; draft                     0.2        $88.00   1911551               x
81                               correspondence regarding same and proposed reply
82   8/6/2017     MCM      x     Review and analyze most recent filings by Whitewater                              0.5    $192.50      1911551               x
     8/7/2017     AMS      x     Revise correspondence to opposing counsel and Mr. McFarland's                     0.5    $222.50      1911551               x
                                 attorney; review Court Order regarding sealing documents
83
     8/7/2017      CF      x     Review correspondence regarding reply to Court order; draft and                   3.7   $1,628.00     1911551               x
                                 finalize correspondence to McFarland attorney regarding sealing of
                                 documents; review correspondence from McFarland attorney regarding
                                 same; analyze each exhibit from Order; draft and finalize
                                 correspondence to opposing counsel regarding same; conference with
                                 opposing counsel; draft and finalize correspondence to opposing
                                 counsel regarding same; review sealed exhibits from PSD
84
85   8/8/2017     AMS      x     Attention to joint motion regarding sealed filings                                0.6    $267.00      1911551               x
     8/8/2017      CF      x     Review each prior filed exhibit under seal in support of briefs; draft and        2.7   $1,188.00     1911551               x
                                 finalize proposed bases of designations and proposed redactions; draft
                                 and finalize correspondence for each exhibit; conference regarding
                                 same; draft correspondence to client regarding same; coordinate
                                 service to court of each exhibit in compliance with Court Order
86
87   8/9/2017     AMS      x     Edit correspondence to opposing counsel and joint motion                          0.5    $222.50      1911551               x
     8/9/2017      CF      x     Review, revise and finalize filing extension of time filing with Court and        2.8   $1,232.00     1911551               x
                                 corresponding proposed order; review Order from Court in response to
                                 same; draft and finalize correspondence to McFarland counsel regarding
                                 same and designation of exhibit; finalize proposed redactions; draft
                                 correspondence to opposing counsel regarding designations and
                                 redactions and bases; review response correspondence from opposing
                                 counsel regarding same; conference with opposing counsel regarding
                                 joint motion
88
89   8/10/2017    AMS      x     Edit joint motion regarding filings under seal                                    1.5    $667.50      1911551               x
     8/10/2017     CF      x     Draft proposed joint motion, order, and finalized redactions in response          3.8   $1,672.00     1911551               x
                                 to Order; conference with opposing counsel; revise brief; draft
                                 correspondence to client regarding declaration; conference regarding
                                 same; coordinate finalized declaration and filing for finalized brief and
90                               redacted exhibits
91   8/10/2017    MCM      x     Review and analyze most recent filings by Whitewater                              0.6    $231.00      1911551               x
     8/14/2017     CF      x     Review correspondence regarding discovery conference; analyze same                0.4    $176.00      1911551               x
                                 in regards to rule 12 motion; draft correspondence regarding proposed
                                 strategy; conference regarding same
92
     8/16/2017     CF            Review correspondence regarding discovery report and meet and                     0.5    $220.00      1978913      x               Duplicate        $             220.00 Will not dispute    $               220.00
                                 confer with opposing counsel; review file history as to service and
                                 appearance; draft correspondence regarding scheduling
                                 conference, scheduling order, and related deadlines and proposed
93                               discovery strategy
94   8/16/2017    AMS      x     Draft Oral argument request                                                       1.6    $712.00      1911551               x
     8/16/2017     CF      x     Review correspondence regarding discovery report and meet and                     0.5    $220.00      1911551               x
                                 confer with opposing counsel; review file history as to service and
                                 appearance; draft correspondence regarding scheduling conference,
                                 scheduling order, and related deadlines and proposed discovery
95                               strategy




                                                                                                              Defendant's Exhibit A-1                                                                                             4
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                                                                            203

         A          B       C                                        D                                     E          F            G          H        I               J                   K                        L                M
                                                                                                                                                              Reason Fee Not       Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                             HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable          Recoverable           PSD Response      PSD - Not recoverable
      8/16/2017     CF      x     Review correspondence regarding discovery report and meet and                0.5    $220.00    1911551               x
                                  confer with opposing counsel; review file history as to service and
                                  appearance; draft correspondence regarding scheduling conference,
                                  scheduling order, and related deadlines and proposed discovery
96                                strategy
      8/16/2017    JMB      x     Multiple conversations with team members regarding CMC deadlines             0.3    $202.50    1911551               x
97
      8/17/2017     CF      x     Review correspondence from McFarland counsel regarding designation           1.2    $528.00    1911551               x
                                  of document; draft correspondence to McFarland counsel regarding
98                                same; draft motion and redacted exhibit
99    8/17/2017    MCM      x     Review and analyze current status of case                                    0.5    $192.50    1911551               x
      8/18/2017     CF            Review and preliminary analysis of opposition brief; draft                   0.9    $396.00    1978913      x               Alleshouse Action     $            396.00 Will not dispute    $               396.00
                                  correspondence regarding analysis of same; review                                                                           (Reply ISO MTD in
                                  correspondence regarding same; draft correspondence in                                                                      this action was filed
                                  response                                                                                                                    on 7/24/2017 and
                                                                                                                                                              Opp to Sur-Reply
                                                                                                                                                              was filed on
                                                                                                                                                              7/31/2017)
100
101   8/18/2017     CF      x     Revise and finalize motion for reconsideration                               0.3    $132.00    1911551               x
      8/21/2017     CF            Analyze opposition brief; analyze prior complaints, errata, and              4.7   $2,068.00   1978913      x
                                  outline reply brief; draft correspondence regarding proposed
                                  arguments in reply; review correspondence regarding same; draft
102                               correspondence in response
      8/22/2017     CF            Conference regarding reply outline; conference with client;                  7.5   $3,300.00   1978913      x               Alleshouse Action     $          3,300.00 Will not dispute    $              3,300.00
                                  continue drafting outline for reply brief and begin drafting reply                                                          (Reply ISO MTD in
                                                                                                                                                              this action was filed
                                                                                                                                                              on 7/24/2017 and
                                                                                                                                                              Opp to Sur-Reply
                                                                                                                                                              was filed on
                                                                                                                                                              7/31/2017)
103
      8/23/2017     CF            Continue drafting reply brief                                                6.5   $2,860.00   1978913      x               Alleshouse Action     $          2,860.00 Will not dispute    $              2,860.00
                                                                                                                                                              (Reply ISO MTD in
                                                                                                                                                              this action was filed
                                                                                                                                                              on 7/24/2017 and
                                                                                                                                                              Opp to Sur-Reply
                                                                                                                                                              was filed on
                                                                                                                                                              7/31/2017)
104
      8/23/2017    MCM      x     Revise Reply in support of motion to dismiss                                 0.7    $269.50    1911551               x      Alleshouse Action     $            269.50 Will not dispute    $               269.50
                                                                                                                                                              (Reply ISO MTD in
                                                                                                                                                              this action was filed
                                                                                                                                                              on 7/24/2017 and
                                                                                                                                                              Opp to Sur-Reply
                                                                                                                                                              was filed on
                                                                                                                                                              7/31/2017)
105
      8/23/2017    JMB            Review and edit outline; multiple conversations with Chris Franich           0.7    $472.50    1978913      x
106
      8/24/2017     CF            Conference regarding reply; revise and finalize exhibits for                 3.5   $1,540.00   1978913      x               Alleshouse Action     $          1,540.00 Will not dispute    $              1,540.00
                                  declaration; draft declaration; revise and finalize portions of reply                                                       (Reply ISO MTD in
                                  brief; continue researching same; draft correspondence regarding                                                            this action was filed
                                  specific statute of limitations, related issues for each claim, and                                                         on 7/24/2017 and
                                  analysis of same                                                                                                            Opp to Sur-Reply
                                                                                                                                                              was filed on
                                                                                                                                                              7/31/2017)
107




                                                                                                          Defendant's Exhibit A-1                                                                                               5
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                                                                             203

          A          B       C                                        D                                   E          F            G          H        I               J                   K                        L                M
                                                                                                                                                             Reason Fee Not       Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                           HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable          Recoverable           PSD Response      PSD - Not recoverable
      8/24/2017     JMB            Review and edit reply brief regarding motion to dismiss                    2.1   $1,417.50   1978913      x               Alleshouse Action     $          1,417.50 Will not dispute    $              1,417.50
                                                                                                                                                             (Reply ISO MTD in
                                                                                                                                                             this action was filed
                                                                                                                                                             on 7/24/2017 and
                                                                                                                                                             Opp to Sur-Reply
                                                                                                                                                             was filed on
                                                                                                                                                             7/31/2017)
108
      8/25/2017      CF            Revise and finalize brief, declaration of brief, and                       2.6   $1,144.00   1978913      x               Alleshouse Action     $          1,144.00 Will not dispute    $              1,144.00
                                   coordinate filing and service of same                                                                                     (Reply ISO MTD in
                                                                                                                                                             this action was filed
                                                                                                                                                             on 7/24/2017 and
                                                                                                                                                             Opp to Sur-Reply
                                                                                                                                                             was filed on
                                                                                                                                                             7/31/2017)
109
      8/25/2017     JMB            Finalize edits on reply brief                                              0.7    $472.50    1978913      x               Alleshouse Action     $            472.50 Will not dispute    $               472.50
                                                                                                                                                             (Reply ISO MTD in
                                                                                                                                                             this action was filed
                                                                                                                                                             on 7/24/2017 and
                                                                                                                                                             Opp to Sur-Reply
                                                                                                                                                             was filed on
                                                                                                                                                             7/31/2017)
110
       9/7/2017      CB            Review order denying motion to dismiss and discuss with team.              0.7    $472.50    1978914      x               Alleshouse Action    $             472.50 Will not dispute    $               472.50
                                                                                                                                                             (ECF No. 26)
111
       9/7/2017      CF      x     Review order from court regarding motion to dismiss; draft and             0.5    $220.00    1920581               x      Alleshouse Action    $             220.00 Will not dispute    $               220.00
                                   finalize correspondence regarding same; conference regarding                                                              (ECF No. 26)
                                   answer; draft correspondence regarding same
112
       9/7/2017      CF            Review order from court regarding motion to dismiss; draft                 0.5    $220.00    1978914      x               Alleshouse Action    $             220.00 Will not dispute    $               220.00
                                   and finalize correspondence regarding same; conference                                                                    (ECF No. 26)
                                   regarding answer; draft correspondence regarding same
113
114   9/18/2017     MCM            Revise defense sand offense strategies                                     0.5    $192.50    1978914      x
115   9/19/2017     JMB            Team Call                                                                  0.3    $202.50    1978914      x
116   9/19/2017     MCM            Review and analyze documents from clients for case strategy                1.1    $423.50    1978914      x
      9/20/2017      CF            Review, revise and finalize draft of answer; draft correspondence          1.4    $616.00    1978914      x               Alleshouse Action -- $             616.00 Will not dispute    $               616.00
                                   to client regarding same; conference with client; revise answer                                                           MTD still pending
                                                                                                                                                             in this action
117
      9/20/2017     JMB            Attention to answer and counterclaims                                      0.7    $472.50    1978914      x               Alleshouse Action -- $             472.50 Will not dispute    $               472.50
                                                                                                                                                             MTD still pending
                                                                                                                                                             in this action
118
      9/21/2017     JMB            Meeting with Chris Franich; correspondence with client regarding           0.6    $405.00    1978914      x               Alleshouse Action -- $             405.00 Will not dispute    $               405.00
                                   answer                                                                                                                    MTD still pending
                                                                                                                                                             in this action
119
      9/21/2017     MCM            Revise Answer, and reassess documents and information from                 1.2    $462.00    1978914      x               Alleshouse Action -- $             462.00 Will not dispute    $               462.00
                                   clients for case strategy                                                                                                 MTD still pending
                                                                                                                                                             in this action
120
      9/22/2017      CF            Review order from court regarding CMC, ENE; draft correspondence           0.4    $176.00    1978914      x
                                   regarding same; review correspondence regarding discovery strategy;
                                   draft correspondence regarding same
121
      10/10/2017     CB      x     Review order denying motion to dismiss based on inequitable conduct        0.7    $472.50    1929717               x
                                   and discuss drafting of answer and impact on discovery with team
122




                                                                                                         Defendant's Exhibit A-1                                                                                               6
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                                                                             203

          A          B       C                                         D                                        E          F              G          H        I               J               K             L                M
                                                                                                                                                                     Reason Fee Not   Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      10/10/2017     CF      x     Review order from court; draft correspondence regarding analysis of              0.6    $264.00      1929717               x
                                   same and targeted discovery of specific issues raised in order
123
124   10/11/2017     CF      x     Draft correspondence regarding proposed answer strategy                          0.2        $88.00   1929717               x
      10/12/2017    MCM      x     Review and analyze Court ruling on motion to dismiss re '589 patent              0.5    $192.50      1929717               x
125
      10/13/2017     CB      x     Review denial of plaintiff's motion for preliminary injunction and               0.7    $472.50      1929717               x
126                                discuss impact on case schedule and discovery with team.
      10/13/2017     CF      x     Review order from court regarding sealing of documents; review order             0.5    $220.00      1929717               x
                                   from court regarding denial of preliminary injunction; draft and finalize
                                   correspondence regarding each; draft and finalize correspondence
                                   regarding answer, rule 26 conference, and JDP
127
      10/16/2017     CF      x     Review order from Court regarding sealing of documents; draft and                3.7   $1,628.00     1929717               x
                                   finalize correspondence regarding same and proposed reply to order to
                                   comply; conference regarding answer, counterclaims, and discovery
                                   strategy; begin drafting answer to complaint
128
      10/16/2017    JMB      x     Review and analyze Court Order regarding preliminary injunction;                 0.4    $270.00      1929717               x
129                                discuss same with team
130   10/17/2017     CF      x     Continue drafting answer; draft correspondence regarding same                    3.5   $1,540.00     1929717               x
131   10/17/2017    JMB      x     Review and edit answer for 589 complaint                                         0.7    $472.50      1929717               x
132   10/17/2017    MCM      x     Work on status and strategy of case                                              0.5    $192.50      1929717               x
      10/18/2017     CF      x     Continue drafting answer and counterclaims; draft correspondence                 4.7   $2,068.00     1929717               x
                                   regarding same; conference regarding same, designation of information
133                                and strategy regarding same
134   10/20/2017     CF      x     Continue drafting and revising answer and counterclaims                          0.8    $352.00      1929717               x
      10/23/2017    AMS            Analyze proposed Stipulation; confer with opposing counsel regarding             0.2        $89.00                x
135                                the same
      10/23/2017     CF      x     Revise and finalize answer and counter claims; draft correspondence               2     $880.00      1929717               x
                                   regarding filing strategy; conference regarding same; review
                                   correspondence from Plaintiff counsel regarding ENE strategy and joint
                                   filing; review enclosures; draft correspondence regarding same; review
                                   exhibits subject to order from Court regarding redactions; draft
                                   correspondence regarding same; draft correspondence to client
                                   regarding same and proposed strategy; review correspondence from
                                   client regarding same and draft correspondence regarding supporting
                                   declaration
136
      10/23/2017    JMB            Teleconference with Mark Mao regarding strategy; communicate with                0.4    $270.00                   x
137                                Chris Franich and Anup Shah regarding same
138   10/24/2017    AMS            Confer with opposing counsel regarding proposed Stipulation                      0.1        $44.50                x
      10/24/2017     CF      x     Revise and finalize answer; coordinate filing of same; review                    1.6    $704.00      1929717               x
                                   correspondence from client regarding noninfringement; draft
                                   correspondence regarding same; review filing from plaintiff in response
                                   to order from court regarding unsealing of documents; draft
                                   correspondence regarding same and urgent motion for reconsideration;
139                                begin drafting same
      10/25/2017     CF      x     Draft correspondence regarding motion for reconsideration of order;              0.9    $396.00      1929717               x
                                   draft correspondence regarding basis of same; conference regarding
                                   strategy; conference with client regarding same; process instructions
                                   and draft correspondence regarding notice of lodgment to comply with
                                   court order; review court order regarding ENE and CMC; draft
140                                correspondence regarding same
      10/27/2017     CF      x     Review revise and finalize redacted exhibits, notice of lodging for each         2.3   $1,012.00     1929717               x
                                   brief subject to court order; draft correspondence regarding same
141
      10/28/2017     CF      x     Review correspondence from opposing counsel regarding designation                1.3    $572.00      1929717               x
                                   of certain exhibits and request for clarification of designation; review
                                   and analyze each exhibit; review protective order; draft
                                   correspondence regarding same and proposed designations
142




                                                                                                               Defendant's Exhibit A-1                                                                                  7
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                                                                             203

          A          B       C                                         D                                         E          F              G          H        I               J               K             L                M
                                                                                                                                                                      Reason Fee Not   Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      10/30/2017     CF      x     Review correspondence from opposing counsel regarding additional                  2.9   $1,276.00     1929717               x
                                   exhibits; draft and finalize correspondence to opposing counsel
                                   regarding same; review, revise and finalize correspondence to client
                                   regarding proposed designations; review correspondence from
                                   opposing counsel regarding designations and renewed motion for
                                   preliminary injunction; draft and finalize correspondence regarding
                                   proposed reply strategy; conference regarding same; draft and finalize
                                   correspondence to opposing counsel regarding same; review, revise and
                                   finalize notice of lodgings with court and corresponding exhibits in
                                   compliance with court order
143
      10/30/2017    JMB      x     Attention to correspondence from opposing counsel; possible                       0.3    $202.50      1929717               x
144                                preliminary injunction motion
      10/31/2017    SBH      x     Submit PHV Application in S.D. Cal. for Anup Shah with regard to WWI              0.2        $41.00   1929717               x
145                                v. PSD and FSI matter
      11/1/2017      CF      x     Review ex parte application from plaintiff, corresponding renewed brief           2.3   $1,012.00     1941406               x
                                   for preliminary injunction; draft correspondence regarding analysis of
                                   same; revise and finalize urgent opposition brief to ex parte application;
                                   coordinate filing of same; draft correspondence regarding preliminary
                                   analysis of renewed PI motion
146
147   11/1/2017     JMB      x     Review and edit response to ex parte motion to shorten time                       0.9    $607.50      1941406               x
148   11/1/2017     MCM            Work on Joint Rule 26 Report                                                      0.3    $115.50      1978916      x
      11/1/2017     SBH      x     Draft Declaration of Christopher Franich in support of opposition to              0.3        $61.50   1941406               x
                                   WWI's application to shorten briefing time and prepare exhibits in
149                                support of opposition
      11/2/2017     SBH      x     Pull cases cited in WWI's Renewed Motion for Preliminary Injunction               0.8    $164.00      1941406               x
150                                for Anup Shah
      11/3/2017      CF      x     Revise and finalize initial draft of opposition brief; draft                      3.4   $1,496.00     1941406               x
                                   correspondence regarding same; conference regarding same; draft
                                   correspondence regarding filing strategy; draft correspondence
                                   regarding additional designations; draft correspondence regarding
                                   order, and revised opposition brief; correspondence regarding meet and
                                   confer and Rule 26 conference; draft correspondence regarding
                                   targeted discovery strategy
151
152   11/3/2017     JMB      x     Review and edit outline for response to motion for injunction                     1.1    $742.50      1941406               x
153   11/3/2017     JMB            Review and edit joint case management statement                                   0.3    $202.50      1978916      x
154   11/3/2017     MCM            Work on Joint Rule 26 Report                                                      0.6    $231.00      1978916      x
      11/6/2017      CF            Review Joint Case Management Statement; draft correspondence                      0.8    $352.00      1978916      x
                                   regarding proposed discovery strategy; draft correspondence regarding
                                   preliminary draft of discovery, subpoena notice, and discovery strategy;
                                   conference regarding same; draft correspondence regarding CMC and
                                   report from Rule 26 conference
155
156   11/6/2017     JMB      x     Attention to multiple issues relating to injunction motion                        0.6    $405.00      1941406               x
      11/7/2017      CF            Draft correspondence regarding potential settlement strategy;                     0.4    $176.00      1978916      x
                                   conference regarding same; draft correspondence regarding discovery
157                                strategy
158   11/7/2017     MCM            Work on potential settlement strategies                                           0.3    $115.50      1978916      x
      11/9/2017      CF            Review file and draft correspondence regarding potential settlement               0.5    $220.00      1978916      x
159                                strategy; conference with client regarding same
      11/9/2017     MCM            Review recent filings, and assess current offensive and defensive                 1.2    $462.00      1978916      x
160                                strategies and options
      11/10/2017    AMS      x     Research case-law relating to Renewed Motion for Preliminary                      1.5    $667.50      1941406               x
161                                Injunction
      11/13/2017    AMS      x     Research case-law concerning requirements for Motions for                         1.4    $623.00      1941406               x
162                                Reconsideration and injunctive relief
163   11/13/2017     CF      x     Continue drafting discovery requests                                              0.9    $396.00      1941406               x
      11/14/2017     CB      x     Review Plaintiff's answer to PSD counterclaim of inequitable conduct              0.5    $337.50      1941406               x
164                                and discuss related discovery issues with team.




                                                                                                                Defendant's Exhibit A-1                                                                                  8
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                                                                              203

          A          B       C                                           D                                          E          F            G          H        I               J               K                       L                M
                                                                                                                                                                       Reason Fee Not   Amount Not
 1      DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                    HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable      Recoverable          PSD Response      PSD - Not recoverable
      11/14/2017     CF            Review answer from Plaintiff; continue drafting RFPs, ROGs, and RFAs                 5.6   $2,464.00   1978918      x
165                                to be propounded on Plaintiff
166   11/14/2017    JMB            Attention to issues regarding 26(f) conference                                       0.5    $337.50    1978916      x
      11/15/2017    AMS      x     Draft argument sections for Opposition to Renewed Motion for                         4.6   $2,047.00   1941406               x
167                                Preliminary Injunction
      11/15/2017     CF            Review correspondence regarding case management conference; draft                    1.9    $836.00    1978916      x
                                   correspondence regarding same; draft and finalize correspondence
                                   regarding initial disclosures; continue drafting initial disclosures;
                                   continue drafting schedules for early depositions
168
169   11/15/2017     CF            Continue drafting discovery requests                                                 3.2   $1,408.00   1978918      x
170   11/15/2017    JMB            Review and edit initial disclosures                                                  0.2    $135.00    1978916      x
171   11/15/2017    MCM            Work on PSD's initial disclosures                                                    0.5    $192.50    1978916      x
172   11/16/2017    AMS      x     Draft opposition to Renewed Motion for Preliminary Injunction                        5.7   $2,536.50   1941406               x
      11/16/2017     CB      x     Revise opposition to renewed preliminary injunction motion and                       1.9   $1,282.50   1951593               x
173                                review case law related to motion for reconsideration
      11/16/2017     CF      x     Continue drafting discovery requests; revise and finalize portions of                2.2    $968.00    1941406               x
174                                opposition brief
      11/16/2017     CF            Conference regarding initial disclosures, witnesses, litigation strategy;            2.4   $1,056.00   1978916      x
                                   finalize initial disclosures; draft correspondence to client regarding
                                   same; continue drafting schedules and RFPs for early depositions of
175                                Wave Loch and Lochtefeld
176   11/16/2017    JMB      x     Review and edit opposition to injunction motion                                      1.8   $1,215.00   1941406               x
      11/17/2017    AMS      x     Revise Opposition to Renewed Motion for Preliminary Injunction                       1.8    $801.00    1941406               x
177
      11/17/2017     CB      x     Review and revise PSD's initial disclosures and review Plaintiff's initial           3.2   $2,160.00   1941406               x
                                   disclosures to assess case strategy and areas for discovery; revise
                                   opposition to motion for preliminary in junction.
178
      11/17/2017     CF      x     Revise and finalize discovery requests; revise and finalize opposition               2.6   $1,144.00   1941406               x
179                                brief; draft correspondence regarding each
      11/17/2017     CF            Revise and finalize initial disclosures in view of client correspondence;            1.8    $792.00    1978916      x
                                   revise and finalize discovery requests and subpoenas and schedules;
                                   draft correspondence regarding same; review plaintiff initial
                                   disclosures; draft correspondence regarding analysis of same
180
181   11/17/2017    JMB      x     Edit draft of preliminary injunction opposition motion                               1.1    $742.50    1941406               x
      11/17/2017    SBH      x     Draft Declaration of Christopher Franich in support of Defendants'                   0.5    $102.50    1941406               x
                                   Opposition to Plaintiff's Renewed Motion for Preliminary Injunction;
182                                gather exhibits
      11/20/2017     CF      x     Draft and finalize correspondence regarding joint statement regarding                 1     $440.00    1941406               x
                                   lift of stay; revise and finalize draft of same; revise and finalize draft of
                                   opposition brief and corresponding cites; draft correspondence to
                                   opposing counsel regarding Rule 26 conference
183
      11/20/2017     CF            Continue drafting discovery requests, deposition topics, and RFPs                     1     $440.00    1978916      x
184
185   11/20/2017    JMB      x     Edit opposition brief                                                                0.5    $337.50    1941406               x
186   11/20/2017    JMB            Review and edit deposition topics                                                    0.4    $270.00    1978916      x
      11/21/2017    AMS      x     Participate in Rule 26(f) conference with opposing counsel; calls with C.            3.7   $1,646.50   1941406               x      2015 Action      $             329.30 Allowable mixed
                                   Franich regarding the same; revise Joint Status report on '016 case;                                                                                                      '589/'016
                                   revise Opposition to Renewed Motion for Preliminary Injunction and
187                                accompanying exhibits and filings
      11/21/2017     CB      x     Revise opposition to renewed motion for preliminary injunction;                      3.2   $2,160.00   1941406               x
188                                discuss positions for Rule 26(f) report with team.




                                                                                                                   Defendant's Exhibit A-1                                                                                          9
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17729 Page 17 of
                                                                             203

          A          B       C                                         D                                        E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                   Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      11/21/2017     CF      x     Revise and finalize draft of opposition brief, exhibits; draft                   3.9   $1,716.00   1941406               x
                                   correspondence to opposing counsel regarding joint report and
                                   discovery conference; prepare for and conference with opposing
                                   counsel regarding Rule 26; draft correspondence regarding same and
                                   proposed discovery strategy; draft correspondence to opposing counsel
                                   regarding exhibits for opposition brief and request designations; draft
                                   correspondence to client regarding plaintiff exhibits
189
      11/21/2017    SBH      x     Prepare exhibits in support of opposition of renewed motion for                  1.2    $246.00    1941406               x
190                                preliminary injunction; draft motion to file exhibits under seal
      11/22/2017    AMS      x     Revise Opposition to Renewed Motion for Preliminary Injunction                   1.1    $489.50    1941406               x
191
      11/22/2017     CF      x     Draft correspondence to client regarding designations; process                    1     $440.00    1941406               x
                                   correspondence from client; draft correspondence to opposing counsel
192                                regarding same, proposed redactions, and bases
      11/22/2017     CF            Revise and finalize schedules, deposition topics, and subpoenas and              0.4    $176.00    1978916      x
193                                coordinate service on opposing counsel
      11/27/2017    AMS      x     Finalize Opposition to Renewed Motion to Dismiss and related                     4.4   $1,958.00   1941406               x      No Renewed          $           1,958.00 Will not dispute    $              1,958.00
                                   filings                                                                                                                         Motion to Dismiss
                                                                                                                                                                   filed in 2017
                                                                                                                                                                   Action, 2015
                                                                                                                                                                   Action, or
                                                                                                                                                                   Alleshouse Action
194
      11/27/2017     CB      x     Review revised brief opposing renewed motion for preliminary                     0.5    $337.50    1941406               x
195                                injunction and related filing papers.
      11/27/2017     CF      x     Revise and finalize opposition brief, exhibits, proposed order, motion to        2.7   $1,188.00   1941406               x
                                   file under seal; draft and finalize correspondence to opposing counsel
                                   regarding designations of exhibits; process information from opposing
                                   counsel; revise exhibits; coordinate filing of opposition brief
196
197   11/27/2017    JMB      x     Finalize edits and review of opposition to PI motion                             1.2    $810.00    1941406               x
      11/28/2017    AMS      x     Participate in team call; attention to designations for Opposition to            1.6    $712.00    1941406               x      No Renewed          $             712.00 Will not dispute    $               712.00
                                   Renewed Motion to Dismiss                                                                                                       Motion to Dismiss
                                                                                                                                                                   filed in 2017
                                                                                                                                                                   Action, 2015
                                                                                                                                                                   Action, or
                                                                                                                                                                   Alleshouse Action
198
      11/28/2017     CB      x     Discuss Rule 26(f) report and related scheduling and discovery                   1.2    $810.00    1941406               x
199                                proposals with team.
      11/28/2017     CF      x     Conference regarding discovery requests, strategy, deposition; draft and         5.6   $2,464.00   1941406               x
                                   finalize correspondence to opposing counsel regarding proposed
                                   scheduling order; revise and finalize discovery requests; coordinate
                                   chambers copies; review correspondence regarding call from clerk and
                                   motion to strike, withdrawal, and supplement filing under seal;
                                   conference with opposing counsel regarding same; revise and finalize
                                   option to strike; draft correspondence regarding designation of client
                                   information; draft correspondence regarding 271(f) strategy in
                                   discovery
200
201   11/28/2017    JMB      x     Team call to discuss Rule 26f report                                              1     $675.00    1941406               x
      11/29/2017    AMS      x     Revise motion to file under seal; revise response; call with J. Barnes           1.4    $623.00    1941406               x
202
      11/29/2017     CB      x     Review correspondence with opposing counsel re Rule 26(f) report and             0.8    $540.00    1941406               x
                                   related scheduling and discovery proposals and discuss with team.
203
      11/29/2017     CF      x     Review correspondence from opposing counsel regarding designation                1.1    $484.00    1941406               x
                                   of exhibits; draft correspondence regarding same and motion to amend
                                   filing under seal; conference with client regarding foreign sales and
                                   discovery strategy; draft correspondence regarding discovery requests
204




                                                                                                               Defendant's Exhibit A-1                                                                                              10
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17730 Page 18 of
                                                                             203

          A          B       C                                         D                                         E          F              G          H        I               J               K             L                M
                                                                                                                                                                      Reason Fee Not   Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
205   11/29/2017    JMB      x     Call with Anup Shah to discuss scheduling and Rule 26f report                     0.2    $135.00      1941406               x
206   11/30/2017    AMS      x     Revise Joint Stipulation to vacate ENE                                            0.1        $44.50   1941406               x
      11/30/2017     CF      x     Review correspondence from opposing counsel regarding additional                  0.7    $308.00      1941406               x
                                   exhibits and designations; draft correspondence to client regarding
                                   same; prepare formal redactions; draft correspondence to opposing
                                   counsel regarding same; draft and finalize correspondence regarding
                                   foreign sales issue; review correspondence from opposing counsel
                                   regarding ENE and joint stipulation; draft correspondence regarding
207                                same
      11/30/2017    SBH      x     Draft joint motion and proposed order to vacate ENE regarding                     0.5    $102.50      1941406               x
208                                Whitewater v. PSD action
      12/1/2017      CF      x     Revise and finalize joint motion to vacate ENE and corresponding order;           0.5    $220.00      1951593               x
                                   draft and finalize correspondence to opposing counsel regarding same
209
      12/4/2017      CB      x     Discuss response to plaintiff's correspondence re case schedule and               2.3   $1,552.50     1951593               x
                                   scope of discovery and outline corresponding portions of Case
210                                management report.
      12/4/2017      CF      x     Review correspondence from opposing counsel regarding joint                       0.2        $88.00   1951593               x
                                   discovery plan; draft and finalize correspondence regarding same
211
      12/4/2017     JMB            Attention to correspondence from opposing counsel; work on 26f report             0.2    $135.00      1978907      x
212
      12/5/2017     AMS      x     Draft arguments for Joint Case Management Statement; revise                       3.8   $1,691.00     1951593               x
                                   correspondence to opposing counsel; call with J. Barnes regarding the
213                                same
      12/5/2017      CF      x     Draft correspondence regarding motion to strike, motion to withdrawal,            0.8    $352.00      1951593               x
                                   and re-submit redacted exhibit; review correspondence regarding call
                                   with clerk; review correspondence regarding initial disclosures; draft
                                   correspondence regarding same; review correspondence regarding
                                   discovery plan; draft correspondence regarding same
214
      12/5/2017      CF            Review correspondence from client regarding trade secret management               0.5    $220.00      1978907      x
                                   at Belmont park and draft correspondence regarding same; review
                                   correspondence from opposing counsel regarding deposition; draft
215                                correspondence regarding same
      12/5/2017     JMB            Review outline for 26f pleading; teleconference with Anup Shah                    0.6    $405.00      1978907      x
216                                regarding same
217   12/5/2017     SBH      x     Draft Defendants' initial disclosures in 1118 case                                0.5    $102.50      1951593               x
      12/6/2017     AMS      x     Draft initial disclosures; revise Case Management Statement arguments             2.2    $979.00      1951593               x
218
      12/6/2017      CB      x     Revise portions of Rule 26(f) report and correspondence with plaintiff's          3.8   $2,565.00     1951593               x
219                                counsel re scheduling and discovery.
      12/6/2017      CF      x     Review, revise and finalize initial disclosures; revise and finalize              0.5    $220.00      1951593               x
                                   correspondence to opposing counsel regarding joint report, discovery
220                                schedule
      12/7/2017     AMS      x     Finalize initial disclosures; finalize Joint Case Management Statement            6.7   $2,981.50     1951593               x
221
      12/7/2017      CB      x     Revise Rule 26(f) report and initial disclosures and review plaintiff's           4.3   $2,902.50     1951593               x
                                   corresponding submissions and assess impact on discovery.
222
      12/7/2017      CF      x     Revise and finalize initial disclosures and proposed joint discovery plan;        1.8    $792.00      1951593               x
                                   revise and finalize joint statement; review and analyze same from
                                   opposing counsel; draft correspondence regarding same to opposing
223                                counsel
224   12/8/2017     AMS      x     Research Section 271(f) allegations                                               2.1    $934.50      1951593               x
      12/11/2017     CF            Review and analyze plaintiff discovery requests; draft correspondence             0.7    $308.00      1978907      x
                                   regarding same and proposed discovery strategy in response; draft
                                   correspondence to client regarding deposition and related strategy
225
      12/12/2017    AMS            Review Plaintiff's discovery requests; summarize the same for PSD                 0.5    $222.50      1978907      x
226




                                                                                                                Defendant's Exhibit A-1                                                                                11
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                                                                             203

          A          B       C                                         D                                        E          F            G          H        I                J                   K                        L                M
                                                                                                                                                                   Reason Fee Not        Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable           Recoverable           PSD Response      PSD - Not recoverable
      12/12/2017     CB      x     Review materials for case management conference and discuss with A.              1.3    $877.50    1951593               x
227                                Shah and C. Franich.
228   12/13/2017    AMS      x     Prepare for Case Management Conference                                           2.3   $1,023.50   1951593               x
      12/13/2017     CB      x     Review materials in preparation for case management conference.                  1.9   $1,282.50   1951593               x
229
      12/13/2017     CF      x     Review prior propounded discovery requests, answers from Plaintiff,              1.3    $572.00    1951593               x
                                   further to preparation of CMC conference and additional discovery;
                                   draft and finalize correspondence regarding same; draft
                                   correspondence to opposing counsel regarding CMC
230
      12/13/2017     CF      x     Review correspondence from client regarding litigation strategy and              0.7    $308.00    1951593               x
                                   corresponding options; conference regarding same; draft and finalize
                                   correspondence regarding proposed strategy in view of Lochtefeld
231                                deposition, production from Lochtefeld
      12/13/2017     CF            Review correspondence from client regarding litigation strategy and              0.7    $308.00    1978907      x
                                   corresponding options; conference regarding same; draft and finalize
                                   correspondence regarding proposed strategy in view of Lochtefeld
232                                deposition, production from Lochtefeld
233   12/14/2017    AMS      x     Prepare for Case Management Conference                                           1.1    $489.50    1951593               x
      12/14/2017     CB      x     Participate in case management conference, review materials in                   3.3   $2,227.50   1951593               x
                                   preparation therefor and discuss outcome and discovery next steps
234                                with team.
      12/14/2017     CF      x     Review correspondence regarding CMC; draft and finalize                          0.7    $308.00    1951593               x
                                   correspondence regarding production of information in prior suit;
                                   review correspondence regarding same; review summary of CMC and
                                   discovery strategy; draft correspondence regarding same
235
236   12/14/2017    JMB            Teleconference with Chris Franich to discuss strategy                            0.4    $270.00    1978907      x
      12/15/2017    AMS      x     Participate in team call regarding discovery and case management                 1.3    $578.50    1951593               x
237
      12/15/2017     CB      x     Discuss discovery streamlining and prioritization and timing and                 2.3   $1,552.50   1951593               x
                                   benefits of re-filing summary judgment motion and filing IPR re '589
                                   validity with J. Barnes; review Singapore discovery options; review
238                                plaintiff's infringement contentions.
      12/15/2017     CF      x     Conference regarding discovery strategy following CMC and prior                  2.1    $924.00    1951593               x
                                   outstanding discovery requests, plaintiff objections, deposition notices,
                                   topics, requests going forward, ex parte reexam and MSJ strategy; draft
                                   correspondence regarding subpoena of Greenburg, Knobbe, Kenn Ellis,
                                   Surf Park PTE, and propounding new discovery on plaintiffs; review
                                   infringement contentions from opposing counsel; draft correspondence
                                   regarding preliminary analysis of same
239
240   12/15/2017    JMB      x     Team call to discuss strategy for discovery phase                                1.1    $742.50    1951593               x
      12/18/2017    AMS      x     Research serving a subpoena on a Singapore entity; draft schedule to             1.7    $756.50    1951593               x
241                                subpoenas
      12/18/2017     CB      x     Review draft discovery requests to Greenberg Traurig and discuss                 1.3    $877.50    1951593               x
242                                depositions of Squier and Tache with team
      12/18/2017     CF      x     Begin drafting letter to opposing counsel regarding discovery, ESI, and          1.2    $528.00    1951593               x
                                   supplementing production; review Case Management Order from court
                                   and draft correspondence regarding same; revise and finalize schedule
                                   for Squier deposition and draft correspondence regarding same and
243                                Tache deposition
244   12/20/2017    AMS      x     Revise subpoenas; research letters of request in Singapore                       2.5   $1,112.50   1951593               x
      12/20/2017     CF      x     Revise and finalize Greenburg deposition notice and schedule; draft              0.4    $176.00    1951593               x
                                   correspondence regarding same; draft and finalize correspondence
245                                regarding Surf Park schedule and topics
      12/21/2017     CF      x     Review correspondence regarding IPR, ex parte reexam, and MSJ                    1.1    $484.00    1951593               x      IPR for U.S. Patent   $             484.00 Will not dispute    $               484.00
                                   strategy; draft correspondence regarding same; draft correspondence                                                             No. 8,088,016
                                   regarding surf park assignment and deed to WW and corresponding                                                                 (IPR2016-01454)
                                   defects regarding same; draft correspondence regarding surf park
                                   subpoena and deposition requests
246




                                                                                                               Defendant's Exhibit A-1                                                                                                12
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                                                                              203

          A          B       C                                           D                                            E          F              G          H        I                J                   K                       L                M
                                                                                                                                                                           Reason Fee Not        Amount Not
 1      DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                      HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable           Recoverable          PSD Response      PSD - Not recoverable
247   12/21/2017    AMS      x     Draft letters of request                                                                1     $445.00      1951593               x
248   12/21/2017    JMB      x     Attention to multiple issues regarding discovery                                       0.3    $202.50      1951593               x
      12/22/2017    MCM      x     Phone calls with Yong Yeh and Richard Alleshouse re MSJ and IPR                        0.5    $192.50      1951593               x      IPR for U.S. Patent   $             96.25 Will not dispute    $               192.50
                                   strategies                                                                                                                              No. 8,088,016
                                                                                                                                                                           (IPR2016-01454)

249
250   12/22/2017    JMB      x     Discuss strategy regarding MSJ with team and client                                    0.5    $337.50      1951593               x
       1/2/2018     AMS      x     Draft Schedules to Greenberg Traurig and Knobbe Marten subpoenas;                      2.2    $979.00      1960031               x
                                   revise correspondence to opposing counsel regarding outstanding
                                   discovery requests; confer with C. Franich regarding the same
251
       1/2/2018      CF      x     Draft and finalize correspondence to plaintiff regarding deposition and                6.2   $2,728.00     1960031               x
                                   binder inspection for Tom Lochtefeld; revise and finalize schedules for
                                   deposition of Tache, Squier, GT, and Ken Ellis; conference regarding
                                   CMO and discovery strategy; revise drafts of requests for production,
                                   admission, and interrogatory; review prior discovery responses and
                                   requests and draft letter to plaintiff regarding supplementation; review
                                   prior ESI terms and custodians; draft letter regarding proposed ESI
                                   terms and custodians for new case; conference regarding same

252
       1/3/2018     AMS      x     Revise correspondence to opposing counsel; revise draft discovery                      2.1    $934.50      1960031               x
253                                requests and subpoenas
       1/3/2018      CB      x     Review and revise draft communication to opposing counsel re ESI and                   1.2    $810.00      1960031               x
                                   supplementation of prior discovery responses/production and discuss
                                   proposed list of deponents with team.
254
       1/3/2018      CF      x     Review each notice and schedule for depositions and subpoenas to be                    2.6   $1,144.00     1960031               x
                                   served; draft correspondence regarding proposed revisions; revise and
                                   finalize draft of letter to plaintiffs regarding ESI; revise and finalize draft
                                   of letter to plaintiff regarding supplementing discovery; revise and
                                   finalize drafts of requests for admissions, production, and
                                   interrogatories
255
256    1/3/2018     JMB      x     Attention to discovery issues                                                          0.7    $472.50      1960031               x
       1/3/2018     SBH      x     Draft subpoenas to deponents Greenberg Traurig, Tache, Squier and                      0.5        $97.50   1960031               x
                                   Ken Ellis for deposition and/or document production in Case No. 3:17-
257                                cv-1118
       1/4/2018     AMS      x     Revise draft Requests for Admission, Requests for Production, and                      1.9    $845.50      1960031               x
                                   Interrogatories; revise correspondence to opposing counsel regarding
                                   outstanding discovery; call with C. Franich regarding the same
258
       1/4/2018      CF      x     Draft responses to requests for admission, interrogatories, and requests               3.1   $1,364.00     1960031               x
259                                for production propounded by Plaintiff
       1/4/2018      CF      x     Revise and finalize ESI letter and discovery letter to plaintiffs; revise              1.3    $572.00      1960031               x
                                   and finalize requests as to production, interrogatories and admissions;
260                                conference regarding same
       1/5/2018     AMS      x     Draft Letter of Request and motion requesting the same; revise Request                 3.7   $1,646.50     1960031               x
261                                for Production
       1/5/2018      CF      x     Draft correspondence regarding revised ESI list and custodian for                      0.4    $176.00      1960031               x
262                                Plaintiffs; revise RFPs; revise ESI terms
       1/5/2018      CF            Continue drafting responses to requests for admission, interrogatories,                3.4   $1,496.00     1978908      x
                                   and requests for production propounded by Plaintiff; draft
263                                correspondence regarding same and production
264    1/5/2018     JMB      x     Review and analyze discovery issues                                                    0.2    $135.00      1960031               x
265    1/8/2018     AMS            Review discovery; confer with C. Franich regarding the same                            0.5    $222.50      1978908      x
       1/8/2018      CF      x     Review correspondence regarding ESI terms and custodians; draft and                    1.3    $572.00      1960031               x
                                   finalize correspondence to Plaintiff regarding same; conference
                                   regarding requests for admission, interrogatories, and production;
266                                revise and finalize same further to conference




                                                                                                                     Defendant's Exhibit A-1                                                                                                 13
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                                                                            203

         A          B       C                                        D                                        E          F              G          H        I               J               K             L                M
                                                                                                                                                                   Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      1/8/2018      CF            Revise and finalize draft of responses to discovery requests from               2.3   $1,012.00     1978908      x
                                  plaintiff; coordinate service; conference regarding same; begin
                                  coordination of review and stamp of production in response to plaintiff
267                               requests for production
268   1/8/2018     JMB      x     Discuss discovery issues with Anup Shah                                         0.4    $270.00      1960031               x
269   1/8/2018     MCM            Revise and finalize responses to written discovery, Set One                     0.6    $231.00      1978908      x
      1/8/2018     SBH      x     Revise subpoenas to deponents Greenberg Traurig, Tache, Squier and              0.3        $58.50   1960031               x
                                  Ken Ellis for deposition and/or document production in Case No. 3:17-
270                               cv-1118
271   1/9/2018      CB      x     Revise Surf Park discovery request.                                             1.2    $810.00      1960031               x
      1/9/2018      CF      x     Review correspondence from opposing counsel regarding ESI; analyze              0.3    $132.00      1960031               x
                                  CMO; draft correspondence regarding proposed response to opposing
272                               counsel
273   1/10/2018    AMS      x     Attention to foreign document production                                        0.7    $311.50      1960031               x
      1/10/2018     CB      x     Revise communication to opposing counsel re ESI discovery dispute.              0.3    $202.50      1960031               x
274
      1/10/2018     CF      x     Review correspondence from Plaintiff regarding ESI and deposition;              0.5    $220.00      1960031               x
                                  draft and finalize correspondence regarding same and proposed reply;
                                  draft and finalize correspondence to plaintiff regarding ESI; draft and
                                  finalize correspondence to Plaintiff regarding deposition; draft
                                  correspondence regarding production and deadline to produce
275                               outstanding documents
      1/11/2018     CB      x     Review materials for telephonic conference with Court re ESI discovery           1     $675.00      1960031               x
276                               dispute.
      1/11/2018     CF      x     Review correspondence from opposing counsel regarding ESI; review               0.8    $352.00      1960031               x
                                  Major's chambers rules; prepare for and meet and confer with opposing
                                  counsel; contact Clerk regarding call with Court; coordinate call; draft
                                  correspondence regarding ESI as to MSJ and supplementing discovery
277
      1/11/2018     CF            Review correspondence from opposing counsel regarding deposition,               0.8    $352.00      1978908      x
                                  production and further delay; review scheduling order; draft
                                  correspondence regarding proposed reply strategy to compel
                                  production; review correspondence regarding establishing deadline for
                                  discovery and Lochtefeld deposition dates; draft correspondence
                                  regarding client production responsive to Plaintiff requests; begin
                                  preliminary review of documents
278
      1/12/2018    AMS      x     Revise Supplemental Interrogatory responses; calls with eMerge                  0.8    $356.00      1960031               x
279                               regarding production
      1/12/2018     CB      x     Participate in telephonic conference with Court re ESI discovery                1.2    $810.00      1960031               x
280                               dispute, review related materials, and discuss result with team.
281   1/15/2018    AMS      x     Finalize and serve Supplemental Interrogatory Responses                         0.5    $222.50      1960031               x
      1/16/2018     CF            Draft correspondence regarding responses to discovery                           0.2        $88.00   1978908      x
282                               requests and production
      1/17/2018     CF            Continue privilege and document review further to production of client          0.4    $176.00      1978908      x
283                               documents responsive to plaintiff discovery requests
      1/18/2018     CF            Continue document and privilege review; draft correspondence                    0.7    $308.00      1978908      x
284                               regarding discovery requests
      1/19/2018     CF            Continue review of client production; draft correspondence regarding            1.3    $572.00      1978908      x
                                  same privilege information and documents to produce responsive to
                                  plaintiff's requests; draft correspondence regarding stamping and
285                               designations
286   1/22/2018    AMS      x     Revise discovery requests; revise Motion for Letter of Request                  2.7   $1,201.50     1960031               x
      1/22/2018     CF            Continue coordination of service of documents on plaintiffs; review             0.5    $220.00      1978908      x
                                  correspondence from plaintiffs regarding Lochtefeld deposition,
                                  production, and client deposition; draft correspondence regarding same
287
288   1/23/2018    AMS      x     Revise Requests for Production                                                  0.7    $311.50      1960031               x
      1/23/2018     CF            Review correspondence regarding production and discovery responses;             0.3    $132.00      1978908      x
289                               contact client regarding same and depositions
      1/23/2018    JMB      x     Teleconference with opposing counsel; communicate with client and               0.9    $607.50      1960031               x
290                               team regarding same




                                                                                                             Defendant's Exhibit A-1                                                                                14
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                                                                            203

         A          B       C                                         D                                          E          F            G          H        I               J                   K                       L                M
                                                                                                                                                                    Reason Fee Not       Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                   HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable          Recoverable          PSD Response      PSD - Not recoverable
      1/24/2018     CB      x     Review draft discovery relating to inequitable conduct counterclaim.               0.6    $405.00    1960031               x
291
      1/24/2018     CF      x     Review correspondence from plaintiff regarding change of counsel,                  0.6    $264.00    1960031               x
                                  deposition dates, discovery; revise notices and subpoenas related to
                                  same; draft correspondence regarding revised discovery strategy;
292                               conference regarding same
      1/24/2018     CF            Complete coordination of client production; draft correspondence                   0.3    $132.00    1978908      x
                                  regarding same; review correspondence regarding designations and
                                  stamp; draft correspondence regarding same and client production
293
294   1/25/2018    AMS      x     Call with Clerk regarding motion; attention to discovery issues                    0.4    $178.00    1960031               x
      1/25/2018     CB      x     Discuss discovery extension, disputes and plan and submission of                   1.4    $945.00    1960031               x
                                  request for judgment with J. Barnes and service of discovery requests
                                  on Greenberg Traurig, Tache and Squier with C. Franich.
295
      1/25/2018     CF      x     Draft follow up correspondence to plaintiffs regarding depositions and             3.2   $1,408.00   1960031               x
                                  ESI; review correspondence from opposing counsel regarding extension
                                  request for each case in view of transfer; conference regarding same;
                                  review prior briefings where plaintiff characterized discovery; review
                                  prior custodians and terms; review joint statement; review case law on
                                  ESI, model order in district; draft and finalize letter to opposing counsel
                                  regarding extensions in each PSD case, terms of same, deposition dates,
                                  and objections to ESI; revise and finalize letter to opposing counsel
                                  regarding surf park discovery and corresponding proposed order; draft
                                  correspondence regarding same

296
      1/25/2018     CF            Draft and finalize letter to opposing counsel regarding extensions in              0.4    $176.00    1978908      x
                                  discovery, deposition dates, and Lochtefeld discovery; draft
                                  correspondence regarding designation of production and timing
297
298   1/26/2018    AMS      x     Finalize motion for letter of request                                               1     $445.00    1960031               x
      1/26/2018     CB      x     Discuss submission of request for discovery from Surf Park to Court                0.3    $202.50    1960031               x
299                               with A. Shah.
      1/29/2018    AMS      x     Draft Joint Status Report                                                          1.1    $489.50    1960031               x      2015 Action; Joint   $             489.50 Allowable mixed
                                                                                                                                                                    Status Report                             '589/'016
                                                                                                                                                                    regarding '016 IPR
300
      1/29/2018     CB      x     Revise draft joint status report; review correspondence to opposing                0.6    $405.00    1960031               x      2015 Action; Joint   $             202.50 Allowable mixed
                                  counsel re discovery disputes.                                                                                                    Status Report                             '589/'016
                                                                                                                                                                    regarding '016 IPR
301
      1/29/2018    JMB      x     Work on joint status report; multiple discussions with team                        0.6    $405.00    1960031               x      2015 Action; Joint   $             405.00 Allowable mixed
                                  members regarding same                                                                                                            Status Report                             '589/'016
                                                                                                                                                                    regarding '016 IPR
302
      1/29/2018     CF      x     Review, revise and finalize proposed order and joint statement for filing          0.7    $308.00    1960031               x
                                  with Court; review correspondence from opposing counsel regarding
                                  discovery, extension, and production; draft and finalize correspondence
                                  to opposing counsel regarding same; review correspondence from
                                  opposing counsel regarding limited extension resulting from law firm
                                  change' draft correspondence to opposing regarding same
303
      1/29/2018     CF            Review correspondence regarding stamping and production; draft                     0.7    $308.00    1978908      x
                                  correspondence to discovery counsel regarding same review
                                  correspondence from opposing counsel regarding discovery, extension,
                                  and production; draft and finalize correspondence to opposing counsel
                                  regarding same; review correspondence from opposing counsel
                                  regarding limited extension resulting from law firm change; draft
                                  correspondence to opposing counsel regarding same
304




                                                                                                                Defendant's Exhibit A-1                                                                                            15
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                                                                            203

         A          B       C                                        D                                       E          F            G          H        I               J                   K                       L                M
                                                                                                                                                                Reason Fee Not       Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable          Recoverable          PSD Response      PSD - Not recoverable
      1/30/2018     CB      x     Review communications with opposing counsel re joint status report             0.5    $337.50    1960031               x      2015 Action; Joint   $             168.75 Allowable mixed
                                  and discovery disputes.                                                                                                       Status Report                             '589/'016
                                                                                                                                                                regarding '016 IPR
305
      1/30/2018     CF      x     Review proposed order; draft correspondence regarding and subpoenas            0.3    $132.00    1960031               x
306                               on knobbe, Greenberg, and 589 prosecution counsel
      1/31/2018    JMB      x     Review updated joint status report; attention to issues regarding Surf         0.3    $202.50    1960031               x      2015 Action; Joint   $             101.25 Allowable mixed
                                  Park                                                                                                                          Status Report                             '589/'016
                                                                                                                                                                regarding '016 IPR
307
      2/1/2018      CB      x     Discuss inequitable conduct discovery and impact of defendants'                2.3   $1,552.50   1968821               x
                                  proposed delay on discovery and motion for judgment with team.
308
      2/2/2018     AMS      x     Revise Motion for Summary Judgment of Invalidity; research case-law            4.4   $1,958.00   1968821               x
309                               for the same
      2/5/2018     AMS      x     Revise Joint Status Report; review B. McFarland deposition transcript;         1.8    $801.00    1968821               x      2015 Action; Joint   $             267.00 Allowable mixed
                                  review Preliminary Injunction briefing for Motion for Summary                                                                 Status Report                             '589/'016
                                  Judgment of invalidity                                                                                                        regarding '016 IPR
310
      2/5/2018     JMB      x     Work on summary judgment motion; attention to discovery issues                 1.2    $810.00    1968821               x
311
      2/6/2018     AMS      x     Participate in team call; revise Joint Status Report; revise Motion for        6.3   $2,803.50   1968821               x      2015 Action; Joint   $             560.70 Allowable mixed
                                  Summary Judgment of Invalidity; review T. Lochtefeld deposition                                                               Status Report                             '589/'016
                                  transcript; analyze potential arguments in opposition to Motion for                                                           regarding '016 IPR
312                               Summary Judgment
      2/6/2018      CB      x     Revise defendants' portion of Joint Status Report and review case              3.2   $2,160.00   1968821               x      2015 Action; Joint   $           1,080.00 Allowable mixed
                                  law related to Plaintiff's stay request; review revised summary                                                               Status Report                             '589/'016
                                  judgment motion and discuss with team                                                                                         regarding '016 IPR
313
      2/6/2018     JMB      x     Teleconference to discuss joint status report and summary judgment             0.9    $607.50    1968821               x      2015 Action; Joint   $             303.75 Allowable mixed
                                  motion; review briefing regarding same                                                                                        Status Report                             '589/'016
                                                                                                                                                                regarding '016 IPR
314
315   2/6/2018     MCM      x     Assess current ongoing discovery issues                                        0.4    $154.00    1968821               x
      2/7/2018     AMS      x     Research Motion for Summary Judgment of invalidity; review T.                  4.5   $2,002.50   1968821               x      2015 Action; Joint   $             667.50 Allowable mixed
                                  Lochtefeld deposition transcript; revise Joint Statement; confer with                                                         Status Report                             '589/'016
                                  opposing counsel regarding the same                                                                                           regarding '016 IPR
316
      2/7/2018     JMB      x     Edit joint statement                                                           0.3    $202.50    1968821               x      2015 Action; Joint   $             202.50 Allowable mixed
                                                                                                                                                                Status Report                             '589/'016
                                                                                                                                                                regarding '016 IPR
317
      2/7/2018     MCM      x     Provide input current ongoing discovery issues, and revise response to         0.6    $231.00    1968821               x
318                               Whitewater
      2/8/2018     AMS      x     Review Markman hearing transcript; outline potential arguments for             3.1   $1,379.50   1968821               x
                                  Motion for Summary Judgment of Invalidity; revise the same
319
      2/8/2018      CF      x     Review order from court regarding substitution of counsel; draft               0.8    $352.00    1968821               x
                                  correspondence regarding same; draft correspondence regarding ESI
                                  meet and confer; revise and finalize draft of MSJ; draft correspondence
                                  regarding exhibits and certain claim limitations
320
      2/9/2018     AMS      x     Revise Motion for Summary Judgment of Invalidity; call with J. Barnes          3.1   $1,379.50   1968821               x
321                               regarding the same
      2/9/2018      CB      x     Discuss service of invalidity contentions and related contention               2.3   $1,552.50   1968821               x
                                  discovery and impact on summary judgment motion with team; review
322                               and revise draft summary judgment motion.
      2/9/2018      CF      x     Draft correspondence regarding exhibits to MSJ and Exhibit A; revise           1.2    $528.00    1968821               x
                                  draft of MSJ; draft correspondence regarding same; review modified
                                  scheduling order from Court; draft correspondence regarding invalidity
323                               contentions
      2/9/2018      CF            Draft correspondence regarding discovery and outline of proposed               0.3    $132.00                 x
324                               interrogatories




                                                                                                            Defendant's Exhibit A-1                                                                                            16
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                                                                            203

         A          B       C                                         D                                        E          F            G          H        I               J               K             L                M
                                                                                                                                                                  Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
325   2/9/2018     JMB      x     Review and edit summary judgment motion                                          0.8    $540.00    1968821               x
      2/12/2018    AMS      x     Participate in team call; revise claim chart for Motion for Summary              1.8    $801.00    1968821               x
326                               Judgment of Invalidity
327   2/12/2018     CB      x     Discuss revised summary judgment motion with team.                                1     $675.00    1968821               x
      2/12/2018     CF      x     Continue drafting invalidity contentions and corresponding exhibits;             6.2   $2,728.00   1968821               x
328                               revise draft of MSJ; conference regarding same
329   2/12/2018    JMB      x     Teleconference to discuss summary judgment motion                                0.7    $472.50    1968821               x
      2/13/2018    AMS      x     Revise Motion for Summary Judgment of Invalidity; revise supporting              1.9    $845.50    1968821               x
330                               claim chart
      2/13/2018     CB      x     Discuss invalidity argument re "shortened horizontal ride surface" with          1.4    $945.00    1968821               x
                                  A. Shah for revised summary judgment motion; discuss positions re
331                               discovery disputes with team.
      2/13/2018     CF      x     Revise and finalize exhibits and invalidity contentions; revise and              1.6    $704.00    1968821               x
                                  finalize draft of MSJ; draft correspondence regarding analysis of certain
332                               terms of Claim 37
333   2/13/2018    JMB      x     Review and edit invalidity claim charts                                          0.8    $540.00    1968821               x
      2/14/2018    AMS      x     Revise claim chart; revise Motion for Summary Judgment of Invalidity             5.6   $2,492.00   1968821               x
334
      2/14/2018     CB      x     Review case law re indefiniteness for argument in summary judgment               1.3    $877.50    1968821               x
                                  brief; discuss discovery dispute re production of prior art ride
335                               documents with team.
      2/14/2018     CF      x     Review draft of MSJ and charts; revise same; analyze recent CAFC                 1.3    $572.00    1968821               x
                                  decision on definiteness; analyze Claim 37 and draft correspondence
336                               regarding same and revision of MSJ
337   2/14/2018    JMB      x     Review and edit invalidity brief                                                 2.7   $1,822.50   1968821               x
338   2/15/2018    AMS      x     Revise Motion for Summary Judgment of Invalidity                                 2.9   $1,290.50   1968821               x
      2/15/2018     CB      x     Discuss response to opposing counsel's request to meet- and-confer               0.8    $540.00    1968821               x
339                               about ESI with team.
      2/15/2018     CF      x     Continue revising draft of MSJ and exhibits; draft correspondence to             1.3    $572.00    1968821               x
                                  opposing counsel regarding ESI; review reply correspondence; review
                                  discovery issues and draft detailed timeline and proposed meet and
340                               confer strategy
341   2/15/2018    JMB      x     Work on summary judgment motion                                                  0.7    $472.50    1968821               x
      2/16/2018    AMS      x     Finalize Motion for Summary Judgment of Invalidity; finalize exhibits;            6    $2,670.00   1968821               x
342                               finalize motions to file under seal
343   2/16/2018     CF      x     Finalize MSJ brief, exhibits, coordinate filing                                  0.8    $352.00    1968821               x
344   2/16/2018    JMB      x     Finalize and file summary judgment motion                                        2.9   $1,957.50   1968821               x
      2/16/2018    SBH      x     Prepare exhibits for memorandum in support of motion for summary                 3.5    $682.50    1968821               x
                                  judgment; draft motion and proposed order to file exhibits and
                                  memorandum under seal and declaration in support of memorandum;
                                  prepare table of authorities and cite check
345
      2/20/2018     CF      x     Review prior propounded discovery on Whitewater; draft                            2     $880.00    1968821               x
                                  correspondence regarding deadline for objections and discovery
                                  strategy; review correspondence from opposing counsel regarding
                                  Lochtefeld production and deposition; draft and finalize detailed
                                  summary of meet and confer with Whitewater regarding discovery in
                                  each pending case, proposed strategy on meet and confer, sanctions,
                                  and motion to compel; review correspondence regarding same; draft
                                  correspondence regarding binders and deposition of Lochtefeld; draft
                                  correspondence regarding Surf Park order from Court
346
      2/20/2018    JMB      x     Attention to multiple issues with ESI and other discovery disputes               0.4    $270.00    1968821               x
347
348   2/23/2018    AMS      x     Call with C. Franich regarding discovery issues                                  0.4    $178.00    1968821               x
      2/23/2018     CF      x     Review correspondence from opposing counsel regarding meet and                   0.8    $352.00    1968821               x
                                  confer, discovery responses; review enclosures; review prior discovery
                                  responses; conference regarding same and devise reply strategy; draft
                                  correspondence regarding same and draft interrogatories
349
350   2/26/2018    AMS      x     Draft summary of Surf Park discovery issues for client                           0.3    $133.50    1968821               x




                                                                                                              Defendant's Exhibit A-1                                                                              17
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                                                                            203

         A          B       C                                        D                                       E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      2/27/2018     CF            Draft correspondence regarding joint statement; analyze objection              1.8    $792.00                   x               Alleshouse Action   $             792.00 Will not dispute    $               792.00
                                  and response letter by opposing counsel; analyze scheduling order,                                                              (Magistrate Judge
                                  Stormes chamber rules; conference regarding same; analyze prior                                                                 Stormes)
                                  responses; draft correspondence regarding privilege log; draft
                                  correspondence to opposing counsel regarding objections, Stormes
                                  rules, meet and confer, and call with Court to compel production;
                                  draft correspondence regarding Lochtefeld deposition

351
      2/27/2018     CB      x     Review opposing counsel's email re Squier deposition and discuss               0.5    $337.50      1968821               x
352                               response with J. Barnes.
      2/27/2018     CF      x     Review order from Major regarding Surf Park; draft detailed questions          2.5   $1,100.00     1968821               x
                                  for Surf Park; draft correspondence regarding same; review
                                  correspondence regarding verification by client; review prior discovery
                                  requests by PSD and scheduling order and modification; draft detailed
                                  letter to opposing counsel regarding same; review scheduling order and
                                  joint statement; conference regarding same draft correspondence to
                                  opposing counsel regarding ESI and moving to compel binder
353                               production
354   2/28/2018    AMS      x     Revise discovery letter                                                        0.3    $133.50      1968821               x
355   2/28/2018    AMS            Revise discovery dispute response letter                                       0.4    $178.00                   x
      2/28/2018     CF      x     Conference regarding ESI and response strategy to letter from opposing         1.5    $660.00      1968821               x
                                  counsel; conference with eMerge regarding Model Order; revise terms
                                  list and custodians; draft letter regarding same, motion to compel
356                               binders and meet and confer
      3/1/2018     AMS      x     Draft correspondence regarding potential motions for summary                   0.2        $89.00   1975182               x
357                               judgment
      3/1/2018      CB      x     Discuss discovery dispute re written discovery and related                     1.8   $1,215.00     1975182               x
                                  correspondence from opposing counsel as well as ESI discovery with C.
                                  Franich; discuss potential remaining summary judgment motions with
358                               team.
      3/1/2018      CF      x     Draft follow-up correspondence to Whitewater regarding ESI and                 0.4    $176.00      1975182               x
                                  binder motion to compel; review correspondence regarding remaining
                                  summary judgment issues and fact discovery; draft correspondence
359                               regarding renewing motion to dismiss
      3/1/2018      CF            Review correspondence from opposing counsel regarding timeliness               0.2        $88.00   1978911      x
                                  objections and meet and confer; draft correspondence regarding same
360
      3/2/2018     AMS      x     Draft letter to Singapore Supreme Court; finalize Letter of Request            0.7    $311.50      1975182               x
361
362   3/2/2018     JMB      x     Analyze discovery requests for Singapore parties                               0.3    $202.50      1975182               x
363   3/5/2018     AMS      x     Call with opposing counsel regarding E. Squier subpoena                        0.1        $44.50   1975182               x
364   3/5/2018      CB      x     Discuss pending discovery disputes with C. Franich.                            0.5    $337.50      1975182               x
      3/5/2018      CF      x     Prepare for and meet and confer with opposing counsel regarding                 3    $1,320.00     1975182               x
                                  discovery disputes; draft detailed correspondence regarding same;
                                  conference regarding Squier deposition; draft correspondence
                                  regarding same and meet and confer with opposing counsel
365
      3/5/2018      CF            Review correspondence from opposing counsel regarding discovery                2.5   $1,100.00     1978911      x
                                  responses and ESI; meet and confer with opposing counsel regarding
                                  same; preliminary review of production by Lochtefeld; draft
                                  correspondence regarding same and meet and confer
366
      3/5/2018     JMB      x     Discuss discovery from Squier and other discovery issues with Chris            0.5    $337.50      1975182               x
367                               Franich
      3/6/2018     AMS      x     Meet and confer with opposing counsel regarding E. Squier subpoena;            2.6   $1,157.00     1975182               x
                                  summarize the same to internal team; analyze discovery issues
368
      3/6/2018      CB      x     Discuss Squier deposition and communication with Squier's counsel re           4.2   $2,835.00     1975182               x
                                  privilege objections, as well as outstanding discovery disputes, with
                                  team; discuss strategy for overcoming privilege objections and getting
369                               waiver ruling with J. Barnes.




                                                                                                            Defendant's Exhibit A-1                                                                                                18
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         A          B       C                                         D                                        E          F              G          H        I               J               K             L                M
                                                                                                                                                                    Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      3/6/2018      CF            Continue review of Lochtefeld production; draft correspondence                   2.2    $968.00      1978911      x
                                  regarding same; draft correspondence regarding Lochtefeld deposition
370
      3/6/2018     JMB      x     Attention to multiple discovery issues; teleconference with Charan               0.5    $337.50      1975182               x
371                               Brahma
      3/7/2018      CB      x     Review proposed settlement terms; review and revise correspondence               1.1    $742.50      1975182               x
                                  re ESI discovery and supplementation of written discovery responses.
372
      3/7/2018      CF      x     Prepare for and conference with client regarding discovery and overall           2.2    $968.00      1975182               x
                                  case; begin reviewing new production by opponent regarding TL
                                  binders of schematics; draft correspondence regarding same; draft
                                  correspondence regarding ESI strategy; draft correspondence to
373                               opponent regarding same
      3/7/2018      CF            Prepare for and conference with client regarding discovery disputes;             1.6    $704.00      1978911      x
                                  draft correspondence regarding same; draft detailed correspondence to
                                  opponent regarding ESI and discovery disputes; finish review of first TL
                                  production; draft correspondence regarding same
374
375   3/7/2018     JMB      x     Attention to multiple discovery issues                                           0.4    $270.00      1975182               x
      3/7/2018     MCM      x     Review and analyze additional information and discovery requests from            0.5    $192.50      1975182               x
376                               Whitewater
      3/7/2018     SBH      x     Review all discovery propounded by parties in both 1879 and 1118 case            1.8    $351.00      1975182               x
                                  and create chart listing same, including dates of response to determine
                                  if any responses remain outstanding, create working copies of discovery
                                  responses by Plaintiffs for Anup Shah
377
378   3/8/2018      CB      x     Discuss ESI search terms and response to Plaintiff with team.                    0.4    $270.00      1975182               x
      3/8/2018      CF      x     Continue review of new Lochtefeld binder production and drafting                 1.6    $704.00      1975182               x
                                  analysis of same; review correspondence from opposing counsel
                                  regarding discovery dispute; draft correspondence to opposing counsel
                                  regarding same; draft correspondence regarding Ellis deposition;
                                  review follow-up correspondence from opposing counsel; draft
                                  correspondence regarding same
379
      3/9/2018      CF      x     Review correspondence from opposing counsel regarding ESI; draft                 0.4    $176.00      1975182               x
                                  correspondence in response; continue review of Lochtefeld disclosure
380
      3/12/2018     CB      x     Discuss renewed summary judgment motion, potential supplemental                  2.5   $1,687.50     1975182               x
                                  response re renewed preliminary injunction motion and status of
                                  discovery review with team and review related briefing arguments and
381                               evidence.
      3/12/2018     CF      x     Continue review of Lochtefeld binder discovery; draft correspondence              4    $1,760.00     1975182               x
                                  regarding analysis of same with respect to prior installations and issues
                                  for MSJ and preliminary injunction
382
383   3/12/2018    JMB      x     Attention to new prior art documents from Lochtefeld                             0.3    $202.50      1975182               x
      3/13/2018     CF      x     Continue review and analysis of Lochtefeld binder; draft                         2.5   $1,100.00     1975182               x
384                               correspondence regarding analysis of same
      3/13/2018    JMB      x     Teleconference with Anup Shah regarding summary judgment motion                  0.5    $337.50      1975182               x
385
      3/13/2018    MH       x     Organize and prepare docket filing of mandatory notice for subsequent            0.3        $85.50   1975182               x
386                               attorney review
      3/14/2018     CF      x     Continue analyzing discovery and preparing outline and exhibits for              8.1   $3,564.00     1975182               x
387                               Squier deposition
      3/15/2018     CB      x     Review draft Squier deposition outline; review materials for renewed             3.3   $2,227.50     1975182               x
                                  summary judgment motion; revise draft correspondence to opposing
388                               counsel re discovery disputes.
      3/15/2018     CF      x     Continue analyzing discovery and preparing outline and exhibits for              4.5   $1,980.00     1975182               x
389                               Squier deposition
390   3/16/2018     CB      x     Review deposition outline for E. Squier.                                         1.3    $877.50      1975182               x




                                                                                                              Defendant's Exhibit A-1                                                                                19
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         A          B       C                                         D                                        E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      3/16/2018     CF      x     Continue review of Lochtefeld binder production and updating memo of             3.4   $1,496.00   1975182               x
                                  same; draft correspondence to opposing counsel regarding call with
                                  court and ESI; draft correspondence regarding Squier deposition and
391                               exhibits
392   3/17/2018     CB      x     Review Squier deposition outline.                                                2.3   $1,552.50   1975182               x
393   3/19/2018    AMS      x     Call with C. Franich regarding E. Squier deposition                              0.3    $133.50    1975182               x
      3/19/2018     CB      x     Review Plaintiff's opposition to motion for summary judgment; revise             2.5   $1,687.50   1975182               x
394                               Squier deposition outline.
      3/19/2018     CF      x     Continue review of Lochtefeld binder; conference regarding same;                 6.1   $2,684.00   1975182               x
                                  conference regarding Squier deposition; revise outline and exhibits and
                                  coordinate same to deposition site; review opposition brief from
                                  plaintiff; draft correspondence regarding same
395
      3/20/2018    AMS      x     Review Opposition to Motion for Summary Judgment; confer with J.                 4.9   $2,180.50   1975182               x
396                               Barnes regarding the same; draft outline for Reply Brief
      3/20/2018     CB      x     Review Squier deposition outline and related exhibits; review Plaintiff's        7.3   $4,927.50   1975182               x
                                  opposition to PSD's motion for summary judgment and outline
397                               responsive arguments with team.
      3/20/2018     CF      x     Meet and confer with opposing counsel regarding ESI dispute and                  5.5   $2,420.00   1975182               x
                                  Lochtefeld production; conference with Court; review correspondence
                                  from opposing counsel regarding same; draft correspondence regarding
                                  proposed resolution; process resolution and begin efforts to collect ESI;
                                  continue preparation for Squier deposition; continue review of
398                               Lochtefeld binder
      3/20/2018     CF            Draft correspondence regarding interrogatory and requests for                    0.5    $220.00    1978911      x
399                               admission strategy
      3/20/2018    JMB      x     Review and analyze opposition brief; multiple calls with team members            1.8   $1,215.00   1975182               x
400                               to discuss
401   3/20/2018    MCM      x     Work on ESI issues raised by Whitewater                                          0.3    $115.50    1975182               x
      3/20/2018    SBH      x     Pull cases cited in WWI's opposition to PSD's motion for summary                 1.5    $292.50    1975182               x
402                               judgment in 3:17-cv-1118
      3/21/2018    LUB            Draft requests for production, requests for admission, and                       0.7    $231.00    1978911      x               Alleshouse Action -- $            231.00 Will not dispute    $               231.00
                                  interrogatories                                                                                                                 No Discovery
                                                                                                                                                                  served by PSD in
                                                                                                                                                                  this action around
                                                                                                                                                                  this time
403
      3/21/2018     SH            Review pleadings and Plaintiff's discovery requests; draft                       2.1    $693.00    1978911      x               Alleshouse Action -- $            693.00 Will not dispute    $               693.00
                                  discovery requests                                                                                                              No Discovery
                                                                                                                                                                  served by PSD in
                                                                                                                                                                  this action around
                                                                                                                                                                  this time
404
      3/21/2018             x     Complete outline for Reply to Summary Judgment Motion; draft Reply               7.5   $3,337.50   1975182               x
                   AMS            Brief in Support of Motion for Summary Judgment; participate in team
405                               call regarding E. Squier deposition
      3/21/2018     CB      x     Depose E. Squier re '589 patent revival and review related exhibits and          6.7   $4,522.50   1975182               x
                                  outline; revise draft reply in support of motion for summary judgment.
406
      3/21/2018     CF      x     Prepare for and deposition of Squier; revise outline of reply brief ISO          8.4   $3,696.00   1975182               x
                                  MSJ; draft correspondence regarding exhibits of same; conference
                                  regarding same; continue discovery review of Lochtefeld production;
                                  draft correspondence regarding exhibits for use in reply brief;
407                               conference regarding Squier deposition
      3/21/2018    JMB      x     Review and edit draft outline of reply brief; teleconference to discuss          1.4    $945.00    1975182               x
                                  Squier deposition and strategy regarding inequitable conduct
408
409   3/21/2018    MCM      x     Review and analyze deposition transcript of Eric Squier                          0.5    $192.50    1975182               x




                                                                                                              Defendant's Exhibit A-1                                                                                              20
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                                                                            203

         A          B       C                                          D                                        E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                     Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      3/22/2018    LUB            Draft requests for production, requests for admission, and                        1.1    $363.00      1978911      x               Alleshouse Action -- $            363.00 Will not dispute    $               363.00
                                  interrogatories                                                                                                                    No Discovery
                                                                                                                                                                     served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
410
      3/22/2018     SH            Draft discovery requests                                                          3.7   $1,221.00     1978911      x               Alleshouse Action -- $          1,221.00 Will not dispute    $              1,221.00
                                                                                                                                                                     No Discovery
                                                                                                                                                                     served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
411
      3/22/2018     CF      x     Continue revising reply brief; continue review of Lochtefeld binder                3    $1,320.00     1975182               x
                                  production; continue creating exhibits for use in reply brief
412
413   3/22/2018    JMB      x     Review and edit draft of MSJ reply brief                                          1.6   $1,080.00     1975182               x
      3/23/2018    LUB            Draft requests for production, requests for admission, and                        0.8    $264.00      1978911      x               Alleshouse Action -- $            264.00 Will not dispute    $               264.00
                                  interrogatories                                                                                                                    No Discovery
                                                                                                                                                                     served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
414
      3/23/2018     SH            Draft discovery requests                                                          1.3    $429.00      1978911      x               Alleshouse Action -- $            429.00 Will not dispute    $               429.00
                                                                                                                                                                     No Discovery
                                                                                                                                                                     served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
415
      3/23/2018    AMS      x     Revise Reply in Support of Motion for Summary Judgment; calls with J.              4    $1,780.00     1975182               x
416                               Barnes regarding the same
      3/23/2018     CF      x     Continue review of Lochtefeld binder production; continue revising                2.3   $1,012.00     1975182               x
                                  draft of reply brief and exhibits for same; draft correspondence to
                                  opposing counsel regarding discovery dispute
417
      3/23/2018    JMB      x     Attention to multiple issues regarding draft of reply brief; review and           2.1   $1,417.50     1975182               x
418                               edit updated draft
      3/23/2018    SBH      x     Prepare exhibits and cite and quote check PSD's reply in support of its           1.9    $370.50      1975182               x
419                               motion for summary judgment re: 3:17-CV- 01118
      3/26/2018    AMS      x     Finalize Reply in Support of Motion for Summary Judgment; finalize                7.3   $3,248.50     1975182               x
                                  accompanying Declaration, Exhibits, and Motion to File Under Seal; calls
420                               with C. Franich and J. Barnes regarding Reply
421   3/26/2018     CB      x     Finalize summary judgment motion reply brief filing.                              1.8   $1,215.00     1975182               x
      3/26/2018     CF      x     Continue revising and finalizing draft of MSJ, exhibits; coordinate filing        4.8   $2,112.00     1975182               x
                                  of same; continue review of Lochtefeld production
422
423   3/26/2018    JMB      x     Finalize and file reply brief for summary judgment motion                         3.6   $2,430.00     1975182               x
      3/26/2018    SBH      x     Prepare/revise exhibits and prepare table of exhibits with regard to              2.5    $487.50      1975182               x
                                  PSD's reply in support of its motion for summary judgment re: 3:17-CV-
424                               01118
      3/26/2018    SBH      x     Draft motion and proposed order to file documents under seal and                  0.3        $58.50   1975182               x
                                  declaration of Justin Barnes in support of reply to motion for summary
425                               judgment re: 3:17-cv-1118
      3/27/2018     CF            Continue revising RFAs, RFPs, and ROGs to be propounded on                        2.8   $1,232.00     1978911      x               Alleshouse Action -- $          1,232.00 Will not dispute    $              1,232.00
                                  plaintiff; continue supplementing responses to Plaintiff discovery                                                                 No Discovery
                                  requests                                                                                                                           served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
426
      3/27/2018     CF      x     Continue review of Lochtefeld Binder production; draft correspondence             1.8    $792.00      1975182               x
427                               regarding memo of same
      3/27/2018    SBH      x     Draft subpoena to Knobbe Martens and notice of subpoena to Buchalter              0.3    $585.00      1975182               x
428                               re 3:17-cv-01118




                                                                                                               Defendant's Exhibit A-1                                                                                                21
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         A          B       C                                         D                                         E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                     Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable            PSD Response     PSD - Not recoverable
      3/28/2018    AMS            Revise discovery responses                                                        0.3    $133.50      1978911      x               Alleshouse Action -- $            133.50 Will not dispute    $               133.50
                                                                                                                                                                     No Discovery
                                                                                                                                                                     served by PSD in
                                                                                                                                                                     this action around
                                                                                                                                                                     this time
429
      3/28/2018     CF            Revise and finalize draft of discovery requests for propounding on                4.2   $1,848.00     1978911      x               Alleshouse Action -- $          1,848.00 Will not dispute    $              1,848.00
                                  Plaintiff; continue drafting supplemental discovery responses;                                                                     No Discovery
                                  review correspondence from opposing counsel regarding ESI                                                                          served by PSD in
                                  requests; draft correspondence regarding same                                                                                      this action around
                                                                                                                                                                     this time
430
431   3/28/2018    AMS      x     Draft Summary Judgment hearing slides                                             2.2    $979.00      1975182               x
      3/28/2018     CB            Discuss ESI dispute and correspondence from opposing counsel with C.              0.3    $202.50      1978911      x
432                               Franich.
      3/29/2018     CF            Continue revising and finalize supplemental discovery responses;                  3.3   $1,452.00     1978911      x               Alleshouse Action -- $          1,452.00 Will not dispute    $              1,452.00
                                  draft correspondence to client regarding same; draft                                                                               No Discovery
                                  correspondence regarding remaining discovery strategy; draft                                                                       served by PSD in
                                  correspondence regarding discovery to be propounded on                                                                             this action around
                                  plaintiff; review second set of discovery requests and third set;                                                                  this time
                                  draft correspondence regarding same
433
      3/29/2018    AMS      x     Finalize subpoena to Knobbe; revise discovery letter to Whitewater                0.5    $222.50      1975182               x
434
      3/29/2018     CB      x     Discuss opposing counsel correspondence re ex parte motion to file                1.3    $877.50      1975182               x
                                  surreply and proposed response with team; email R. Tache re meet-and-
435                               confer re objections raised at Squier deposition.
      3/29/2018     CF      x     Draft correspondence detailing remaining discovery strategy; review               0.9    $396.00      1975182               x
                                  correspondence from opposing counsel regarding sur reply; draft
                                  correspondence regarding same and advised opposition strategy;
436                               conference regarding same
      3/29/2018    SBH      x     Finalize for service subpoena and supporting documents directed to                0.2        $39.00   1975182               x
437                               Knobbe Martens re 3:17-cv-1118
      3/30/2018     CF            Draft correspondence regarding supplemental responses; draft                      0.6    $264.00      1978911      x               Alleshouse Action -- $            264.00 Will not dispute    $               264.00
                                  correspondence regarding discovery propounding on plaintiff;                                                                       No Discovery
                                  draft correspondence regarding assignment and prior documents                                                                      served by PSD in
                                  produced by plaintiff; draft correspondence regarding same                                                                         this action around
                                                                                                                                                                     this time
438
      3/30/2018     CF      x     Review correspondence from opposing counsel; conference with same;                 2     $880.00      1975182               x
                                  draft correspondence to opposing counsel regarding surreply; review
                                  surreply; draft correspondence regarding opposition to same; continue
                                  reviewing Lochtefeld binder production
439
      3/30/2018    MCM      x     Revise Opposition to Whitewater's motion to file surreply and/or strike            1     $385.00      1975182               x
                                  PSD's reply in support of its motion for summary judgment
440
441   4/1/2018     JMB      x     Work on draft of response to ex parte motion (No Charge)                          2.1         $0.00   1987291               x      No Charge           $                  -
      4/1/2018      CB      x     Revise draft opposition to Plaintiff's ex parte motion seeking surreply to        0.8    $540.00      1987291               x
                                  PSD's motion for summary judgment of invalidity or to strike exhibits
442                               relied upon by PSD.
      4/2/2018      CB      x     Review recent decision from Judge Huff relating to dismissal                      0.6    $405.00      1987291               x      2015 Action (re     $             405.00 Will not dispute    $               405.00
                                  (instead of stay) of claim on patent invalidated in IPR and discuss                                                                '016 IPR)
                                  filing motion for supplemental authority with Court in '016 patent
443                               case.
444   4/2/2018     AMS      x     Finalize Opposition to Ex Parte Motion to File Surreply                           1.1    $489.50      1987291               x
      4/2/2018      CF      x     Review, revise and finalize opposition to surreply and supporting                 0.4    $176.00      1987291               x
445                               declaration
      4/2/2018     MCM            Work on supplemental discovery responses, and potential issues for                0.9    $346.50      1987289      x
446                               summary judgment




                                                                                                               Defendant's Exhibit A-1                                                                                                22
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                                                                           203

         A         B       C                                        D                                         E          F              G          H        I               J                K                       L                M
                                                                                                                                                                   Reason Fee Not    Amount Not
 1     DATE      BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable       Recoverable          PSD Response      PSD - Not recoverable
      4/2/2018    SBH      x     Draft declaration of Christopher Franich and prepare Exhibit 1 in                0.5        $97.50   1987291               x
                                 support of opposition to Plaintiff's motion for leave to file sur-reply;
                                 finalize and electronically file opposition and supporting documents
447                              with the S.D. Cal. re: 3:17-cv-1118
      4/2/2018    SBH      x     Correspond with process server regarding status of service of subpoena           0.1        $19.50   1987291               x
448                              upon Knobbe Martens
      4/3/2018    AMS      x     Confer with E. Pribonic; revise correspondence to opposing counsel; call         1.5    $667.50      1987291               x
                                 with C. Franich and M. Mao regarding case status; draft Notice of
449                              Supplemental Authority
      4/3/2018    AMS            Participate in team call regarding case status; revise discovery                 1.4    $623.00      1987289      x
450                              responses
      4/3/2018     CB            Review draft correspondence to opposing counsel re discovery                     0.6    $405.00      1987289      x
451                              disputes.
      4/3/2018     CF      x     Continue review of Lochtefeld binder production; draft detailed                  2.1    $924.00      1987291               x
                                 correspondence to opposing counsel regarding discovery deficiencies;
                                 revise and finalize discovery requests on plaintiff; conference regarding
                                 case strategy and depositions; draft correspondence regarding prior
                                 Lochtefeld and Squier depositions; draft correspondence to client
                                 regarding Andy Maurek deposition
452
      4/3/2018     CF            Continue review of Lochtefeld production; revise and finalize                    2.8   $1,232.00     1987289      x
                                 supplemental discovery responses; revise and finalize correspondence
                                 to opposing counsel regarding discovery; revise and finalize discovery
                                 requests on plaintiff; conference regarding case strategy
453
      4/3/2018    MCM            Work on supplemental discovery responses, and potential issues for               1.5    $577.50      1987289      x
454                              summary judgment
      4/4/2018    AMS      x     Revise correspondence to opposing counsel; review Plaintiff's damages            1.9    $845.50      1987291               x
455                              report; research case-law on lost profits
      4/4/2018     CF      x     Review correspondence from opposing counsel regarding supplemental               1.7    $748.00      1987291               x
                                 responses and ESI; draft correspondence to opposing counsel regarding
                                 ESI; review correspondence from opposing counsel regarding hits and
                                 narrowed terms; draft correspondence regarding same proposed reply;
                                 draft correspondence regarding client ESI and issues with information
                                 gathered; draft correspondence regarding verifications from opposing
                                 counsel regarding hits and narrowed terms; draft correspondence
                                 regarding same and proposed reply; draft correspondence regarding
                                 client ESI and issues with information gathered; draft correspondence
                                 regarding verifications

456
      4/5/2018    AMS      x     Draft Motion for Entry of Final Judgment; calls with C. Franich                  2.5   $1,112.50     1987291               x      2015 Action       $           1,112.50 Allowable mixed
457                              regarding discovery                                                                                                                                                      '589/'016
      4/5/2018     CB      x     Review plaintiff's responses and objections to PSD's written discovery           0.8    $540.00      1987291               x
                                 requests and revise draft correspondence to opposing counsel re
458                              deficiencies.
      4/5/2018     CF      x     Continue and finish ESI review of client production; draft                       2.7   $1,188.00     1987291               x
                                 correspondence regarding same and designations; review discovery
                                 responses from Plaintiff; draft correspondence regarding analysis of
                                 RFA, RFP, and ROG responses; conference regarding same; draft
                                 detailed strategy for meet and confer; review and revise proposed
                                 motion and order regarding 016 case; review correspondence from
                                 opposing counsel regarding Squier deposition; draft correspondence
                                 regarding same; draft correspondence regarding remaining depositions
459
      4/6/2018    AMS      x     Finalize Notice of Supplemental Authority; call with C. Franich                  1.6    $712.00      1987291               x      2015 Action       $             712.00 Allowable mixed
                                 regarding discovery; review case-law supporting privilege waiver                                                                                                         '589/'016
460
      4/6/2018    SBH      x     Finalize and electronically file Notice of Supplemental Authority                0.3        $58.50   1987291               x      2015 Action       $              58.50 Allowable mixed
461                              with exhibit re 3:15-cv-1879                                                                                                                                             '589/'016
      4/6/2018    JMB      x     Attention to joint status report issues (No Charge)                              0.3         $0.00   1987291               x      2015 Action; No   $                  -
462                                                                                                                                                                Charge




                                                                                                             Defendant's Exhibit A-1                                                                                           23
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                                                                            203

         A          B       C                                         D                                      E          F              G          H        I               J               K             L                M
                                                                                                                                                                  Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      4/6/2018      CB      x     Meet and confer with R. Tache and M. McNamara re Squier deposition             1.6   $1,080.00     1987291               x
                                  objections, waiver of privilege as to patent revival communications and
                                  scope of inequitable conduct claims; review compromise re ESI search
                                  terms and discuss with team; discuss privilege waiver argument and
                                  supporting case law with team.
463
      4/6/2018     MCM            Work on meet and confer with counsel for Whitewater regarding                  0.8    $308.00      1987289      x
464                               evidence on inequitable conduct
      4/9/2018      CF      x     Review correspondence from opposing counsel regarding motion to                0.3    $132.00      1987291               x
                                  compel and Knobbe subpoena; review correspondence from Singapore
                                  Supreme Court and Surf Park subpoena; draft correspondence
465                               regarding same
466   4/10/2018    AMS      x     Participate in team call regarding remaining discovery                         1.1    $489.50      1987291               x
      4/10/2018     CB      x     Discuss outstanding discovery issues and deadlines with A. Shah and C.         0.5    $337.50      1987291               x
467                               Franich.
      4/10/2018     CF      x     Draft detailed correspondence regarding discovery issues; review                1     $440.00      1987291               x
                                  correspondence from opposing counsel regarding discrete discovery
468                               issues; conference regarding same
      4/10/2018     CF            Draft detailed correspondence regarding discovery issues; conference           0.8    $352.00      1987289      x
469                               regarding same
      4/11/2018     CF      x     Review correspondence from client regarding Andy Maurek; prepare               3.2   $1,408.00     1987291               x
                                  for and call Andy Maurek; draft correspondence regarding same; draft
                                  correspondence regarding Surf Park subpoena; draft correspondence to
                                  opposing counsel regarding ESI; review correspondence from opposing
                                  counsel regarding motion to compel, subpoenas, and depositions; draft
                                  correspondence regarding same to opposing counsel; review ESI for
                                  production
470
      4/12/2018     CF      x     Continue Richard ESI review; draft correspondence regarding witness            1.6    $704.00      1987291               x
                                  list; draft correspondence regarding follow-up correspondence from
                                  opposing counsel regarding meet and confer with Court on discovery
                                  issues; draft follow-up detailed correspondence to opposing counsel
                                  regarding same; draft correspondence regarding same; draft
                                  correspondence regarding Knobbe subpoena; review correspondence
                                  regarding Surf Park subpoena; draft correspondence regarding same to
                                  Singapore counsel; review correspondence regarding deficiencies in TL
                                  production; review correspondence from opposing counsel regarding
                                  extension terms; draft correspondence to opposing counsel regarding
                                  same
471
      4/13/2018     CF      x     Review correspondence from opposing counsel regarding meet and                 4.2   $1,848.00     1987291               x
                                  confer with Court on discovery issues; draft detailed correspondence to
                                  opposing counsel regarding same; finish Richard ESI review; draft
                                  correspondence regarding same; review correspondence from Knobbe
                                  regarding subpoena; review enclosures; draft correspondence
                                  regarding same; review correspondence regarding GT subpoena; draft
                                  correspondence regarding same; review correspondence regarding
                                  deficiencies in TL production; review enclosures; draft correspondence
                                  to opposing counsel regarding same; contact Court regarding discovery
                                  dispute; review correspondence from opposing counsel regarding
                                  extension terms; draft correspondence to opposing counsel regarding
                                  same

472
      4/13/2018     CF            Draft correspondence regarding TL deposition and client depositions;           0.2        $88.00   1987289      x
473                               review correspondence regarding same
      4/16/2018    AMS      x     Confer with C. Franich regarding discovery issues; call with C. Franich        1.6    $712.00      1987291               x
474                               and C. Brahma regarding the same; revise subpoenas




                                                                                                            Defendant's Exhibit A-1                                                                                24
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                                                                            203

         A          B       C                                        D                                        E          F              G          H        I               J               K             L                M
                                                                                                                                                                   Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      4/16/2018     CB      x     Teleconference with court clerk re discovery disputes; discuss briefing         3.7   $2,497.50     1987291               x
                                  of motion to compel with C. Franich; discuss response to
                                  correspondence from M. McNamara re subpoena to Greenberg Traurig
                                  with C. Franich; discuss remaining depositions and discovery plan and
                                  deadlines with C. Franich and A. Shah.
475
      4/16/2018     CF      x     Coordinate production of Surf Park and ESI; prepare for and call with            4    $1,760.00     1987291               x
                                  clerk regarding discovery issues and motion to compel; draft
                                  correspondence regarding same; draft correspondence regarding
                                  revised deposition strategy; conference regarding same; revise and
                                  finalize deposition notices; draft correspondence to client regarding
                                  Surf Park subpoena and document requests; review correspondence
                                  from client regarding same; draft correspondence to client regarding
                                  inquiry; review correspondence from Singapore counsel regarding
                                  discovery requests; draft correspondence regarding witness list; draft
                                  correspondence regarding discovery responses; draft correspondence
                                  regarding order for motion to compel and brief for same; draft outline
                                  for part 1 of brief
476
      4/16/2018    MCM      x     Work on ongoing discovery disputes with Whitewater and Rick Tache               1.4    $539.00      1987291               x
477
      4/16/2018    SBH      x     Draft subpoenas for appearance at deposition to Ellis, Chutter and              0.5        $97.50   1987291               x
478                               Ferdoski and draft notice to opposing counsel re 1118
      4/17/2018     CF      x     Review correspondence history and draft outline for motion to compel            4.6   $2,024.00     1987291               x
                                  brief; prepare initial exhibits; finalize and coordinate service of
                                  deposition subpoenas on Whitewater customers; draft correspondence
                                  regarding amended complaint and impact on motion to compel;
                                  conference regarding same; review correspondence from opposing
                                  counsel regarding Knobbe and GT subpoenas; draft correspondence
                                  regarding same; continue drafting responses to discovery requests from
                                  Whitewater; draft correspondence to client regarding same; draft
                                  correspondence to Whitewater regarding slides of Lochtefeld and on-
                                  site inspection
479
480   4/17/2018    LUB      x     Draft motion to compel discovery on inequitable conduct claim                   1.5    $622.50      1987291               x
481   4/17/2018     SH      x     Research issues for motion to compel; draft motion to compel                    3.1   $1,286.50     1987291               x
      4/18/2018     CB      x     Discuss WWI's correspondence indicating production of ESI and need to           0.5    $337.50      1987291               x
                                  request discovery extension with C. Franich; discuss service of
                                  deposition subpoenas and WWI's refusal to accept service and possible
                                  related motion practice with C. Franich.
482
      4/18/2018     CF      x     Review correspondence from client regarding depositions; draft                  3.1   $1,364.00     1987291               x
                                  correspondence to opposing counsel regarding same; draft
                                  correspondence regarding Surf Park subpoena; draft correspondence
                                  regarding motion to compel brief; draft correspondence to opposing
                                  counsel regarding; meet and confer with Squier and GT counsel
                                  regarding subpoena of documents; analyze prior discovery requests
                                  from 1879 case; draft detailed correspondence to opposing counsel
                                  regarding meet and confer, new motion to compel on time entries and
483                               GT subpoena
484   4/18/2018    LUB      x     Draft motion to compel discovery on inequitable conduct claim                   8.8   $3,652.00     1987291               x
      4/18/2018     SH      x     Research issues for motion to compel; draft and edit motion to compel           8.9   $3,693.50     1987291               x
485
      4/19/2018     CB      x     Revise draft response to M. McNamara re objections to Greenberg                 1.8   $1,215.00     1987291               x
486                               Traurig subpoena; revise motion to compel.
      4/19/2018     CF      x     Continue drafting motion to compel and preparing exhibits; continue             2.9   $1,276.00     1987291               x
                                  review of discovery for producing on plaintiffs; draft correspondence to
                                  opposing counsel regarding discovery disputes
487




                                                                                                             Defendant's Exhibit A-1                                                                                25
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                                                                            203

         A          B       C                                        D                                         E          F            G          H        I               J               K             L                M
                                                                                                                                                                  Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      4/19/2018     CF            Review client draft ROG and RFP responses; coordinate production of              1.9    $836.00    1987289      x
                                  same; draft responses to second set of ROG and RFPs; draft
                                  correspondence to client regarding follow- up questions; draft
                                  correspondence regarding same and verification
488
489   4/19/2018    LUB      x     Draft motion to compel discovery on inequitable conduct claim                    2.2    $913.00    1987291               x
490   4/19/2018     SH      x     Edit motion to compel; draft declaration for motion to compel                    2.2    $913.00    1987291               x
491   4/20/2018    AMS      x     Revise and finalize motion to compel                                              9    $4,005.00   1987291               x
      4/20/2018     CB      x     Revise motion to compel and for sanctions and related filing documents.          3.3   $2,227.50   1987291               x
492
      4/20/2018     CF      x     Conduct review of Lochtefeld slides over pre-1999 installations at               9.5   $4,180.00   1987291               x
                                  Buchalter facility; continue revising and drafting motion to compel,
                                  exhibits, supporting declaration and coordinate filing of same; draft
                                  correspondence to opposing counsel regarding GT subpoena; review
                                  correspondence from opposing counsel regarding TL slide production
493
      4/20/2018    MCM            Assist in ongoing discovery disputes; review and analyze Yong Yeh's              1.3    $500.50    1987289      x
                                  draft responses to written discovery, set two, from Whitewater
494
      4/20/2018    SBH      x     Review motion to compel for creation of table of authorities, prepare            0.9    $175.50    1987291               x
                                  exhibits in support and declaration, prepare motion and proposed order
495                               regarding filing Ex. G under seal
      4/23/2018    AMS      x     Participate in team call regarding discovery; draft expert report; review        1.9    $845.50    1987291               x
496                               discovery
      4/23/2018     CF      x     Prepare for and conference regarding outstanding discovery issues;               2.6   $1,144.00   1987291               x
                                  draft detailed correspondence to opposing counsel regarding extension
                                  in each case; draft correspondence to opposing counsel regarding
                                  depositions; review correspondences from opposing counsel regarding
                                  production and supplemental responses; review interrogatories from
                                  FSL action; draft correspondence to opposing counsel regarding same

497
      4/23/2018    LUB      x     Research awarding lost profits to patentee based on damage to                     4    $1,660.00   1987291               x
498                               exclusive licensee
      4/23/2018    MCM      x     Work on ongoing discovery disputes with Whitewater and Rick Tache                0.3    $115.50    1987291               x
499
      4/24/2018    AMS      x     Participate in team call regarding discovery; revise interrogatory               2.3   $1,023.50   1987291               x
                                  responses; draft ex parte motion to extend deadlines
500
      4/24/2018     CB      x     Review correspondence from opposing counsel re identification of                 3.2   $2,160.00   1987291               x
                                  customers, etc. and discuss response with C. Franich; revise draft
                                  communications to opposing counsel re extension of case deadlines;
                                  discuss remaining depositions and discovery tasks with C. Franich and
                                  A. Shah; review supplemental interrogatory responses.
501
      4/24/2018     CF      x     Draft correspondence to opposing counsel regarding extension request ;           3.6   $1,584.00   1987291               x
                                  meet and confer with opposing counsel regarding same, production, and
                                  outstanding issues; draft correspondence to opposing counsel regarding
                                  on-site inspection and depositions; draft correspondence to opposing
                                  counsel; revise and finalize draft of joint motion to extend deadlines;
                                  review 589 file history; draft detailed correspondence on new
                                  inequitable conduct allegations; conference regarding same; review
                                  revise and finalize supplemental interrogatory responses; draft
                                  correspondence regarding revising initial disclosures for new witnesses

502
      4/24/2018     CF            Draft correspondence to opposing counsel regarding extension request;             1     $440.00    1987289      x
                                  meet and confer with opposing counsel regarding same, production, and
                                  outstanding issues; draft correspondence to client regarding on-site
                                  inspection and depositions; draft correspondence to opposing counsel;
                                  revise and finalize draft of joint motion to extend deadlines
503




                                                                                                              Defendant's Exhibit A-1                                                                              26
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                                                                            203

         A          B       C                                         D                                       E          F              G          H        I               J               K             L                M
                                                                                                                                                                   Reason Fee Not   Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
      4/24/2018    MCM            Review and analyze Supreme Court decision on AIA reviews (In re Oil             1.2    $462.00      1987289      x
504                               States International), and its effects on case
505   4/24/2018    SBH      x     Attention to supplementing interrogatory responses                              0.5        $97.50   1987291               x
506   4/24/2018    SBH      x     Draft joint motion for extension of fact discovery deadline                     0.4        $78.00   1987291               x
507   4/25/2018    AMS      x     Draft expert report; attention to discovery issues                              2.9   $1,290.50     1987291               x
      4/25/2018     CB      x     Review draft ex parte motion to extend discovery deadlines and related          2.8   $1,890.00     1987291               x
                                  draft correspondence to opposing counsel; assess need to supplement
                                  discovery responses and identify potential additional summary
                                  judgment motions; discuss scope of expert reports with team.
508
      4/25/2018     CF      x     Review correspondence from opposing counsel regarding discovery                 2.8   $1,232.00     1987291               x
                                  disputes and extension; draft correspondence to opposing counsel
                                  regarding same; conference regarding production and initial
                                  disclosures; review correspondence from opposing counsel regarding
                                  same; draft correspondence regarding ESI; revise and finalize draft of
                                  supplemental interrogatory responses; draft correspondence regarding
                                  witnesses; draft correspondence to client regarding foreign sales;
                                  review enclosures; coordinate production of same
509
      4/25/2018     CF            Draft correspondence to opposing counsel regarding extension; review            0.4    $176.00      1987289      x
                                  correspondence from opposing counsel regarding same and inspection
510
      4/25/2018    LUB      x     Research awarding lost profits to patentee based on damage to                   3.4   $1,411.00     1987291               x
511                               exclusive licensee
512   4/25/2018    MCM            Meet and confer with Rick Tache re videos posted by WW                          0.4    $154.00      1987289      x
513   4/25/2018    MCM            Prepare for depositions of Yong Yeh and Richard Alleshouse                      0.8    $308.00      1987289      x
      4/25/2018    SBH      x     Prepare exhibits in support of ex parte motion to extend deadlines in           0.6    $117.00      1987291               x
                                  1118 case, draft declaration of Chris Franich and proposed order; revise
514                               application to extend
      4/26/2018    AMS      x     Finalize motion for extension; revise Supplemental Interrogatory                 2     $890.00      1987291               x
515                               Responses
      4/26/2018     CB      x     Revise extension filings and related draft correspondence with                  0.8    $540.00      1987291               x
516                               opposing counsel; revise renewed Surf Park discovery request.
517   4/26/2018     CB            Review objections to discovery requests.                                        0.4    $270.00      1987289      x
      4/26/2018     CF      x     Review correspondence from opposing counsel regarding extension;                2.1    $924.00      1987291               x
                                  draft correspondence regarding revised terms of extension; revise and
                                  finalize draft of joint motion; review correspondence regarding new
                                  production from opposing counsel; process same; draft letter of request
                                  and revise Exhibit A for Surf Park discovery; draft renewed motion for
                                  letter of request; draft correspondence regarding expert report
518
      4/26/2018     CF            Review set 3 of requests for production; draft response to same; draft          1.3    $572.00      1987289      x
                                  correspondence regarding same and privilege basis; draft
                                  correspondence to opposing counsel regarding terms of extension
519
      4/26/2018    MCM            Meet and confer with Rick Tache regarding videos posted by WW                   0.8    $308.00      1987289      x
520
521   4/26/2018    MCM            Prepare for depositions of Yong Yeh and Richard Alleshouse                      0.6    $231.00      1987289      x
      4/27/2018    AMS      x     Revise Letter of Request; confer with opposing counsel regarding the             4    $1,780.00     1987291               x
                                  same; draft ex parte motion for issuance of Letter of Request
522
      4/27/2018     CB      x     Discuss expert disclosure and reports and supplementation of discovery          1.7   $1,147.50     1987291               x
                                  responses with team; revise ex parte extension motion and related
                                  correspondence to opposing counsel; review WWI opposition to motion
523                               to compel.




                                                                                                             Defendant's Exhibit A-1                                                                                27
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                                                                            203

         A          B       C                                         D                                         E          F             G          H        I               J                  K                        L                M
                                                                                                                                                                    Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT         INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      4/27/2018     CF      x     Review, revise and finalize ex parte motion for Surf Park discovery;              3.1   $1,364.00   1987291                x
                                  draft correspondence regarding; draft correspondence to opposing
                                  counsel regarding expert discovery; draft correspondence to expert
                                  regarding PO and enclosures for expert discovery; draft correspondence
                                  regarding remaining discovery requests and obligations on close of
                                  discovery; begin drafting outline for expert report on inequitable
                                  conduct; revise and finalize interrogatory responses on intervening
                                  rights and noninfringement
524
      4/27/2018    MCM      x     Review and revise 7th Supplemental Responses to plaintiffs'                       0.7    $269.50    1987291                x
525                               interrogatories
      4/27/2018    SBH      x     Draft declaration and proposed order in support of ex parte motion                 1     $195.00    1987291                x
                                  seeking letter of request, revisions to motion, prepare exhibits
526
      4/30/2018    AMS      x     Review Opposition to Motion to Compel; call with C. Brahma regarding              0.7    $311.50    1987291                x
527                               the same
      4/30/2018     CB      x     Discuss outstanding discovery issues and draft reply in support of                0.6    $405.00    1987291                x
528                               motion to compel with A. Shah.
      4/30/2018    LUB      x     Draft waiver of attorney-client privilege arguments for reply in support          2.8   $1,162.00   1987291                x
529                               of motion to compel
      5/1/2018     MCM            Plan and prepare for deposition of Tom Lochtefeld                                 1.1    $423.50    19999341      x               Alleshouse Action -- $            423.50 Will not dispute    $               423.50
                                                                                                                                                                    Lochtefeld was not
                                                                                                                                                                    deposed in May
                                                                                                                                                                    2018 in 2017
                                                                                                                                                                    Action
530
531   5/1/2018     AMS      x     Draft Reply Brief; call with C. Brahma regarding the same                         4.6   $2,047.00   1999340                x
      5/1/2018      CB      x     Discuss arguments supporting motion for fees with A. Shah and review              2.3   $1,552.50   1999340                x
532                               related case law.
      5/1/2018      CF      x     Draft correspondence to opposing counsel regarding inspection,                    3.6   $1,584.00   1999340                x
                                  depositions, and discovery as to ESI production; review correspondence
                                  from opposing counsel regarding same; review correspondence from
                                  opposing counsel regarding extension of depositions and proposed
                                  stipulation; review same; draft correspondence regarding same; draft
                                  correspondence to client regarding inspection; draft correspondence to
                                  opposing counsel regarding protective order and expert reports
                                  disclosures; continue drafting outline of inequitable conduct expert
533                               report
      5/1/2018     LUB      x     Draft waiver of attorney-client privilege arguments for reply in support          3.7   $1,535.50   1999340                x
534                               of motion to compel discovery
535   5/2/2018     AMS      x     Complete first draft of Reply Brief                                                3    $1,335.00   1999340                x
      5/2/2018      CB      x     Review draft motion to compel; discuss outstanding discovery issues,              4.3   $2,902.50   1999340                x
536                               deadlines, depositions and expert reports with team.
      5/2/2018      CF      x     Review, revise and finalize draft of reply brief; continue drafting expert        1.8    $792.00    1999340                x
                                  report for inequitable conduct; conference with opposing counsel
                                  regarding inspection and extensions for certain depositions; draft
                                  correspondence regarding extensions and expert discovery
537
      5/2/2018     LUB      x     Draft waiver of attorney-client privilege arguments for reply in support          1.4    $581.00    1999340                x
538                               of motion to compel discovery
      5/2/2018     MCM            Review and analyze additional information provided by Whitewater                   1     $385.00    19999341      x
539                               and Tom Lochtefeld
540   5/3/2018     AMS      x     Revise Reply; call with C. Brahma regarding the same                               2     $890.00    1999340                x
      5/3/2018      CB      x     Revise email to opposing counsel re outstanding discovery dispute and             0.4    $270.00    1999340                x
541                               extension issues.
      5/3/2018      CF      x     Draft correspondence to opposing counsel regarding remaining                      5.9   $2,596.00   1999340                x
                                  depositions, extension and expert discovery; review correspondence
                                  from Singapore counsel regarding discovery process in Singapore; draft
                                  correspondence regarding same; continue drafting outline to expert
542                               report
543   5/3/2018     LUB      x     Edit reply in support of motion to compel discovery                                2     $830.00    1999340                x




                                                                                                               Defendant's Exhibit A-1                                                                                               28
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                                                                            203

         A          B       C                                         D                                         E          F               G          H        I               J                  K                        L                M
                                                                                                                                                                      Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      5/4/2018     MCM            Review and analyze Whitewater's supplemental initial disclosures                  0.2        $77.00   19999341      x               Alleshouse Action   $              77.00 Will not dispute   $                 77.00
544
545   5/4/2018     AMS      x     Finalize Reply Brief in Support of Motion to Compel                                3    $1,335.00     1999340                x
      5/4/2018      CF      x     Draft correspondence to opposing counsel regarding expert reports,                3.1   $1,364.00     1999340                x
                                  extension; draft correspondence to expert regarding same; continuing
                                  revising outline of inequitable conduct report; revise and finalize reply
                                  brief, exhibits, and supporting declaration; revise and finalize motion to
                                  file under seal and order
546
      5/4/2018     SBH      x     Draft supplemental declaration of Chris Franich in support of motion to           0.4        $78.00   1999340                x
                                  compel reply brief; draft motion to file reply and exhibits under seal and
547                               proposed order
      5/7/2018     MCM            Review and analyze documents and information produced by                          0.6    $231.00      19999341      x               Alleshouse Action   $             231.00 Will not dispute    $               231.00
548                               Whitewater
      5/7/2018     AMS      x     Revise invalidity expert report; revise ex parte motion to extend                 5.2   $2,314.00     1999340                x
549                               deadlines
      5/7/2018      CB      x     Discuss expert report timing and arguments with team and review                   2.3   $1,552.50     1999340                x
550                               related materials.
      5/7/2018      CF      x     Review correspondence from Singapore counsel; revise and finalize                 4.3   $1,892.00     1999340                x
                                  statement, request, and affidavit; draft correspondence regarding same;
                                  review correspondence from opposing counsel regarding depositions
                                  and expert discovery; conference regarding ex parte application; begin
                                  drafting same; continue drafting expert reports
551
      5/7/2018      CF            Review client production; draft correspondence regarding same and                 0.8    $352.00      19999341      x
                                  inspection; draft correspondence regarding Lochtefeld deposition; draft
552                               correspondence to Court regarding extension
      5/8/2018     AMS      x     Revise invalidity expert report; revise ex parte motion to extend time            4.9   $2,180.50     1999340                x
553
      5/8/2018      CF            Review Order from Court regarding extension; draft correspondence                 0.9    $396.00      19999341      x
                                  regarding same and related discovery issues; review client production;
                                  draft correspondence regarding same and privilege log
554
      5/8/2018     SBH      x     Prepare exhibits for ex parte application to extend expert report                 0.3        $58.50   1999340                x
555                               deadline re 1118
      5/9/2018     MCM            Review and analyze Whitewater's written responses to PSD's                        0.6    $231.00      19999341      x               Alleshouse Action   $             231.00 Will not dispute    $               231.00
556                               written discovery, Set One
      5/9/2018      CB      x     Discuss moving to strike declaration Plaintiff's customer witness Berry           0.8    $540.00      1999340                x
557                               (unavailable for deposition) with team.
      5/9/2018      CB      x     Discuss outstanding discovery disputes with team and review related               2.3   $1,552.50     1999340                x
                                  correspondence to counsel re extensions; discuss expert report
558                               arguments with team.
      5/9/2018      CF            Finish review of client production; draft correspondence regarding                2.2    $968.00      19999341      x
                                  subsequent privilege log; draft correspondence to opposing counsel
559                               regarding production and inspection
      5/9/2018      SH      x     Draft deposition outline                                                          1.1    $456.50      1999340                x
560
      5/10/2018     CF      x     Continue drafting expert reports; review correspondence from emerge               8.3   $3,652.00     1999340                x
                                  regarding scope of production from Whitewater; review, revise and
                                  finalize notice of supplemental evidence to Court; review, revise and
                                  finalize final of surf park affidavit, notarize same, and coordinate
561                               delivery to Singapore counsel
562   5/10/2018     SH      x     Draft deposition outline                                                          9.2   $3,818.00     1999340                x
      5/11/2018    AMS      x     Finalize Notice of Supplemental Evidence; draft motion for                        3.2   $1,424.00     1999340                x      2015 Action         $           1,424.00 Allowable mixed
563                               attorneys' fees for 1879 case (1.2)                                                                                                                                          '589/'016
      5/11/2018     OF      x     Conferred re plaintiff's document production                                      0.3    $124.50      1999340                x      Alleshouse Action   $            124.50 Will not dispute     $               124.50
564
      5/11/2018     CF      x     Continue revising and drafting expert reports; continue intake and                4.8   $2,112.00     1999340                x
                                  review of Whitewater production; review opposition to ex parte
565                               application from Plaintiff; conference regarding same
      5/11/2018    SBH      x     Gather and organize all documents for review by Edward Pribonic in                1.5    $292.50      1999340                x
                                  1118 case; upload all electronic documents to file share cite for sending
566




                                                                                                               Defendant's Exhibit A-1                                                                                                 29
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                                                                            203

         A          B       C                                         D                                      E          F               G          H        I               J                  K                        L                M
                                                                                                                                                                   Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      5/11/2018    SBH      x     Draft supplemental declaration of Christopher Franich and prepare              0.8    $156.00      1999340                x
                                  exhibits to notice of supplemental evidence, finalize all and
567                               electronically file
      5/11/2018    SBH      x     Review draft invalidity report of Edward Pribonic in 1118 case against         1.5    $292.50      1999340                x
                                  final Pribonic report in 1879 and compile list of all additional
                                  documents needed to be sent/reviewed by Mr. Pribonic; begin
568                               gathering documents
      5/11/2018     SH      x     Draft deposition outline; conference call with C. Franich regarding            8.1   $3,361.50     1999340                x
569                               deposition outline
570   5/12/2018     SH      x     Draft deposition outline                                                       1.6    $664.00      1999340                x
571   5/13/2018     SH      x     Draft deposition outline                                                       1.9    $788.50      1999340                x
      5/14/2018     OF      x     Conducted review of plaintiff's document production                            5.5   $2,282.50     1999340                x      Alleshouse Action   $           2,282.50 Will not dispute    $              2,282.50
572
      5/14/2018    MCM            Work on issues relating to deposition of Tom Lochtefeld                        0.7    $269.50      19999341      x               Alleshouse Action -- $            269.50 Will not dispute    $               269.50
                                                                                                                                                                   Lochtefeld was not
                                                                                                                                                                   deposed in May
                                                                                                                                                                   2018 in 2017
                                                                                                                                                                   Action
573
574   5/14/2018     CF      x     Continue drafting expert reports                                               9.9   $4,356.00     1999340                x
      5/14/2018    SBH      x     Revise Exhibit A to Pribonic invalidity expert report - Documents and          0.5        $97.50   1999340                x
575                               Things Considered
      5/14/2018     SH      x     Draft deposition outline; review and analyze Plaintiff's document              7.3   $3,029.50     1999340                x
576                               production relevant to deposition
      5/15/2018     OF      x     Conducted review of white water document production                            8.2   $3,403.00     1999340                x      Alleshouse Action   $           3,403.00 Will not dispute    $              3,403.00
577
      5/15/2018     CF      x     Continue drafting expert reports; conference with expert; draft                7.3   $3,212.00     1999340                x
                                  correspondence to expert regarding same; coordinate exhibits; review
                                  correspondence from Singapore counsel re hearing and order; review
578                               enclosures; draft correspondence regarding same
      5/15/2018    SBH      x     Pull Robert Vigil's prior damages report and all documents cited               0.7    $136.50      1999340                x
579
      5/15/2018     SH      x     Draft deposition outline; review and analyze Plaintiff's document              8.4   $3,486.00     1999340                x
580                               production relevant to deposition
      5/16/2018     OF      x     Conducted review of white water document production                        10.3      $4,274.50     1999340                x      Alleshouse Action   $           4,274.50 Will not dispute    $              4,274.50
581
      5/16/2018     CB      x     Review documents produced by plaintiff re revival of '589 patent;              1.2    $810.00      1999340                x
582                               review draft expert reports.
      5/16/2018     SH      x     Draft deposition outline; review and analyze Plaintiff's document              7.6   $3,154.00     1999340                x
583                               production relevant to deposition
      5/17/2018     OF      x     Conducted review of white water document production                            9.5   $3,942.50     1999340                x      Alleshouse Action   $           3,942.50 Will not dispute    $              3,942.50
584
      5/17/2018     CF      x     Review order from Singapore supreme court; draft correspondence to             7.5   $3,300.00     1999340                x
                                  Singapore counsel; continue drafting expert reports; conference with
                                  expert; continue review of Whitewater production; conference with
585                               clerk regarding extension
      5/17/2018    SBH      x     Begin pulling exhibits relied upon in Carmichael's expert report on            1.5    $292.50      1999340                x
586                               inequitable conduct
      5/17/2018    SBH      x     Review and revise Appendix 1 to Pribonic's expert report - Hyland Hills        0.5        $97.50   1999340                x
587                               '589 Claim Chart
      5/18/2018    AMS      x     Finalize invalidity expert report in 1118 case (2.7); revise motion for        4.3   $1,913.50     1999340                x      2015 Action         $             712.00 Will not dispute    $              1,913.50
588                               attorneys' fees in 1879 case (1.6)
      5/18/2018     OF      x     Conducted review of white water document production                            8.7   $3,610.50     1999340                x      Alleshouse Action   $           3,610.50 Will not dispute    $              3,610.50
589
      5/18/2018     CB      x     Review and revise PSD's invalidity and equitable defense expert                8.5   $5,737.50     1999340                x
                                  reports; review Plaintiff's infringement and damages expert reports and
                                  discuss deficiencies and points for responsive reports with team.
590
      5/18/2018     CF      x     Conference with expert; revise report and exhibits; revise report;             5.5   $2,420.00     1999340                x
                                  conference with expert; coordinate and serve expert reports of
                                  invalidity and inequitable conduct; review reports for plaintiff on
                                  damages and invalidity; draft correspondence regarding same
591




                                                                                                            Defendant's Exhibit A-1                                                                                                 30
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                                                                            203

         A          B       C                                         D                                        E           F               G          H        I               J                  K                        L                M
                                                                                                                                                                      Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT            INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      5/18/2018     CF            Review correspondence from opposing counsel regarding motion to                  1.4     $616.00      19999341      x
                                  compel; conference regarding same; review joint statement; conference
                                  regarding same; conference with client; revise and finalize
                                  correspondence to opposing counsel; review prior dispute on discovery;
                                  draft correspondence regarding proposed strategy
592
      5/18/2018    MCM            Review and analyze Whitewater and PSD's respective expert reports                0.8     $308.00      19999341      x
593
      5/18/2018    MCM            Work on meet and confer with Roger Scott on multiple discovery issues            2.7    $1,039.50     19999341      x
594
595   5/18/2018    MCM            Draft Opposition to Plaintiff's motion to compel                                 5.9    $2,271.50     19999341      x
      5/18/2018    SBH      x     Review and revise Carmichael's expert report on inequitable conduct,              4      $780.00      1999340                x
596                               pull and mark additional exhibits
      5/18/2018    SBH      x     Gather and mark exhibits relied upon in Pribonic's 2018 expert report            0.7     $136.50      1999340                x
597
      5/18/2018    SBH      x     Draft Exhibit A to Carmichael's expert report - list of documents and            0.5         $97.50   1999340                x
598                               things considered
      5/18/2018     SH      x     Review and analyze Plaintiff's document production relevant to                   5.6    $2,324.00     1999340                x
599                               depositions
      5/20/2018     OF      x     Conducted review of whitewater document production                               5.6    $2,324.00     1999340                x      Alleshouse Action   $           2,324.00 Will not dispute    $              2,324.00
600
      5/21/2018    MCM            Work on Opposition to Plaintiff's motion to compel                               1.8     $693.00      19999341      x               Alleshouse Action   $             693.00 Will not dispute    $               693.00
601
      5/21/2018     OF      x     Conducted review of whitewater document production                               3.5    $1,452.50     1999340                x      Alleshouse Action   $           1,452.50 Will not dispute    $              1,452.50
602
      5/21/2018     YL            Review Plaintiff's Joint Motion for Determination of Discovery                   2.1     $630.00      19999341      x               Alleshouse Action   $             630.00 Will not dispute    $               630.00
603                               Dispute No. 1
      5/21/2018     YL            Strategize Opposition to Plaintiff's Joint Motion for Determination              1.3     $390.00      19999341      x               Alleshouse Action   $             390.00 Will not dispute    $               390.00
604                               of Discovery Dispute No. 1
      5/21/2018     CF      x     Review correspondence from Singapore counsel; draft correspondence               8.8   $33,872.00     1999340                x
                                  regarding same; conference regarding related extension; draft
                                  correspondence to opposing counsel regarding same; draft
                                  correspondence regarding Whitewater production; continue drafting
                                  outline for Chutter deposition and preparing exhibits; draft notice of
                                  supplemental evidence for motion to compel; revise and finalize
605                               declaration, motion, and order
      5/21/2018    LUB      x     Confer with Anup Shah and Sarah Holland regarding drafting expert                0.9     $373.50      1999340                x
606                               reports on damages and non-infringement
      5/21/2018    SBH      x     Upload Stevick report and exhibits to file share site for transmitting to        0.3         $58.50   1999340                x
607                               expert Pribonic
      5/21/2018    SBH      x     Begin searching and gathering documents cited/relied upon in WWI's               1.5     $292.50      1999340                x
608                               expert Vigil's report re: 1118
      5/21/2018     SH      x     Review and analyze Plaintiff's document production relevant to                   8.2    $3,403.00     1999340                x
                                  depositions; conference call with A. Shah regarding expert reports;
609                               review and summarize Stevick expert report
      5/22/2018     YL            Prepare Opposition to Plaintiff's motion to compel                               7.4    $2,220.00     19999341      x               Alleshouse Action   $           2,220.00 Will not dispute    $              2,220.00
610
      5/22/2018     CB      x     Revise Chutter deposition outline and review related documents;                  5.8    $3,915.00     1999340                x
                                  review opposing expert reports and outline responsive reports.
611
      5/22/2018     CF      x     Revise and finalize draft of Chutter deposition outline exhibit; draft            6     $2,640.00     1999340                x
                                  correspondence regarding same; revise draft of customer deposition
                                  outline; finalize and coordinate service of fees briefing; revise and
                                  finalize notice of supplemental evidence; coordinate filing; review
                                  correspondence from opposing counsel regarding same; conference
                                  regarding Chutter deposition
612
613   5/22/2018    LUB      x     Summarize WWI's expert report on damages                                         1.7     $705.50      1999340                x
      5/22/2018     SH      x     Review and analyze expert reports; draft expert report comparison                9.1    $3,776.50     1999340                x
614                               chart; research motion in limine issues
      5/23/2018    MCM            Work on Opposition to Plaintiff's motion to compel                               1.6     $616.00      19999341      x               Alleshouse Action   $             616.00 Will not dispute    $               616.00
615




                                                                                                              Defendant's Exhibit A-1                                                                                                  31
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                                                                            203

         A          B       C                                        D                                         E          F               G          H        I               J                  K                        L                M
                                                                                                                                                                     Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      5/23/2018    MCM            Work on supplemental document production                                         0.4    $154.00      19999341      x               Alleshouse Action   $             154.00 Will not dispute    $               154.00
616
      5/23/2018     YL            Prepare Opposition to Plaintiff's motion to compel                               5.4   $1,620.00     19999341      x               Alleshouse Action   $           1,620.00 Will not dispute    $              1,620.00
617
      5/23/2018    SBH      x     Gather and upload to file share cite documents to be review by                   0.7    $136.50      1999340                x      No expert named      $            136.50 Will not dispute    $               136.50
                                  expert Mazur for preparation of expert report                                                                                      Mazur in this action
618
      5/23/2018    AMS      x     Revise subpoena to T. Gantz; review G. Chutter deposition documents               1     $445.00      1999340                x
619
620   5/23/2018     CB      x     Review materials in preparation for deposition of G. Chutter.                    4.3   $2,902.50     1999340                x
      5/23/2018     CF      x     Continue revising exhibits for Chutter depo and related outline; same            5.7   $2,508.00     1999340                x
                                  for customer deposition; draft correspondence to opposing counsel
621                               regarding same
      5/23/2018     CF            Review correspondence form opposing counsel regarding discovery and              0.3    $132.00      19999341      x
                                  production and depositions; draft correspondence to opposing counsel
622                               regarding same
623   5/23/2018    LUB      x     Summarize 2018 Vigil expert report on damages                                    4.5   $1,867.50     1999340                x
      5/23/2018    SBH      x     Complete search for documents cited/relied upon in WWI's expert                  0.5        $97.50   1999340                x
624                               Vigil's report re: 1118 and upload to file share site
      5/23/2018    SBH      x     Review protective order for language about inadvertent disclosure of             0.2        $39.00   1999340                x
625                               privileged documents
626   5/23/2018     SH      x     Research motion in limine issues; draft expert report                            6.7   $2,780.50     1999340                x
      5/24/2018    MCM            Finalize Opposition to Plaintiff's motion to compel                               2     $770.00      19999341      x               Alleshouse Action   $             770.00 Will not dispute    $               770.00
627
      5/24/2018    MCM            Plan and prepare for deposition of Tom Lochtefeld                                1.1    $423.50      19999341      x               Alleshouse Action   $             423.50 Will not dispute    $               423.50
628
      5/24/2018     YL            Prepare Declaration of Mark Mao in Support of Opposition to                      1.4    $420.00      19999341      x               Alleshouse Action   $             420.00 Will not dispute    $               420.00
629                               Plaintiff's motion to compel
      5/24/2018     YL            Finalize Opposition to Plaintiff's motion to compel                              3.8   $1,140.00     19999341      x               Alleshouse Action   $           1,140.00 Will not dispute    $              1,140.00
630
      5/24/2018    AMS      x     Draft response regarding privilege disclosure; analyze Stevick report;           4.6   $2,047.00     1999340                x
                                  analyze Vigil report; call with damages expert regarding Vigil report;
                                  draft non-infringing alternatives section of non-infringement report
631
      5/24/2018     CB      x     Review materials in preparation for deposition of G. Chutter; review             9.3   $6,277.50     1999340                x
                                  damages expert report and identify points for responsive report; review
                                  court order re briefing of motion to compel and discuss next steps with
632                               team.
      5/24/2018     CF      x     Continue preparing for Chutter deposition; draft correspondence                  2.3   $1,012.00     1999340                x
633                               regarding rebuttal reports
      5/24/2018    LUB      x     Summarize 2018 Vigil expert report on damages and compare to 2017                3.9   $1,618.50     1999340                x
634                               report; telephone conference regarding expert report on damages
      5/24/2018    MCM      x     Review and analyze documents and information relating to expert                  0.4    $154.00      1999340                x
635                               discovery
      5/24/2018    SBH      x     Review docket and pull all documents relating to the parties' motion for          1     $195.00      1999340                x
                                  summary judgment briefing, briefing for preliminary injunction
                                  including renewed brief and court's order, supplementary discovery
                                  responses and Benac deposition transcripts and exhibits; upload all files
                                  to file share site for Anup Shah
636
      5/24/2018     SH      x     Draft expert report; draft expert report comparison chart; review and            5.9   $2,448.50     1999340                x
637                               analyze summary judgment briefing
      5/25/2018    MCM            Attend deposition of Tom Lochtefeld                                              7.2   $2,772.00     19999341      x               Alleshouse Action   $           2,772.00 Will not dispute    $              2,772.00
638
639   5/25/2018    AMS      x     Research T. Gantz deposition documents                                           1.8        $81.00   1999340                x
640   5/25/2018     CB      x     Depose G. Chutter and review materials in preparation therefor.                  9.2   $6,210.00     1999340                x
      5/25/2018     CF      x     Final preparation for and Chutter deposition; draft correspondence               8.2   $3,608.00     1999340                x
                                  regarding same and information related to rebuttal reports
641
      5/25/2018     CF            Draft correspondence to opposing counsel regarding Lochtefeld                    0.2        $88.00   19999341      x
642                               production deficiencies




                                                                                                              Defendant's Exhibit A-1                                                                                                 32
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                                                                            203

         A          B       C                                        D                                      E          F               G          H        I               J                  K                         L                       M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT           INV. NO    WW INV.   FR INV   Recoverable         Recoverable           PSD Response              PSD - Not recoverable
      5/25/2018     SH      x     Draft expert report comparison chart; research expert report issues           4.4   $1,826.00     1999340                x
643
      5/26/2018    MCM            Reassess Tom Lochtefeld's deposition testimony                                0.4    $154.00      19999341      x               Alleshouse Action   $             154.00 Will not dispute            $               154.00
644
645   5/27/2018     SH      x     Research expert report issues                                                 1.2    $498.00      1999340                x
      5/29/2018     CF            Conference regarding Lochtefeld deposition, statute of limitations,           0.4    $176.00      19999341      x               Alleshouse Action   $              44.00 Will not dispute            $               176.00
                                  and discovery issues outstanding; draft correspondence regarding same
646
      5/29/2018    MCM            Meet and confer with Roger Scott regarding meet and confer on                 1.2    $462.00      19999341      x               Alleshouse Action   $             462.00 Will not dispute            $               462.00
                                  Whitewater's written discovery set two and set three
647
      5/29/2018    MCM            Research for potential motion for summary judgment                            1.8    $693.00      19999341      x               Alleshouse Action   $             693.00 Will not dispute            $               693.00
648
      5/29/2018    AMS      x     Draft deposition outline for T. Gantz; draft non-infringement expert          7.3   $3,248.50     1999340                x
649                               report
      5/29/2018     SH      x     Draft expert report comparison chart; research expert report issues;          7.5   $3,112.50     1999340                x
650                               draft and edit expert report
      5/30/2018    MCM            Revise motion for summary judgment                                            1.7    $654.50      19999341      x               Alleshouse Action   $             654.50 Will not dispute            $               654.50
651
      5/30/2018    MCM            Revise supplement document production demonstrating                           2.8   $1,078.00     19999341      x               Alleshouse Action   $           1,078.00 Will not dispute            $              1,078.00
652                               inventorship with Richard Alleshouse and Yong Yeh
      5/30/2018    AMS      x     Revise T. Gantz deposition outline; revise non-infringement report;           3.9   $1,735.50     1999340                x
653
      5/30/2018     CF            Review correspondence regarding meet and confer, Whitewater                   0.3    $132.00      19999341      x
654                               discovery responses, and statute of limitations
      5/30/2018    LUB      x     Draft response to second notice of supplemental evidence regarding            6.9   $2,863.50     1999340                x
655                               inadvertent disclosure of privileged documents
656   5/30/2018     SH      x     Research expert report issues; draft and edit expert report                   3.6   $1,494.00     1999340                x
      5/31/2018    LUB      x     Draft response to second notice of supplemental evidence regarding            2.1    $871.50      1999340                x
657                               inadvertent disclosure of privileged documents
      5/31/2018    MCM            Review and analyze documents and written discovery already produced           2.4    $924.00      19999341      x
658                               to Whitewater
      6/1/2018     MCM            Research potential dispositive motion strategies, and review                  1.4    $539.00      2011323       x               Alleshouse Action   $             539.00 Will not dispute            $               539.00
                                  documents for same
659
      6/1/2018      CF      x     Continue preparing outline for Ferdosi deposition and exhibits;                3    $1,320.00     2007131                x      No witness named    $           1,320.00 Ferdosi was a customer
                                  revise and finalize declaration and reply to response by Plaintiff to                                                           Ferdosi in this                          witness - - valid charge
                                  supplemental evidence; coordinate filing                                                                                        action?
660
      6/1/2018      CB      x     Revise reply in support of notice of supplemental evidence re                 3.8   $2,565.00     2007131                x
                                  inadvertent production and privilege waiver; discuss potential
                                  cancellation of Ferdosi deposition and related correspondence to
661                               opposing counsel; review draft expert report.
662   6/1/2018     MCM            Work with Roger Scott to extend discovery deadlines                           0.4    $154.00      2011323       x
      6/1/2018      SH      x     Review and analyze documents relevant to customer depositions; draft          5.1   $1,683.00     2007131                x
663                               customer deposition outline
      6/3/2018      CF      x     Review correspondence from opposing counsel regarding Ferdosi                 0.2        $88.00   2007131                x      No witness named    $              88.00 Ferdosi was a customer
                                  deposition; draft correspondence to opposing counsel regarding                                                                  Ferdosi in this                          witness - - valid charge
664                               same                                                                                                                            action?
665   6/3/2018      CB      x     Review draft Pribonic expert report.                                          3.8   $2,565.00     2007131                x
666   6/4/2018     AMS      x     Revise expert non-infringement report                                         3.8   $1,691.00     2007131                x
667   6/4/2018      CF      x     Revise and finalize draft of rebuttal report for noninfringement              0.7    $308.00      2007131                x
      6/4/2018     MCM            Work on meet and confer against Whitewater on its responses PSD's             1.5    $577.50      2011323       x
668                               written discovery, Set One
      6/4/2018     SBH      x     Draft subpoenas and notice of issuance of subpoenas and depositions re        0.3        $58.50   2007131                x
669                               Godici, Vigil and Stevick
      6/4/2018      SH      x     Review and analyze depositions relevant to expert report; edit expert         5.1   $1,683.00     2007131                x
670                               report
671   6/4/2018     SRH            Analyze discovery responses for meet and confer letter                        0.5    $235.00      2011323       x
672   6/5/2018     AMS      x     Revise E. Pribonic non-infringement report                                    1.3    $578.50      2007131                x
673   6/5/2018      CB      x     Review draft expert reports/declarations.                                     1.8   $1,215.00     2007131                x




                                                                                                           Defendant's Exhibit A-1                                                                                                         33
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         A          B       C                                         D                                      E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      6/5/2018      CF      x     Review draft of expert report; draft correspondence regarding same;            0.4    $176.00    2007131               x
674                               draft correspondence regarding expert depositions
      6/5/2018      CF            Review entire discovery and file history; conference regarding strategy        1.9    $836.00    2011323      x
                                  in regards to experts and dispositive motions and depositions
675
      6/5/2018     MCM            Review and finalize written discovery efforts prior to closure of              2.9   $1,116.50   2011323      x
676                               discovery
677   6/5/2018      SH      x     Research design-around issues; draft expert disclosure                         4.4   $1,452.00   2007131               x
      6/6/2018     AMS      x     Call with J. Lewis regarding damages report; call with C. Brahma               4.4   $1,958.00   2007131               x
                                  regarding expert reports; revise E. Pribonic non- infringement report;
                                  call with R. Alleshouse regarding disclosure; revise expert disclosure;
678                               review draft damages report
679   6/6/2018      CB      x     Review draft expert reports/declarations.                                      5.2   $3,510.00   2007131               x
      6/6/2018      CF            Draft correspondence to expert regarding rebuttal report; coordinate           2.1    $924.00    2011323      x
                                  services of 30b6 depositions; review plaintiff discovery responses;
                                  revise and finalize meet and confer letter; conference regarding
                                  remaining discovery strategy; coordinate service of new production
680
681   6/6/2018     MCM            Finalize written discovery efforts prior to closure of discovery               3.1   $1,193.50   2011323      x
      6/6/2018      SH      x     Edit expert disclosure; draft expert report exhibit; review and analyze        3.6   $1,188.00   2007131               x
682                               deposition transcripts
      6/6/2018      YL            Analyze Plaintiff's corporate structure to determine whether                   1.6    $480.00    2011323      x
683                               assignment of rights was validly transferred
      6/7/2018     AMS      x     Revise R. Alleshouse disclosure; call with R. Alleshouse regarding the         2.1    $934.50    2007131               x
684                               same
685   6/7/2018      CB      x     Revise expert reports/declarations.                                            4.8   $3,240.00   2007131               x
      6/7/2018      CF      x     Revise and finalize draft of expert rebuttal reports; draft                    3.9   $1,716.00   2007131               x
                                  correspondence to expert; prepare exhibits and draft correspondence to
                                  expert regarding same; review opposition to motion for costs and fees;
686                               draft correspondence regarding same
      6/10/2018     CB      x     Review opposing expert reports of Stevick re validity and Godici re            2.3   $1,552.50   2007131               x
                                  inequitable conduct, and identify potential responsive arguments and
687                               motions to strike.
      6/11/2018     CB      x     Review opposing expert reports of Stevick re validity and Godici re            3.3   $2,227.50   2007131               x
                                  inequitable conduct, and identify potential responsive arguments and
                                  motions to strike; discuss motion to extend deadlines with team.
688
      6/11/2018     CF      x     Analyze rebuttal expert reports; draft correspondence regarding                2.5   $1,100.00   2007131               x
                                  preliminary analysis of same; draft correspondence to opposing counsel
                                  regarding service of deposition notices and schedule; draft
                                  correspondence to Carmichael regarding same; draft correspondence
                                  regarding deposition of Squier and plaintiff experts
689
      6/11/2018     CF            Review client production; revise privilege log; draft correspondence           0.7    $308.00    2011323      x
                                  regarding same; review prior production; draft correspondence
690                               regarding supplemental production
      6/11/2018    MCM            Prepare supplemental written discovery, document production, and               1.1    $423.50    2011323      x
691                               privilege log to Whitewater
      6/11/2018    SRH            Conference call with R. Alleshouse, Y. Yeh, and M. Mao regarding               0.8    $376.00    2011323      x
                                  privilege log; confer with G. Laiolo regarding legal research for proof
692                               chart
      6/12/2018     CF      x     Analyze opposition brief from Plaintiff regarding fees; draft outline          3.3   $1,452.00   2007131               x      2015 Action         $             363.00 ALlowable mixed
                                  of reply brief; review order from Court regarding discovery and                                                                                                        '589/'016
                                  remaining deadlines; draft correspondence regarding same; contact
693                               expert regarding same
694   6/12/2018     SH      x     Review and summarize expert report                                             4.4   $1,452.00   2007131               x                                                                   $              1,452.00
      6/14/2018    MCM            Prepare supplemental written discovery, document production,                   1.6    $616.00    2011323      x               Alleshouse Action   $             616.00 Will not dispute    $               616.00
695                               and privilege log to Whitewater




                                                                                                            Defendant's Exhibit A-1                                                                                              34
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         A          B       C                                        D                                      E          F              G          H        I               J                  K                         L                     M
                                                                                                                                                                 Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response            PSD - Not recoverable
      6/15/2018     CF            Review correspondence from opposing counsel regarding                         1.5    $660.00      2011323      x               Alleshouse Action   $             660.00 Will not dispute          $               660.00
                                  discovery dispute; review, revise and finalize correspondence
                                  regarding same; team conference regarding reply strategy for each
                                  discovery dispute; revise draft of privilege log
696
      6/15/2018    MCM            Work on responding to meet and confer on PSD's responses to                   5.3   $2,040.50     2011323      x               Alleshouse Action   $           2,040.50 Will not dispute          $              2,040.50
                                  Plaintiff's written discovery set one, two, and three; meet and
                                  confer with Rick Tache regarding depositions and proposed
                                  motion to continue discovery deadlines; work on compiling
                                  documents for supplemental production by Yong Yeh and Richard
                                  Alleshouse; phone conference with Roger Scott re depositions and
                                  proposed motion to continue discovery deadlines

697
      6/15/2018     YL            Strategize supplemental privilege log in response to the parties'             0.3        $90.00   2011323      x               Alleshouse Action   $              90.00 Will not dispute         $                 90.00
698                               meet and confer agreement
      6/16/2018     YL            Prepare supplemental privilege log in response to the parties'                1.6    $480.00      2011323      x               Alleshouse Action   $             480.00 Will not dispute          $               480.00
699                               meet and confer agreement
      6/17/2018     YL            Prepare supplemental privilege log in response to the parties'                4.7   $1,410.00     2011323      x               Alleshouse Action   $           1,410.00 Will not dispute          $              1,410.00
700                               meet and confer agreement
      6/17/2018    MCM            Work on responding to meet and confer on Plaintiff's written responses        1.7    $654.50      2011323      x                                   $             654.50 Will not dispute          $               654.50
701                               to PSD's written discovery Set One and Two
      6/18/2018     CF      x     Revise and finalize reply brief for fees and costs; draft various             2.2    $968.00      2007131               x      2015 Action         $             484.00 Will not dispute          $               968.00
                                  correspondence to opposing counsel regarding discovery disputes
702
      6/18/2018    SBH      x     Gather and prepare exhibits cited in PSD"s reply in support of its            2.6    $507.00      2007131               x      2015 Action         $             507.00 Will not dispute          $               507.00
                                  motion for attorneys' fees, draft supplemental declaration of
                                  Charan Brahma, draft motion to file exhibits and reply under seal
703                               with proposed order
      6/18/2018    MCM            Work on responding to meet and confer on Plaintiff's written                  4.7   $1,809.50     2011323      x               Alleshouse Action   $           1,809.50 Will not dispute          $              1,809.50
                                  responses to PSD's written discovery Set One and Two; work on
                                  finalizing supplemental responses to Whitewater's written
                                  discovery sets two and three, and compiling supplemental
                                  production by Yong Yeh and Richard Alleshouse
704
705   6/18/2018     SH      x     Review and summarize expert report                                            4.7   $1,551.00     2007131               x
      6/18/2018    SRH            Draft joint motion to extend deadline to submit discovery disputes;           4.4   $2,068.00     2011323      x
                                  email correspondence with R. Scott regarding same; email V. Ayala
706                               regarding filing joint motion
      6/19/2018    MCM            Finalize supplemental responses to Whitewater's written                       0.8    $308.00      2011323      x               Alleshouse Action   $             308.00 Will not dispute          $               308.00
                                  discovery sets two and three, and supplemental production by
707                               Yong Yeh and Richard Alleshouse
708   6/19/2018     SH      x     Review and summarize expert report; edit summary                              3.3   $1,089.00     2007131               x
      6/19/2018    SRH            Review joint motion and proposed order for filing; email A. Evanson           0.8    $376.00      2011323      x
                                  regarding documents to load for review; email C. Franich regarding
                                  potential damages theories; email M. Mao regarding strategy for Rule
709                               30(b)(6) deposition
      6/20/2018     CB            Review Whitewater expert reports and assess need for responsive               2.2   $1,485.00     2011323      x               Alleshouse Action   $           1,485.00 Whitewater served
                                  expert reports and potential motions to strike.                                                                                                                         expert reports in tbis
710                                                                                                                                                                                                       matter - valid charge
      6/20/2018     CF            Review correspondence regarding deposition and discovery                      0.5    $220.00      2011323      x               Alleshouse Action   $            220.00 Whitewater served
                                  strategy for statute of limitations; draft correspondence regarding                                                                                                     expert reports in tbis
                                  same; review expert report from Stevick; draft correspondence                                                                                                           matter- valid charge
711                               regarding same
      6/20/2018    MCM            Meet and confer with Roger Scott regarding depositions; review                1.8    $693.00      2011323      x               Alleshouse Action   $             693.00 Whitewater served
                                  and analyze expert reports of Whitewater                                                                                                                                expert reports in tbis
712                                                                                                                                                                                                       matter- valid charge
      6/20/2018    SRH            Review meet and confer correspondence, email M. Mao regarding                 1.5    $705.00      2011323      x               Alleshouse Action   $             705.00 Whitewater served
                                  draft response, review Whitewater's expert reports                                                                                                                      expert reports in tbis
713                                                                                                                                                                                                       matter- valid charge




                                                                                                           Defendant's Exhibit A-1                                                                                                      35
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                                                                            203

         A          B       C                                        D                                        E          F              G          H        I               J                  K                         L                     M
                                                                                                                                                                   Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response            PSD - Not recoverable
      6/21/2018     CF            Revise and finalize joint motion; coordinate same; review expert                0.5    $220.00      2011323      x               Alleshouse Action   $             220.00 Whitewater served
                                  damages report; draft correspondence regarding same                                                                                                                       expert reports in tbis
714                                                                                                                                                                                                         matter- valid charge
      6/21/2018    SRH            Email correspondence regarding expert depositions, review and                   0.5    $235.00      2011323      x               Alleshouse Action   $             235.00 Whitewater served
                                  revise joint motion to continue dates, email damages expert                                                                                                               expert reports in tbis
715                               regarding expert report                                                                                                                                                   matter- valid charge
      6/22/2018     CF      x     Review correspondence from opposing counsel regarding new                       0.7    $308.00      2007131               x
                                  production and privilege log; draft correspondence regarding same;
                                  review correspondence regarding foreign sales decision; draft
716                               correspondence regarding analysis of same
      6/25/2018     CF            Draft correspondence regarding rebuttal reports on damages and                  0.3    $132.00      2011323      x               Alleshouse Action   $             132.00 Whitewater served
                                  technical expert reports                                                                                                                                                  expert reports in tbis
717                                                                                                                                                                                                         matter- valid charge
      6/25/2018     CF      x     Review production and discovery responses from opposing counsel;                0.4    $176.00      2007131               x
718                               draft correspondence regarding same
719   6/25/2018     SH      x     Draft deposition outline                                                        5.4   $1,782.00     2007131               x
      6/26/2018     CF      x     Draft correspondence to opposing counsel regarding Squier deposition;           0.6    $264.00      2007131               x
                                  review privilege log from opposing counsel; draft correspondence
                                  regarding same; draft correspondence regarding notice of supplemental
                                  evidence; review orders from Benitez; draft correspondence regarding
720                               same
721   6/26/2018     SH      x     Draft deposition outline                                                        4.1   $1,353.00     2007131               x
      6/26/2018    SRH            Analyze potential protective order violation, draft email regarding             0.8    $376.00      2011323      x
                                  same, email correspondence regarding document production and
722                               privilege log
723   6/27/2018    SRH            Review documents for production                                                 0.4    $188.00      2011323      x
      6/28/2018    SBH            Review order granting joint motion to modify scheduling order;                  0.4        $78.00   2011323      x               Alleshouse Action   $              78.00 Will not dispute         $                 78.00
                                  reset and compute all deadlines and hearing dates provided in the
724                               order; distribute updated event report
      6/28/2018    SRH            Finalize privilege log and document production                                  0.4    $188.00      2011323      x               Alleshouse Action   $             188.00 Will not dispute          $               188.00
725
      6/29/2018     CF      x     Review correspondence regarding conflict and Ocean Tomo; review                 0.3    $132.00      2007131               x
                                  prior correspondence; draft correspondence regarding same and
726                               detailed timeline
      6/29/2018     CF            Review draft expert report from Lewis; draft correspondence regarding           0.3    $132.00      2011323      x
727                               preliminary review of same
      7/2/2018      CB            Discuss potential conflict issue raised by opposing counsel with Ocean          0.5    $337.50      2020150      x
728                               Tomo expert and M. Mao
729   7/2/2018     MCM            Work on alleged conflict issues raised by Rick Tache                            0.6    $231.00      2020150      x
730   7/2/2018     SRH            Email J. Lewis regarding expert report                                          0.3    $141.00      2020150      x
      7/3/2018      CF      x     (Squier deposition) Review Whitewater new production; continue                  1.8    $792.00      2015791               x
731                               drafting outline for Squier deposition part two
      7/5/2018      CF      x     (Squier deposition) Review correspondence regarding Squier                      0.3    $132.00      2015791               x
732                               deposition strategy; continuing revising outline of same
      7/9/2018     MCM            Work on claim construction of '433 patent, and reviewing                        3.8   $1,463.00     2020150      x               Alleshouse Action   $           1,463.00 Will not dispute          $              1,463.00
                                  prosecution history of same, with Richard Alleshouse and Yong Yeh                                                                ('433 Patent)
733
      7/9/2018      CB      x     Discuss motion to strike Berry declaration (customer evidence) with G.          0.5    $337.50      2024537               x
734                               Laiolo
      7/9/2018      CF      x     (Deposition Squier) Conference regarding deposition strategy; continue          0.3    $132.00      2015791               x
735                               revising outline for same
736   7/9/2018     SRH            Revise and finalize supplemental interrogatory responses                        0.8    $376.00      2020150      x
      7/10/2018     CB            Discuss outline for Squier deposition with C. Franich and review related        2.3   $1,552.50                  x
737                               documents.
738   7/10/2018     CF      x     Continue preparing outline and exhibits for Squier deposition                   2.6   $1,144.00     2015791               x
      7/11/2018     CF      x     (Squier deposition) Conference regarding deposition strategy; revise            3.5   $1,540.00     2015791               x
739                               outline; finalize exhibits for use in deposition
      7/11/2018     CF      x     Review discovery documents and responses to document production;                 1     $440.00      2015791               x
                                  draft email to opposing counsel; draft email to Knobbe
740
      7/12/2018    MCM            Work on meet and confer with Roger Scott on eDiscovery                          2.2    $847.00      2020150      x               Alleshouse Action   $             847.00 Will not dispute          $               847.00
741




                                                                                                             Defendant's Exhibit A-1                                                                                                      36
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                                                                            203

         A          B       C                                        D                                      E          F            G          H        I               J                  K                        L                M
                                                                                                                                                               Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
742   7/12/2018     CB      x     Review materials in preparation for deposition of E. Squier.                  3.4   $2,295.00   2015791               x
      7/12/2018     CF      x     Review correspondence from opposing counsel for Surf Park on letter of        0.4    $176.00    2015791               x
                                  costs; draft correspondence regarding same and proposed reply
743
744   7/13/2018    AMS      x     Call with C. Brahma and C. Franich regarding Squier deposition                0.9    $400.50    2015791               x
      7/13/2018     CB      x     Conduct deposition of E. Squier (1.6 hours) and review materials in           3.5   $2,362.50   2015791               x
745                               preparation for same (1.9 hours).
      7/13/2018     CF      x     (Squier deposition) Final preparation and then deposition of Squier           3.5   $1,540.00   2015791               x
746
      7/13/2018     CF      x     Conference regarding case strategy, dispositive motions, and expert           0.8    $352.00    2015791               x
747                               reports
748   7/13/2018     CF            Conference regarding fact discovery and case strategy                         0.5    $220.00    2020150      x
      7/15/2018    MCM            Work on meet and confer with Roger Scott on eDiscovery                        0.3    $115.50    2020150      x               Alleshouse Action   $             115.50 Will not dispute    $               115.50
749
      7/16/2018    MCM            Draft and revise on meet and confer with Roger Scott on                       0.8    $308.00    2020150      x               Alleshouse Action   $             308.00 Will not dispute    $               308.00
750                               depositions and eDiscovery
      7/16/2018     CB      x     Assess areas for expert report supplementation re inequitable conduct         1.6   $1,080.00   2015791               x
                                  in light of Squier deposition and review related materials.
751
      7/16/2018     CF      x     Review transcript from Squier deposition; draft correspondence                1.3    $572.00    2015791               x
                                  regarding impact on rebuttal report and MSJ; review correspondence
                                  from Knobbe; draft correspondence regarding remaining discovery
752
      7/16/2018    SRH            Email R. Scott regarding supplemental discovery responses; confer with        1.2    $564.00    2020150      x
                                  O. Figueroa regarding legal research assignment; draft and serve Rule
                                  30(b)(6) deposition notice; confer with M. Mao regarding client
753                               deposition
      7/17/2018    MCM            Work on supplemental discovery (0.8); and prepare for deposition of           1.7    $654.50    2020150      x               Alleshouse Action   $             346.50 Will not dispute    $               654.50
754                               Richard Alleshouse (0.9)
      7/17/2018     CF      x     Review prior production and discovery responses from Whitewater;              1.3    $572.00    2015791               x
                                  conference regarding meet and confer strategy in view of remaining
                                  discovery; revise letter; draft correspondence regarding same; review
                                  discovery and draft correspondence regarding exhibits in support of
                                  meet and confer letter
755
756   7/17/2018     SH            Draft meet and confer letter                                                  2.6    $858.00    2020150      x
      7/17/2018    SRH      x     Revise meet and confer letter regarding discovery responses; confer           1.2    $564.00    2015791               x
757                               with C. Franich regarding same
      7/18/2018     CB            Discuss deposition strategy and overall case strategy with team.               1     $675.00    2020150      x               Alleshouse Action   $             675.00 Will not dispute    $               675.00
758
      7/18/2018    MCM            Prepare for deposition of Richard Alleshouse (1.8); review                    3.3   $1,270.50   2020150      x               Alleshouse Action   $           1,270.50 Will not dispute    $              1,270.50
                                  documents for potential motion for summary judgment (.5); meet
                                  and confer with Roger Scott regarding depositions (1.0)
759
      7/18/2018     CF      x     Revise and finalize letter to opposing counsel; draft correspondence          0.7    $308.00    2015791               x
                                  regarding deposition strategy, MSJ strategy, and remaining deposition
                                  issues to avoid trial; draft correspondence regarding discovery issues
760
      7/18/2018    SRH      x     Confer with C. Brahma regarding meet and confer letter; finalize and          0.8    $376.00    2015791               x
761                               send meet and confer letter to R. Scott
      7/18/2018    SRH            Meet and confer with R. Scott and M. Mao; analyze Whitewater's                2.9   $1,363.00   2020150      x
                                  supplemental document production; draft verifications for
762                               supplemental interrogatory responses(1.6); Review legal research
      7/19/2018    MCM            Meet and confer with Roger Scott regarding depositions (1.2);                 4.8   $1,848.00   2020150      x               Alleshouse Action   $           1,848.00 Will not dispute    $              1,848.00
                                  prepare meet and confer response to Whitewater on outstanding
                                  discovery issues, and supplemental discovery responses 3.6)
763
      7/19/2018     SH            Draft supplemental discovery responses                                        3.8   $1,254.00   2020150      x               Alleshouse Action   $           1,254.00 Will not dispute    $              1,254.00
764




                                                                                                           Defendant's Exhibit A-1                                                                                              37
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         A          B       C                                         D                                      E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      7/19/2018     CF      x     Review production from client; review prior discovery responses for             2     $880.00    2015791               x
                                  each request propounded by plaintiff; review and revise draft of
                                  discovery letter to opposing counsel; draft correspondence requesting
                                  supplementation; review exhibit related to same; revise letter; draft
                                  follow-up correspondence to client; review supplemental knobbe
                                  production; draft correspondence regarding analysis of same
765
      7/19/2018     CF            Review correspondence regarding dispute from opposing counsel                  2.7   $1,188.00   2020150      x
                                  regarding 30b6 and individual depositions; review production from
                                  1879 case regarding prior communications between client; review
                                  expert reports from plaintiff; prepare exhibit for use in responding to
                                  plaintiff; draft correspondence regarding same and strategy
766
      7/20/2018    MCM            Meet and confer with Roger Scott regarding depositions (.3);                   2.6   $1,001.00   2020150      x               Alleshouse Action   $           1,001.00 Will not dispute    $              1,001.00
                                  prepare supplemental discovery responses and document
767                               production to Whitewater (2.3)
      7/20/2018    SRH            Review email correspondence regarding Whitewater's                             0.5    $235.00    2020150      x               Alleshouse Action   $             235.00 Will not dispute    $               235.00
                                  supplemental production of documents; review email from R. Scott
768                               regarding meet and confer
      7/20/2018     CF            Review letter from opposing counsel; coordinate production and                 0.5    $220.00    2020150      x
                                  designation of documents; draft correspondence regarding same; draft
                                  review correspondence from client regarding new production from
                                  plaintiff; draft correspondence regarding discovery strategy and
769                               dispositive motion
      7/23/2018     CF            Review ex parte application; draft correspondence regarding                    0.4    $176.00    2020150      x               Alleshouse Action   $             176.00 Will not dispute    $               176.00
                                  proposed reply strategy; conference regarding same, privilege log,
770                               prior expert reports
      7/23/2018    MCM            Prepare opposition to Whitewater's ex parte motion to extend                   1.6    $616.00    2020150      x               Alleshouse Action   $             616.00 Will not dispute    $               616.00
                                  discovery deadlines (1.6); meet and confer with Roger Scott
                                  regarding depositions 1.5); prepare Yong Yeh and Richard
771                               Alleshouse for their depositions (1.2)
      7/23/2018    MCM            Meet and confer with Roger Scott regarding depositions(1.5)                    2.7   $1,039.50   2020150      x               Alleshouse Action   $           1,039.50 Will not dispute    $              1,039.50
                                  Prepare Yong Yeh and Richard Alleshouse for their
772                               depositions(1.2)
      7/23/2018    SRH            Review ex parte motion to modify schedule; strategize with M. Mao              3.4   $1,598.00   2020150      x               Alleshouse Action   $           1,598.00 Will not dispute    $              1,598.00
                                  regarding response to ex parte motion; confer with M. Mao and R.
                                  Scott regarding joint motion to modify; email R. Scott regarding
773                               verifications
      7/24/2018     CF            Review draft joint motion; draft correspondence regarding                      0.3    $132.00    2020150      x               Alleshouse Action   $             132.00 Will not dispute    $               132.00
774                               revisions and PO strategy
      7/24/2018    MCM            Meet and confer with Roger Scott regarding outstanding discovery               3.9   $1,501.50   2020150      x               Alleshouse Action   $           1,501.50 Will not dispute    $              1,501.50
                                  issues (1.6); prepare opposition to Whitewater's ex parte motion
                                  to extend discovery deadlines (.8); prepare supplemental
                                  discovery responses and document production to Whitewater (1.5)
775
      7/24/2018    SRH            Revise joint motion to modify schedule; confer with M. Mao and C.              5.2   $2,444.00   2020150      x               Alleshouse Action   $           2,444.00 Will not dispute    $              2,444.00
                                  Brahma regarding strategy; email R. Scott regarding joint motion;
                                  draft Mao declaration in support of opposition to ex parte motion;
                                  review privilege log entries challenged in meet and confer letter
776
      7/25/2018    MCM            Prepare opposition to Whitewater's ex parte motion to extend                   5.6   $2,156.00   2020150      x               Alleshouse Action   $           2,156.00 Will not dispute    $              2,156.00
                                  discovery deadlines (2.4); phone call with Yong Yeh regarding his
                                  deposition (1.1); phone call with Richard Alleshouse regarding his
                                  deposition (.6); prepare supplemental discovery responses and
                                  document production to Whitewater (1.5);
777
      7/25/2018     YL            Review relevant documents for motion for summary judgment                      1.7    $510.00    2020150      x               Alleshouse Action   $             510.00 Will not dispute    $               510.00
778
      7/25/2018     CF      x     Conference regarding terminating sanctions and relief sought for               1.1    $484.00    2015791               x      Motion for          $             484.00 Will not dispute    $               484.00
                                  discovery issues; revise outline of brief; draft correspondence                                                               Terminating
779                               regarding exhibits and RFPs                                                                                                   Sanctions denied
      7/25/2018     CB            Review discovery status and discuss discovery disputes and case                2.3   $1,552.50   2020150      x
780                               strategy with team.




                                                                                                            Defendant's Exhibit A-1                                                                                              38
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                                                                            203

         A          B       C                                         D                                        E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      7/25/2018     CF            Review correspondence regarding opposition brief; draft                          0.3    $132.00    2020150      x
                                  correspondence regarding same; draft correspondence regarding
781                               production and expert report
      7/26/2018     CB            Review submissions to court re ex parte extension motion and                     3.8   $2,565.00   2020150      x               Alleshouse Action   $           2,565.00 Will not dispute
782                               discuss with discovery team
      7/26/2018     CF            Revise letter to opposing counsel regarding discovery dispute;                   0.5    $220.00    2020150      x               Alleshouse Action   $             220.00 Will not dispute
783                               draft correspondence regarding same; draft correspondence
      7/26/2018    MCM            Finalize Opposition to Whitewater's ex parte motion to extend                    6.2   $2,387.00   2020150      x               Alleshouse Action   $           2,387.00 Will not dispute
                                  discovery deadlines(1.4); draft Objection to Whitewater's reply in
                                  support of its ex parte motion to extend discovery deadlines (2.3);
                                  prepare supplemental discovery responses and document
                                  production to Whitewater (2.5)
784
      7/26/2018    SRH            Revise and finalize opposition to ex parte application and                       4.5   $2,115.00   2020150      x               Alleshouse Action   $           2,115.00 Will not dispute    $              2,115.00
                                  supporting documents; email team regarding deadlines and
                                  strategy; draft cover email for document production; draft and
                                  serve second amended Rule 30(b)(6) deposition notice
785
      7/26/2018     YL            Strategize legal arguments for motion for summary judgment                       0.8    $240.00    2020150      x               Alleshouse Action   $             240.00 Will not dispute    $               240.00
786
      7/26/2018     CF      x     Draft correspondence to opposing counsel regarding meet and                      0.6    $264.00    2015791               x      Motion for          $             264.00 Allowable           $                      -
                                  confer and terminating sanctions; review document requests; draft                                                               Terminating
                                  correspondence same; review outline of terminating sanctions                                                                    Sanctions denied
                                  brief; draft correspondence regarding same
787
      7/27/2018     CB            Discuss discovery plan, potential summary judgment motions,                      3.3   $2,227.50   2020150      x               Alleshouse Action   $           2,227.50 Will not dispute
                                  upcoming depositions and patent/inventorship issues with team.
788
      7/27/2018     CF            Draft correspondence regarding supplemental production; review                   0.5    $220.00    2020150      x               Alleshouse Action   $             220.00 Will not dispute    $               220.00
                                  production; conference regarding same; conference regarding
                                  expert and motion; revise reply to plaintiff reply; draft
                                  correspondence regarding same
789
      7/27/2018    SRH            Email C. Franich regarding parameters for prior document                         3.2   $1,504.00   2020150      x               Alleshouse Action   $           1,504.00 Will not dispute    $              1,504.00
                                  productions; confer with M. Mao regarding same; revise objection
                                  to plaintiff's reply in support of ex parte application; email
                                  correspondence regarding production of patent case documents,
790                               videos, and sketches
      7/27/2018     YL            Analyze case law regarding legal limitations on assignment                       3.1    $930.00    2020150      x               Alleshouse Action   $             930.00 Will not dispute    $               930.00
                                  provisions in employment agreements for summary for judgment
791                               motion
      7/27/2018    MCM            Work with Yong Yeh and Richard Alleshouse re document re-collection              2.3    $885.50    2020150      x
                                  (1.2); phone call with Rick Tache regarding alleged conflict issue (0.2);
                                  research and analysis regarding alleged conflict (0.9)
792
      7/30/2018    MCM            Plan and prepare for 30(b)(6) deposition of Whitewater                           3.5   $1,347.50   2020150      x               Alleshouse Action   $           1,347.50 Will not dispute    $              1,347.50
793
      7/30/2018    SRH            Draft response to R. Scott inquiry regarding timing of production;               3.4   $1,598.00   2020150      x               Alleshouse Action   $           1,598.00 Will not dispute    $              1,598.00
                                  prepare for Rule 30(b)(6) deposition; confer with M. Mao
794                               regarding same
      7/31/2018     CB            Discuss scope of Whitewater Rule 30(b)(6) deposition admissions                  1.3    $877.50    2020150      x               Alleshouse Action   $             877.50 Will not dispute    $               877.50
                                  and impact on case strategy with M. Mao and C. Franich.
795
      7/31/2018     CF            Draft protective order; draft correspondence regarding same;                     1.9    $836.00    2020150      x               Alleshouse Action   $             836.00 Will not dispute    $               836.00
                                  review correspondence regarding expert reports; draft
                                  correspondence regarding strategy; contact expert; review order
                                  from court; draft correspondence regarding expert discovery
                                  strategy; revise exhibits for Whitewater deposition; conference
796                               regarding strategy of same
      7/31/2018    MCM            Attend 30(b)(6) deposition of Whitewater                                         8.5   $3,272.50   2020150      x               Alleshouse Action   $           3,272.50 Will not dispute    $              3,272.50
797
      7/31/2018    MCM            Assess Whitewater patents relating to WaveOZ with Richard                        1.5    $577.50    2020150      x               Alleshouse Action   $             577.50 Will not dispute    $               577.50
798                               Alleshouse and Yong Yeh




                                                                                                              Defendant's Exhibit A-1                                                                                              39
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         A          B       C                                       D                                      E          F            G          H        I               J                  K                        L                M
                                                                                                                                                              Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                              HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      7/31/2018    SRH            Call expert witness regarding nozzle design; email documents to              4.4   $2,068.00   2020150      x               Alleshouse Action   $           2,068.00 Will not dispute    $              2,068.00
                                  expert; draft expert engagement letter; draft stipulated protective
                                  order; confer with C. Brahma regarding expert reports; email team
                                  regarding case status; email Y. Yeh and R. Alleshouse regarding
                                  surfing expert; email C. Franich regarding extension of expert
                                  discovery deadline; review summary of T. Lochtefeld deposition;
                                  confer with Y. Lin regarding summary judgment motion

799
      7/31/2018     YL            Organize critical excerpts and cites from Tom Lochtefeld's                   5.7   $1,710.00   2020150      x               Alleshouse Action   $           1,710.00 Will not dispute    $              1,710.00
                                  deposition in preparation for motion for summary judgment (2.8);
                                  analyze case law regarding statute of limitations triggers based on
800                               specific facts of case (2.9)
801   7/31/2018     SH            Draft expert report                                                          2.9    $957.00    2020150      x
      8/1/2018      CB            Review correspondence from opposing counsel re discovery disputes            0.5    $337.50    2032768      x
802                               and discuss response with team
      8/1/2018     LUB      x     Research cases regarding failure to disclose responsive documents             1     $330.00    2024537               x
803
      8/2/2018     MCM            Work on expert rebuttal report                                               0.5    $192.50    2032768      x               Alleshouse Action   $             192.50 Will not dispute    $               192.50
804
      8/2/2018      YL            Analyze the validity of the IP assignment in Alleshouse's                    3.2    $960.00    2032768      x               Alleshouse Action   $             960.00 Will not dispute    $               960.00
805                               employment agreement
806   8/2/2018      CB      x     Discuss expert report and deposition strategy with team                      1.2    $810.00    2065341               x
      8/2/2018      CB            Revise draft extension; review communications from opposing counsel          3.7   $2,497.50   2032768      x
                                  re disclosure of experts and deadlines and draft response
807
      8/2/2018      CF            Review letter from opposing counsel regarding extension and discovery         2     $880.00    2032768      x
                                  disputes; review prior court orders on discovery disputes and
                                  scheduling order; conference regarding same; draft joint motion for
                                  continuance of dates; draft correspondence to opposing counsel
808                               regarding same
      8/2/2018     LUB      x     Research cases regarding failure to disclose responsive documents            1.2    $396.00    2024537               x
809
      8/3/2018      CB            Review opposing expert reports of Stevick and Vigil, and discuss             2.8   $1,890.00   2032768      x               Alleshouse Action   $           1,890.00 Will not dispute    $              1,890.00
                                  deposition scheduling and rebuttal report preparation with team
810
      8/3/2018      CF            Review expert reports from opposing counsel; draft                           0.5    $220.00    2032768      x               Alleshouse Action   $             220.00 Will not dispute    $               220.00
                                  correspondence regarding same and supposed conflict with client
                                  expert; conference regarding discovery strategy
811
      8/3/2018     MCM            Review Whitewater's expert disclosures and reports, and expert               1.1    $423.50    2032768      x               Alleshouse Action   $             423.50 Will not dispute    $               423.50
812                               rebuttal report
813   8/3/2018      YL            Analyze the validity of Plaintiff's assignment of IP rights (review          5.4   $1,620.00   2032768      x               Alleshouse Action   $           1,620.00 Will not dispute    $              1,620.00
      8/3/2018     LUB      x     Research cases regarding failure to disclose responsive documents            1.9    $627.00    2024537               x                                               Will not dispute    $                627.00
814
      8/3/2018     SRH            Status call regarding upcoming tasks and deadlines; analyze expert           1.2    $564.00    2032768      x                                   $             564.00 Will not dispute    $               564.00
815                               report by Dr. Vigil
      8/6/2018      CB            Review Vigil and Stevick expert reports and identify issues for              6.5   $4,387.50   2032768      x               Alleshouse Action   $           4,387.50 Will not dispute    $              4,387.50
                                  Daubert and discovery dispute motions and issues for deposition;
                                  assess need for rebuttal expert and identify potential rebuttal
816                               experts re Stevick report
      8/6/2018     MCM            Work on expert rebuttal reports                                              0.7    $269.50    2032768      x               Alleshouse Action   $             269.50 Will not dispute    $               269.50
817
      8/6/2018      OF            Confer regarding case status and anticipated Daubert motion                  0.8    $296.00    2032768      x               Alleshouse Action   $             296.00 Will not dispute    $               296.00
818
      8/6/2018     SRH            Call with M. Mao and O. Figueroa regarding expert report; email E.           3.3   $1,551.00   2032768      x               Alleshouse Action   $           1,551.00 Will not dispute    $              1,551.00
                                  Pribonic regarding rebuttal report; analyze changes to Dr. Vigil's
                                  expert report; email J. Lewis regarding same; review and comment
                                  on draft rebuttal report; analyze changes to Dr. Stevick's expert
                                  report; revise stipulated protective order; email R. Scott regarding
                                  same
819




                                                                                                          Defendant's Exhibit A-1                                                                                              40
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         A         B       C                                        D                                      E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                Reason Fee Not      Amount Not
 1     DATE      BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      8/6/2018    SBH      x     Re: 1118 - Review Judge Major's order setting brief schedule regarding        0.2        $39.00   2024537               x
                                 discovery dispute and docket briefing deadlines imposed in the order
820
      8/7/2018     CB            Research potential experts to rebut Stevick opinions; discuss                 4.8   $3,240.00     2032768      x               Alleshouse Action   $           3,240.00 Will not dispute    $              3,240.00
                                 motion for extension of expert discovery deadlines; revise
                                 deposition notices and discuss expert deposition scheduling with S.
821                              Hovan
      8/7/2018     CF            Review and analyze Stevick report; draft correspondence                        1     $440.00      2032768      x               Alleshouse Action   $             440.00 Will not dispute    $               440.00
                                 regarding same and reply strategy; team conference regarding
                                 same; draft correspondence regarding various experts and
822                              Daubert strategy
      8/7/2018     OF            Review Stevick expert report                                                  0.8    $296.00      2032768      x               Alleshouse Action   $             296.00 Will not dispute    $               296.00
823
      8/7/2018    SRH            Confer with M. Mao and C. Brahma regarding case strategy; team                4.8   $2,256.00     2032768      x               Alleshouse Action   $           2,256.00 Will not dispute    $              2,256.00
                                 call regarding rebuttal expert reports; revise email to R. Scott
                                 regarding discovery efforts; email R. Scott regarding
                                 confidentiality designations of expert report; prepare expert
                                 deposition notices; review and comment on rebuttal report; email
                                 Y. Yeh and R. Alleshouse regarding deposition notices and Rule
                                 30(b)(6) topics; review documents for production
824
825   8/7/2018     CB            Review proposed revisions to Pribonic expert report                           1.3    $877.50                   x
      8/7/2018    LUB      x     Research motions to stay pending resolution of a dispositive motion           1.4    $462.00      2024537               x
826
      8/7/2018    MCM            Meet and confer correspondence with R. Scott regarding PSD's                  1.3    $500.50      2032768      x
827                              supplemental discovery response
      8/8/2018     CB            Review revisions to Vigil expert report; discuss retention to rebut           3.3   $2,227.50     2032768      x               Alleshouse Action   $           2,227.50 Will not dispute    $              2,227.50
                                 Stevick opinions with M. de la Cerra and research material for
                                 rebuttal report; revise email to opposing counsel re extension of
                                 discovery deadlines and deposition of Plaintiff's experts
828
      8/8/2018    MCM            Work on PSD's supplemental discovery response, and expert                     3.3   $1,270.50     2032768      x               Alleshouse Action   $           1,270.50 Will not dispute    $              1,270.50
                                 rebuttal reports (1.5); draft meet and confer correspondence to R.
                                 Scott regarding method of supplemental production (1.8)
829
      8/8/2018    SRH            Revise draft rebuttal report; draft joint motion to modify                    2.8   $1,316.00     2032768      x               Alleshouse Action   $           1,316.00 Will not dispute    $              1,316.00
                                 scheduling order; email R. Scott regarding same; review
830                              production log
      8/8/2018    LUB      x     Research motions to stay pending resolution of a dispositive motion           1.8    $594.00      2024537               x
831
      8/9/2018     CB            Review arguments for Lewis rebuttal report; discuss rebuttal                  5.6   $3,780.00     2032768      x               Alleshouse Action   $           3,780.00 Will not dispute    $              3,780.00
                                 expert assignment with M. de la Cerra, draft retention agreement
                                 and discuss with expert and client and assess arguments for
                                 report; review materials for Stevick deposition outline
832
      8/9/2018     CF            Analyze Stevick Report; draft outline of same; research prolific              1.2    $528.00      2032768      x               Alleshouse Action   $             528.00 Will not dispute    $               528.00
                                 inventors in space; draft correspondence regarding rebuttal
833                              report outline
      8/9/2018     SH            Review and analyze Stevick expert report; draft expert rebuttal               3.3   $1,089.00     2032768      x               Alleshouse Action   $           1,089.00 Will not dispute    $              1,089.00
834                              report; edit exhibits related to expert report
      8/9/2018    SRH            Review privileged emails; prepare videos, sketches, and additional            5.6   $2,632.00     2032768      x               Alleshouse Action   $           2,632.00 Will not dispute    $              2,632.00
                                 emails for production; analyze Dr. Stevick's expert report for
                                 opinions to rebut; email C. Franich regarding rebuttal to Stevick
                                 report; email R. Scott regarding challenge to confidentiality
                                 designations; draft proposed waiver language for rebuttal expert
                                 engagement; draft transmission email for supplemental document
                                 production; email R. Scott regarding proposed joint motion to
                                 modify schedule; call with R. Scott regarding depositions; revise
                                 cover email describing supplemental document production

835
836   8/9/2018    AMS      x     Revise E. Pribonic Invalidity Expert Report                                   0.4    $178.00      2024537               x




                                                                                                          Defendant's Exhibit A-1                                                                                                41
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         A          B       C                                        D                                       E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
837   8/9/2018     MCM            Finalize PSD's supplemental discovery response                                 0.8    $308.00      2032768      x
      8/9/2018     SBH      x     Prepare list of documents and things for Pribonic expert report, upload        0.5        $97.50   2024537               x
838                               documents for his review to fileshare program
      8/10/2018    LUB      x     Research cases on appealing dismissal of case based on lack of                 1.9    $627.00      2024537               x      2015 Action         $            627.00 Allowable mixed
839                               standing                                                                                                                                                                 '589/'016
      8/10/2018     CB            Revise communication to opposing counsel re proposed expert                    3.8   $2,565.00     2032768      x               Alleshouse Action   $           2,565.00 Will not dispute    $              2,565.00
                                  discovery extension and draft ex parte motion for extension;
840                               review materials for Stevick deposition outline
      8/10/2018     SH            Draft expert rebuttal report; research issues regarding expert                 5.4   $1,782.00     2032768      x               Alleshouse Action   $           1,782.00 Will not dispute    $              1,782.00
841                               rebuttal report
      8/10/2018    SRH            Draft ex parte motion to modify scheduling order; draft supporting             4.3   $2,021.00     2032768      x               Alleshouse Action   $           2,021.00 Will not dispute    $              2,021.00
                                  declaration; email R. Alleshouse and Y. Yeh regarding deposition
                                  dates and topics; email R. Scott regarding proposed schedule
                                  change; email regarding expert depositions; team call regarding
842                               trial strategy
843   8/10/2018    AMS      x     Revise E. Pribonic invalidity expert report                                    0.7    $311.50      2024537               x
      8/10/2018    MCM            Further meet and confer correspondence to R. Scott regarding method            0.8    $308.00      2032768      x
844                               of supplemental production
      8/12/2018     SH            Draft expert rebuttal report                                                   1.8    $594.00      2032768      x               Alleshouse Action   $             594.00 Will not dispute    $               594.00
845
      8/13/2018     CB      x     Review legal research re standing motion for litigation appeal                 1.3    $877.50      2024537               x      2015 Action         $             877.50 Will not dispute    $               877.50
                                  motion to strike/dismiss and discuss strategy with A. Shah
846
      8/13/2018    LUB      x     Research cases on appealing dismissal of case based on lack of                 3.6   $1,188.00     2024537               x      2015 Action         $           1,188.00 Will not dispute    $              1,188.00
847                               standing
      8/13/2018     CB            Review materials for Stevick and Vigil expert depositions and                  4.6   $3,105.00     2032768      x               Alleshouse Action   $           3,105.00 Will not dispute    $              3,105.00
848                               outline arguments for Daubert and discovery motions
      8/13/2018     SH            Draft expert rebuttal report                                                   7.1   $2,343.00     2032768      x               Alleshouse Action   $           2,343.00 Will not dispute    $              2,343.00
849
      8/13/2018    SRH            Review expert services agreement with M. de la Cerra; email R.                 3.8   $1,786.00     2032768      x               Alleshouse Action   $           1,786.00 Will not dispute    $              1,786.00
                                  Scott regarding document production; finalize document
                                  production; review draft rebuttal report from J. Lewis
850
      8/13/2018     CF      x     Draft correspondence to expert regarding opening reports; conference           1.1    $484.00      2024537               x
                                  with expert regarding same; draft correspondence regarding final
                                  supplemental production; coordinate service of same; draft
851                               correspondence regarding rebuttal reports
      8/13/2018    MCM            Finalize PSD's supplemental discovery response (0.6); assess potential         1.3    $500.50      2032768      x
852                               dispositive motions based on expert discovery (0.7)
      8/14/2018     CB            Review materials for Stevick deposition and revise deposition                  7.6   $5,130.00     2032768      x               Alleshouse Action   $           5,130.00 Will not dispute    $              5,130.00
                                  outline; identify arguments for Daubert and discovery motions
                                  against plaintiff's experts and summary judgment motion; review
                                  draft expert report arguments and supporting materials; finalize
                                  deposition scheduling proposal to opposing counsel
853
      8/14/2018    MCM            Work on expert rebuttal report of M. de la Cerra                               2.1    $808.50      2032768      x               Alleshouse Action   $             808.50 Will not dispute    $               808.50
854
      8/14/2018     SH            Draft expert rebuttal report                                                   6.2   $2,046.00     2032768      x               Alleshouse Action   $           2,046.00 Will not dispute    $              2,046.00
855
      8/14/2018    SRH            Confer with M. Mao regarding expert rebuttal reports; review and               2.7   $1,269.00     2032768      x               Alleshouse Action   $           1,269.00 Will not dispute    $              1,269.00
                                  revise draft report of M. de la Cerra; email M. de la Cerra regarding
                                  Stevick report; email R. Scott regarding confidentiality of Vigil
                                  report and production of cited documents
856
      8/14/2018     CF      x     Draft correspondence regarding draft of expert report on inequitable           0.4    $176.00      2024537               x
857                               conduct; conference with expert
      8/14/2018     CF            Continue drafting expert reports and revising supporting exhibits              1.6    $704.00      2032768      x
858
      8/15/2018     CB            Review materials and revise outline for Stevick deposition; review             5.8   $3,915.00     2032768      x               Alleshouse Action   $           3,915.00 Will not dispute    $              3,915.00
859                               and revise draft expert reports
      8/15/2018    MCM            Work on expert rebuttal report of M. de la Cerra                               2.2    $847.00      2032768      x               Alleshouse Action   $             847.00 Will not dispute    $               847.00
860




                                                                                                            Defendant's Exhibit A-1                                                                                                42
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         A          B       C                                         D                                        E          F            G          H        I               J                  K                        L                       M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response             PSD - Not recoverable
      8/15/2018     OF            Revise deposition outline for Glen Stevick                                       2.2    $814.00    2032768      x               Alleshouse Action   $             814.00 Will not dispute           $               814.00
861
      8/15/2018     SH      x     Draft and edit expert rebuttal report; research issues regarding                 9.4   $3,102.00   2024537               x      Alleshouse Action   $           3,102.00 Will not dispute           $              3,102.00
862                               expert rebuttal report; draft exhibit list
      8/15/2018    SRH            Revise expert rebuttal reports of J. Lewis and M. de la Cerra; email             4.2   $1,974.00   2032768      x               Alleshouse Action   $           1,974.00 Will not dispute           $              1,974.00
863                               supporting documents to J. Lewis
864   8/15/2018     CB      x     Review Carmichael expert report and related materials                            2.8   $1,890.00   2065341               x
      8/15/2018     CF            Continue drafting expert reports and revising supporting exhibits                3.3   $1,452.00   2032768      x
865
      8/16/2018     CB            Depose opposing technical expert, G. Stevick and review related                  8.2   $5,535.00   2032768      x               Alleshouse Action   $           5,535.00 Will not dispute           $              5,535.00
                                  materials; discuss related motion and responsive expert report
                                  strategy with team; review draft expert reports of M. de la Cerra
866                               and Lewis
      8/16/2018    MCM            Work on expert rebuttal report of M. de la Cerra                                 4.7   $1,809.50   2032768      x               Alleshouse Action   $           1,809.50 Will not dispute           $              1,809.50
867
      8/16/2018     SH      x     Edit expert rebuttal report; research issues regarding expert                    6.8   $2,244.00   2024537               x      Alleshouse Action   $           2,244.00 Will not dispute           $              2,244.00
868                               rebuttal report; draft exhibit list
      8/16/2018    SRH            Call with J. Lewis and R. Alleshouse regarding expert report; call               7.2   $3,384.00   2032768      x               Alleshouse Action   $           3,384.00 Will not dispute           $              3,384.00
                                  with M. de la Cerra and M. Mao regarding expert report; revise
                                  expert rebuttal reports; review rough deposition transcript of G.
                                  Stevick; call with C. Brahma and C. Franich regarding expert
869                               strategy
      8/16/2018     CB      x     Revise draft Carmichael expert report and review related materials               1.8   $1,215.00   2065341               x
870
871   8/16/2018     CF            Continue drafting and revising expert reports                                    3.4   $1,496.00   2032768      x
      8/17/2018     CB            Revise expert reports of M. de la Cerra and Lewis                                5.2   $3,510.00   2032768      x               Alleshouse Action   $           3,510.00 Will not dispute           $              3,510.00
872
      8/17/2018    MCM            Revise and finalize expert rebuttal report of M. de la Cerra, work               7.1   $2,733.50   2032768      x               Alleshouse Action   $           2,733.50 Will not dispute           $              2,733.50
873                               with expert and clients on same
      8/17/2018     SH            Edit expert rebuttal report; research issues regarding expert                    5.8   $1,914.00   2032768      x               Alleshouse Action   $           1,914.00 Will not dispute           $              1,914.00
874                               rebuttal report; edit exhibit list
      8/17/2018    SRH            Email R. Scott regarding documents cited in Vigil report but not                 7.8   $3,666.00   2032768      x               Alleshouse Action   $           3,666.00 Will not dispute           $              3,666.00
                                  produced; call with M. de la Cerra, R. Alleshouse, Y. Yeh, and M. Mao
                                  regarding rebuttal report; revise and finalize expert rebuttal
                                  reports of J. Lewis and M. de la Cerra
875
876   8/17/2018    AMS      x     Finalize Ed Pribonic's Invalidity Expert Report                                  0.5    $222.50    2024537               x
877   8/17/2018     CB      x     Revise Carmichael expert report and discuss with C. Franich                      3.2   $2,160.00   2065341               x
      8/17/2018     CF      x     Revise and finalize draft of expert reports; conference with expert;             4.3   $1,892.00   2024537               x
878                               continue revising same; coordinate service
      8/17/2018     CF            Revise and finalize draft of expert report; conference with client and            3    $1,320.00   2032768      x
879                               expert; continue revising same; coordinate service
      8/17/2018    SBH      x     Review and revise Carmichael expert report, including review of all              4.2    $819.00    2024537               x
                                  cited material for cite reference corrections and finalizing exhibits
880
      8/17/2018    SBH      x     Finalize Pribonic expert report, prepare appendix and exhibits in                0.7    $136.50    2024537               x
                                  support and upload all to file share site for service on opposing counsel
881
      8/18/2018    SRH            Strategize response to plaintiff's discovery complaints; email Y. Yeh            0.8    $376.00    2032768      x
                                  regarding email attachments; prepare supplemental production of
882                               documents
      8/19/2018     CB            Review Vigil report and materials and prepare deposition outline                 2.6   $1,755.00   2032768      x               Alleshouse Action   $           1,755.00 Not Alleshouse Action -
883                                                                                                                                                                                                        valid charge
      8/20/2018     CB            Review Vigil materials for deposition outline; communicate with                  3.8   $2,565.00   2032768      x               Alleshouse Action   $           2,565.00 Not Alleshouse Action -
                                  opposing counsel re cancellation of deposition and rescheduling                                                                                                          valid charge
884
      8/20/2018    MCM            Meet and confer with R. Scott re PSD's supplemental discovery                    3.4   $1,309.00   2032768      x               Alleshouse Action   $           1,309.00 Will not dispute           $              1,309.00
                                  response, and work with R. Alleshouse re same ; Work on Joint
                                  Motion on Discovery Dispute No. 2 with Whitewater on its
                                  Requests For Documents Nos. 51-54, 58, and 61-62
885




                                                                                                              Defendant's Exhibit A-1                                                                                                     43
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                                                                            203

         A          B       C                                        D                                       E          F              G          H        I               J                  K                         L                      M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response             PSD - Not recoverable
      8/20/2018    SBH      x     Download and organize exhibits to Vigil and Stevicks expert                    0.8    $156.00      2024537               x      Alleshouse Action   $             156.00 Not Alleshouse Action -
                                  reports; compare Vigil and Stevicks August 2018 expert reports to                                                                                                        valid charge
886                               May 2018 reports and note differences
      8/20/2018    SRH            Strategize regarding expert depositions; email R. Tache regarding              4.2   $1,974.00     2032768      x               Alleshouse Action   $           1,974.00 Will not dispute           $              1,974.00
                                  expert depositions; meet and confer with R. Scott regarding
                                  discovery issues; draft email summarizing meet and confer; revise
                                  privilege log; strategize response for joint motion regarding
887                               discovery issues
      8/20/2018    SBH      x     Set up new Workshare link for Carmichael exhibits; email to all counsel        0.3        $58.50   2024537               x
888                               with Carmichael report and link to exhibits
      8/21/2018     CB            Discuss fact witness individual and 30b6 deposition notices and                5.3   $3,577.50     2032768      x               Alleshouse Action   $           3,577.50 Will not dispute           $              3,577.50
                                  preparation positions with team; discuss scheduling of expert
                                  depositions; review materials for Vigil deposition
889
      8/21/2018    MCM            Work on Joint Motion on Discovery Dispute No. 2 with Whitewater                3.1   $1,193.50     2032768      x               Alleshouse Action   $           1,193.50 Will not dispute           $              1,193.50
                                  on its Requests For Documents Nos. 51-54, 58, and 61-62 ; Prepare
                                  Y. Yeh and R. Alleshouse for deposition ; Meet and confer with R.
                                  Scott re Whitewater's Requests For Documents Nos. 51-54, 58, and
890                               61-62
      8/21/2018    SRH            Email R. Scott regarding meet and confer efforts; finalize                     4.4   $2,068.00     2032768      x               Alleshouse Action   $           2,068.00 Will not dispute           $              2,068.00
                                  supplemental privilege logs and production; prepare for
                                  depositions of R. Alleshouse and Y. Yeh; email R. Tache regarding
                                  expert depositions; email J. Lewis regarding deposition
891
892   8/21/2018     CF      x     Conference regarding reply brief; revise same                                  0.4    $176.00      2024537               x
      8/22/2018     CB            Outline arguments for responsive portion of joint submission of                1.8   $1,215.00     2032768      x               Alleshouse Action   $           1,215.00 Will not dispute           $              1,215.00
                                  discovery dispute; discuss fact witness deposition preparation and
893                               positions on issues with team
      8/22/2018    MCM            Work on Joint Motion on Discovery Dispute No. 2 with Whitewater                 3    $1,155.00     2032768      x               Alleshouse Action   $           1,155.00 Will not dispute           $              1,155.00
                                  on its Requests For Documents Nos. 51-54, 58, and 61-62
894
895   8/22/2018     CF      x     Revise declaration, exhibits, proposed order and reply brief                   1.4    $616.00      2024537               x
      8/23/2018     CB            Address document production and privilege issues and discuss                   4.6   $3,105.00     2032768      x               Alleshouse Action   $           3,105.00 Will not dispute           $              3,105.00
                                  deposition preparation positions for fact witnesses with team;
                                  comment on opposition to plaintiff's motion to compel discovery
896
      8/23/2018     CF            Review and revise portions of joint motion and statement;                      1.2    $528.00      2032768      x               Alleshouse Action   $             528.00 Will not dispute           $               528.00
                                  conference regarding log and production and expert strategy;
                                  review prosecution history of PSD patents; draft correspondence
897                               regarding same
      8/23/2018     OF            Draft objections to 30(b)(6) deposition notices                                3.2   $1,184.00     2032768      x               Alleshouse Action   $           1,184.00 Will not dispute           $              1,184.00
898
      8/23/2018    SRH            Prepare objections to Rule 30(b)(6) deposition notices; prepare                5.3   $2,491.00     2032768      x               Alleshouse Action   $           2,491.00 Will not dispute           $              2,491.00
                                  images of models for production; draft response to joint motion
                                  regarding discovery issue and supporting declaration; review
                                  amended notice of Vigil deposition; email experts regarding
899                               preparation for deposition
      8/24/2018     CB            Revise response to joint submission regarding plaintiff's motion to            5.2   $3,510.00     2032768      x               Alleshouse Action   $           3,510.00 Will not dispute           $              3,510.00
                                  compel; discussion of overall trial strategy, witnesses and evidence
                                  with team; review materials for Vigil deposition
900
      8/24/2018     CF            Revise and finalize draft of joint motion, exhibits; conference                4.6   $2,024.00     2032768      x               Alleshouse Action   $           2,024.00 Will not dispute           $              2,024.00
                                  regarding discovery and trial strategy; draft correspondence to
                                  opposing counsel regarding production and discovery; draft
                                  correspondence regarding MSJ and dispositive motion strategy;
                                  revise exhibits for Alleshouse deposition and coordinate same for
901                               use in deposition
      8/24/2018    SRH            Review R. Scott declaration regarding discovery dispute; draft S.              5.4   $2,538.00     2032768      x               Alleshouse Action   $           2,538.00 Will not dispute           $              2,538.00
                                  Hovan declaration regarding same; revise joint statement of
                                  discovery issues; draft cover email regarding offer to produce
                                  models for inspection; prepare for R. Alleshouse deposition;
                                  strategize regarding summary judgment arguments
902




                                                                                                            Defendant's Exhibit A-1                                                                                                       44
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                                                                            203

         A          B       C                                      D                                      E          F            G          H        I               J                  K                         L                      M
                                                                                                                                                             Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                             HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response             PSD - Not recoverable
      8/26/2018     CB            Finalize joint submission regarding plaintiff's motion to compel            1.5   $1,012.50   2032768      x               Alleshouse Action   $           1,012.50 Will not dispute           $              1,012.50
903
      8/26/2018    MCM            Plan and prepare for deposition of R. Alleshouse                            0.9    $346.50    2032768      x               Alleshouse Action   $             346.50 Will not dispute           $               346.50
904
      8/27/2018     CB            Finalize joint submission regarding plaintiff's motion to compel            5.7   $3,847.50   2032768      x               Alleshouse Action   $           3,847.50 Will not dispute           $              3,847.50
                                  and discuss with team; discuss fact witness depositions with team
                                  and propose redirect questions for Alleshouse deposition; discuss
                                  discovery motions to strike portions of Plaintiff's experts' reports
905                               with O. Figueroa
      8/27/2018     CF            Finalize exhibits and final preparation for Alleshouse deposition;          1.9    $836.00    2032768      x               Alleshouse Action   $             836.00 Will not dispute           $               836.00
                                  draft correspondence regarding final joint statement and motion;
                                  draft correspondence to opposing counsel regarding productions
                                  and service of same; review correspondence regarding documents
                                  in deposition and clawing back; research same; draft
                                  correspondence regarding same
906
      8/27/2018    MCM            Attend deposition telephonically of R. Alleshouse                           5.5   $2,117.50   2032768      x               Alleshouse Action   $           2,117.50 Will not dispute           $              2,117.50
907
      8/27/2018    MCM            Review and analyze documents and information for Joint Motion               1.1    $423.50    2043712      x               Alleshouse Action   $             423.50 Will not dispute           $               423.50
                                  on Discovery Dispute No. 2 and supplement discovery production
908
      8/27/2018    SRH            Meet with and defend R. Alleshouse deposition                               9.8   $4,606.00   2032768      x               Alleshouse Action   $           4,606.00 Will not dispute           $              4,606.00
909
      8/28/2018     CF      x     Review correspondence from experts regarding revisions to                   0.3    $132.00    2024537               x      Alleshouse Action   $             132.00 Not Alleshouse Action -
910                               rebuttal reports; draft correspondence regarding same                                                                                                               valid charge
      8/28/2018     CF            Review correspondence regarding privileged documents,                       0.3    $132.00    2032768      x               Alleshouse Action   $             132.00 Will not dispute           $               132.00
                                  Alleshouse deposition; draft correspondence regarding same;
                                  review rule 11 letter; draft correspondence regarding same
911
      8/28/2018    MCM            Plan and prepare for deposition of Y. Yeh                                   1.9    $731.50    2032768      x               Alleshouse Action   $             731.50 Will not dispute           $               731.50
912
      8/28/2018    SBH      x     Review illustrations in Stevick's May 2018 and August 2018                   1     $195.00    2024537               x      Alleshouse Action   $            195.00 Not Alleshouse Action -
913                               reports and prepare chart of amendments                                                                                                                             valid charge
      8/28/2018    SRH            Strategize regarding depositions and summary judgment; review               2.4   $1,128.00   2032768      x               Alleshouse Action   $           1,128.00 Will not dispute           $              1,128.00
914                               emails from R. Alleshouse
915   8/28/2018    AMS      x     Revise expert reports                                                       1.3    $578.50    2024537               x                                                                          $               578.50
      8/29/2018     CB            Review materials for Vigil deposition; discuss case tasks and               6.2   $4,185.00   2032768      x               Alleshouse Action   $           4,185.00 Will not dispute           $              4,185.00
                                  upcoming motions strategy and staffing with team; discuss
                                  potential issues arising out of Alleshouse deposition and
916                               appropriate response with team
      8/29/2018     CF            Review correspondence regarding Daubert motion and draft                    0.5    $220.00    2032768      x               Alleshouse Action   $             220.00 Will not dispute           $               220.00
                                  correspondence regarding same; review correspondence
                                  regarding discovery from patent case and documents for Yong Yeh
                                  deposition; review productions; draft correspondence regarding
917                               same
      8/29/2018    MCM            Defend deposition of Y. Yeh                                                 9.3   $3,580.50   2032768      x               Alleshouse Action   $           3,580.50 Will not dispute           $              3,580.50
918
      8/29/2018     SH            Research issues for summary judgment motion; draft summary                  3.3   $1,089.00   2032768      x               Alleshouse Action   $           1,089.00 Will not dispute           $              1,089.00
919                               judgment motion
      8/29/2018    SRH            Confer with L. Baker regarding arguments for motion to strike               2.4   $1,128.00   2032768      x               Alleshouse Action   $           1,128.00 Will not dispute           $              1,128.00
                                  Vigil report; confer with S. Holland regarding arguments for
                                  summary judgment motion; confer with M. Mao regarding Y. Yeh
                                  deposition; prepare for R. Vigil deposition
920
      8/30/2018     CB            Review materials and revise outline for Vigil deposition.                   6.3   $4,252.50   2032768      x               Alleshouse Action   $           4,252.50 Will not dispute           $              4,252.50
921
      8/30/2018     CF            Review correspondence regarding Vigil deposition and exhibits;              0.7    $308.00    2032768      x               Alleshouse Action   $             308.00 Will not dispute           $               308.00
                                  draft correspondence regarding same; review correspondence
                                  regarding Yeh deposition; draft correspondence regarding same
922




                                                                                                         Defendant's Exhibit A-1                                                                                                     45
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         A          B       C                                        D                                       E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      8/30/2018    MCM            Phone calls with Yong Yeh regarding preparing Response to                       3    $1,155.00   2032768      x               Alleshouse Action   $           1,155.00 Will not dispute    $              1,155.00
                                  Whitewater's supplemental filings on Joint Motion on Discovery
                                  Dispute No. 2 ;draft Response to Whitewater's supplemental filings
                                  on Joint Motion on Discovery Dispute No. 2 and calls to Y. Yeh
923                               regarding the same
      8/30/2018     SH            Research issues for summary judgment motion; draft summary                     6.4   $2,112.00   2032768      x               Alleshouse Action   $           2,112.00 Will not dispute    $              2,112.00
924                               judgment motion
      8/30/2018    SRH            Review plaintiff's notice of supplemental evidence; draft objection            1.8    $846.00    2032768      x               Alleshouse Action   $             846.00 Will not dispute    $               846.00
                                  and response to same; email O. Figueroa regarding response to
                                  motion to seal; prepare for Vigil deposition
925
      8/30/2018     OF            Research case law for good cause requirement to seal documents                 3.4   $1,258.00   2032768      x
                                  acquired through discovery (1.1 hrs); draft declaration in support of
                                  sealing documents (1.2 hrs); research case law regarding requirements
                                  for disclosure of expert opinions and the bases for those opinions (1.1
926                               hrs)
      8/31/2018     CB            Take deposition of opposing damages expert, R. Vigil, and review               9.5   $6,412.50   2032768      x               Alleshouse Action   $           6,412.50 Will not dispute    $              6,412.50
927                               related materials
      8/31/2018     CF      x     Review order; draft correspondence regarding same and proposed                 0.8    $352.00    2024537               x      Alleshouse Action   $             117.33 Will not dispute    $               352.00
                                  strategy in response; team conference regarding depositions,
928                               rebuttal reports, and remaining trial strategy
      8/31/2018     CF            Revise and finalize declaration and response to motion; draft                  2.1    $924.00    2032768      x               Alleshouse Action   $             924.00 Will not dispute    $               924.00
                                  correspondence to client; review client remarks; revise and
                                  coordinate filing of same; team conference regarding depositions,
929                               rebuttal reports, and trial strategy
      8/31/2018    MCM            Prepare M. de la Cerra for deposition ;draft Response to                       2.3    $885.50    2032768      x               Alleshouse Action   $             885.50 Will not dispute    $               885.50
                                  Whitewater's supplemental filings on Joint Motion on Discovery
930                               Dispute No. 2
      8/31/2018     OF            Research case law regarding the requirements for disclosure of                 7.3   $2,701.00   2032768      x               Alleshouse Action   $           2,701.00 Will not dispute    $              2,701.00
                                  expert opinions and the bases for such opinions pursuant to the
                                  Federal Rules of Evidence (3.8 hrs); draft summary of research
                                  findings (0.8 hrs); edit and revise objection and response to
                                  plaintiff's supplemental evidence and prepare same for filing (2.1
                                  hrs); confer regarding case status and strategies for upcoming
                                  deadlines (0.5 hrs)
931
      8/31/2018     SH            Research issues for summary judgment motion; draft summary                     5.8   $1,914.00   2032768      x               Alleshouse Action   $           1,914.00 Will not dispute    $              1,914.00
932                               judgment motion
      8/31/2018    SRH            Attend Vigil deposition; review legal research for summary                     9.3   $4,371.00   2032768      x               Alleshouse Action   $           4,371.00 Will not dispute    $              4,371.00
933                               judgment motion
      9/3/2018      CB            Review materials for Lewis deposition preparation meeting;                     3.8   $2,565.00   2043712      x               Alleshouse Action   $           2,565.00 Will not dispute    $              2,565.00
                                  discuss damages-related Daubert motion in light of Vigil deposition
934                               testimony with team.
      9/3/2018     LUB            Draft motion to strike Vigil expert report on damages                           3     $990.00    2043712      x               Alleshouse Action   $             990.00 Will not dispute    $               990.00
935
      9/3/2018     MCM            Prepare M. de la Cerra for deposition                                          0.6    $231.00    2043712      x               Alleshouse Action   $             231.00 Will not dispute    $               231.00
936
      9/3/2018     SRH            Analyze Lewis report and Vigil deposition transcript in                        2.1    $987.00    2043712      x               Alleshouse Action   $             987.00 Will not dispute    $               987.00
937                               preparation for Lewis deposition
      9/4/2018      CB            Meet with J. Lewis for deposition preparation and review related               3.3   $2,227.50   2043712      x               Alleshouse Action   $           2,227.50 Will not dispute    $              2,227.50
                                  materials in preparation; discuss resolution of privilege
                                  documents issue and pending discovery dispute with team.
938
      9/4/2018      CF      x     Review correspondence regarding rebuttal report; review draft;                 0.3    $132.00    2065341               x      Alleshouse Action   $             132.00 Will not dispute    $               132.00
939                               draft correspondence regarding same
      9/4/2018      OF            Research case law regarding disclosure requirements for                        8.7   $2,871.00   2043712      x               Alleshouse Action   $           2,871.00 Will not dispute    $              2,871.00
                                  underlying basis for expert opinions (0.8 hrs); research case law
                                  regarding the prohibition of experts engaging in unilateral claim
                                  construction (1.2 hrs); draft and revise motion to strike expert
940                               opinions (6.7 hrs)
      9/4/2018      SH            Research issues for summary judgment motion                                    3.3   $1,089.00   2043712      x               Alleshouse Action   $           1,089.00 Will not dispute    $              1,089.00
941




                                                                                                            Defendant's Exhibit A-1                                                                                              46
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         A          B       C                                       D                                        E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      9/4/2018     SRH            Outline arguments for motion to strike Vigil testimony; prepare for            3.6   $1,692.00     2043712      x               Alleshouse Action   $           1,692.00 Will not dispute    $              1,692.00
                                  Lewis deposition; email R. Scott regarding claw back of privileged
                                  documents; email Y. Yeh regarding filing exhibits under seal; draft
                                  joint notice regarding discovery dispute
942
943   9/4/2018      CB      x     Review draft expert reports                                                    3.3   $2,227.50     2065341               x
      9/5/2018      CB            Defend deposition of M. de la Cerra and review related materials               4.3   $2,902.50     2043712      x               Alleshouse Action   $           2,902.50 Will not dispute    $              2,902.50
944                               and summarize for team.
      9/5/2018     LUB            Draft motion to strike Vigil expert report on damages                          2.2    $726.00      2043712      x               Alleshouse Action   $             726.00 Will not dispute    $               726.00
945
      9/5/2018      SH            Research issues for summary judgment motion                                    3.7   $1,221.00     2043712      x               Alleshouse Action   $           1,221.00 Will not dispute    $              1,221.00
946
      9/5/2018     SRH            Analyze arguments for motion to exclude Stevick testimony;                     1.8    $846.00      2043712      x               Alleshouse Action   $             846.00 Will not dispute    $               846.00
                                  review errata to Myrman deposition; review and comment on draft
                                  motion to strike portions of Stevick expert report
947
      9/5/2018      CB      x     Review and revise expert reports and discuss with team.                        3.6   $2,430.00     2065341               x
948
      9/5/2018      CF      x     Review correspondence regarding revisions to rebuttal report; review           0.3    $132.00      2065341               x
                                  revisions; draft correspondence regarding same and Carmichael report
949
      9/5/2018     SBH      x     Begin gathering documents for drafting of Pribonic's 9/7/18 expert             0.8    $156.00      2065341               x
950                               report; revise list of Documents and Things Considered
      9/6/2018      CB            Defend deposition of J. Lewis and summarize for team; discuss                  6.3   $4,252.50     2043712      x               Alleshouse Action   $           4,252.50 Will not dispute    $              4,252.50
                                  damages-related pre-trial motions with team; review draft
951                               Daubert motion.
      9/6/2018      CF            Review transcripts from expert deposition on inventorship; draft               0.3    $132.00      2043712      x               Alleshouse Action   $             132.00 Will not dispute    $               132.00
                                  correspondence regarding same; draft correspondence regarding
                                  motion from plaintiff on waiver and documents
952
      9/6/2018     LUB            Draft motion to strike Vigil expert report on damages                          3.5   $1,155.00     2043712      x               Alleshouse Action   $           1,155.00 Will not dispute    $              1,155.00
953
      9/6/2018      SH            Research issues for summary judgment motion; phone call with S.                4.8   $1,584.00     2043712      x               Alleshouse Action   $           1,584.00 Will not dispute    $              1,584.00
                                  Hovan regarding summary judgment motion; draft, edit, and cite
954                               check summary judgment motion
      9/6/2018     SRH            Outline arguments for motion for summary judgment; outline                     4.2   $1,974.00     2043712      x               Alleshouse Action   $           1,974.00 Will not dispute    $              1,974.00
                                  arguments for motions to strike expert testimony; email R. Scott
                                  draft notice regarding exhibits to joint motion; draft email
                                  regarding expert fees; email R. Scott regarding discovery requests
                                  to which unproduced document was responsive
955
      9/7/2018     LUB            Draft motion to strike Vigil expert report on damages                           4    $1,320.00     2043712      x               Alleshouse Action   $           1,320.00 Will not dispute    $              1,320.00
956
      9/7/2018      SH            Research issues for summary judgment motion; draft, edit, and cite             4.3   $1,419.00     2043712      x               Alleshouse Action   $           1,419.00 Will not dispute    $              1,419.00
957                               check summary judgment motion
      9/7/2018      CB      x     Review and revise expert reports in light of discussions with team and         3.7   $2,497.50     2065341               x
958                               experts.
      9/7/2018      CF      x     Review rebuttal reports; draft correspondence to experts regarding             0.5    $220.00      2065341               x
959                               same and deposition strategy
      9/7/2018     SBH      x     Finalize Pribonic rebuttal report and exhibits for service upon counsel        0.5        $97.50   2065341               x
960
      9/9/2018      OF            Research case law regarding requirements for inventorship in                   6.7   $2,211.00     2043712      x               Alleshouse Action   $           2,211.00 Will not dispute    $              2,211.00
                                  patent law (2.20 hrs); research case law regarding exclusion of
                                  expert opinions based on subjective belief and/or speculation
                                  (1.90 hrs); review deposition transcripts for purposes of drafting
                                  motion to exclude or strike expert's opinion (2.60 hrs)
961
      9/10/2018     OF            Draft Daubert motion to exclude or strike expert testimony                     8.4   $2,772.00     2043712      x               Alleshouse Action   $           2,772.00 Will not dispute    $              2,772.00
962
      9/10/2018     SH            Research issues for summary judgment motion; draft, edit, and cite             7.8   $2,574.00     2043712      x               Alleshouse Action   $           2,574.00 Will not dispute    $              2,574.00
963                               check summary judgment motion
      9/10/2018     CB            Discuss revisions to joint submission re discovery dispute with team;           3    $2,025.00     2043712      x
964                               discuss potential Daubert motions with team.




                                                                                                            Defendant's Exhibit A-1                                                                                                47
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         A          B       C                                        D                                         E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                    Reason Fee Not      Amount Not
 1     DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
      9/10/2018     CF      x     Conference regarding deposition strategy for experts; draft                      0.8    $352.00      2065341               x
                                  correspondence regarding exhibits and strategy of same; draft
                                  correspondence regarding renewed notices; begin preparing prep
965                               materials
      9/10/2018     CF            Draft correspondence regarding prior produced documents and                      0.8    $352.00      2043712      x
                                  privilege log for joint motion and discovery dispute; review exhibits and
                                  draft joint statement; draft correspondence regarding same
966
967   9/10/2018    SRH            Revise notice regarding exhibits to joint motion                                 3.2   $1,504.00     2043712      x
      9/11/2018     OF            Draft and revise Daubert motion to exclude or strike expert                      4.6   $1,518.00     2043712      x               Alleshouse Action   $           1,518.00 Will not dispute    $              1,518.00
968                               testimony
      9/11/2018     SH            Research issues for summary judgment motion; draft, edit, and cite               4.7   $1,551.00     2043712      x               Alleshouse Action   $           1,551.00 Will not dispute    $              1,551.00
969                               check summary judgment motion
      9/11/2018     CB      x     Discuss deposition scheduling and assignment of expert deposition and            3.8   $2,565.00     2065341               x
                                  defense preparation outlines with team; review materials re
                                  Whitewater interference in new ride sales and discuss drafting cease-
970                               and-desist letter with client.
      9/11/2018    MCM      x     Work on cease and desist against Whitewater on Cancun transaction                0.4    $154.00      2065341               x
971
      9/11/2018    SRH            Review recent 7th Circuit case law on issues raised in consolidated              0.2        $94.00   2043712      x
972                               amended complaint
      9/11/2018    SRH            Strategize with C. Brahma regarding claw back of privileged documents            0.2        $94.00   2043712      x
973
      9/12/2018     CB            Revise draft Daubert motions (portion to exclude expert opinions                 1.8   $1,215.00     2043712      x               Alleshouse Action   $           1,215.00 Will not dispute    $              1,215.00
                                  for discovery violations of requirement to disclose opinions and
974                               supporting materials)
      9/12/2018     OF            Review deposition transcript for Glen Stevick to find testimony                  6.1   $2,013.00     2043712      x               Alleshouse Action   $           2,013.00 Will not dispute    $              2,013.00
                                  regarding non-disclosure of basis for claim scope opinion; draft
975                               motion to strike expert report
      9/12/2018     SH            Research issues for summary judgment motion; draft, edit, and cite               4.1   $1,353.00     2043712      x               Alleshouse Action   $           1,353.00 Will not dispute    $              1,353.00
                                  check summary judgment motion; correspond with S. Hovan
                                  regarding summary judgment motion
976
      9/12/2018    SRH            Confer regarding privileged documents; revise draft summary                      2.3   $1,081.00     2043712      x               Alleshouse Action   $           1,081.00 Will not dispute    $              1,081.00
977                               judgment motion
      9/12/2018     CB      x     Revise deposition schedule and discuss with team and opposing                    3.5   $2,362.50     2065341               x
                                  counsel; discuss Pribonic and Stevick deposition and preparation issues
978                               with team
      9/12/2018     DS      x     Reviewing case materials including expert reports for expert deposition          3.2   $1,408.00     2065341               x
979                               preparation
      9/12/2018    SBH      x     Revise and finalize notices of expert depositions and corresponding              0.8    $156.00      2065341               x
980                               subpoenas
      9/13/2018     CB            Discuss discovery disputes with team; review draft motions to                    3.2   $2,160.00     2043712      x               Alleshouse Action   $           2,160.00 Will not dispute    $              2,160.00
981                               exclude expert testimony.
      9/13/2018    LUB            Revise discovery motion to strike expert report of Robert Vigil                  2.6    $858.00      2043712      x               Alleshouse Action   $             858.00 Will not dispute    $               858.00
982
      9/13/2018     OF            Draft motion to strike expert report and revise                                  4.7   $1,551.00     2043712      x               Alleshouse Action   $           1,551.00 Will not dispute    $              1,551.00
983
      9/13/2018     SH            Research issues for summary judgment motion; edit summary                        4.9   $1,617.00     2043712      x               Alleshouse Action   $           1,617.00 Will not dispute    $              1,617.00
984                               judgment motion; correspond with S. Hovan regarding summary
      9/13/2018    SRH            Revise draft Daubert motion; review documents for privilege and                  2.4   $1,128.00     2043712      x               Alleshouse Action   $           1,128.00 Will not dispute    $              1,128.00
                                  redact privileged content; email R. Scott regarding privileged
                                  documents and Alleshouse deposition
985
      9/13/2018     CB      x     Revise communication to opposing counsel re deposition scheduling                0.5    $337.50      2065341               x
986                               compromise
      9/13/2018     CF      x     Finalize notices of deposition; draft correspondence to client regarding         1.3    $572.00      2065341               x
                                  same; draft correspondence to opposing counsel; review
                                  correspondence from opposing counsel regarding appeal of 589
                                  decision; draft correspondence to opposing counsel; continue
987                               deposition preparation
      9/13/2018     DS            Outline expert deposition tasks with C. Franich and review case                  2.5   $1,100.00     2043712      x
988                               documents




                                                                                                              Defendant's Exhibit A-1                                                                                                48
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          A          B       C                                         D                                     E          F              G          H        I               J                  K                         L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response       PSD - Not recoverable
       9/14/2018     CF            Team conference regarding daubert motion and MSJ                              0.4    $176.00      2043712      x               Alleshouse Action   $             176.00 Will not dispute     $               176.00
989
       9/14/2018     SH            Research issues for summary judgment motion; edit summary                     3.2   $1,056.00     2043712      x               Alleshouse Action   $           1,056.00 Will not dispute     $              1,056.00
                                   judgment motion; correspond with S. Hovan regarding summary
990                                judgment motion
       9/14/2018    SRH            Revise draft motion for summary judgment; review draft motion to              5.4   $2,538.00     2043712      x               Alleshouse Action   $           2,538.00 Will not dispute     $              2,538.00
991                                strike expert opinions
       9/16/2018     SH            Correspond with S. Hovan regarding summary judgment motion                    0.1        $33.00   2043712      x               Alleshouse Action   $              33.00 Will not dispute    $                 33.00
992
       9/16/2018     CF      x     Draft correspondence regarding inequitable conduct deposition and             0.2        $88.00   2065341               x                                                Will not dispute   $                 88.00
993                                invalidity deposition
       9/17/2018     CF            Review order from court; draft correspondence regarding analysis              0.9    $396.00      2043712      x               Alleshouse Action   $             396.00 Will not dispute     $               396.00
                                   of same; conference regarding strategy to comply; review prior
                                   production; draft correspondence regarding same and meet and
994                                confer with plaintiff
       9/17/2018     OF            Draft Daubert motion to exclude or strike expert testimony                    4.7   $1,551.00     2043712      x               Alleshouse Action   $           1,551.00 Will not dispute     $              1,551.00
995
       9/17/2018     SH            Draft statement of undisputed material facts; correspond with S.              4.1   $1,353.00     2043712      x               Alleshouse Action   $           1,353.00 Will not dispute     $              1,353.00
996                                Hovan regarding the same
       9/17/2018    SRH            Review discovery order; strategize regarding response to                      0.8    $376.00      2043712      x               Alleshouse Action   $             376.00 Will not dispute     $               376.00
                                   discovery order; call Y. Yeh regarding order to identify documents
997                                referred to in deposition
998    9/17/2018     DS      x     Review materials and begin outlining for Pribonic deposition                  2.8    $232.00      2065341               x                                                                    $               232.00
       9/18/2018     CB            Revise draft pre-trial motions and related papers; discuss                    3.7   $2,497.50     2043712      x               Alleshouse Action   $           2,497.50 Will not dispute     $              2,497.50
999                                resolution of privilege/discovery dispute with team.
       9/18/2018     CF            Meet and confer with plaintiff over order and discovery;                      0.6    $264.00      2043712      x               Alleshouse Action   $             264.00 Will not dispute     $               264.00
1000                               conference regarding MSJ strategy and draft of same
       9/18/2018     OF            Draft and revise Daubert motion to strike or exclude expert                   4.5   $1,485.00     2043712      x               Alleshouse Action   $           1,485.00 Will not dispute     $              1,485.00
1001                               testimony
       9/18/2018     SH            Draft, edit, and research issues for statement of undisputed                  3.3   $1,089.00     2043712      x               Alleshouse Action   $           1,089.00 Will not dispute     $              1,089.00
                                   material facts; correspond with S. Hovan regarding the same
1002
       9/18/2018    SRH            Meet and confer with R. Scott regarding claw back of privileged               1.5    $705.00      2043712      x               Alleshouse Action   $             705.00 Will not dispute     $               705.00
                                   materials; draft statement of undisputed material facts for
                                   summary judgment motion; email R. Alleshouse regarding basis
1003                               for privilege claims
       9/18/2018     CB      x     Review opposing expert reports in preparation for depositions; meet-          2.9   $1,957.50     2065341               x
                                   and-confer with opposing counsel re re- scheduling of expert witness
                                   depositions and extension of pre-trial motion deadline
1004
       9/18/2018     CF      x     Continue preparing outlines for expert depositions; conference with           4.1   $1,804.00     2065341               x
                                   team regarding same; coordinate exhibits; draft correspondence to
                                   experts regarding same; confer with plaintiff over expert discovery
1005
1006   9/18/2018     DS      x     Continue outlining for Pribonic deposition                                    4.7   $2,068.00     2065341               x
       9/19/2018     OF      x     Research cases where plaintiff's expert was excluded on Daubert               2.2    $726.00      2065341               x      Alleshouse Action   $             726.00 Will not dispute     $               726.00
1007                               grounds
       9/19/2018     SH            Research issues for summary judgment motion; correspond with S.               2.1    $693.00      2043712      x               Alleshouse Action   $             693.00 Will not dispute     $               693.00
1008                               Hovan regarding the same
       9/19/2018    SRH            Email Y. Yeh regarding limited waiver of privilege for certain                5.4   $2,538.00     2043712      x               Alleshouse Action   $           2,538.00 Will not dispute     $              2,538.00
                                   documents; email R. Scott regarding proposed limited privilege
                                   waiver; review research regarding striking jury demand; research
                                   and draft summary judgment motion argument on claims for
                                   breach of employment covenant
1009
       9/19/2018     CB            Revise correspondence with opposing counsel re compromise on                  1.7   $1,147.50     2043712      x
                                   production of documents previously identified as privileged and re-
                                   deposition of client witnesses; discuss discovery issues and pre-trial
1010                               motions with team




                                                                                                            Defendant's Exhibit A-1                                                                                                 49
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          A          B       C                                         D                                       E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
       9/19/2018     CF      x     Meet and confer with plaintiff; call with clerk; draft correspondence to        6.2   $2,728.00   2065341               x
                                   opposing counsel regarding expert discovery; review correspondence
                                   from plaintiff regarding same; draft response letter to plaintiff;
                                   conference regarding expert depositions; continue preparing outlines
                                   and exhibits for expert depositions
1011
       9/19/2018     DS      x     Continue outlining for Pribonic deposition and review preliminary draft         4.7   $2,068.00   2065341               x
1012                               with C. Franich
       9/20/2018     CB            Revise Daubert motions and review legal research re motion to                   3.7   $2,497.50   2043712      x               Alleshouse Action   $           2,497.50 Will not dispute    $              2,497.50
                                   strike damages claim for summary judgment motion
1013
       9/20/2018    LUB            Draft Daubert motion to strike the expert testimony of Robert                   4.7   $1,551.00   2043712      x               Alleshouse Action   $           1,551.00 Will not dispute    $              1,551.00
                                   Vigil; prepare associated declarations, exhibits, and proposed
1014                               orders
       9/20/2018    MCM            Work on Motion For Summary Judgment                                             1.4    $577.50    2043712      x               Alleshouse Action   $             577.50 Will not dispute    $               577.50
1015
       9/20/2018     OF      x     Research cases where plaintiff's expert was excluded on Daubert                 4.3   $1,419.00   2065341               x      Alleshouse Action   $           1,419.00 Will not dispute    $              1,419.00
                                   grounds (3.8 hrs); draft summary of research findings (0.50 hrs)
1016
       9/20/2018     OF            Draft declaration in support of Daubert motion to exclude or strike              2     $660.00    2043712      x               Alleshouse Action   $             660.00 Will not dispute    $               660.00
                                   expert testimony (1.10 hrs); create exhibits attached to
                                   declaration in support of Daubert motion to exclude or strike
1017                               expert testimony (0.90 hrs)
       9/20/2018    SRH            Meet and confer with R. Scott regarding court order; research and               6.1   $2,867.00   2043712      x               Alleshouse Action   $           2,867.00 Will not dispute    $              2,867.00
                                   draft summary judgment motion argument on claims for breach of
1018                               employment covenant
       9/20/2018     CF      x     Draft correspondence regarding same; draft correspondence to                    3.1   $1,364.00   2065341               x
                                   opposing counsel regarding expert discovery; review correspondence
                                   from plaintiff regarding same; continue preparing outlines and exhibits
1019                               for expert depositions
       9/20/2018     DS      x     Call with Anup Shah and Chris Franich to discuss case and outstanding           4.8   $2,112.00   2065341               x
                                   tasks and issues; circulate draft deposition prep outline
1020
       9/20/2018     SH            Research motion to dismiss issues; correspond with S. Hovan regarding           1.4    $462.00    2043712      x
1021                               the same
       9/21/2018     CB            Revise pre-trial motions and related filing papers; teleconference              8.3   $5,602.50   2043712      x               Alleshouse Action   $           2,801.25 Will not dispute    $              5,602.50
                                   with R. Alleshouse re technical aspects of accused rides relevant to
                                   deposition preparation of E. Pribonic and review related Pribonic
1022                               deposition preparation outline
       9/21/2018     CF            Continue revising Daubert motions, MSJ                                          0.9    $396.00    2043712      x               Alleshouse Action   $             396.00 Will not dispute    $               396.00
1023
       9/21/2018    LUB            Draft Daubert motion to strike the expert testimony of Robert Vigil             3.3   $1,089.00   2043712      x               Alleshouse Action   $           1,089.00 Will not dispute    $              1,089.00
1024
       9/21/2018    MCM            Revise Motion For Summary Judgment (.6); phone call with Yong                   1.1    $423.50    2043712      x               Alleshouse Action   $             423.50 Will not dispute    $               423.50
1025                               Yeh regarding status of case (.5)
       9/21/2018    SBH      x     Review and revise notice of motion, memorandum of points and                    5.5   $1,072.50   2065341               x      Alleshouse Action   $           1,072.50 Will not dispute    $              1,072.50
                                   authorities, declarations and proposed orders regarding Daubert
                                   motions; prepare exhibits in support of same
1026
       9/21/2018    SRH            Revise summary judgment arguments regarding statute of                          6.1   $2,867.00   2043712      x               Alleshouse Action   $           2,867.00 Will not dispute    $              2,867.00
1027                               limitations, inventorship, and damages
       9/21/2018     CF      x     Continue working on expert depositions, exhibits; conference with               1.9    $836.00    2065341               x
1028                               client
       9/21/2018     DS      x     Prepare for and participate in call with Richard Alleshouse; review             4.7   $2,068.00   2065341               x
                                   Pribonic report for statements implicated by the call with Richard
1029                               Alleshouse
       9/23/2018     CB            Review and revise draft summary judgment and Daubert motions.                   4.3   $2,902.50   2043712      x               Alleshouse Action   $           2,902.50 Will not dispute    $              2,902.50
1030
       9/23/2018     CF            Revise draft of MSJ and Daubert motions and coordinate exhibit                  0.5    $220.00    2043712      x               Alleshouse Action   $             220.00 Will not dispute    $               220.00
1031                               preparation for same
       9/23/2018    LUB            Revise Daubert motion to strike the expert testimony of Robert                  4.3   $1,419.00   2043712      x               Alleshouse Action   $           1,419.00 Will not dispute    $              1,419.00
1032                               Vigil




                                                                                                              Defendant's Exhibit A-1                                                                                              50
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          A          B       C                                         D                                        E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                   Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
       9/23/2018     OF            Draft and revise Daubert motion to exclude or strike expert                      4.6   $1,518.00   2043712      x               Alleshouse Action   $           1,518.00 Will not dispute    $              1,518.00
1033                               testimony
       9/23/2018    SBH      x     Review and revise motion for summary judgment, prepare                           3.7    $721.50    2065341               x      Alleshouse Action   $             721.50 Will not dispute    $               721.50
                                   exhibits, cite check case law, prepare table of authorities, revise
1034                               draft declaration of Charan Brahma
       9/23/2018    SRH            Revise statement of undisputed material facts; revise summary                    4.1   $1,927.00   2043712      x               Alleshouse Action   $           1,927.00 Will not dispute    $              1,927.00
                                   judgment motion; select exhibits for summary judgment motion
1035
       9/24/2018     CB            Finalize summary judgment and Daubert motions and related                        6.5   $4,387.50   2043712      x               Alleshouse Action   $           4,387.50 Will not dispute    $              4,387.50
1036                               filing papers; review outline for Godici deposition.
       9/24/2018     CF            Revise draft of each Daubert motion and MSJ and corresponding                    0.7    $308.00    2043712      x               Alleshouse Action   $             308.00 Will not dispute    $               308.00
1037                               exhibits
       9/24/2018    LUB            Revise Daubert motion to strike the expert testimony of Robert                   4.5   $1,485.00   2043712      x               Alleshouse Action   $           1,485.00 Will not dispute    $              1,485.00
1038                               Vigil
       9/24/2018    MCM            Finalize Motion For Summary Judgment                                             0.6    $231.00    2043712      x               Alleshouse Action   $             231.00 Will not dispute    $               231.00
1039
       9/24/2018     OF            Revise Daubert motion to exclude or strike expert testimony; draft                4    $1,320.00   2043712      x               Alleshouse Action   $           1,320.00 Will not dispute    $              1,320.00
                                   declaration in support of Daubert motion to exclude or strike
                                   expert testimony; prepare exhibits to attach to declaration
1040
       9/24/2018     SH            Draft Alleshouse declaration; draft motion to seal and proposed                  4.8   $1,584.00   2043712      x               Alleshouse Action   $           1,584.00 Will not dispute    $              1,584.00
                                   order; proofread and edit summary judgment motion; prepare
                                   documents for filing; correspond with S. Hovan regarding the same
1041
       9/24/2018    SRH            Draft Alleshouse declaration; finalize motion for summary                        8.9   $4,183.00   2043712      x               Alleshouse Action   $           4,183.00 Will not dispute    $              4,183.00
                                   judgment; revise Daubert motion to exclude Vigil testimony; revise
                                   Daubert motion to exclude Stevick testimony; draft proposed
                                   order; revise notice of motions; finalize separate statement of
                                   undisputed material facts in support of summary judgment
                                   motion; revise and finalize Brahma declaration in support of
                                   summary judgment motion; revise motions to file under seal
1042
       9/24/2018     CF      x     Draft correspondence regarding deposition strategy for Carmichael,               0.7    $308.00    2065341               x
                                   Godici, and Pribonic; continue working on outlines and prep materials;
1043                               draft correspondence to each expert
1044   9/24/2018     DS      x     Review draft Godici deposition outline                                           2.1    $924.00    2065341               x
       9/25/2018     CF      x     Continue preparing for depositions of experts; conference with each              4.2   $1,848.00   2065341               x
1045                               client expert
       9/25/2018     DS      x     Prepare for and participate in call to prepare Pribonic for his upcoming         4.4   $1,936.00   2065341               x
                                   deposition; prepare for and participate in call to prepare Carmichael for
                                   his upcoming deposition; review and prepare comments on the Godici
1046                               deposition outline
       9/26/2018     CF      x     Prepare for and attend Godici deposition; draft correspondence                   6.6   $2,904.00   2065341               x
1047                               regarding same; review rough transcript
1048   9/26/2018     DS      x     Begin preparing Stevick deposition outline                                       2.7   $1,188.00   2065341               x
       9/26/2018    MH       x     Organize and prepare motion for extension of time as per attorney                 4    $1,140.00   2065341               x
1049                               request
       9/26/2018    SRH            Review documents for court-ordered production; call R. Scott regarding           1.2    $564.00    2043712      x
1050                               extension of deadline for same
       9/27/2018     CB      x     Meet with E. Pribonic to prepare for deposition and review related               4.7   $3,172.50   2065341               x
1051                               materials and outline
1052   9/27/2018     CF      x     Prepare for and meet with Pribonic for deposition preparation                    7.3   $3,212.00   2065341               x
       9/27/2018     DS      x     Prepare for and participate in deposition preparation session with Ed            4.7   $2,068.00   2065341               x
1053                               Pribonic
       9/27/2018    MH       x     Organize and prepare appendix cites chart as per attorney request                3.3    $940.50    2065341               x
1054
1055   9/27/2018    SRH            Review documents for production                                                  1.3    $611.00    2043712      x
       9/28/2018     CB      x     Defend Pribonic expert deposition; review order denying PSD's                    6.3   $4,252.50   2065341               x
                                   summary judgment motion and order denying Plaintiff's preliminary
                                   injunction motion; discuss Stevick deposition outline with C. Franich;
                                   discuss noninfringing alternatives with M. Mao
1056




                                                                                                               Defendant's Exhibit A-1                                                                                              51
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          A          B       C                                       D                                       E          F              G          H        I               J                  K                          L                 M
                                                                                                                                                                  Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                               HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
       9/28/2018     CF      x     Review order from Court denying MSJ; draft correspondence regarding           6.8   $2,992.00     2065341               x
                                   preliminary analysis of same and proposed litigation and PTO strategy;
1057                               attend deposition of Pribonic
       9/28/2018     DS      x     Review order denying SJ; continue preparing Stevick deposition outline        3.4   $1,496.00     2065341               x
1058
       9/28/2018    MCM      x     Review and analyze court orders on PSD's motion for summary                   1.3    $500.50      2065341               x
                                   judgment, and WWI's motion for preliminary injunction; prepare
1059                               responsive strategies
       9/28/2018    MH       x     Organize and prepare appendix cites chart as per attorney request;            2.5    $712.50      2065341               x
                                   review and research case law for subsequent attorney review
1060
       9/30/2018     CB      x     Outline issues for summary judgment motion and MILs/Daubert                   0.7    $472.50      2065341               x      Second MSJ                        $472.50 Reasonable
1061                               motions in light of recent depositions                                                                                         (Unreasonable)
1062   10/1/2018     CB      x     Review materials for expert depositions.                                      2.6   $1,755.00     2065354               x
1063   10/1/2018    SRH            Prepare court-ordered document production for service                         0.5    $235.00      2052580      x
       10/2/2018    SRH            Email R. Alleshouse and Y. Yeh regarding anticipated deposition               0.2        $94.00   2052580      x               Alleshouse Action   $              94.00 Will not dispute   $                  94.00
1064                               topics
       10/2/2018     DS      x     Review Pribonic depo; Stevick prep outline; call to discuss                   2.2    $968.00      2065354               x      Daubert                            $484.0 Reasonable
                                   outstanding case issues with the team; discuss Stevick Daubert                                                                 (Excessive)
1065                               motions with Oscar Figueroa
       10/2/2018    SRH      x     Analyze case strategy for upcoming motions and depositions;                   1.1    $517.00      2065354               x      Daubert                            $258.5 Reasonable
                                   identify documents to reference in connection with Daubert                                                                     (Excessive)
1066                               motion
       10/2/2018     CF      x     Draft outline for MSJ on inequitable conduct, intervening rights               2     $880.00      2065354               x      Second MSJ                        $880.00 Reasonable
                                   and 271f; team conference regarding same and expert depositions;                                                               (Unreasonable)
                                   draft correspondence regarding expert deposition strategy
1067
       10/2/2018     OF      x     Research case law regarding applicability of intervening rights               4.1   $1,353.00     2065354               x      Second MSJ                   $1,353.00 Reasonable
                                   pursuant to 35 U.S.C. 41(c)(2) (2.8); Draft motion for summary                                                                 (Unreasonable)
1068                               judgment section on intervening rights (4.3)
       10/2/2018     CB      x     Discuss scheduling issues for settlement conferences and pretrial             4.7   $3,172.50     2065354               x
                                   motions with team and opposing counsel; review design-around
                                   drawings and discuss with M. Mao; review materials for expert
1069                               depositions.
       10/3/2018     CB            Review materials for Y. Yeh and R. Alleshouse supplemental                    1.5   $1,012.50     2052580      x               Alleshouse Action   $           1,012.50 Will not dispute    $               1,012.50
                                   depositions and discuss with client for deposition preparation.
1070
       10/3/2018     CF      x     Review correspondence regarding 271f MSJ; draft correspondence                 3    $1,320.00     2065354               x      Second MSJ                   $1,320.00 Reasonable               $                   -
                                   regarding analysis of same; draft outline of inequitable conduct                                                               (Unreasonable)
                                   MSJ and 271f MSJ; conference regarding same and draft
                                   correspondence regarding exhibits for same
1071
       10/3/2018     OF      x     Draft motion for summary judgment section on intervening rights               2.3    $759.00      2065354               x      Second MSJ                        $759.00 Reasonable
1072                                                                                                                                                              (Unreasonable)
       10/3/2018     SH      x     Review documents and research issues for summary judgment                     3.4   $1,122.00     2065354               x      Second MSJ                   $1,122.00 Reasonable
                                   motion; correspond with C. Franich regarding the same                                                                          (Unreasonable)
1073
       10/3/2018     DS      x     Continue preparing Stevick deposition outline; review motions for             3.8   $1,672.00     2065354               x
1074                               extension of time and related correspondence
       10/4/2018     CB            Defend supplemental depositions of R. Alleshouse and Y. Yeh and               5.3   $3,577.50     2052580      x               Alleshouse Action   $           3,577.50 Will not dispute    $               3,577.50
1075                               review related materials.
       10/4/2018     CB      x     Defend deposition of R. Alleshouse as expert re design- around and            2.7   $1,822.50     2065354               x
1076                               review related materials.
1077   10/4/2018     DS      x     Continue drafting Stevick deposition outline                                  5.2   $2,288.00     2065354               x
       10/4/2018     SH      x     Review documents and research issues for summary judgment motion              3.3   $1,089.00     2065354               x
1078
       10/5/2018    KH       x     Review materials and background in preparation for motion for                 0.3    $124.50      2065354               x      Second MSJ                        $124.50 Reasonable
1079                               summary judgment on inequitable conduct                                                                                        (Unreasonable)
       10/5/2018     OF      x     Research case law regarding reliance requirement for applicability            2.3    $759.00      2065354               x      Second MSJ                        $759.00 Reasonable
                                   of intervening rights (1.1); Draft intervening rights section to                                                               (Unreasonable)
1080                               motion for summary judgment (1.2)




                                                                                                            Defendant's Exhibit A-1                                                                                                   52
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           A          B       C                                         D                                       E          F            G          H        I               J                K                          L             M
                                                                                                                                                                   Reason Fee Not    Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable           PSD Response     PSD - Not recoverable
       10/5/2018      SH      x     Research issues for and draft summary judgment motion;                          2.9    $957.00    2065354               x      Second MSJ                      $957.00 Reasonable
1081                                correspond with C. Franich regarding the same                                                                                  (Unreasonable)
       10/5/2018      CB      x     Revise motion to modify schedule; review Stevick deposition outline             4.5   $3,037.50   2065354               x
1082                                and materials.
       10/5/2018      CF      x     Draft ex parte application; conference magistrate clerk; conference with        3.2   $1,408.00   2065354               x
                                    DJ clerk; draft correspondence regarding same; review Stevick outline;
1083                                draft correspondence regarding same
1084   10/5/2018      DS      x     Prepare outline and materials for Carmichael deposition                         4.6   $2,024.00   2065354               x
       10/8/2018      CF      x     Review draft of MSJ on 271f; draft correspondence regarding same;               0.6    $264.00    2065354               x      Second MSJ                      $264.00 Reasonable
                                    review correspondence regarding Stevick outline; draft correspondence                                                          (Unreasonable)
1085                                regarding same
       10/8/2018     KH       x     Review and analyze briefing and order on motion to dismiss for                  4.2   $1,743.00   2065354               x      Second MSJ                 $1,743.00 Reasonable
                                    inequitable conduct; review order regarding motion to compel;                                                                  (Unreasonable)
                                    review and analyze expert reports on inequitable conduct
1086
       10/8/2018      SH      x     Edit summary judgment motion; review Godici expert report;                      3.8   $1,254.00   2065354               x      Second MSJ                      $940.50 Reasonable
                                    research issues for motion to exclude; draft motion to exclude;                                                                (Unreasonable);
                                    correspond with C. Franich regarding motion to exclude                                                                         Daubert
1087                                                                                                                                                               (Excessive)
       10/8/2018      CB      x     Review materials and draft outlines for expert depositions of Stevick            5    $3,375.00   2065354               x
1088                                and Vigil.
       10/8/2018      DS      x     Continue working on Stevick outline and collecting Stevick deposition           5.4   $2,376.00   2065354               x
1089                                exhibits; Carmichael prep outline
       10/8/2018     MCM      x     Prepare for expert depositions, and work on potential invalidity and            0.9    $346.50    2065354               x
1090                                non-infringing arguments against '589 patent
       10/8/2018     SRH      x     Analyze R. Vigil expert report and J. Lewis rebuttal report on damages          5.2   $2,444.00   2065354               x
1091
       10/9/2018      CF      x     Draft correspondence regarding drafts of MSJ arguments; draft                   0.9    $396.00    2065354               x      Second MSJ                      $396.00 Reasonable
                                    correspondence regarding filing strategy; draft correspondence                                                                 (Unreasonable)
                                    regarding Carmichael expert deposition; review outline of same;
                                    review and revise drafts of MSJ arguments
1092
       10/9/2018      CB      x     Depose Plaintiff's technical expert, G. Stevick and review related               5    $3,375.00   2065354               x
1093                                materials.
       10/9/2018      DS      x     Continue drafting and revising Carmichael prep outline; circulate               4.8   $2,112.00   2065354               x
                                    outline and materials to Carmichael and coordinate logistics for prep
1094                                session
       10/9/2018     KH       x     Review and analyze expert reports and exhibits for preparation of pre-          2.7   $1,120.50   2065354               x
1095                                trial motions
       10/9/2018     MCM      x     Work with Yong Yeh and Richard Alleshouse re non- infringement                  1.6    $616.00    2065354               x
                                    workarounds and designs; work with same on expert depositions
1096
       10/9/2018      SH      x     Review Godici expert report; research issues for motion to exclude;             2.9    $657.00    2065354               x
                                    draft motion to exclude; correspond with C. Franich regarding motion
1097                                for summary judgment
       10/9/2018     SRH      x     Meet with and prepare for deposition of J. Lewis (3.1); draft objections        6.4   $3,008.00   2065354               x
                                    to subpoena for documents from J. Lewis (.5); draft outline for Vigil
1098                                deposition (3.8)
       10/10/2018     SH      x     Research issues for motion to exclude; draft motion to exclude                  3.7   $1,221.00   2065354               x      Daubert                          $610.5 Reasonable
1099                                                                                                                                                               (Excessive)
       10/10/2018     CB      x     Meet with J. Carmichael for expert deposition preparation; review               4.5   $3,037.50   2065354               x
1100                                materials and outline for Vigil deposition.
       10/10/2018     CF      x     Expert deposition preparation with Carmichael; expert deposition                3.1   $1,364.00   2065354               x
1101                                preparation for Vigil
       10/10/2018     DS      x     Prepare for and conduct deposition preparation session with Mr.                 3.8   $1,672.00   2065354               x
1102                                Carmichael
1103   10/10/2018    KH       x     Review and analyze expert reports                                               0.9    $373.50    2065354               x
       10/10/2018    MCM      x     Work with Yong Yeh and Richard Alleshouse re non-infringement                   1.3    $500.50    2065354               x
                                    workarounds and designs; work with same on expert depositions
1104
1105   10/10/2018    SRH      x     Meet with and defend deposition of J. Lewis                                      8    $3,760.00   2065354               x




                                                                                                               Defendant's Exhibit A-1                                                                                         53
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           A          B       C                                         D                                        E          F            G          H        I               J                K                          L             M
                                                                                                                                                                    Reason Fee Not    Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                 HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable           PSD Response     PSD - Not recoverable
       10/11/2018     SH      x     Research issues for motion to exclude; draft and edit motion to                  3.3   $1,089.00   2065354               x      Daubert                          $544.5 Reasonable
1106                                exclude                                                                                                                         (Excessive)
       10/11/2018    KH       x     Review and analyze sanctions briefing and expert reports; outline                4.1   $1,701.50   2065354               x      Second MSJ                 $1,701.50 Reasonable
                                    motion for summary judgment on inequitable conduct                                                                              (Unreasonable)
1107
       10/11/2018     CB      x     Defend deposition of PSD's inequitable conduct expert, J. Carmichael              5    $3,375.00   2065354               x
1108                                and review related materials.
       10/11/2018     CF      x     Revise and finalize Vigil outline; revise outline and argument for               0.7    $308.00    2065354               x
1109                                inequitable conduct MSJ
1110   10/11/2018     DS      x     Prepare for and participate in deposition of Mr. Carmichael                       8    $3,520.00   2065354               x
1111   10/11/2018    LUB      x     Prepare questions for Vigil deposition                                           2.3    $759.00    2065354               x
       10/12/2018     CF      x     Review Daubert motion for Godici; draft correspondence                           0.3    $132.00    2065354               x      Daubert                           $66.0 Reasonable
1112                                regarding same                                                                                                                  (Excessive)
       10/12/2018     SH      x     Research issues for motion to exclude; draft and edit motion to                  2.1    $693.00    2065354               x      Daubert
                                    exclude; correspond with C. Franich regarding motion to exclude                                                                 (Excessive)
1113
       10/12/2018    KH       x     Outline and prepare draft motion for summary judgment on                         4.6   $1,909.00   2065354               x      Second MSJ                 $1,909.00 Reasonable
1114                                inequitable conduct                                                                                                             (Unreasonable)
       10/12/2018     CB      x     Depose Plaintiff's damages expert, R. Vigil and review related materials.         5    $3,375.00   2065354               x
1115
1116   10/12/2018     DS      x     Prepare for and participate in deposition of Dr. Vigil                            8    $3,520.00   2065354               x
       10/13/2018    KH       x     Draft brief in support of motion to dismiss due to inequitable                   3.4   $1,411.00   2065354               x      Second MSJ                 $1,411.00 Reasonable
1117                                conduct                                                                                                                         (Unreasonable)
       10/15/2018     CF      x     Draft correspondence regarding expert discovery and pretrial                     1.8    $792.00    2065354               x      Second MSJ                      $792.00 Reasonable
                                    motions; review outline of inequitable conduct and new CAFC                                                                     (Unreasonable)
                                    decision; draft correspondence regarding same; revise MSJ portion
1118                                on intervening rights
       10/15/2018    KH       x     Research and analysis regarding inequitable conduct and delayed                  1.2    $498.00    2065354               x      Second MSJ                      $498.00 Reasonable
1119                                maintenance fee payment                                                                                                         (Unreasonable)
       10/15/2018     OF      x     Research whether intervening rights requires a defendant to                      3.7   $1,221.00   2065354               x      Second MSJ                 $1,221.00 Reasonable
                                    commence alleged infringing activity before the lapse of the                                                                    (Unreasonable)
                                    asserted patent (2.3); draft intervening rights argument (3.4)
1120
       10/15/2018    SRH      x     Outline arguments for motion for leave to file second summary                    0.4    $188.00    2065354               x      Second MSJ                      $188.00 Reasonable
1121                                judgment motion                                                                                                                 (Unreasonable)
       10/15/2018     CB      x     Discuss pretrial motion arguments and evidence with team and                     2.7   $1,822.50   2065354               x      Second MSJ                 $1,366.88 Reasonable
                                    review related case law.                                                                                                        (Unreasonable);
                                                                                                                                                                    Daubert
1122                                                                                                                                                                (Excessive)
       10/16/2018     DS      x     Begin review and provide comments on draft Motion for Summary                    2.6   $1,144.00   2065354               x      Second MSJ                 $1,144.00 Reasonable
                                    Judgment sections; call to discuss case and action items                                                                        (Unreasonable)
1123
       10/16/2018    KH       x     Conference call with team regarding motion and case strategy;                    3.6   $1,494.00   2065354               x      Second MSJ                 $1,494.00 Reasonable
                                    conference call with C. Franich and D. Sharpe regarding motion for                                                              (Unreasonable)
1124                                summary judgment
       10/16/2018    MCM      x     Assess potential dispositive motions                                             0.6    $231.00    2065354               x      Second MSJ                      $231.00 Reasonable
1125                                                                                                                                                                (Unreasonable)
       10/16/2018     SH      x     Research and draft motion for leave to file second MSJ                           2.8    $924.00    2065354               x      Second MSJ                      $924.00 Reasonable
1126                                                                                                                                                                (Unreasonable)
       10/16/2018     CB      x     Review materials in support of pretrial motions and discuss                      3.7   $2,497.50   2065354               x      Second MSJ                 $1,873.13 Reasonable
                                    arguments with team.                                                                                                            (Unreasonable);
                                                                                                                                                                    Daubert
1127                                                                                                                                                                (Excessive)
       10/16/2018     CF      x     Conference regarding MSJ and Daubert strategy; revise outline of                 3.4   $1,496.00   2065354               x      Second MSJ                 $1,122.00 Reasonable
                                    MSJ argument portions; conference regarding inequitable conduct                                                                 (Unreasonable);
                                    argument in MSJ and related exhibits; draft correspondence                                                                      Daubert
                                    regarding corresponding analysis                                                                                                (Excessive)
1128
       10/16/2018     OF      x     Research case law regarding exclusion of expert testimony where                  2.8    $924.00    2065354               x      Second MSJ                      $693.00 Reasonable
                                    expert uses improper claim construction; draft intervening rights                                                               (Unreasonable);
                                    section to motion for summary judgment                                                                                          Daubert
1129                                                                                                                                                                (Excessive)




                                                                                                                Defendant's Exhibit A-1                                                                                         54
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           A          B       C                                         D                                     E          F            G          H        I               J                K                          L             M
                                                                                                                                                                 Reason Fee Not    Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable           PSD Response     PSD - Not recoverable
1130   10/16/2018    SRH      x     Strategize regarding arguments for pretrial motions                           1.2    $564.00    2065354               x
1131   10/16/2018    SRH            Draft joint motion to continue mandatory settlement conference                0.5    $235.00    2052580      x
       10/17/2018     OF      x     Research case law regarding an expert proffering infringement                 5.4   $1,782.00   2065354               x      Daubert                          $891.0 Reasonable
                                    analysis based on improper claim construction (1.8); draft Daubert                                                           (Excessive)
                                    motion to exclude or strike expert testimony (3.6)
1132
       10/17/2018     SH      x     Research, draft, and edit motion for leave to file second MSJ                 2.4    $792.00    2065354               x      Second MSJ                      $792.00 Reasonable
1133                                                                                                                                                             (Unreasonable)
       10/17/2018     CB      x     Revise pretrial motion arguments and review related materials                 4.2   $2,835.00   2065354               x      Second MSJ                 $2,126.25 Reasonable
                                    and case law.                                                                                                                (Unreasonable);
                                                                                                                                                                 Daubert
1134                                                                                                                                                             (Excessive)
       10/17/2018     CF      x     Review order; revise Daubert briefs; draft correspondence                     1.3    $572.00    2065354               x      Second MSJ                      $429.00 Reasonable
                                    regarding same; revise MSJ argument; draft correspondence                                                                    (Unreasonable);
                                    regarding same                                                                                                               Daubert
1135                                                                                                                                                             (Excessive)
       10/17/2018     DS      x     Respond to court reporter's inquiry about terms; review intervening           3.4   $1,496.00   2065354               x      Second MSJ                 $1,122.00 Reasonable
                                    rights MSJ section; discuss Stevick Daubert motion with Oscar                                                                (Unreasonable);
                                                                                                                                                                 Daubert
1136                                                                                                                                                             (Excessive)
       10/17/2018    SRH            Draft joint motion to continue hearing on summary judgment and                0.7    $329.00    2052580      x
1137                                Daubert motions; call R. Scott to negotiate briefing schedule
       10/18/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                    3.2   $1,056.00   2065354               x      Daubert                          $528.0 Reasonable
1138                                                                                                                                                             (Excessive)
       10/18/2018    KH       x     Draft brief in support of motion for summary judgment regarding               2.8   $1,162.00   2065354               x      Second MSJ                 $1,162.00 Reasonable
1139                                inequitable conduct                                                                                                          (Unreasonable)
       10/18/2018    MCM      x     Discuss outline and strategy for Motion For Summary Judgment,                 1.4    $539.00    2065354               x      Second MSJ                      $404.25 Reasonable
                                    and Daubert motions against Whitewater's experts                                                                             (Unreasonable);
                                                                                                                                                                 Daubert
1140                                                                                                                                                             (Excessive)
       10/18/2018     SH      x     Research, draft and edit motion for leave to file second MSJ; draft           3.4   $1,122.00   2065354               x      Second MSJ                      $841.50 Reasonable
                                    proposed order granting motion for leave to file second MSJ;                                                                 (Unreasonable);
                                    research and edit motion to exclude                                                                                          Daubert
1141                                                                                                                                                             (Excessive)
       10/18/2018     CB      x     Revise pretrial motion arguments and review related materials and case        3.6   $2,430.00   2065354               x
1142                                law.
       10/18/2018     DS      x     Discuss outstanding projects with Charan Brahma; review Stevick               1.5    $660.00    2065354               x
1143                                deposition transcript for citations for Daubert motion
1144   10/18/2018    LUB      x     Review Vigil expert report for Daubert motion                                  1     $330.00    2065354               x
1145   10/18/2018    MCM            Plan and prepare for trial strategies                                         1.6    $616.00    2052580      x
       10/19/2018    LUB      x     Prepare Daubert motion to exclude Vigil expert report                         3.5   $1,155.00   2065354               x      Daubert                          $577.5 Reasonable
1146                                                                                                                                                             (Excessive)
       10/19/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                    2.7    $891.00    2065354               x      Daubert                          $445.5 Reasonable
1147                                                                                                                                                             (Excessive)
       10/19/2018    KH       x     Draft brief in support of motion for summary judgment regarding               5.9   $2,448.50   2065354               x      Second MSJ                 $2,448.50 Reasonable
1148                                inequitable conduct                                                                                                          (Unreasonable)
       10/19/2018    SRH      x     Revise draft motion for leave to file second summary judgment                 1.1    $517.00    2065354               x      Second MSJ                      $517.00 Reasonable
1149                                motion and proposed order                                                                                                    (Unreasonable)
       10/19/2018     CB      x     Finalize pretrial motion papers for filing.                                   4.3   $2,902.50   2065354               x      Second MSJ                 $2,176.88 Reasonable
                                                                                                                                                                 (Unreasonable);
                                                                                                                                                                 Daubert
1150                                                                                                                                                             (Excessive)
       10/19/2018     CF      x     Revise outline of arguments in MSJ; revise Godici Daubert; draft              1.7    $748.00    2065354               x      Second MSJ                      $561.00 Reasonable
                                    correspondence regarding Dauberts for Stevick and Vigil; team                                                                (Unreasonable);
                                    conference regarding filing strategy                                                                                         Daubert
1151                                                                                                                                                             (Excessive)
       10/19/2018    SRH      x     Strategize regarding pretrial motions                                         0.7    $329.00    2065354               x      Second MSJ                      $246.75 Reasonable
1152                                                                                                                                                             (Unreasonable);
1153   10/19/2018    MCM            Plan and prepare for trial strategies                                         1.3    $500.50    2052580      x
       10/20/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                     4    $1,320.00   2065354               x      Daubert                          $660.0 Reasonable
1154                                                                                                                                                             (Excessive)




                                                                                                             Defendant's Exhibit A-1                                                                                         55
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           A          B       C                                      D                                    E          F            G          H        I               J                K                          L             M
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 1       DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                           HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable           PSD Response     PSD - Not recoverable
       10/20/2018     SH      x     Research issues for motion to exclude                                     2.2    $726.00    2065354               x      Daubert                          $363.0 Reasonable
1155                                                                                                                                                         (Excessive)
       10/21/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                2.8    $924.00    2065354               x      Daubert                          $462.0 Reasonable
1156                                                                                                                                                         (Excessive)
       10/21/2018     CF      x     Revise draft of MSJ on inequitable conduct; draft correspondence          1.4    $616.00    2065354               x      Second MSJ                      $616.00 Reasonable
                                    regarding same; revise brief on 271f for MSJ; draft correspondence                                                       (Unreasonable)
1157                                regarding same
       10/22/2018     DS      x     Continue review of Stevick deposition transcript                          2.8   $1,232.00   2065354               x      Daubert                          $616.0 Reasonable
1158                                                                                                                                                         (Excessive)
       10/22/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                      4.4   $1,452.00   2065354               x      Daubert                          $726.0 Reasonable
1159                                                                                                                                                         (Excessive)
       10/22/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                3.6   $1,188.00   2065354               x      Daubert                          $594.0 Reasonable
1160                                                                                                                                                         (Excessive)
       10/22/2018     SH      x     Research and draft motion to exclude                                      4.3   $1,419.00   2065354               x      Daubert                          $709.5 Reasonable
1161                                                                                                                                                         (Excessive)
       10/22/2018     CF      x     Continue revising and drafting MSJ for inequitable conduct                1.3    $572.00    2065354               x      Second MSJ                      $572.00 Reasonable
1162                                                                                                                                                         (Unreasonable)
       10/22/2018    KH       x     Review and analyze edits from C. Franich on draft brief                   0.5    $207.50    2065354               x      Second MSJ                      $207.50 Reasonable
1163                                                                                                                                                         (Unreasonable)
       10/22/2018     CB      x     Revise draft pretrial motions and discuss arguments and                   2.3   $1,552.50   2065354               x      Second MSJ                 $1,164.38 Reasonable
                                    supporting evidence with team.                                                                                           (Unreasonable);
                                                                                                                                                             Daubert
1164                                                                                                                                                         (Excessive)
       10/23/2018     CF      x     Revise drafts of Daubert motions                                          0.9    $396.00    2065354               x      Daubert                          $198.0 Reasonable
1165                                                                                                                                                         (Excessive)
       10/23/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                      5.2   $1,716.00   2065354               x      Daubert                          $858.0 Reasonable
1166                                                                                                                                                         (Excessive)
       10/23/2018     OF      x     Draft Daubert Motion to exclude or strike expert testimony                2.4    $792.00    2065354               x      Daubert                          $396.0 Reasonable
1167                                                                                                                                                         (Excessive)
       10/23/2018     SH      x     Research, draft, and edit motion to exclude                               3.4   $1,122.00   2065354               x      Daubert                          $561.0 Reasonable
1168                                                                                                                                                         (Excessive)
       10/23/2018     CB      x     Revise pretrial motions.                                                  4.3   $2,902.50   2065354               x      Second MSJ                 $2,902.50 Reasonable
1169                                                                                                                                                         (Unreasonable)
       10/23/2018    SRH      x     Research causal nexus requirement for permanent injunction                0.6    $282.00    2065354               x      Second MSJ                      $282.00 Reasonable
1170                                                                                                                                                         (Unreasonable)
       10/23/2018     DS      x     Discuss Stevick Daubert with Oscar Figueroa; review draft Motion          2.9   $1,276.00   2065354               x      Second MSJ                      $957.00 Reasonable
                                    for Summary Judgment                                                                                                     (Unreasonable);
                                                                                                                                                             Daubert
1171                                                                                                                                                         (Excessive)
       10/24/2018     CF      x     Revise drafts for Dauberts for Godici and Vigil; draft                     1     $440.00    2065354               x      Daubert                          $220.0 Reasonable
1172                                correspondence regarding same                                                                                            (Excessive)
       10/24/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                       4    $1,320.00   2065354               x      Daubert                          $660.0 Reasonable
1173                                                                                                                                                         (Excessive)
       10/24/2018     OF      x     Draft Daubert motion to exclude or strike expert testimony                2.8    $924.00    2065354               x      Daubert                          $462.0 Reasonable
1174                                                                                                                                                         (Excessive)
       10/24/2018    KH       x     Analyze comments from C. Brahma; confer with D. Sharpe                     3    $1,245.00   2065354               x      Second MSJ                 $1,245.00 Reasonable
1175                                regarding argument section; edit draft brief                                                                             (Unreasonable)
       10/24/2018    SRH      x     Draft summary judgment arguments regarding irreparable harm               1.1    $517.00    2065354               x      Second MSJ                      $517.00 Reasonable
1176                                requirement for permanent injunction                                                                                     (Unreasonable)
       10/24/2018     CB      x     Revise pretrial motions.                                                  3.7   $2,497.50   2065354               x      Second MSJ                 $1,873.13 Reasonable
                                                                                                                                                             (Unreasonable);
                                                                                                                                                             Daubert
1177                                                                                                                                                         (Excessive)
       10/24/2018     DS      x     Review and provide comments on Draft Motion for Summary                   4.3   $1,892.00   2065354               x      Second MSJ                 $1,419.00 Reasonable
                                    Judgment; review and discuss Vigil Daubert arguments                                                                     (Unreasonable);
                                                                                                                                                             Daubert
1178                                                                                                                                                         (Excessive)
       10/24/2018     SH      x     Draft and edit motion to exclude; draft declaration for motion to         3.5   $1,155.00   2065354               x      Second MSJ                      $866.25 Reasonable
                                    exclude; pull exhibits for motion to exclude; draft proposed order                                                       (Unreasonable);
                                    granting motion to exclude; research and edit summary judgment                                                           Daubert
1179                                motion                                                                                                                   (Excessive)
       10/25/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                      2.3    $759.00    2065354               x      Daubert                          $379.5 Reasonable
1180                                                                                                                                                         (Excessive)




                                                                                                         Defendant's Exhibit A-1                                                                                         56
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           A          B       C                                        D                                       E          F            G          H        I               J                K                          L             M
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 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                               HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable           PSD Response     PSD - Not recoverable
       10/25/2018    SRH      x     Revise motion to exclude Vigil testimony                                       3.7   $1,739.00   2065354               x      Daubert                          $869.5 Reasonable
1181                                                                                                                                                              (Excessive)
       10/25/2018     DS      x     Review documents for Motion for Summary Judgment brief                         3.3   $1,452.00   2065354               x      Second MSJ                 $1,452.00 Reasonable
1182                                                                                                                                                              (Unreasonable)
       10/25/2018    KH       x     Analyze and edit draft brief; review and analyze expert deposition             3.4   $1,411.00   2065354               x      Second MSJ                 $1,411.00 Reasonable
1183                                testimony                                                                                                                     (Unreasonable)
       10/25/2018     CB      x     Revise pretrial motions.                                                       4.9   $3,307.50   2065354               x      Second MSJ                 $2,480.63 Reasonable
                                                                                                                                                                  (Unreasonable);
                                                                                                                                                                  Daubert
1184                                                                                                                                                              (Excessive)
       10/26/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                           0.7    $231.00    2065354               x      Daubert                          $115.5 Reasonable
1185                                                                                                                                                              (Excessive)
       10/26/2018    KH       x     Analyze and edit draft MSJ brief                                               4.2   $1,743.00   2065354               x      Second MSJ                 $1,743.00 Reasonable
1186                                                                                                                                                              (Unreasonable)
       10/26/2018     CB      x     Revise pretrial motions.                                                        5    $3,375.00   2065354               x      Second MSJ                 $2,531.25 Reasonable
                                                                                                                                                                  (Unreasonable);
                                                                                                                                                                  Daubert
1187                                                                                                                                                              (Excessive)
       10/26/2018     CF      x     Revise MSJ arguments for foreign sales and damages theories;                   1.6    $704.00    2065354               x      Second MSJ                      $528.00 Reasonable
                                    revise Daubert for Vigil; revise ex parte application for MSJ; review                                                         (Unreasonable);
                                    correspondence from plaintiff regarding settlement conference; draft                                                          Daubert
                                    correspondence regarding same                                                                                                 (Excessive)
1188
       10/26/2018     DS      x     Call with Charan Brahma and Oscar Figueroa to discuss Stevick                  4.4   $1,936.00   2065354               x      Second MSJ                 $1,452.00 Reasonable
                                    Daubert; review and revise rough Daubert draft and Motion for                                                                 (Unreasonable);
                                    Summary Judgment                                                                                                              Daubert
1189                                                                                                                                                              (Excessive)
       10/26/2018    SRH      x     Confer with R. Scott regarding joint motion to continue mandatory              5.2   $2,444.00   2065354               x
                                    settlement conference; draft notice of unavailability of counsel; draft
                                    joint motion to continue mandatory settlement conference; draft
1190                                motion to exclude expert testimony
       10/27/2018    KH       x     Review and analyze expert deposition transcripts for inclusion in              1.1    $456.50    2065354               x      Second MSJ                      $456.50 Reasonable
1191                                MSJ brief                                                                                                                     (Unreasonable)
       10/28/2018    KH       x     Review and analyze expert deposition transcripts for inclusion in              0.7    $290.50    2065354               x      Second MSJ                      $290.50 Reasonable
1192                                MSJ brief                                                                                                                     (Unreasonable)
       10/28/2018     SH      x     Research and edit motion for leave to file second MSJ                          1.3    $429.00    2065354               x      Second MSJ                      $429.00 Reasonable
1193                                                                                                                                                              (Unreasonable)
       10/29/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                           3.3   $1,089.00   2065354               x      Daubert                          $544.5 Reasonable
1194                                                                                                                                                              (Excessive)
       10/29/2018     DS      x     Revise draft Motion for Summary Judgment                                       2.3   $1,012.00   2065354               x      Second MSJ                 $1,012.00 Reasonable
1195                                                                                                                                                              (Unreasonable)
       10/29/2018    KH       x     Review and analyze expert deposition transcripts for inclusion in              1.4    $581.00    2065354               x      Second MSJ                      $581.00 Reasonable
1196                                MSJ brief                                                                                                                     (Unreasonable)
       10/29/2018     CB      x     Revise pretrial motions.                                                       3.3   $2,227.50   2065354               x      Second MSJ                 $1,670.63 Reasonable
                                                                                                                                                                  (Unreasonable);
                                                                                                                                                                  Daubert
1197                                                                                                                                                              (Excessive)
       10/29/2018     CF      x     Revise drafts of MSJs and MIL for Vigil and Godici; draft                      1.3    $572.00    2065354               x      Second MSJ                      $429.00 Reasonable
                                    correspondence regarding same                                                                                                 (Unreasonable);
                                                                                                                                                                  Daubert
1198                                                                                                                                                              (Excessive)
       10/29/2018     SH      x     Research and edit motion to exclude; research and edit summary                 2.4    $792.00    2065354               x      Second MSJ                      $594.00 Reasonable
                                    judgment motion                                                                                                               (Unreasonable);
                                                                                                                                                                  Daubert
1199                                                                                                                                                              (Excessive)
       10/29/2018    SRH      x     Email R. Scott regarding continuing mandatory settlement conference            0.3    $141.00    2065354               x
1200
       10/30/2018    LUB      x     Revise Daubert motion to exclude Vigil expert report                           3.6   $1,188.00   2065354               x      Daubert                          $594.0 Reasonable
1201                                                                                                                                                              (Excessive)
       10/30/2018     OF      x     Draft motion in limine to exclude expert testimony                             2.6    $858.00    2065354               x      Daubert                          $429.0 Reasonable
1202                                                                                                                                                              (Excessive)
       10/30/2018     DS      x     Review and revise Motion for Summary Judgment                                  4.7   $2,068.00   2065354               x      Second MSJ                 $2,068.00 Reasonable
1203                                                                                                                                                              (Unreasonable)




                                                                                                              Defendant's Exhibit A-1                                                                                         57
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           A          B       C                                      D                                     E          F            G          H        I               J                K                           L             M
                                                                                                                                                              Reason Fee Not    Amount Not
 1       DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                            HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable       Recoverable            PSD Response     PSD - Not recoverable
       10/30/2018    KH       x     Analyze and edit summary judgment brief; compile exhibits                  8.7   $3,610.50   2065354               x      Second MSJ                 $3,610.50 Reasonable
1204                                                                                                                                                          (Unreasonable)
       10/30/2018     CB      x     Revise pretrial motions.                                                   5.2   $3,510.00   2065354               x      Second MSJ                 $2,632.50 Reasonable
                                                                                                                                                              (Unreasonable);
                                                                                                                                                              Daubert
1205                                                                                                                                                          (Excessive)
       10/30/2018     CF      x     Continue revising briefs including MSJ arguments, MIL arguments,           2.5   $1,100.00   2065354               x      Second MSJ                      $825.00 Reasonable
                                    and Daubert                                                                                                               (Unreasonable);
                                                                                                                                                              Daubert
1206                                                                                                                                                          (Excessive)
       10/30/2018    SRH      x     Revise drafts for summary judgment and Daubert motions; revise             3.2   $1,504.00   2065354               x      Second MSJ                 $1,128.00 Reasonable
                                    joint motion to continue mandatory settlement conference                                                                  (Unreasonable);
                                                                                                                                                              Daubert
1207                                                                                                                                                          (Excessive)
       10/31/2018     CF      x     Continue revising and finalize MSJ and corresponding exhibits,             4.9   $2,156.00   2065354               x      Second MSJ                 $2,156.00 Reasonable
1208                                motions                                                                                                                   (Unreasonable)
       10/31/2018     DS      x     Revise Motion for Summary Judgment; draft accompanying                     4.7   $2,068.00   2065354               x      Second MSJ                 $2,068.00 Reasonable
1209                                declaration                                                                                                               (Unreasonable)
       10/31/2018    KH       x     Analyze and edit brief for summary judgment; analyze and compile           4.1   $1,701.50   2065354               x      Second MSJ                 $1,701.50 Reasonable
1210                                exhibits; prepare statement of facts                                                                                      (Unreasonable)
       10/31/2018    SRH      x     Review summary judgment motion and supporting documents for                2.4   $1,128.00   2065354               x      Second MSJ                 $1,128.00 Reasonable
1211                                filing                                                                                                                    (Unreasonable)
       10/31/2018     CB      x     Revise pretrial motions.                                                   6.4   $4,320.00   2065354               x      Second MSJ                      $3,240.0 Reasonable
                                                                                                                                                              (Unreasonable);
                                                                                                                                                              Daubert
1212                                                                                                                                                          (Excessive)
       10/31/2018     OF      x     Draft motion in limine to exclude expert testimony (1.4); Create           2.7    $891.00    2065354               x      Second MSJ        $             445.50 Reasonable
                                    exhibits for motion for summary judgment (1.3)                                                                            (Unreasonable);
                                                                                                                                                              Daubert
1213                                                                                                                                                          (Excessive)
       11/1/2018      SH      x     Research, edit and pull exhibits for motion in limine; correspond          2.7    $891.00    2064520               x      Daubert                          $445.5 Reasonable
1214                                with C. Franich regarding the same                                                                                        (Excessive)
       11/1/2018      DS      x     Review, revise, and prepare Motion for Summary Judgment and                8.4   $3,696.00   2064520               x      Second MSJ                 $3,696.00 Reasonable
1215                                supporting documents for filing                                                                                           (Unreasonable)
       11/1/2018     KH       x     Analyze and edit brief for summary judgment and statement of               1.1    $456.50    2064520               x      Second MSJ                      $456.50 Reasonable
1216                                facts                                                                                                                     (Unreasonable)
       11/1/2018      OF      x     Assist in preparation for motion for summary judgment filing               2.4    $792.00    2064520               x      Second MSJ                      $792.00 Reasonable
1217                                                                                                                                                          (Unreasonable)
       11/1/2018      CB      x     Revise pretrial motions and related filing papers                           8    $5,400.00   2064520               x      Second MSJ                 $4,050.00 Reasonable
                                                                                                                                                              (Unreasonable);
                                                                                                                                                              Daubert
1218                                                                                                                                                          (Excessive)
       11/1/2018      CF      x     Finalize briefs for motion for summary judgment, motion in limine,         3.4   $1,496.00   2064520               x      Second MSJ                 $1,122.00 Reasonable
                                    and related exhibits, declarations, and motions                                                                           (Unreasonable);
                                                                                                                                                              Daubert
1219                                                                                                                                                          (Excessive)
       11/2/2018      CF      x     Revise and finalize draft motion in limine and coordinate exhibits,        4.4   $1,936.00   2064520               x      Daubert                          $968.0 Reasonable
                                    declaration, motions, and filing of same; preliminary review of                                                           (Excessive)
                                    plaintiff motions; draft correspondence regarding same
1220
       11/2/2018      OF      x     Research case for the proposition that it violates Rule 26(a)(2) to        4.2   $1,386.00   2064520               x      Daubert                          $693.0 Reasonable
                                    omit an opinion from your expert report and then try to jam it in                                                         (Excessive)
                                    during a deposition; Revise motion in limine to exclude expert
1221                                opinions
       11/2/2018      SH      x     Research and edit motion in limine; correspond with C. Franich             4.3   $1,419.00   2064520               x      Daubert                          $709.5 Reasonable
1222                                regarding the same                                                                                                        (Excessive)
       11/2/2018     SRH      x     Prepare Motion in Limine and supporting documents for filing               8.3   $3,901.00   2064520               x      Daubert                         $1,950.5 Reasonable
1223                                                                                                                                                          (Excessive)
       11/2/2018      CB      x     Revise pretrial motions and related filing papers                           8    $5,400.00   2064520               x      Second MSJ                 $4,050.00 Reasonable
                                                                                                                                                              (Unreasonable);
                                                                                                                                                              Daubert
1224                                                                                                                                                          (Excessive)




                                                                                                          Defendant's Exhibit A-1                                                                                          58
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           A          B       C                                         D                                         E          F              G          H        I                J                    K                          L             M
                                                                                                                                                                       Reason Fee Not         Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable            Recoverable           PSD Response     PSD - Not recoverable
       11/2/2018      DS      x     Discuss and research Motion in Limine issues with Oscar Figueroa;                 3.7   $1,628.00     2064520               x
1225                                begin reviewing Plaintiff's Motions in Limine
       11/2/2018     MCM      x     Review and analyze Whitewater's pretrial motions and motion for                   1.3    $500.50      2064520               x
1226                                summary judgment
       11/5/2018     SRH      x     Analyze summary judgment motion, Daubert motion, and motions                      3.2   $1,504.00     2064520               x      Daubert Reply                        $877.33 Reasonable
                                    in limine filed by plaintiff                                                                                                       (Excessive); Opp to
                                                                                                                                                                       MSJ (Excessive)
1227
       11/5/2018      CB      x     Review Plaintiff's motions for summary judgment, Daubert motion                   4.5   $3,037.50     2064520               x
1228                                and motions in limine and outline response
       11/5/2018      CB            Discuss extension of pretrial submission deadlines with S. Hovan                  0.8    $540.00      2064519      x
1229
       11/5/2018      CF      x     Review plaintiff pretrial motions; draft correspondence regarding                 0.8    $352.00      2064520               x
1230                                devised reply strategy
       11/6/2018      DS      x     Review Plaintiff's Motion for Summary Judgement and begin                         2.7   $1,188.00     2064520               x      Opp to MSJ                            $237.6 Reasonable
1231                                preparing opposition                                                                                                               (Excessive)
       11/6/2018      CB      x     Draft introduction and outline of arguments in opposition to plaintiff's          3.3   $2,227.50     2064520               x
                                    motion in limine 2, and review other motions in limine
1232
       11/6/2018     SRH      x     Review ex parte motion to strike second summary judgment motion;                  6.4   $3,008.00     2064520               x
                                    confer with C. Brahma regarding drafting settlement conference
                                    statement and oppositions to plaintiff's pretrial motions; research prior
                                    orders on admissibility of J. Carmichael's expert testimony; analyze
                                    cases cited in plaintiff's Daubert motion
1233
       11/6/2018     SRH            Confer with plaintiff's counsel regarding schedule; revise joint motion           0.5    $235.00      2064519      x
1234                                to extend pretrial deadlines
       11/7/2018      DS      x     Research Motions to Exclude Carmichael testimony; begin outlining                 5.8   $2,552.00     2064520               x      Opp to MSJ                            $510.4 Reasonable
                                    non-infringement and validity sections of opposition to Plaintiff's                                                                (Excessive)
1235                                motion for summary judgment
       11/7/2018      CB      x     Draft introduction and outline of arguments for opposition to                     4.1   $2,767.50     2064520               x
                                    Plaintiff's motion in limine no. 3 and review remaining motions in
                                    limine, Daubert motion, and motion for summary judgment for
1236                                preparation of oppositions
       11/7/2018     SRH      x     Prepare opposition to Daubert motion to exclude testimony of J.                   4.1   $1,927.00     2064520               x
1237                                Carmichael
1238   11/7/2018     SRH            Revise joint motion to extend pretrial deadlines                                  0.2        $94.00   2064519      x
       11/8/2018      DS      x     Outline infringement and validity sections of motion for summary                  3.3   $1,452.00     2064520               x      Opp to MSJ                            $290.4 Reasonable
1239                                judgment opposition                                                                                                                (Excessive)
       11/8/2018      CB      x     Draft introduction and outline of arguments for opposition to Plaintiff's         3.5   $2,362.50     2064520               x
                                    motion in limine no. 4 and review remaining motions in limine, Daubert
                                    motion, and motion for summary judgment for preparation of
1240                                oppositions
       11/8/2018      OF      x     Review plaintiff's motion in limine; research cases cited by plaintiff;           6.4   $2,112.00     2064520               x
1241                                draft opposition to motion in limine number 2
       11/8/2018     SRH      x     Prepare opposition to Daubert motion to exclude testimony of J.                   3.8   $1,786.00     2064520               x
1242                                Carmichael
       11/9/2018      DS      x     Draft infringement and validity sections of motion for summary                    4.2   $1,848.00     2064520               x      Opp to MSJ                            $369.6 Reasonable
1243                                judgment opposition                                                                                                                (Excessive)
       11/9/2018      CB      x     Draft motion in limine introduction and outline of arguments and                  1.6   $1,080.00     2064520               x
                                    review remaining Daubert and summary judgment motions to
1244                                prepare oppositions
1245   11/9/2018      OF      x     Draft opposition to motion in limine number 2                                     7.1   $2,343.00     2064520               x
       11/10/2018     OF      x     Draft and revise opposition to motion in limine number 2; draft                    5    $1,650.00     2064520               x
1246                                declaration and sealing documents
       11/11/2018    SRH      x     Analyze cases cited in plaintiff's motion to bifurcate inequitable conduct        3.1   $1,457.00     2064520               x
1247
       11/12/2018    MH       x     Review and research case law for subsequent attorney review;                       4    $1,020.00     2064520               x      Fed. Cir. Appeal No.            $1,020.00                                    $1,020.00
                                    organize and update appeal binder as per the request of Timothy                                                                    18-1680
                                    Heaton; review and analyze Appendix Cites for subsequent
1248                                attorney review
       11/12/2018     DS      x     Draft opposition to WWI Motion for Summary Judgment                               4.9   $2,156.00     2064520               x      Opp to MSJ                            $431.2 Reasonable
1249                                                                                                                                                                   (Excessive)




                                                                                                                 Defendant's Exhibit A-1                                                                                                59
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           A          B       C                                         D                                       E          F            G          H        I                J                    K                          L             M
                                                                                                                                                                   Reason Fee Not         Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable            Recoverable            PSD Response    PSD - Not recoverable
       11/12/2018     OF      x     Review plaintiff's motion in limine number 4; research cases cited by           7.1   $2,343.00   2064520               x
                                    plaintiff; draft opposition to motion in limine number 4; draft
1250                                declaration and sealing documents
       11/13/2018    MH       x     Review and analyze Joint Appendix for subsequent attorney review                 2     $510.00    2064520               x      Fed. Cir. Appeal No.   $             510.00                                   $510.00
1251                                                                                                                                                               18-1680
       11/13/2018     DS      x     Draft opposition to WWI Motion for Summary Judgment                             5.5   $2,420.00   2064520               x      Opp to MSJ                            $484.0 Reasonable
1252                                                                                                                                                               (Excessive)
       11/13/2018     CB      x     Revise opposition to plaintiff's Daubert motion regarding Carmichael            4.5   $3,037.50   2064520               x
                                    and review plaintiff's motion for summary judgment for
1253                                preparation of opposition
1254   11/13/2018     OF      x     Draft opposition to motion in limine number 4                                   5.1   $1,683.00   2064520               x
       11/13/2018    SRH      x     Outline arguments and prepare opposition to plaintiff's motion to               3.2   $1,504.00   2064520               x
1255                                bifurcate inequitable conduct issues
       11/14/2018     OF            Review plaintiff's opposition to Daubert motion; Research cases cited           6.1   $2,013.00   2064519      x               Daubert Reply                        $503.25 Reasonable
1256                                by plaintiff; Draft reply Daubert motion                                                                                       (Excessive)
       11/14/2018    MH       x     Review and analyze Joint Appendix for subsequent attorney review                2.5    $637.50    2064520               x      Fed. Cir. Appeal No.   $             637.50                                   $637.50
1257                                                                                                                                                               18-1680
       11/14/2018     DS      x     Draft opposition to WWI Motion for Summary Judgment and                          8    $3,520.00   2064520               x      Opp to MSJ                            $704.0 Reasonable
1258                                circulate draft to Charan Brahma                                                                                               (Excessive)
       11/14/2018     CB      x     Draft settlement conference statement and revise opposition briefs to           2.7   $1,822.50   2064520               x
1259                                pretrial motions
1260   11/14/2018    MCM      x     Revise Mandatory Settlement Conference Statement                                0.5    $192.50    2064520               x
       11/14/2018     OF      x     Draft opposition to motion in limine number 4; revise opposition to             5.3   $1,749.00   2064520               x
1261                                motion in limine number 4
       11/14/2018    SRH      x     Revise opposition to Daubert motion to exclude J. Carmichael's                  3.2   $1,504.00   2064520               x
1262                                testimony
       11/15/2018    LUB            Draft reply memorandum in support of motion to exclude expert                   8.6   $2,838.00   2064519      x               Daubert Reply                   $2,128.50 Reasonable
1263                                report of Robert Vigil                                                                                                         (Excessive)
       11/15/2018     OF            Draft Daubert reply brief                                                       7.3   $2,409.00   2064519      x               Daubert Reply                   $1,806.75 Reasonable
1264                                                                                                                                                               (Excessive)
       11/15/2018     DS      x     Revise infringement and validity brief sections of draft opposition             5.9   $2,596.00   2064520               x      Opp to MSJ                            $519.2 Reasonable
1265                                to WWI motion for summary judgment                                                                                             (Excessive)
1266   11/15/2018     CB      x     Draft mandatory settlement conference statement.                                2.6   $1,755.00   2064520               x
       11/15/2018     CB            Review plaintiff's opposition briefs to PSD summary judgment and                4.4   $2,970.00   2064519      x
1267                                Daubert/motion in limine motions
1268   11/15/2018    MCM            Prepare exhibits and witness list for trial                                     2.7   $1,039.50   2064519      x
1269   11/15/2018    SRH            Strategize regarding evidence for trial                                         0.8    $376.00    2064519      x
       11/16/2018    LUB            Draft reply memorandum in support of motion to exclude expert                   2.6    $858.00    2064519      x               Daubert Reply                        $643.50 Reasonable
1270                                report of Robert Vigil                                                                                                         (Excessive)
       11/16/2018     OF            Draft Daubert reply brief                                                       8.2   $2,706.00   2064519      x               Daubert Reply                   $2,029.50 Reasonable
1271                                                                                                                                                               (Excessive)
       11/16/2018     CB            Review plaintiff's opposition briefs to PSD summary judgment and                1.3    $877.50    2064519      x               Daubert Reply                        $658.13 Reasonable
                                    Daubert/motion in limine motions and discuss reply brief                                                                       (Excessive); PSD
                                    arguments with team                                                                                                            Not Provide Reply
1272                                                                                                                                                               ISO MSJ
       11/16/2018    MH       x     Review and analyze Joint Appendix for subsequent attorney review                0.5    $127.50    2064520               x      Fed. Cir. Appeal No.   $             127.50                                   $127.50
1273                                                                                                                                                               18-1680
       11/16/2018     DS      x     Outline inequitable conduct section of motion for summary                       3.1   $1,364.00   2064520               x      Opp to MSJ                            $272.8 Reasonable
1274                                judgment opposition                                                                                                            (Excessive)
       11/16/2018     CB      x     Finalize and submit mandatory settlement conference statement;                  5.5   $3,712.50   2064520               x
                                    review plaintiff's motion for summary judgment and revise draft
1275                                opposition
       11/16/2018    SRH      x     Finalize mandatory settlement conference statement for submission to            3.2   $1,504.00   2064520               x
                                    judge; prepare opposition to plaintiff's motion to bifurcate inequitable
1276                                conduct issues
       11/17/2018    LUB            Draft reply memorandum in support of motion to exclude expert                   1.5    $495.00    2064519      x               Daubert Reply                        $371.25 Reasonable
1277                                report of Robert Vigil                                                                                                         (Excessive)
       11/18/2018     CB            Revise reply brief in support of Daubert motion regarding Vigil                 1.5   $1,012.50   2064519      x               Daubert Reply                        $759.38 Reasonable
1278                                                                                                                                                               (Excessive)
       11/18/2018    LUB            Draft reply memorandum in support of motion to exclude expert                   5.3   $1,749.00   2064519      x               Daubert Reply                   $1,311.75 Reasonable
1279                                report of Robert Vigil                                                                                                         (Excessive)




                                                                                                               Defendant's Exhibit A-1                                                                                              60
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           A          B       C                                        D                                   E          F              G          H        I               J                    K                          L              M
                                                                                                                                                                Reason Fee Not        Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                           HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable           Recoverable           PSD Response      PSD - Not recoverable
       11/19/2018     CB            Revise reply brief in support of Daubert motion regarding Stevick          2.8   $1,890.00     2064519      x               Daubert Reply                  $1,417.50 Reasonable
1280                                and Vigil and motion for summary judgment                                                                                   (Excessive)
       11/19/2018    LUB            Draft reply memorandum in support of motion to exclude expert              8.1   $2,673.00     2064519      x               Daubert Reply                  $2,004.75 Reasonable
1281                                report of Robert Vigil                                                                                                      (Excessive)
       11/19/2018     DS      x     Draft inequitable conduct section of motion for summary judgment           3.9   $1,716.00     2064520               x      Opp to MSJ                           $343.2 Reasonable
1282                                opposition                                                                                                                  (Excessive)
       11/19/2018    SRH            Draft reply brief in support of summary judgment motion; prepare           2.8   $1,316.00     2064519      x               Second MSJ                          $658.00 Reasonable
1283                                witness list for trial                                                                                                      (Unreasonable)
1284   11/19/2018    SRH      x     Finalize opposition to motion to exclude expert Carmichael                 0.7    $329.00      2064520               x                                                  Reasonable
       11/20/2018    LUB            Revise reply memorandum in support of motion to exclude expert              1     $330.00      2064519      x               Daubert Reply                       $247.50 Reasonable
1285                                report of Robert Vigil                                                                                                      (Excessive)
       11/20/2018     OF            Revise Daubert reply brief                                                 5.5   $1,815.00     2064519      x               Daubert Reply                  $1,361.25 Reasonable
1286                                                                                                                                                            (Excessive)
       11/20/2018    SRH            Revise reply brief in support of summary judgment motion; revise           5.5   $2,585.00     2064519      x               Daubert Reply                       $969.38 Reasonable
1287                                reply brief in support of motion to exclude or strike expert Vigil                                                          (Excessive); Second
       11/20/2018     DS      x     Draft inequitable conduct section of motion for summary judgment           4.6   $2,024.00     2064520               x      Opp to MSJ                           $404.8 Reasonable
1288                                opposition                                                                                                                  (Excessive)
       11/20/2018     CB            Revise reply brief in support of motion for summary judgment               3.9   $2,632.50     2064519      x               Second MSJ                     $2,632.50 Reasonable
1289                                                                                                                                                            (Unreasonable)
       11/20/2018     CF      x     Draft correspondence regarding opposition and reply to motion              0.2        $88.00   2064520               x
1290                                for summary judgment and motions in limine
       11/21/2018    LUB            Revise reply memorandum in support of motion to exclude expert             3.7   $1,221.00     2064519      x               Daubert Reply                       $915.75 Reasonable
1291                                testimony of Robert Vigil                                                                                                   (Excessive)
       11/21/2018     OF            Revise Daubert reply brief; prepare motion for filing                      5.9   $1,947.00     2064519      x               Daubert Reply                  $1,460.25 Reasonable
1292                                                                                                                                                            (Excessive)
       11/21/2018     CB            Finalize reply briefs in support of Daubert/motion in limine and           4.5   $3,037.50     2064519      x               Daubert Reply                  $1,139.06 Reasonable
                                    summary judgment motions and related filing papers                                                                          (Excessive); Second
                                                                                                                                                                MSJ (Unreasonable)
1293
       11/21/2018    SRH            Finalize summary judgment reply for filing; finalize reply brief in         4    $1,880.00     2064519      x               Daubert Reply                  $1,096.67 Reasonable
                                    support of motion to exclude or strike expert Stevick; research and                                                         (Excessive); Second
                                    draft objections to plaintiff's evidence                                                                                    MSJ (Unreasonable)
1294
       11/21/2018     DS      x     Draft motion for summary judgment opposition                               4.8   $2,112.00     2064520               x      Opp to MSJ                           $422.4 Reasonable
1295                                                                                                                                                            (Excessive)
       11/21/2018    SRH      x     Research and prepare opposition to motion to bifurcate inequitable         4.3   $2,021.00     2064520               x      Opp to MSJ                     $1,010.50 Reasonable
                                    conduct; coordinate drafting of oppositions to summary judgment                                                             (Excessive)
1296                                motion and motions in limine
       11/21/2018     CB      x     Revise summary judgment and motion in limine opposition filings            3.8   $2,565.00     2064520               x                                                  Reasonable
1297
       11/23/2018     DS      x     Draft and circulate motion for summary judgment opposition             10.5      $4,620.00     2064520               x      Opp to MSJ                           $924.0 Reasonable
1298                                                                                                                                                            (Excessive)
1299   11/23/2018    SRH      x     Review oppositions to plaintiff's motions in limine                        4.1   $1,927.00     2064520               x                                                  Reasonable
       11/25/2018     DS      x     Revise motion for summary judgment opposition                              9.1   $4,004.00     2064520               x      Opp to MSJ                           $800.8 Reasonable
1300                                                                                                                                                            (Excessive)
       11/25/2018     CB      x     Revise summary judgment and motion in limine opposition filings            3.3   $2,227.50     2064520               x
1301
       11/25/2018    LUB      x     Draft opposition to '016 motion to exclude evidence regarding '016          3     $990.00      2064520               x
1302                                patent
       11/26/2018    MCM      x     Prepare trial exhibits                                                     1.2    $462.00      2064520               x      Alleshouse Action     $             462.00 Will not dispute    $               462.00
1303
       11/26/2018     DS      x     Revise, finalize, and file motion for summary judgment opposition      10.9      $4,796.00     2064520               x      Opp to MSJ                           $959.2 Reasonable
1304                                and supporting documents                                                                                                    (Excessive)
       11/26/2018    SRH      x     Prepare Brahma declaration and Pribonic declaration in                 10.1      $4,747.00     2064520               x      Opp to MSJ                     $4,747.00 Reasonable
                                    opposition to plaintiff's motion for summary judgment; prepare                                                              (Excessive)
                                    objections to plaintiff's summary judgment evidence; prepare
                                    response to statement of undisputed material facts; prepare
                                    motion to seal confidential exhibits; prepare proposed orders
                                    denying plaintiff's motions; finalize briefs and supporting
                                    documents in opposition to plaintiff's summary judgment motion,
                                    Daubert motion, and four motions in limine
1305




                                                                                                          Defendant's Exhibit A-1                                                                                                  61
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           A          B       C                                        D                                       E          F              G          H        I                J                    K                          L              M
                                                                                                                                                                    Reason Fee Not         Amount Not
 1       DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                                HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable            Recoverable            PSD Response     PSD - Not recoverable
       11/26/2018     CB      x     Finalize summary judgment and motion in limine opposition briefs and            8    $5,400.00     2064520               x
1306                                related filings; attend mandatory settlement conference with Y. Yeh and
       11/26/2018     CF      x     Revise and finalize briefs, declarations and exhibits for oppositions          5.2   $2,288.00     2064520               x
                                    to motions in limine, motion for summary judgment
1307
       11/26/2018    LUB      x     Draft objections to evidence submitted with Whitewater's motion                2.7    $891.00      2064520               x
1308                                for summary judgment
       11/26/2018     OF      x     Revise motion in limine number 2; revise motion in limine number 4;            7.5   $2,475.00     2064520               x
1309                                prepare motions for filing
       11/27/2018     CB            Review draft pretrial memo, exhibit list and witness list                      2.5   $1,687.50     2064519      x               Alleshouse Action      $           1,687.50 Will not dispute    $              1,687.50
1310
       11/27/2018    MCM      x     Prepare trial exhibits                                                         0.8    $308.00      2064520               x      Alleshouse Action      $             308.00 Will not dispute    $               308.00
1311
       11/27/2018    SRH            Prepare memorandum of contentions of fact and law, exhibit list,               2.8   $1,316.00     2064519      x               Alleshouse Action      $           1,316.00 Will not dispute    $              1,316.00
1312                                and witness list for trial
       11/27/2018     CB      x     Review plaintiff's opposition brief regarding PSD's Daubert/motion             3.3   $2,227.50     2064520               x      Daubert Reply                   $1,670.63 Reasonable
                                    in limine motion and discuss reply arguments with team.                                                                         (Excessive)
1313
       11/27/2018     DS      x     Review WWI's opposition to Daubert and motion in limine                        2.9   $1,276.00     2064520               x      Daubert Reply                        $957.00 Reasonable
1314                                                                                                                                                                (Excessive)
       11/27/2018    LUB      x     Draft reply memorandum in support of motion to exclude expert                  1.4    $462.00      2064520               x      Daubert Reply                        $346.50 Reasonable
1315                                reports                                                                                                                         (Excessive)
       11/27/2018     OF      x     Review plaintiff's opposition to motion in limine to exclude                   4.7   $1,551.00     2064520               x      Daubert Reply                   $1,163.25 Reasonable
                                    experts; research cases cited by Plaintiff; draft reply in support of                                                           (Excessive)
1316                                motion in limine to exclude experts
       11/27/2018    MH       x     Organize and prepare Response to Notice to Advise of Scheduling                0.3        $76.50   2064520               x      Fed. Cir. Appeal No.   $              76.50                                     $76.50
1317                                Conflicts as per attorney request                                                                                               18-1680
       11/28/2018     CB            Review draft pretrial memo, exhibit list and witness list                      2.4   $1,620.00     2064519      x               Alleshouse Action      $           1,620.00 Will not dispute    $              1,620.00
1318
       11/28/2018    SRH            Prepare memorandum of contentions of fact and law                              0.5    $235.00      2064519      x               Alleshouse Action      $             235.00 Will not dispute    $               235.00
1319
       11/28/2018     CB      x     Review plaintiff's opposition brief regarding PSD's Daubert/motion             1.7   $1,147.50     2064520               x      Daubert Reply                        $860.63 Reasonable
                                    in limine motion and discuss reply arguments with team                                                                          (Excessive)
1320
       11/28/2018     DS      x     Review Daubert and motion in limine briefing                                   2.7   $1,188.00     2064520               x      Daubert Reply                        $891.00 Reasonable
1321                                                                                                                                                                (Excessive)
       11/28/2018    LUB      x     Draft reply memorandum in support of motion to exclude expert                  4.3   $1,419.00     2064520               x      Daubert Reply                   $1,064.25 Reasonable
1322                                reports                                                                                                                         (Excessive)
       11/28/2018     OF      x     Draft reply in support of motion in limine to exclude experts                  5.4   $1,782.00     2064520               x      Daubert Reply                   $1,336.50 Reasonable
1323                                                                                                                                                                (Excessive)
       11/29/2018     CB            Review draft pretrial memo, exhibit list and witness list                      3.4   $2,295.00     2064519      x               Alleshouse Action      $           2,295.00 Will not dispute    $              2,295.00
1324
       11/29/2018    MCM            Prepare exhibits and witness list for trial                                    1.2    $462.00      2064519      x               Alleshouse Action      $             462.00 Will not dispute    $               462.00
1325
       11/29/2018    SRH            Review draft exhibit list                                                      0.5    $235.00      2064519      x               Alleshouse Action      $             235.00 Will not dispute    $               235.00
1326
       11/29/2018     CB      x     Outline arguments and review case law for reply brief in support of            3.7   $2,497.50     2064520               x      Daubert Reply                        $624.38 Reasonable
1327                                PSD's Daubert/motion in limine motion                                                                                           (Excessive)
       11/29/2018     DS      x     Discuss Reply to Plaintiff's Opposition with Oscar Figueroa and                4.2   $1,848.00     2064520               x      Daubert Reply                   $1,386.00 Reasonable
1328                                Chris Franich; begin outlining Godici portion of Reply                                                                          (Excessive)
       11/29/2018    LUB      x     Draft reply memorandum in support of motion to exclude expert                  5.9   $1,947.00     2064520               x      Daubert Reply                   $1,460.25 Reasonable
1329                                reports                                                                                                                         (Excessive)
       11/29/2018     OF      x     Draft reply in support of motion in limine to exclude experts                  6.2   $2,046.00     2064520               x      Daubert Reply                   $1,534.50 Reasonable
1330                                                                                                                                                                (Excessive)
       11/29/2018     CF      x     Analyze opposition motions in limine from plaintiff and conference             1.4    $616.00      2064520               x
1331                                regarding reply strategy
       11/30/2018     CB            Review draft pretrial memo, exhibit list and witness list                      2.8   $1,890.00     2064519      x               Alleshouse Action      $           1,890.00 Will not dispute
1332
       11/30/2018     DS      x     Draft Reply section                                                            5.8   $2,552.00     2064520               x      Daubert Reply                   $1,914.00 Reasonable
1333                                                                                                                                                                (Excessive)
       11/30/2018    KH       x     Analyze opening and opposition briefs                                          3.6   $1,494.00     2064520               x      Daubert Reply                   $1,120.50 Reasonable
1334                                                                                                                                                                (Excessive)




                                                                                                              Defendant's Exhibit A-1                                                                                                   62
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           A          B       C                                       D                                     E          F            G          H        I               J                    K                        L                M
                                                                                                                                                               Reason Fee Not        Amount Not
 1       DATE       BILLER   2017                DESCRIPTION OF WORK PERFORMED                             HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable           Recoverable           PSD Response      PSD - Not recoverable
       11/30/2018     OF      x     Draft reply to motion in limine to exclude expert testimony                 4.3   $1,419.00   2064520               x      Daubert Reply                  $1,064.25 Reasonable
1335                                                                                                                                                           (Excessive)
       12/2/2018      CB            Review materials for pretrial summary of facts and related witness          4.3   $2,902.50   2077832      x               Alleshouse Action     $           2,902.50 Will not dispute    $              2,902.50
1336                                and exhibit lists
       12/3/2018      CB            Revise draft pretrial statement of facts.                                   1.2    $810.00    2077832      x               Alleshouse Action     $             810.00 Will not dispute    $               810.00
1337
       12/3/2018      CF            Continue drafting pre trial memo                                            3.1   $1,364.00   2077832      x               Alleshouse Action     $           1,364.00 Will not dispute    $              1,364.00
1338
       12/3/2018      DS      x     Revise, finalize, and prepare responses (and exhibits there to) for         5.1   $2,244.00   2077833               x      Alleshouse Action     $           2,244.00 Will not dispute    $              2,244.00
1339                                filing
       12/3/2018     MCM            Prepare exhibits and witness list for trial, including documents on         0.6    $231.00    2077832      x               Alleshouse Action     $             231.00 Will not dispute    $               231.00
1340                                Ori Vicente
       12/3/2018      OF      x     Revise reply in support of motion to exclude expert testimony;              6.6   $2,178.00   2077833               x      Daubert Reply                  $1,633.50 Reasonable
                                    Prepare notice of motion and motion to file under seal,                                                                    (Excessive)
                                    memorandum of points and authorities in support of motion to
                                    seal, and proposed order; Prepare declaration in support of reply;
1341                                Prepare exhibits for filing
       12/3/2018      CB      x     Review and finalize reply briefs in support of Daubert                      5.3   $3,577.50   2077833               x      Daubert Reply                  $2,683.13 Reasonable
                                    motion/motion in limine and motion for summary judgment.                                                                   (Excessive); Second
                                                                                                                                                               MSJ (Unreasonable)
1342
       12/4/2018      CB            Review and revise exhibits and witness lists and revise pretrial            6.3   $4,252.50   2077832      x               Alleshouse Action     $           4,252.50 Will not dispute    $              4,252.50
1343                                statement of facts.
       12/4/2018      CF            Continue drafting exhibits and brief for pre trial memo                     5.5   $2,420.00   2077832      x               Alleshouse Action     $           2,420.00 Will not dispute    $              2,420.00
1344
       12/4/2018     MCM            Prepare exhibits and witness list for trial                                 0.7    $269.50    2077832      x               Alleshouse Action     $             269.50 Will not dispute    $               269.50
1345
       12/5/2018      CB            Review and revise exhibits and witness lists and revise pretrial            4.7   $3,172.50   2077832      x               Alleshouse Action     $           3,172.50 Will not dispute    $              3,172.50
1346                                statement of facts.
       12/5/2018      CF            Finalize pretrial memo, exhibit list, and witness list; coordinate          4.3   $1,892.00   2077832      x               Alleshouse Action     $           1,892.00 Will not dispute    $              1,892.00
1347                                filing of same
       12/5/2018     LUB            Revise memorandum of facts and contentions of law                            4    $1,320.00   2077832      x               Alleshouse Action     $           1,320.00 Will not dispute    $              1,320.00
1348
       12/5/2018     MCM            Prepare exhibits and witness list for trial, and review Whitewater's        0.8    $308.00    2077832      x               Alleshouse Action     $             308.00 Will not dispute    $               308.00
1349                                disclosed exhibits and witness list
       12/6/2018      CB            Review Plaintiff's pretrial statement of facts and law and                  5.3   $3,577.50   2077832      x               Alleshouse Action     $           3,577.50 Will not dispute    $              3,577.50
                                    accompanying exhibit and witness lists; begin preparing
1350                                defendants' portion of pretrial order.
       12/7/2018      CB            Review Plaintiff's pretrial statement of facts and law and                  1.8   $1,215.00   2077832      x               Alleshouse Action     $           1,215.00 Will not dispute    $              1,215.00
                                    accompanying exhibit and witness lists; begin preparing
1351                                defendants' portion of pretrial order.
       12/10/2018     CB            Review materials for meet-and-confer with opposing counsel re               4.5   $3,037.50   2077832      x               Alleshouse Action     $           3,037.50 Will not dispute    $              3,037.50
1352                                joint pretrial order.
       12/10/2018     CF            Review exhibit list and report from plaintiff; conference regarding         0.7    $308.00    2077832      x               Alleshouse Action     $             308.00 Will not dispute    $               308.00
1353                                same; draft revised exhibit list
       12/11/2018     CB            Teleconference with opposing counsel re preparation of pretrial             3.8   $2,565.00   2077832      x               Alleshouse Action     $           2,565.00 Will not dispute    $              2,565.00
1354                                order and review related materials.
       12/11/2018     DS      x     Discuss pretrial disclosures with Stacy Hovan                               0.5    $220.00    2077833               x      Alleshouse Action     $             220.00 Will not dispute    $               220.00
1355
       12/11/2018    SRH            Confer with plaintiff's counsel regarding pretrial disclosures and          0.8    $376.00    2077832      x               Alleshouse Action     $             376.00 Will not dispute    $               376.00
1356                                order
       12/12/2018     CB            Review materials for joint pretrial order.                                  2.4   $1,620.00   2077832      x               Alleshouse Action     $           1,620.00 Will not dispute    $              1,620.00
1357
       12/12/2018    SRH            Prepare overview of affirmative defenses for pretrial order                 1.3    $611.00    2077832      x               Alleshouse Action     $             611.00 Will not dispute    $               611.00
1358
       12/13/2018     CB            Review materials for preparation of joint pretrial order.                   2.8   $1,890.00   2077832      x               Alleshouse Action     $           1,890.00 Will not dispute    $              1,890.00
1359
       12/13/2018    SRH            Prepare draft insert for joint pretrial order                               0.8    $376.00    2077832      x               Alleshouse Action     $             376.00 Will not dispute    $               376.00
1360
       12/14/2018     CB            Review plaintiff's draft of pretrial order sections and outline             4.5   $3,037.50   2077832      x               Alleshouse Action     $           3,037.50 Will not dispute    $              3,037.50
1361                                response.
       12/14/2018    SRH            Review and revise draft pretrial order and stipulated facts                 3.2   $1,504.00   2077832      x               Alleshouse Action     $           1,504.00 Will not dispute    $              1,504.00
1362




                                                                                                           Defendant's Exhibit A-1                                                                                                63
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           A          B       C                                          D                                         E          F            G          H        I                J                    K                        L                M
                                                                                                                                                                      Reason Fee Not         Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                   HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable            Recoverable           PSD Response      PSD - Not recoverable
       12/17/2018     CB            Revise draft pretrial order.                                                       4.2   $2,835.00   2077832      x               Alleshouse Action      $           2,835.00 Will not dispute    $              2,835.00
1363
       12/18/2018     CB            Revise draft pretrial order.                                                       2.2   $1,485.00   2077832      x               Alleshouse Action      $           1,485.00 Will not dispute    $              1,485.00
1364
       12/19/2018     CB            Revise draft pretrial order.                                                       5.2   $3,510.00   2077832      x               Alleshouse Action      $           3,510.00 Will not dispute    $              3,510.00
1365
       12/19/2018    SRH            Review order denying motion for summary judgment; review motion to                 5.4   $2,538.00   2077832      x
                                    excuse G. Wolensky's attendance at pretrial conference; review
                                    plaintiff's deposition designations for objections; revise draft stipulated
1366                                facts and jury statement
       12/20/2018     CB            Revise draft pretrial order.                                                       4.7   $3,172.50   2077832      x               Alleshouse Action      $           3,172.50 Will not dispute    $              3,172.50
1367
       12/20/2018    SRH            Revise jury statement; review exhibits for trial; revise exhibit list;             3.8   $1,786.00   2077832      x               Alleshouse Action      $           1,786.00 Will not dispute    $              1,786.00
1368                                outline cross-examination of Stevick
       12/21/2018     CB            Revise draft pretrial order.                                                       6.5   $4,387.50   2077832      x               Alleshouse Action      $           4,387.50 Will not dispute    $              4,387.50
1369
       12/21/2018     CF            Review correspondence regarding trial strategy and exhibits;                        1     $440.00    2077832      x               Alleshouse Action      $             440.00 Will not dispute    $               440.00
                                    review file history; draft correspondence regarding same and
                                    various queries on trial exhibits and strategy
1370
       12/21/2018    MCM            Work on Joint Proposed Final Pretrial Conference Order                             1.8    $693.00    2077832      x               Alleshouse Action      $             693.00 Will not dispute    $               693.00
1371
       12/21/2018    SRH            Review exhibits for trial; revise joint pretrial order and stipulated              6.4   $3,008.00   2077832      x               Alleshouse Action      $           3,008.00 Will not dispute    $              3,008.00
1372                                facts
       12/27/2018     DS      x     Begin reviewing materials for pretrial disclosures                                 0.8    $352.00    2077833               x      Alleshouse Action      $             352.00 Will not dispute    $               352.00
1373
        1/2/2019      CF      x     Continue drafting pretrial documents and exhibits                                   1     $440.00    2086766               x      Alleshouse Action      $             440.00 Will not dispute    $               440.00
1374
        1/2/2019      DS      x     Compile exhibit list and deposition testimony for potential                        4.3   $1,892.00   2086766               x      Alleshouse Action      $           1,892.00 Will not dispute    $              1,892.00
1375                                designations and trial exhibits
        1/2/2019     SRH            Prepare objections to deposition designations                                      8.9   $4,183.00   2086936      x               Alleshouse Action      $           4,183.00 Will not dispute    $              4,183.00
1376
        1/3/2019      CB            Review exhibit objections and discuss with S. Hovan                                0.8    $540.00    2086936      x               Alleshouse Action      $             540.00 Will not dispute    $               540.00
1377
        1/3/2019      DS      x     Continue compiling exhibit list and deposition testimony for                       3.2    $408.00    2086766               x      Alleshouse Action      $             408.00 Will not dispute    $               408.00
                                    potential designations and trial exhibits
1378
        1/3/2019     MCM            Work on Objections to Whitewater's trial exhibits, and                             2.4    $924.00    2086936      x               Alleshouse Action      $             924.00 Will not dispute    $               924.00
1379                                presentation of case in chief
        1/3/2019      OF            Prepare objections and counter-designations to plaintiff's                         4.2   $1,386.00   2086936      x               Alleshouse Action      $           1,386.00 Will not dispute    $              1,386.00
1380                                designations
        1/3/2019     SRH            Prepare objections to trial exhibits and deposition designations;                  9.5   $4,465.00   2086936      x               Alleshouse Action      $           4,465.00 Will not dispute    $              4,465.00
                                    meeting with M. Mao, Y. Yeh, and R. Alleshouse regarding trial
1381                                preparation
        1/4/2019     SRH            Revise trial objections for filing; review plaintiff's trial objections;           1.6    $752.00    2086936      x               Alleshouse Action      $             752.00 Will not dispute    $               752.00
                                    review proposal from plaintiff's counsel regarding vacating
                                    mandatory settlement conference; email
                                    M. Mao emails offering attorneys' eyes only review of privileged
                                    communications; confer with M. Mao regarding possible disclosure
                                    of privileged communications
1382
        1/4/2019     MH       x     Organize and prepare appendix cites chart for subsequent                            2     $510.00    2086766               x      Fed. Cir. Appeal No.   $             510.00 Will not dispute    $               510.00
1383                                attorney review                                                                                                                   18-1680
        1/4/2019      CB            Review case law supporting MIL excluding damages expert opinion for                0.8    $540.00    2086936      x
                                    failure to consider design-around; respond to court request re setting
                                    date for mandatory scheduling conference and email from opposing
                                    counsel re same; Respond to court request re resetting date for
                                    mandatory scheduling conference and email from opposing counsel re
1384                                same
        1/4/2019      DS      x     Compile exhibit list and deposition testimony for potential designations            6    $2,640.00   2086766               x
                                    and trial exhibits; begin drafting Memorandum of Facts and Law
1385




                                                                                                                  Defendant's Exhibit A-1                                                                                                 64
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          A          B       C                                          D                                          E          F            G          H        I               J                  K                        L                M
                                                                                                                                                                      Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                   HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
       1/7/2019     LUB            Prepare cross-examination outline for Dr. Vigil, plaintiff's damages                1.7    $561.00    2086936      x               Alleshouse Action   $             561.00 Will not dispute    $               561.00
1386                               expert
       1/7/2019     MCM            Prepare for pretrial conference                                                     0.7    $269.50    2086936      x               Alleshouse Action   $             269.50 Will not dispute    $               269.50
1387
       1/7/2019     SRH            Analyze topics for cross-examination of R. Vigil; review joint                      0.8    $376.00    2086936      x               Alleshouse Action   $             376.00 Will not dispute    $               376.00
1388                               motion regarding mandatory settlement conference
       1/7/2019      CF            Conference regarding strategy for certain pretrial and trial issues                 0.3    $132.00    2086936      x
1389
       1/7/2019      DS      x     Continue compiling Exhibit and Witness lists; continue drafting                      7    $3,080.00   2086766               x
1390                               Memorandum of Contentions of Fact and Law
       1/8/2019      CB            Review potential MILs and review previously filed Daubert/MILs in                   6.3   $4,252.50   2086936      x               Alleshouse Action   $           4,252.50 Will not dispute    $              4,252.50
                                   preparation for pretrial conference; review exhibits and draft
1391                               witness outlines
       1/8/2019      CF      x     Review correspondence regarding certain documents for trial;                        0.4    $176.00    2086766               x      Alleshouse Action   $             176.00 Will not dispute    $               176.00
                                   conference regarding same; draft correspondence regarding
1392                               pretrial conference and strategy
       1/8/2019     LUB            Prepare cross-examination outline for Dr. Vigil, plaintiff's damages                4.1   $1,353.00   2086936      x               Alleshouse Action   $           1,353.00 Will not dispute    $              1,353.00
1393                               expert
       1/8/2019      OF            Continue preparation of cross-examination outline                                    8    $2,640.00   2086936      x               Alleshouse Action   $           2,640.00 Will not dispute    $              2,640.00
1394
1395   1/8/2019      CB      x     Review potential exhibits and outline arguments for defenses.                       2.6   $1,755.00   2086766               x
       1/8/2019      DS      x     Continue compiling Exhibit and Witness lists; continue drafting                     7.2   $3,168.00   2086766               x
1396                               Memorandum of Contentions of Fact and Law
       1/9/2019      CB            Review materials for pretrial conference; review potential jury                     2.3   $1,552.50   2086936      x               Alleshouse Action   $           1,552.50 Will not dispute    $              1,552.50
1397                               instructions and identify potential MILs
       1/9/2019     LUB            Prepare cross-examination outline for Dr. Vigil, plaintiff's damages                5.4   $1,782.00   2086936      x               Alleshouse Action   $           1,782.00 Will not dispute    $              1,782.00
                                   expert; draft motions in limine on use of the phrase "knock offs"
1398                               and correction of inventorship
       1/9/2019      OF            Continue preparation of cross-examination outline for Dr. Stevick                   4.6   $1,518.00   2086936      x               Alleshouse Action   $           1,518.00 Will not dispute    $              1,518.00
1399
       1/9/2019      CB      x     Discuss witnesses and exhibits for identification in initial pretrial               4.7   $3,172.50   2086766               x
                                   exchange with team, and review materials relating to pretrial
1400                               submission.
       1/9/2019      CF      x     Conference regarding pretrial exhibits, memo; draft correspondence                  0.4    $176.00    2086766               x
1401                               regarding same and related strategy
       1/9/2019      DS      x     Continue compiling Exhibit and Witness lists; continue drafting                     6.7   $2,948.00   2086766               x
1402                               Memorandum of Contentions of Fact and Law
1403   1/9/2019     SRH            Analyze and research potential motions in limine                                    5.4   $2,538.00   2086936      x
       1/10/2019     CB            Review materials and case law in preparation for pretrial                           6.3   $4,252.50   2086936      x               Alleshouse Action   $           4,252.50 Will not dispute    $              4,252.50
                                   conference; outline potential MILs; review potential jury
1404                               instructions
       1/10/2019    LUB            Draft motions in limine on use of the phrase "knock offs" and                       2.7    $891.00    2086936      x               Alleshouse Action   $             891.00 Will not dispute    $               891.00
1405                               correction of inventorship
       1/10/2019    MCM            Prepare for pretrial conference                                                     2.2    $847.00    2086936      x               Alleshouse Action   $             847.00 Will not dispute    $               847.00
1406
       1/10/2019     CF      x     Conference regarding pretrial memo, exhibit and witness list; analyze               5.5   $2,420.00   2086766               x
1407                               prior transcripts; revise exhibit and witness list
1408   1/10/2019     DS      x     Continue drafting Memorandum of Contentions of Fact and Law                         8.1   $3,564.00   2086766               x
       1/10/2019     OF      x     Prepare invalidity section of Memorandum of Contentions of Fact and                 8.2   $2,706.00   2086766               x
1409                               Law and conduct related legal research
1410   1/10/2019    SRH            Revise motion in limine regarding privilege logs                                    0.5    $235.00    2086936      x
       1/11/2019     CB            Attend pretrial conference and review materials in preparation                      8.4   $5,670.00   2086936      x               Alleshouse Action   $           5,670.00 Will not dispute    $              5,670.00
                                   therefor; prioritize potential MILs and assess strength; review case
                                   law re right to jury trial on inventorship issues
1411
       1/11/2019    MCM            Prepare for and attend pretrial conference                                          4.5   $1,732.50   2086936      x               Alleshouse Action   $           1,732.50 Will not dispute    $              1,732.50
1412
       1/11/2019     CF      x     Finalize analysis of prior transcripts; revise and finalize draft of exhibit        5.5   $2,420.00   2086766               x
                                   and witness list; revise and finalize portions of pretrial memo of facts
1413                               and law
1414   1/11/2019     DS      x     Continue drafting Memorandum of Contentions of Fact and Law                         9.1   $4,004.00   2086766               x




                                                                                                                  Defendant's Exhibit A-1                                                                                              65
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          A          B       C                                           D                                        E          F              G          H        I               J                  K                        L                M
                                                                                                                                                                       Reason Fee Not      Amount Not
 1      DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                  HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response      PSD - Not recoverable
       1/11/2019     OF            Continue preparation of invalidity section of memorandum of                        5.5   $1,815.00     2086936      x
1415                               contentions of fact and law
       1/12/2019     CB            Outline potential MILs and discuss with team; review assignment                    3.8   $2,565.00     2086936      x               Alleshouse Action   $           2,565.00 Will not dispute    $              2,565.00
                                   documents associated with standing argument and outline
                                   arguments for MIL and for witness examination
1416
       1/12/2019    MCM            Revise draft Motions In Limine                                                      1     $385.00      2086936      x               Alleshouse Action   $             385.00 Will not dispute    $               385.00
1417
1418   1/12/2019     DS      x     Continue drafting Memorandum of Contentions of Fact and Law                        9.3   $4,092.00     2086766               x
1419   1/13/2019     CB      x     Review pretrial submission.                                                        3.2   $2,160.00     2086766               x
1420   1/13/2019     DS      x     Continue drafting Memorandum of Contentions of Fact and Law                        9.1   $4,004.00     2086766               x
1421   1/13/2019    MCM      x     Revise PSD's Memo of Contentions of Fact And Law                                   0.6    $231.00      2086766               x
       1/14/2019     CB            Review correspondence from Plaintiff re withdrawal of jury                         5.2   $3,510.00     2086936      x               Alleshouse Action   $           3,510.00 Will not dispute    $              3,510.00
                                   demand and assess strategy and case law for response; review
1422                               exhibits and witness outlines
       1/14/2019    LUB            Draft motions in limine on use of the phrase "knock offs" and                      2.9    $957.00      2086936      x               Alleshouse Action   $             957.00 Will not dispute    $               957.00
1423                               correction of inventorship
       1/14/2019     OF            Prepare Motion in Limine to preclude Plaintiff from offering claim                 4.3   $1,419.00     2086936      x               Alleshouse Action   $           1,419.00 Will not dispute    $              1,419.00
                                   construction testimony and review related case law
1424
       1/14/2019    SRH            Draft motion in limine regarding Wave Loch as successor                            2.2   $1,034.00     2086936      x               Alleshouse Action   $           1,034.00 Will not dispute    $              1,034.00
1425
       1/14/2019     CB      x     Review exhibit and witness lists and deposition designations for                   4.3   $2,902.50     2086766               x
1426                               pretrial submission.
       1/14/2019     CF      x     Revise and finalize portions of memo on facts and contentions; revise               6    $2,640.00     2086766               x
                                   and finalize exhibit list, witness list; coordinating filing and service of
1427                               same
1428   1/14/2019     DS      x     Finalize and file Memorandum of Contentions of Fact and Law                        9.6   $4,224.00     2086766               x
1429   1/14/2019    MCM      x     Revise PSD's Memo of Contentions of Fact And Law                                   1.1    $423.50      2086766               x
       1/15/2019     CB            Revise draft motions in limine; discuss plaintiff's withdrawal of                  5.3   $3,577.50     2086936      x               Alleshouse Action   $           3,577.50 Will not dispute    $              3,577.50
                                   jury demand with client; review logistical arrangements for trial
                                   equipment, trial technician and workspace
1430
       1/15/2019     CF            Conference regarding trial strategy, exhibits; prepare certain                     1.1    $484.00      2086936      x               Alleshouse Action   $             484.00 Will not dispute    $               484.00
1431                               exhibits; draft correspondence regarding same
       1/15/2019    LUB            Draft motions in limine on use of the phrase "knock offs" and                      2.2    $726.00      2086936      x               Alleshouse Action   $             726.00 Will not dispute    $               726.00
1432                               correction of inventorship
       1/15/2019    SRH            Review trial exhibits to prepare for Alleshouse cross- examination;                7.8   $3,666.00     2086936      x               Alleshouse Action   $           3,666.00 Will not dispute    $              3,666.00
                                   email R. Scott regarding motions in limine and pretrial matters
1433
1434   1/15/2019     DS      x     Review filing and Defendant's filings                                              1.2    $528.00      2086766               x
       1/16/2019     CB            Review exhibits and meet with witnesses to discuss testimony and                   9.3   $6,277.50     2086936      x               Alleshouse Action   $           6,277.50 Will not dispute    $              6,277.50
                                   potential cross-examination points; assess impact of withdrawal of
                                   jury demand on pending MILs and anticipated witness testimony;
                                   meet and confer with opposing counsel re MILs and trial
1435
       1/16/2019    LUB            Draft motions in limine on use of the phrase "knock offs" and                      3.1   $1,023.00     2086936      x               Alleshouse Action   $           1,023.00 Will not dispute    $              1,023.00
                                   correction of inventorship; prepare cross-examination outline for
1436                               Robert Vigil
       1/16/2019    MCM            Revise Motions In Limine; prepare for trial with Richard                           6.3   $2,425.50     2086936      x               Alleshouse Action   $           2,425.50 Will not dispute    $              2,425.50
1437                               Alleshouse and Yong Yeh
       1/16/2019    SRH            Meet and confer with R. Tache and R. Scott regarding motions in                    7.6   $3,572.00     2086936      x               Alleshouse Action   $           3,572.00 Will not dispute    $              3,572.00
                                   limine and trial; meet with Y. Yeh and R. Alleshouse regarding trial
                                   preparation; review draft stipulation and joint statement
1438                               regarding jury issues
       1/16/2019     CF      x     Review correspondence regarding plaintiff memo of facts and                        0.2        $88.00   2086766               x
                                   contention; draft correspondence regarding pretrial strategy on same
1439
       1/16/2019     DS      x     Discuss and plan pretrial exchanges and tasks; address Plaintiff's failure         3.4   $1,496.00     2086766               x
                                   to file a Memorandum of Contentions of Fact and Law
1440




                                                                                                                 Defendant's Exhibit A-1                                                                                                66
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          A          B       C                                         D                                     E          F            G          H        I                J                    K                        L                M
                                                                                                                                                                Reason Fee Not         Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                              HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable            Recoverable           PSD Response      PSD - Not recoverable
       1/17/2019     CB            Review exhibits and meet with witnesses to discuss testimony and              7.8   $5,265.00   2086936      x               Alleshouse Action      $           5,265.00 Will not dispute    $              5,265.00
                                   potential cross-examination points; revise draft statement re
                                   plaintiff's withdrawal of jury demand; revise draft MILs
1441
       1/17/2019    LUB            Prepare cross-examination outline for Robert Vigil; revise motions            1.8    $594.00    2086936      x               Alleshouse Action      $             594.00 Will not dispute    $               594.00
                                   in limine on use of the phrase "knock offs" and correction of
1442                               inventorship
       1/17/2019    MCM            Prepare for trial with Richard Alleshouse and Yong Yeh                        5.2   $2,002.00   2086936      x               Alleshouse Action      $           2,002.00 Will not dispute    $              2,002.00
1443
       1/17/2019    SRH            Meet with Y. Yeh and R. Alleshouse regarding trial preparation;               8.3   $3,901.00   2086936      x               Alleshouse Action      $           3,901.00 Will not dispute    $              3,901.00
                                   revise motions in limine for filing; revise joint statement regarding
                                   jury issues; review objections to plaintiff's counter-designations;
1444                               prepare trial exhibit list
       1/17/2019     OF            Prepare objections to plaintiff's counter-designations of deposition          4.4   $1,452.00   2086936      x
1445                               testimony
       1/18/2019     CB            Review plaintiff's MILs and discuss oppositions with team; meet               8.3   $5,602.50   2086936      x               Alleshouse Action      $           5,602.50 Will not dispute    $              5,602.50
                                   with expert witnesses and discuss direct and cross- examination
1446                               points, exhibits and demonstratives
       1/18/2019    LUB            Prepare cross-examination outline for Robert Vigil                            1.3    $429.00    2086936      x               Alleshouse Action      $             429.00 Will not dispute    $               429.00
1447
       1/18/2019    MCM            Prepare for trial                                                             1.4    $539.00    2086936      x               Alleshouse Action      $             539.00 Will not dispute    $               539.00
1448
       1/18/2019    SRH            Call with J. Lewis regarding trial preparation; email M. de la Cerra          4.3   $2,021.00   2086936      x               Alleshouse Action      $           2,021.00 Will not dispute    $              2,021.00
                                   regarding trial preparation; email R. Scott regarding motions in
                                   limine; review Alleshouse deposition testimony in preparation for
1449                               trial
       1/21/2019     CB      x     Review materials for pre-trial meet-and-confer; assess potential              3.6   $2,430.00   2086766               x      Alleshouse Action      $           2,430.00 Will not dispute    $              2,430.00
                                   length of trial, scope of witness testimony and potential for
1450                               bifurcation.
       1/21/2019    LUB            Prepare cross-examination outline for Robert Vigil                            1.9    $627.00    2086936      x               Alleshouse Action      $             627.00 Will not dispute    $               627.00
1451
       1/22/2019     CB            Review exhibits and objections and meet-and-confer with                       5.3   $3,577.50   2086936      x               Alleshouse Action      $           3,577.50 Will not dispute    $              3,577.50
                                   opposing counsel re same; review materials for telephonic hearing
                                   with Court re pending Daubert/MIL motions; revise witness
1452                               outlines and demonstratives
       1/22/2019     OF            Prepare cross-examination outline for Dr. Stevick                             3.5   $1,155.00   2086936      x               Alleshouse Action      $           1,155.00 Will not dispute    $              1,155.00
1453
       1/22/2019    MH       x     Organize, prepare, and update Appendix Cite chart for subsequent               1     $255.00    2086766               x      Fed. Cir. Appeal No.   $             255.00 Will not dispute    $               255.00
1454                               attorney review                                                                                                              18-1680
       1/22/2019     CB      x     Participate in meet-and-confer re pretrial matters and review related         3.9   $2,635.50   2086766               x
1455                               materials.
       1/22/2019     CF      x     Conference regarding pretrial strategy, exhibits and witnesses; review         2     $880.00    2086766               x
                                   file history; draft correspondence regarding pretrial meeting with
                                   plaintiff; meet with plaintiff; draft correspondence regarding same
1456
1457   1/22/2019     DS      x     Prepare objections to Plaintiff's deposition designations                     3.4   $1,496.00   2086766               x
       1/23/2019     CB            Attend telephonic hearing to argue pending Daubert/MIL motions                9.3   $6,277.50   2086936      x               Alleshouse Action      $           6,277.50 Will not dispute    $              6,277.50
                                   and review briefing in preparation therefor; review exhibits and
                                   deposition testimony to prepare witness outlines; review case law
                                   re inventorship proof for objections to introduction of trial
                                   testimony or exhibits; review Court orders re DAubert/MIL
                                   motions and assess need for further deposition discovery from
                                   plaintiff's technical expert
1458
       1/23/2019     OF            Prepare summary of Daubert motion hearing; revise cross-                      4.6   $1,518.00   2086936      x               Alleshouse Action      $           1,518.00 Will not dispute    $              1,518.00
1459                               examination outline for Dr. Stevick
       1/23/2019     DS      x     Collect discovery responses to compile proposed admitted facts;               7.3   $3,212.00   2086766               x
                                   continue preparing draft objections and counter designations
1460
       1/24/2019    LUB            Revise cross-examination outline for Robert Vigil                             1.8    $594.00    2086936      x               Alleshouse Action      $             594.00 Will not dispute    $               594.00
1461
       1/24/2019     CB      x     Discuss potential extension of pretrial filing deadlines with team and        1.3    $877.50    2086766               x
1462                               opposing counsel;




                                                                                                            Defendant's Exhibit A-1                                                                                                 67
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          A          B       C                                         D                                         E          F            G          H        I                J                    K                        L                M
                                                                                                                                                                    Reason Fee Not         Amount Not
 1      DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                  HRS        AMT         INV. NO   WW INV.   FR INV   Recoverable            Recoverable           PSD Response      PSD - Not recoverable
       1/25/2019     CF      x     Conference regarding pretrial memo, exhibits, trial strategy; revise              0.9    $396.00    2086766               x      Discovery Motion    $                264.00 Will not dispute    $               396.00
                                   letter to opposing counsel regarding inequitable conduct letter and                                                              Found Not
                                   reopening discovery; draft correspondence regarding remaining                                                                    Substantially
                                   discovery responses from Plaintiff and effect on certain triable                                                                 Justified -- PSD
                                   issues                                                                                                                           Sanctioned (ECF No.
1463                                                                                                                                                                270)
       1/25/2019     DS      x     Review Wavesurfer and Stingray documents; update discovery                        3.8   $1,672.00   2086766               x
1464                               response list and review documents
       1/28/2019     DS      x     Review discovery responses to compile list of proposed admitted                   2.8   $1,232.00   2086766               x      Alleshouse Action      $           1,232.00 Will not dispute    $              1,232.00
1465                               facts
       1/28/2019     CF            Revise and finalize draft of examination modules and outlines; review             6.9   $3,036.00   2086936      x
                                   prior discovery and pretrial filings; review plaintiff draft exhibit list;
                                   review plaintiff trial memo; conference regarding same; draft
1466                               correspondence regarding same
       1/29/2019     CF      x     Review letter from plaintiff regarding discovery relief, trial, and new           0.6    $264.00    2086766               x
                                   allegations; review enclosures; draft correspondence regarding same
1467                               and proposed response letter
       1/30/2019    SRH            Analyze plaintiff's ex parte motion in limine; draft opposition to                8.4   $3,948.00   2086936      x               Alleshouse Action      $           3,948.00 Will not dispute    $              3,948.00
                                   motion to exclude; confer with R. Scott regarding trial exhibits;
                                   update trial exhibit list with dates for photographs and videos; call
                                   with Y. Yeh regarding trial exhibits; email R. Scott revised trial
                                   exhibit list
1468
       1/30/2019     DS      x     Discuss trial exhibits and associated issues with Mark Mao; research              4.7   $2,068.00   2086766               x
1469                               attorney's fees; proposed findings of fact
       1/31/2019     DS      x     Revise proposed admitted facts                                                    0.7    $308.00    2086766               x      Alleshouse Action      $             308.00 Will not dispute    $               308.00
1470
1471   2/3/2019      CF            Continue revising trial exhibits and finalizing outlines                          1.9    $836.00    2095546      x
1472   2/4/2019      DS      x     Review exhibits to be added; plan pretrial case management                        0.9    $396.00    2095545               x
       2/5/2019      DS      x     Review pretrial exchanges and begin preparing objections and counters             3.6   $1,584.00   2095545               x
1473
       2/6/2019      CF      x     Review correspondence from UK counsel regarding inequitable conduct               0.3    $132.00    2095545               x
                                   documents and petition; draft correspondence to UK counsel regarding
1474                               same
       2/6/2019      DS      x     Discuss pretrial exchanges and pretrial order issues with Tim Heaton              2.3   $1,012.00   2095545               x
1475
       2/7/2019      DS      x     Address pretrial issues and begin preparations for pretrial order filing          2.2    $968.00    2095545               x
1476
       2/8/2019      CB      x     Review deadlines for pretrial submission and discussion with team;                2.8   $1,890.00   2095545               x
                                   assess and prioritize arguments and consider related witness
                                   testimony; review materials related to inequitable conduct issue and
1477                               correspond with opposing counsel.
       2/8/2019      CF      x     Review letter from plaintiff regarding pretrial and inequitable conduct;          1.5    $660.00    2095545               x
                                   review correspondence regarding remaining schedule and pretrial
                                   deadlines; conference regarding same; draft letter to plaintiff regarding
1478                               same
       2/8/2019      DS      x     Address pretrial issues and begin preparations for pretrial order filing          2.6   $1,144.00   2095545               x
1479
       2/11/2019    MH       x     Organize and prepare Reply Brief for subsequent attorney review;                   4    $1,020.00   2095545               x      Fed. Cir. Appeal No.   $           1,020.00 Will not dispute    $              1,020.00
                                   review and research case law for subsequent attorney review and                                                                  18-1983
                                   identify newly cited cases as per attorney request of Timothy
1480                               Heaton
       2/11/2019     DS      x     Revise proposed admitted facts; call with C. Brahma and C. Franich to             3.9   $1,716.00   2095545               x
1481                               discuss logistics for pretrial exchanges
1482   2/12/2019     CB      x     Outline trial arguments, witnesses and evidence.                                  6.3   $4,252.50   2095545               x
       2/12/2019     CF      x     Continue trial preparation for patent case with respect to witness list,          3.6   $1,584.00   2095545               x
                                   exhibit list, claims and theories, and strategy for each witness
1483
       2/12/2019     DS      x     Circulate proposed admitted facts; call to discuss pretrial tasks                 5.4   $2,376.00   2095545               x
                                   including exhibit and witness list supplementation and objections
1484
1485   2/12/2019    MCM      x     Prepare supplemental exhibits for use at trial                                    1.8    $693.00    2095545               x




                                                                                                                Defendant's Exhibit A-1                                                                                                 68
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          A          B       C                                           D                                       E          F              G          H        I               J               K             L                M
                                                                                                                                                                      Reason Fee Not   Amount Not
 1      DATE       BILLER   2017                  DESCRIPTION OF WORK PERFORMED                                 HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
       2/13/2019     CB      x     Review arguments, witness lists and exhibits for pretrial submission              2.8   $1,890.00     2095545               x
1486
       2/14/2019     CB      x     Review arguments, witness lists and exhibits for pretrial submission              3.3   $2,227.50     2095545               x
1487
1488   2/14/2019     DS      x     Continue drafting Pretrial Order documents                                        4.4   $1,936.00     2095545               x
1489   2/14/2019    MCM      x     Prepare supplemental exhibits for use at trial                                     1     $385.00      2095545               x
       2/15/2019     CB      x     Review draft statement of stipulated facts and portions of pretrial               6.3   $4,252.50     2095545               x
                                   statement, as well as Plaintiff's draft, and outline trial arguments,
1490                               witnesses and evidence.
       2/15/2019     CF      x     Review file history and correspondence related to trial strategy,                 0.2        $88.00   2095545               x
1491                               exhibits, witnesses; draft correspondence regarding same
       2/15/2019     DS      x     Objections and counters for additional deposition designations from               6.8   $2,992.00     2095545               x
1492                               Plaintiffs; discuss claims and defenses list
1493   2/15/2019    MCM      x     Prepare supplemental exhibits for use at trial                                    0.6    $231.00      2095545               x
1494   2/17/2019     DS      x     Continue drafting Pretrial Order documents                                        3.4   $1,496.00     2095545               x
       2/18/2019     DS      x     Draft stipulated facts; update exhibit lists; objections to deposition            6.3   $2,772.00     2095545               x
                                   designations and counters and transcript highlighting
1495
       2/19/2019     CB      x     Revise pretrial conference order and review witness depositions and               6.8   $4,590.00     2095545               x
1496                               exhibit list.
       2/19/2019     CF      x     Continue revising and preparing exhibits for trial, witness list,                 4.3   $1,892.00     2095545               x
                                   deposition designations, pretrial order, and stipulated facts; draft
                                   correspondence to McFarland attorney; conference with same; draft
                                   letter to opposing counsel regarding remaining discovery disputes and
1497                               stipulated facts
       2/19/2019     DS      x     Draft stipulated facts; continue drafting deposition designation                  7.5   $3,300.00     2095545               x
                                   objections; call with Manny de la Cerra; call with Chris and Charan
1498
1499   2/19/2019    MCM      x     Prepare supplemental exhibits for use at trial                                    1.1    $423.50      2095545               x
       2/20/2019     CB      x     Revise pretrial conference order and review witness depositions and               6.3   $4,252.50     2095545               x
1500                               exhibit list.
       2/20/2019     CF      x     Continue revising and preparing exhibits for trial, witness list,                 0.8    $352.00      2095545               x
1501                               deposition designations, pretrial order, and stipulated facts
1502   2/20/2019     DS      x     Continue drafting Pretrial Order documents                                        7.7   $3,388.00     2095545               x
       2/21/2019     CB      x     Revise pretrial conference order and review witness depositions and               5.7   $3,847.50     2095545               x
1503                               exhibit list.
       2/21/2019     CF      x     Revise statement to jury; draft correspondence regarding outstanding              0.6    $264.00      2095545               x
                                   discovery dispute; continue preparing list of exhibits for trial
1504
       2/21/2019     DS      x     Continue drafting objections to deposition designations; Draft jury               8.1   $3,564.00     2095545               x
1505                               statement
       2/22/2019     CB      x     Revise pretrial conference order and revise jury statement and                    4.9   $3,307.50     2095545               x
1506                               stipulated facts.
       2/22/2019     CF      x     Continue revising pretrial order, exhibit list, objections, witness list          1.5    $660.00      2095545               x
1507
       2/22/2019     DS      x     Draft and circulate proposed stipulated facts; discuss exhibit objections         8.6   $3,784.00     2095545               x
                                   with Oscar Figueroa; call with opposing counsel to discuss pretrial
                                   order; continue drafting Pretrial Order main body
1508
1509   2/23/2019     CF      x     Continue revising and finalize pretrial order, exhibit list for trial             2.9    $276.00      2095545               x
       2/23/2019     DS      x     Continue drafting Pretrial Order documents                                        6.8   $2,992.00     2095545               x
1510
       2/23/2019     OF      x     Review plaintiff's exhibit lists; Draft objections to plaintiff's exhibits        5.7   $1,881.00     2095545               x
1511
1512   2/24/2019     CB      x     Revise pretrial conference order submission.                                      4.8   $3,240.00     2095545               x
1513   2/24/2019     CF      x     Continue revising and finalize pretrial order, exhibit list for trial             2.6   $1,144.00     2095545               x
1514   2/24/2019     DS      x     Continue drafting Pretrial Order documents                                        8.5   $3,740.00     2095545               x
1515   2/25/2019     CB      x     Finalize pretrial conference order submission.                                    5.8   $3,915.00     2095545               x
       2/25/2019     CF      x     Finalize list of exhibits, objections to plaintiffs, proposed jury                6.2   $2,728.00     2095545               x
                                   instructions, facts, and order; interface with opposing counsel and client
1516                               on same




                                                                                                                Defendant's Exhibit A-1                                                                                69
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           A          B       C                                         D                                          E          F              G          H        I               J               K             L                M
                                                                                                                                                                        Reason Fee Not   Amount Not
 1       DATE       BILLER   2017                 DESCRIPTION OF WORK PERFORMED                                   HRS        AMT           INV. NO   WW INV.   FR INV   Recoverable      Recoverable   PSD Response   PSD - Not recoverable
1517   2/25/2019      DS      x     Finalize Pretrial Order documents                                              11.3      $4,972.00     2095545               x
1518   2/25/2019     MCM      x     Prepare final pre-trial exchanges                                                  1.3    $500.50      2095545               x
1519   2/25/2019     MH       x     Review and analyze case law for subsequent attorney review                         1.5    $382.50      2095545               x
       2/26/2019      CB      x     Meet and confer with opposing counsel re omission of Tache from PSD                 1     $675.00      2095545               x
                                    witness list and discuss follow-up with Court with C. Franich and D.
1520                                Sharpe
       2/26/2019      CF      x     Review pretrial filing by Plaintiff; prepare for and meet and confer with          0.9    $396.00      2095545               x
                                    opposing counsel; call Court; draft correspondence regarding same
1521
       2/27/2019      CB      x     Revise draft letter to Court re Plaintiff's exclusion of Tache as PSD              2.6   $1,755.00     2095545               x
                                    witness from joint proposed pretrial conference order and review
1522                                Plaintiff's response letter.
       2/27/2019      CF      x     Review and revise letter to Court regarding witness list; prepare for and          1.2    $528.00      2095545               x
                                    conference with clerk and plaintiff; draft correspondence regarding
1523                                same
       2/27/2019      DS      x     Draft and revise letter to the court regarding may-call witness list issues        2.8   $1,232.00     2095545               x
1524
1525   2/28/2019      DS      x     Address issues related to calls with the court and scheduling                       1     $440.00      2095545               x
        3/1/2019      CF      x     Review order regarding discovery dispute; draft correspondence                     0.7    $308.00      2110253               x
1526                                regarding same and proposed brief strategy
       7/24/2019      DS      x     Review correspondence from Whitewater's counsel and strategize                     0.9    $396.00      2173116               x
1527                                responses
1528   7/28/2019      CB      x     Discuss discovery supplementation with client and M. Mao.                          0.8    $540.00      2173116               x
1529   7/29/2019      DS      x     Review emails from client regarding installations                                  0.6    $264.00      2173116               x
        8/5/2019      CB      x     Discuss discovery supplementation, settlement and pre-trial schedule               0.4    $270.00      2173116               x
1530                                with client.
        8/6/2019      CB      x     Review supplemental discovery information and draft email to                       0.4    $270.00      2173116               x
1531                                opposing counsel.
1532    8/8/2019      CB      x     Revise email to opposing counsel re supplemental discovery.                        0.3    $202.50      2173116               x
        8/8/2019      CF      x     Review correspondence from client; review enclosures relevant to                   1.5    $660.00      2173116               x
                                    discovery; review prior discovery responses; draft letter to opposing
                                    counsel regarding same; review correspondence regarding remaining
                                    pre-trial and appeal strategy; draft correspondence regarding same
1533
        8/9/2019      CF      x     Review prior discovery responses; draft correspondence regarding RFP               0.6    $264.00      2173116               x
                                    and interrogatories requiring supplementation; conference regarding
1534                                same
1535    8/9/2019      DS      x     Review discovery responses to begin preparing supplements                          3.3   $1,452.00     2173116               x
       8/12/2019      CB      x     Summarize conversation with opposing counsel re discovery                          0.5    $337.50      2173116               x
1536                                supplementation for client and advise re response.
       8/12/2019      DS      x     Discuss discovery dispute with opposing counsel and discuss same with              2.3   $1,012.00     2173116               x
1537                                team
1538   8/13/2019      DS      x     Draft and circulate Draft Supplemental Discovery Responses;                        2.4   $1,056.00     2173116               x
       8/20/2019      CF      x     Review correspondence from inequitable conduct expert regarding                    0.4    $176.00      2173116               x
                                    trial; draft correspondence to client regarding same; review
                                    correspondence from opposing counsel regarding assignment; draft
1539                                correspondence to client regarding same
1540   8/22/2019      CB      x     Revise email to opposing counsel re settlement.                                    0.5    $337.50      2173116               x
       9/17/2019      CB      x     Review order re parties' outstanding motions in limine and summary                 1.4    $945.00      2173116               x
                                    judgment motions and summarize effect on trial presentation for client.
1541
1542   10/14/2019     CB      x     Discuss Plaintiff's supplemental discovery request with client.                    0.5    $337.50      2184709               x
       11/7/2019      CB      x     Teleconference with Pacific Surf Designs and new counsel re transfer of             1     $675.00      2195511               x
1543                                materials and preparation for trial, case theories, etc.
       11/7/2019      CF      x     Draft correspondence regarding supplemental ROG responses and                      0.3    $132.00      2195511               x
1544                                discovery in case; coordinate with eMerge
1545   11/8/2019      CF      x     Coordinate discovery with new counsel                                              0.3    $132.00      2195511               x
1546   11/18/2019     CB      x     Call with W. Kolegraff re inventorship defense.                                    0.3    $202.50      2195511               x
       11/25/2019     CF      x     Review correspondence regarding inequitable conduct exhibits and                   0.2        $88.00   2195511               x
1547                                trial strategy; draft correspondence to client regarding same




                                                                                                                  Defendant's Exhibit A-1                                                                                70
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        A       B       C                      D                          E        F             G          H        I               J                  K                     L                M
                                                                                                                            Reason Fee Not      Amount Not
 1     DATE   BILLER   2017      DESCRIPTION OF WORK PERFORMED           HRS     AMT           INV. NO   WW INV.   FR INV   Recoverable         Recoverable           PSD Response   PSD - Not recoverable
1548
                                                                                                                                                 Whitewater                          PSD SUMMARY
1549                                                             TOTAL         $2,002,328.32                                                    Summary
1550                                                                                                                        Total Requested     $      2,002,328.32                  $          2,002,328.32
                                                                                                                            Total Not           $        808,518.46                   $             602,989.64
1551                                                                                                                        Recoverable
1552                                                                                                                        Total Recoverable   $      1,193,809.86                   $            1,399,338.68




                                                                         Defendant's Exhibit A-1                                                                                          71
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  DATE     BILLER                  DESCRIPTION OF WORK                             HRS     AMT        INV. NO.   WW INV.     FR INV
6/15/17    ND       Conduct targeted searches within database to locate/identify     0.4    $104.00    1893196
                    documents for case team review and analysis;
                    communications with Chris Franich regarding same

7/3/17     ND       Conduct targeted searches within database to locate/identify     0.3     $78.00   1902423
                    documents for case team review and analysis;
                    communications with Anup Shah regarding same

10/30/17   ND       Conduct targeted searches within database to locate/identify     0.3     $78.00   1928308
                    documents for case team review and analysis

11/16/17   ND       Conduct targeted searches within database to locate and          0.5    $130.00   1938864
                    identify dates and production volumes for documents
                    produced by opposing party; communicate with Anup Shah
                    regarding same
12/14/17   ND       Conduct targeted searches within database to locate and          0.8    $208.00   1946997
                    identify documents for case team review and analysis;
                    communicates with Anup Shah regarding same
1/9/18     ND       Conduct targeted searches in databases to identify relevant      0.7    $182.00   1956528
                    documentswithin database for production; communicate with
                    Anup Shah regarding same
1/10/18    ND       Communications with Anup Shah regarding document                 0.3     $78.00   1956528
                    production universe and production specifications
1/10/18    ND       Coordinate upload of client collected documents to document      0.4    $104.00   1956528
                    review database for case review and production (Request:
                    PROC-19194)
1/11/18    ND       Communications with Anup Shah regarding document                 0.2     $52.00   1956528
                    production universe and production specifications
1/12/18    ND       Prepare documents for productions; communications with           0.7    $182.00   1956528
                    Anup Shah regarding same
1/13/18    ND       Prepare documents for production                                 2.8    $728.00   1956528
1/15/18    ND       Prepare internal cross reference of produced documents for       0.8    $208.00   1956528
                    case team review and analysis; communications with Anup
                    Shah regarding same
1/15/18    ND       Prepare documents for production                                 2.4    $624.00   1956528
1/19/18    ND       Review and analyze previous opposing party productions and       0.2     $52.00   1956528
                    communicate with Chris Franich regarding

1/23/18    ND       Conduct targeted searches within database to locate/identify     0.2     $52.00   1956528
                    documents for case team review and analysis

1/26/18    ND       Coordinate upload of client collected data to document           0.5    $135.00   1959666       x
                    review database in connection with upcoming production
                    deadline (Request: PROC-19320)
1/26/18    ND       Draft/revise memorandum outlining quality control search         0.6    $162.00   1959666       x
                    queries used to identify universe for production (Request:
                    PROC-19321) Draft/revise memorandum outlining quality
                    control search queries used to identify universe for
                    production (Request: PROC-19321)
1/29/18    ND       Review and analyze document production to ensure it meets        0.5    $135.00   1959666       x
                    format specifications (Request: PROC-19321)
3/1/18     ND       Coordinate upload of opposing party production to document       0.6    $162.00   1976193       x
                    review database for case team review and analysis (Request:
                    PROC-19730)
3/6/18     ND       Coordinate upload of opposing party production to document       0.5    $130.00   1976195
                    review database for case team review and analysis (Request:
                    PROC-19778)



                                                         Defendant's Exhibit A-1                                        72
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3/13/18   ND     Coordinate upload of external third party production to          0.8     $208.00   1976195
                 document review database for case team review and analysis
                 (Request: PROC-19907)
3/15/18   ND     Conduct targeted searches within database to locate and          0.3      $78.00   1976195
                 identify documents for case team review and analysis
3/16/18   ND     Conduct targeted searches within database to locate and          0.2      $52.00   1976195
                 identify document for case team review and analysis
3/20/18   ND     Coordinate upload of third party production to document          0.3      $81.00   1976193   x
                 review database for case team review and analysis (Request:
                 PROC-20033)
3/21/18   ND     Communicate with Chris Franich regarding documents               0.2      $52.00   1976195
                 previously produced
3/22/18   ND     Review and analyze opposing production and provide               0.6     $156.00   1976195
                 summary to case team
3/22/18   ND     Draft and revise summary of previous collection efforts for      0.7     $182.00   1976195
                 client; communicate with Chris Franich regarding same
3/22/18   ND     Review and analyze opposing production and provide               0.3      $81.00   1976193   x
                 summary to case team
3/28/18   ND     Coordinate collections of client email                           0.5     $130.00   1976195
3/29/18   ND     Coordinate collection of client emails                           0.2      $52.00   1976195
3/30/18   ND     Coordinate collection of client emails                           0.3      $78.00   1976195
3/30/18   ND     Coordinate upload of client collected data to document           0.4     $104.00   1976195
                 review database for review and production (Request: PROC-
                 20224)
4/2/18    ND     Coordinate collection of client emails for case team review      0.3      $78.00   1985242
                 and analysis
4/2/18    ND     Coordinate upload of client collected documents to document      0.5 $   140.00    1985241   x
                 review database for case team review and analysis

4/3/18    ND     Draft/revise memorandum outlining quality control search         0.6 $   168.00    1985241   x
                 queries used to identify universe for production (Request:
                 PROC-20277)
4/4/18    ND     Conduct targeted searches in databases to remove irrelevant      0.5     $130.00   1985242
                 documents from the review; communicate with Chris Franich
                 regarding same
4/4/18    ND     Review and analyze document production to ensure it meets        0.6 $   168.00    1985241   x
                 format specifications (Request: PROC-20277)
4/10/18   ND     Coordinate upload of client collected documents to document      0.6     $156.00   1985242
                 review database for case team review and analysis (Request:
                 PROC-20357)
4/11/18   ND     Conduct targeted searches in databases to identify and isolate   0.8     $208.00   1985242
                 relevant documents within database for review and analysis;
                 communicate with Chris Franich regarding same

4/12/18   ND     Draft/revise memorandum outlining quality control search         0.7     $182.00   1985242
                 queries used to identify universe for production (Request:
                 PROC-20384)
4/13/18   ND     Review and analyze document production to ensure it meets        0.5     $130.00   1985242
                 format specifications (Request: PROC-20384)
4/16/18   ND     Coordinate upload of client collected documents to document      0.4     $104.00   1985242
                 review database for case team review and analysis (Request:
                 PROC-20414)
4/17/18   ND     Draft/revise memorandum outlining quality control search         0.6     $156.00   1985242            X
                 queries used to identify universe for production (Request:
                 PROC-20446)
4/18/18   ND     Review and analyze document production to ensure it meets        0.5     $130.00   1985242            X
                 format specifications (Request: PROC-20446)




                                                      Defendant's Exhibit A-1                                     73
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4/19/18   ND     Communicate with Chris Franich regarding documents             0.2      $52.00   1985242            X
                 previously produced by opposing counsel
4/23/18   ND     Communicate with Chris Franich regarding previous client       0.2      $52.00   1985242            X
                 productions
4/23/18   ND     Coordinate upload of client collected documents to document    0.4 $   112.00    1985241   x
                 review database for case team review and analysis (Request:
                 PROC-20505)
4/24/18   ND     Prepare documents for case team review and analysis            0.6     $156.00   1985242            X
4/25/18   ND     Coordinate upload of client collected documents to document    0.5     $130.00   1985242            X
                 review database for case team review and analysis (Request:
                 PROC-20549)
4/27/18   ND     Prepare documents for production to opposing counsel           0.3      $78.00   1985242            X
4/27/18   ND     Review and analyze document production to ensure it meets      0.5     $130.00   1985242            X
                 format specifications (Request: PROC-20575)
5/1/18    ND     Coordinate upload of opposing party production to document     0.6     $156.00   1995104            X
                 review database for case team review and analysis (Request:
                 PROC-20622)
5/2/18    ND     Coordinate upload of opposing party production to document     0.4     $104.00   1995104            X
                 review database for case team review and analysis (Request:
                 PROC-20622)
5/8/18    ND     Conduct targeted searches within database to locate and        0.2      $52.00   1995104            X
                 identify documents for case team review and analysis;
                 communicate with Anup Shah regarding same
5/9/18    ND     Conduct targeted searches within database to locate and        0.4     $104.00   1995104            X
                 identify documents for case team review and analysis;
                 communicate with Chris Franich regarding same
5/10/18   ND     Coordinate upload of opposing party production to document     0.3      $78.00   1995104            X
                 review database for case team review and analysis (Request:
                 PROC-20741)
5/11/18   ND     Conduct targeted searches within database to locate and        0.3      $78.00   1995104            X
                 identify documents for case team review and analysis
5/14/18   ND     Conduct targeted searches within database to locate and        0.2      $52.00   1995104            X
                 identify documents for case team review and analysis
5/17/18   ND     Prepare summary of costs associated with processing and        0.6     $156.00   1995104            X
                 production of documents; communicate with Anup Shah
                 regarding same
5/21/18   ND     Coordinate upload of opposing party production to document     0.4     $104.00   1995104            X
                 review database for case team review and analysis (Request:
                 PROC-20918)
5/21/18   ND     Conduct targeted searches within database to locate and        0.5     $130.00   1995104            X
                 identify documents for case team review and analysis
5/22/18   ND     Draft and revise summary of costs associated with processing   0.5     $130.00   1995104            X
                 and production of documents; communicate with Anup Shah
                 regarding same
5/22/18   ND     Conduct targeted searches within database to locate and        0.3      $78.00   1995104            X
                 identify documents for case team review and analysis
5/23/18   ND     Coordinate upload of client collected documents to document    0.3      $78.00   1995104            X
                 review database for case team review and analysis (Request:
                 PROC-20942)
5/23/18   ND     Conduct targeted searches within database to locate and        1.8     $468.00   1995104            X
                 identify documents for case team review and analysis
5/24/18   ND     Draft/revise memorandum outlining quality control search       0.5     $130.00   1995104            X
                 queries used to identify universe for production (Request:
                 PROC-20962)
5/25/18   AE     Conduct targeted searches to isolate responsive documents      0.7     $217.00   1995104            X
                 for upper level review and analysis in preparation for
                 depositions; communicate with Anup Shah regarding same




                                                     Defendant's Exhibit A-1                                    74
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5/29/18   AE     Craft targeted searches and review, analyze and prepare key       0.4   $124.00   1995104        X
                 documents for case team review and analysis; communicate
                 with Anup Shah regarding same;
5/30/18   AE     Conduct targeted searches to isolate key Ferdosi documents        0.5   $155.00   1995104        X
                 for upper level review and analysis in preparation for
                 depositions; communicate with Chris Franich regarding
                 same;
5/31/18   AE     Consult with Chris Franich regarding review work flows and        0.2    $62.00   1995104        X
                 depo prep strategy
6/4/18    AE     Craft targeted searches to locate key Whitewater production       0.5   $155.00   2005945        X
                 data for case team review and analysis; communicate with
                 Anup Shah regarding same
6/5/18    AE     Craft targeted searches and review, analyze and prepare key       0.4   $124.00   2005945        X
                 documents for case team review; communicate with Anup
                 Shah regarding same
6/8/18    AE     Craft targeted searches to locate key docs within Plaintiff       0.4   $124.00   2005945        X
                 productions; communicate with Anup Shah regarding same

6/13/18   AE     Craft targeted searches to locate key Plaintiff production        0.6   $186.00   2005945        X
                 documents for case team analysis; communicate with Chris
                 Franich and Anup Shah regarding same
6/14/18   AE     Craft targeted searches to locate key sublicense agreements       0.8   $248.00   2005945        X
                 for case team analysis; communicate with Anup Shah
                 regarding same
6/18/18   AE     Craft targeted searches to locate key documents for case team     0.7   $217.00   2005945        X
                 analysis; communicate with Anup Shah regarding same

6/25/18   AE     Review and analyze document production received to identify       0.7   $217.00   2005945        X
                 any deficiencies and facilitate import into review platform for
                 further analysis; communicate with case team regarding
                 same;
6/25/18   AE     Review and analyze document production after import into          0.3    $93.00   2005945        X
                 review platform and craft targeted searches for efficient case
                 team review
6/26/18   AE     Craft targeted searches to locate privileged documents within     0.7   $217.00   2005945        X
                 Plaintiff document productions; communicate with Chris
                 Franich regarding same
7/13/18   ND     Conduct targeted searches within database to locate/identify      0.3    $78.00   2019302        X
                 documents previously produced; communicate with Chris
                 Franich regarding same
7/19/18   ND     Conduct targeted searches within database to locate/identify      1.4   $364.00   2019302        X
                 documents for case team review and analysis; communicate
                 with Chris Franich regarding same

7/19/18   AE     Craft targeted searches to locate key PSD documents for case      0.4   $124.00   2019302        X
                 team review; communicate with Stacy Hovan regarding same

7/20/18   ND     Coordinate upload of client collected documents to document       0.7   $182.00   2019302        X
                 review database for case team review and production
                 (Request: PROC-21561)
7/20/18   ND     Draft/revise memorandum outlining quality control search          0.8   $208.00   2019302        X
                 queries used to identify universe for production
7/25/18   ND     Coordinate upload of opposing party production to document        0.5   $140.00   2019302        X
                 review database for case team review and analysis (Request:
                 PROC-21616)
8/2/18    ND     Coordinate upload of opposing party production to document        0.4   $112.00   2027799        X
                 review database for case team review and analysis (Request:
                 PROC-21710)



                                                      Defendant's Exhibit A-1                                75
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8/5/18    ND     Coordinate upload of client collected documents to document    0.4     $112.00   2027799            X
                 review database for case team review and analysis (Request:
                 PROC-21739)
8/7/18    ND     Draft/revise memorandum outlining quality control search       0.7     $196.00   2027799            X
                 queries used to identify universe for production (Request:
                 PROC-21766)
8/8/18    ND     Craft targeted searches and gather key documents for post -    0.9 $   252.00    2027052   x
                 production review
8/10/18   ND     Coordinate upload of client collected documents to document    0.5 $   140.00    2027052   x
                 review database for case team review and analysis (Request:
                 PROC-21803)
8/10/18   ND     Draft/revise memorandum outlining quality control search       0.4 $   112.00    2027052   x
                 queries used to identify universe for production
8/10/18   ND     Communications with Chris Franich and Stacy Hovan              0.5 $   140.00    2027052   x
                 regarding document production specifications
8/13/18   ND     Review and analyze document production to ensure it meets      0.4     $112.00   2027799            X
                 format specifications (Request: PROC-21766)
8/13/18   ND     Draft/revise memorandum outlining quality control search       1.3 $   364.00    2027052   x
                 queries used to identify universe for production (Request:
                 PROC-21814)
8/13/18   ND     Review and analyze document production to ensure it meets      0.5 $   140.00    2027052   x
                 format specifications (Request: PROC-21814)
8/17/18   ND     Conduct targeted searches within database to locate/identify   0.6 $   168.00    2027052   x
                 specific documents previously produced
8/17/18   ND     Craft targeted searches and gather key documents for expert    0.9 $   252.00    2027052   x
                 prep;
                 communications with Stacy Hovan regarding same
8/18/18   ND     Craft targeted searches and gather key documents for expert    0.4 $   112.00    2027052   x
                 prep; communicate with Stacy Hovan regarding same

8/21/18   ND     Coordinate upload of client collected documents to document    0.4 $   112.00    2027052   x
                 review database for case team review and analysis (Request:
                 PROC-21888)
8/21/18   ND     Draft/revise memorandum outlining quality control search       0.7 $   196.00    2027052   x
                 queries used to identify universe for production (Request:
                 PROC-21894)
8/21/18   ND     Review and analyze document production to ensure it meets      0.5 $   140.00    2027052   x
                 format specifications (Request: PROC-21894)
8/22/18   ND     Coordinate upload of opposing party productions to             0.8 $   224.00    2027052   x
                 document review database for case team review and analysis
                 (Request: PROC-21902)
8/23/18   ND     Coordinate upload of client collected documents to document    0.5 $   140.00    2027052   x
                 review database for case team review and analysis (Request:
                 PROC-21917)
8/24/18   ND     Draft/revise memorandum outlining quality control search       0.6 $   168.00    2027052   x
                 queries used to identify universe for production (Request:
                 PROC-21929)
8/24/18   ND     Craft targeted searches and gather key documents for trial     0.8 $   224.00    2027052   x
                 prep
8/27/18   ND     Review and analyze document production to ensure it meets      0.6 $   168.00    2027052   x
                 format specifications (Request: PROC-21929)
8/27/18   ND     Coordinate upload of client collected documents to document    0.5 $   140.00    2027052   x
                 review database for case team review and analysis (Request:
                 PROC-21961)
8/27/18   ND     Prepare documents for production                               0.7 $   196.00    2027052   x
8/31/18   ND     Customize database to meet the specific needs of the case      0.3      $84.00   2027799            X
                 team




                                                     Defendant's Exhibit A-1                                    76
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8/31/18   ND     Customize database to meet the specific needs of the case    0.3 $      84.00    2027052   x
                 team
8/31/18   ND     Craft targeted searches and gather key documents for trial   0.5 $     140.00    2027052   x
                 prep

                                                                      TOTAL      $    16,659.00




                                                      Defendant's Exhibit A-1                                   77
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    DATE              DESCRIPTION                      AMT         INV. NO.   2017    WW INV.      FR INV               Reason Why Cost Not Recoverable       Amount Not Recoverable

6/22/2017    Transcript Cost VENDOR: Veritext           $2,359.93 1899972     x                      x      IPR2016-01454                                 $                   2,359.93
            INVOICE#: SD3010025 DATE:
            6/22/2017 Transcript fee
6/29/2017    Copy Charges VENDOR: Knox                    $27.35 1899972      x                      x
            Attorney Service, Inc. INVOICE#:
            9153516 DATE: 6/29/2017 Ltr. Size
            B&W
            Prints, Exhibit Tabs
6/29/2017    Outside Courier Services VENDOR:             $55.75 1899972      x                      x
            Knox Attorney Service, Inc.
            INVOICE#: 4214998 DATE: 6/29/2017
            Attorney Service Fee for Delivery to
            Hon. William Q. Hayes Completed on
            6/27/17

7/6/2017     Outside Courier Services VENDOR:             $71.95 1899972      x                      x
            Knox Attorney Service, Inc.
            INVOICE#: 4215773 DATE: 7/6/2017
            Delivery for USDC - Judges Chambers
            Completed on 07/05/17

7/6/2017     Outside Courier Services VENDOR:             $31.45 1899972      x                      x
            Knox Attorney Service, Inc.
            INVOICE#: 4215769 DATE: 7/6/2017
            Delivery for United States District
            Court Completed on 07/05/17

7/6/2017     Outside Courier Services VENDOR:             $63.25 1899972      x                      x
            Knox Attorney Service, Inc.
            INVOICE#: 4215774 DATE: 7/6/2017
            Delivery for USDC-'Filed Under Seal'
            Completed on 07/05/2017




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    DATE               DESCRIPTION                       AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

7/20/2017    Miscellaneous Expenses VENDOR:                 $32.88 1899972      x                      x
            Shah, Anup M. INVOICE#:
            1902522407201956 DATE: 7/20/2017
            Anup
            Shah - Other, 07/19/17, Transworld
            Skateboarding magazine - back issue
            November 2009 ordered from
            Backissues.com - to be used as exhibit

7/25/2017   Monthly Data Hosting and Maintenance          $3,620.16 1902423     x                      x

7/27/2017   Monthly Relativity Database Users              $150.00 1902423      x                      x
            anup.shah@troutmansanders.com;
            christopher.franich@troutmansand
            ers.com
8/9/2017    Professional Services VENDOR: Knox             $152.37 1911551      x                      x
            Attorney Service, Inc. INVOICE#:
            9157661 DATE: 8/9/2017 Attorney
            service fee for printing of mandatory
            chambers copies in color

8/10/2017   08/10/17 Professional Services                  $55.75 1911551      x                      x
            VENDOR: Knox Attorney Service, Inc.
            INVOICE#: 4220411 DATE: 8/10/2017
            Attorney service fees for delivery of
            mandatory champers copies

8/24/2017   Monthly Data Hosting and Maintenance          $3,620.16 1909956     x                      x

8/24/2017   Monthly Relativity Database Users               $75.00 1909956      x                      x
            anup.shah@troutmansanders.com




                                                                                       Defendant's Exhibit A-1                                                79
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    DATE                DESCRIPTION                          AMT         INV. NO.   2017    WW INV.      FR INV                Reason Why Cost Not Recoverable              Amount Not Recoverable

8/29/2017    Professional Services VENDOR: Knox                 $55.75 1920581      x                      x
             Attorney Service, Inc. INVOICE#:
             4222866 DATE: 8/29/2017 Attorney
             service fee for delivery for Hon. Roger
             Benitez of Joint motion for
             reconsideration re court's order granting
             in part and denying in part motions to
             seal
9/25/2017    Monthly Data Hosting and Maintenance             $3,620.16 1919260     x                      x

9/26/2017    Monthly Relativity Database Users -                $75.00 1919260      x                      x
             anup.shah@troutman.com
10/22/2017   Monthly Data Hosting and Maintenance             $3,620.16 1928308     x                      x

10/23/2017   Monthly Relativity Database Users -                $75.00 1928308      x                      x
             anup.shah@troutman.com
11/26/2017   Monthly Data Hosting and Maintenance             $3,620.16 1938864     x                      x

11/27/2017   Monthly Relativity Database Users -                $75.00 1938864      x                      x
             anup.shah@troutman.com
12/21/2017   Filing Fees VENDOR: American                      $206.00 1951593      x                      x      S.D. Cal. No. 15-01879 ("2015 Action"), ECF No. 295   $                    206.00
             Express INVOICE#:
             11282017 DATE: 11/28/2017 Tran
             Date:10/31/2017
             Merchant:CARD ACQUIRING
             SERVICE-FM
             Description:Pro Hac Vice of Anup
             Shah
12/25/2017   Monthly Data Hosting and Maintenance             $3,620.16 1946997     x                      x

12/26/2017   Monthly Relativity Database Users -                $75.00 1946997      x                      x
             anup.shah@troutman.com




                                                                                           Defendant's Exhibit A-1                                                                     80
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    DATE               DESCRIPTION                         AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

1/8/2018    Computer Research VENDOR: Pacer                    $6.40 1960031      x                      x
            Service Center
            INVOICE#: 12312017 DATE:
            12/31/2017 Computer
            Research
1/10/2018   Process collected data and import                $350.00 1956528      x                      x
            into review database (No Filtering)
            (1-50 GB)
1/12/2018   Convert Documents to Mixed                       $882.00 1956528      x                      x
            Image/Native Format (1-50 GB)
1/23/2018   Monthly Data Hosting and                        $3,648.42 1956528     x                      x
            Maintenance
1/25/2018   Monthly Relativity Database Users                 $75.00 1956528      x                      x
            - anup.shah@troutman.com
2/21/2018   Outside Courier Services VENDOR:                 $183.95 1968821      x                      x
            Knox Attorney
            Service, Inc. INVOICE#: 4244761
            DATE: 2/21/2018
            Attorney service fee for delivery to U.S
            District Court,
            Southern
2/28/2018   Troutman Sanders eMerge -                       $4,582.94 1968821     x                      x
            eDiscovery/Legal
            Technology Fees
3/6/2018    Import Other Party Productions                    $75.00 1976195      x                      x
            Into Review Database (1-50 GB)
3/8/2018    Computer Research VENDOR: Pacer                   $14.70 1975182      x                      x
            Service Center
            INVOICE#: 2282018 DATE: 2/28/2018
            Computer
            Research
3/15/2018   Import Other Party Productions                  $1,350.00 1976195     x                      x
            Into Review Database (1-50 GB)




                                                                                         Defendant's Exhibit A-1                                                81
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    DATE              DESCRIPTION                   AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

3/19/2018   Airfare Costs VENDOR: Capital One           $7.00 1987291      x                      x
            NA INVOICE#: 41518 DATE:
            4/15/2018 Passenger: SHAH/ANUP M
            Vendor: ARC Description: ATTEND
            HEARING Departure Date: Flight
            Details:
3/19/2018   Airfare Costs VENDOR: Capital One          $33.50 1987291      x                      x
            NA INVOICE#: 41518 DATE:
            4/15/2018 Passenger: SHAH/ANUP M
            Vendor: AMERICAN AIRLINES INC.
            Description: ATTEND HEARING
            Departure Date: 04/01/2018 Flight
            Details: CLT SAN

3/19/2018   Airfare Costs VENDOR: Capital One          $36.54 1987291      x                      x
            NA INVOICE#: 41518 DATE:
            4/15/2018 Passenger: SHAH/ANUP M
            Vendor: AMERICAN AIRLINES INC.
            Description: ATTEND HEARING
            Departure Date: 04/02/2018 Flight
            Details: SAN CLT

3/19/2018   Airfare Costs VENDOR: Capital One         $937.10 1987291      x                      x
            NA INVOICE#: 41518 DATE:
            4/15/2018 Passenger: SHAH/ANUP M
            Vendor: AMERICAN AIRLINES INC.
            Description: ATTEND HEARING
            Departure Date: 04/01/2018 Flight
            Details: CLT SAN CLT

3/26/2018   Monthly Data Hosting and                 $4,277.08 1976195     x                      x
            Maintenance
3/28/2018   Monthly Relativity Database Users         $150.00 1976195      x                      x
            - anup.shah@troutman.com;
            chris.franich@troutman.com


                                                                                  Defendant's Exhibit A-1                                                82
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    DATE               DESCRIPTION                     AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

3/29/2018   Remote Collection of entire                  $250.00 1976195     x                      x
            Webmail/Cloud Storage account
            yong@pacificsurfdesigns.com
4/1/2018    Remote Collection of entire                  $500.00 1985242     x                      x
            Webmail/Cloud Storage account
            Richard@Flow-Services.com and
            Richard@pacificsurfdesigns.com
4/4/2018    Airfare Costs VENDOR: Brahma,                 $98.98 1987291     x                      x
            Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Airfare, 03/09/18,
            Travel to Irvine, CA to depose E. Squier

4/4/2018    Airfare Costs VENDOR: Brahma,                  $7.00 1987291     x                      x
            Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Agent Fee,
            03/09/18, Travel to Irvine, CA to
            depose E. Squier
4/4/2018    Hotel VENDOR: Brahma, Charanjit              $241.34 1987291     x                      x
            INVOICE#: 2398880004041730
            DATE: 4/4/2018 Charanjit Brahma -
            Hotel - Lodging, 03/21/18, Travel to
            Irvine, CA to depose E. Squier
4/4/2018    Meals and Entertainment VENDOR:               $14.49 1987291     x                      x
            Brahma, Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Dinner, 03/20/18,
            Travel to Irvine, CA to depose E.
            Squier, Charanjit Brahma




                                                                                    Defendant's Exhibit A-1                                                83
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    DATE               DESCRIPTION                        AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

4/4/2018    Meals and Entertainment VENDOR:                  $31.00 1987291     x                      x
            Brahma, Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Dinner, 03/21/18,
            Travel to Irvine, CA to depose E.
            Squier, Charanjit Brahma

4/4/2018    Taxi/Train/Parking VENDOR: Brahma,                $8.72 1987291     x                      x
            Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Taxi/Car Service,
            03/21/18, Travel to Irvine, CA to
            depose E. Squier - Lyft from airport to
            OC office
4/4/2018    Taxi/Train/Parking VENDOR: Brahma,               $72.13 1987291     x                      x
            Charanjit INVOICE#:
            2398880004041730 DATE: 4/4/2018
            Charanjit Brahma - Taxi/Car Service,
            03/21/18, Travel to Irvine, CA to
            depose E. Squier - Lyft from OC office
            to LAX
4/10/2018   Process collected data and import into          $654.50 1985242     x                      x
            review database (No Filtering) (1-50
            GB)
4/12/2018   Convert Documents to Mixed                      $400.00 1985242     x                      x
            Image/Native Format (1-50 GB)
4/13/2018   Prepare Documents for Production (1-            $100.00 1985242     x                      x
            50 GB)
4/16/2018   Import Scanned Documents Into                    $75.00 1985242     x                      x
            Review Database (1-50 GB)
4/17/2018   Convert Documents to Mixed                      $400.00 1985242     x                      x
            Image/Native Format (1-50 GB)
4/17/2018   Prepare Documents for Production (1-            $100.00 1985242     x                      x
            50 GB)




                                                                                       Defendant's Exhibit A-1                                                84
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    DATE               DESCRIPTION                         AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

4/23/2018   Monthly Data Hosting and Maintenance            $4,298.74 1985242     x                      x

4/24/2018   Monthly Relativity Database Users -              $225.00 1985242      x                      x
            anup.shah@troutman.com;
            chris.franich@troutman.com;
            Sherrill.Haupt@troutman.com
4/26/2018   Process collected data and import into           $350.00 1985242      x                      x
            review database (No Filtering) (1-50
            GB)
4/27/2018   Prepare Documents for Production (1-             $100.00 1985242      x                      x
            50 GB)
4/30/2018   Search Costs VENDOR: LexisNexis                    $3.30 1999340      x                      x
            Risk Data Management Inc.
            INVOICE#: 111717020180430 DATE:
            4/30/2018 Accurint for period 4/1/2018 -
            4/30/2018. Billing ID: 1117170



5/3/2018    Import Other Party Productions Into               $75.00 1995104      x                      x
            Review Database (1-50 GB)
5/4/2018    Litigation Costs VENDOR: Cal Express              $70.00 1999340      x                      x
            INVOICE#: 127757 DATE: 5/4/2018
            Service of subpoena on Knobbe
            Martens
5/7/2018    Computer Research VENDOR: Pacer                   $14.00 1999340      x                      x
            Service Center INVOICE#: 4302018
            DATE: 4/30/2018 Computer Research

5/10/2018   Professional Services VENDOR:                     $60.00 1999340      x                      x
            Galleta, Carla INVOICE#: 051018
            DATE: 5/10/2018 Notary services for 6
            documents (supporting affidavit
            pursuant to order 66 rule 2 of court and
            exhibits CF-1 to CF-5)




                                                                                         Defendant's Exhibit A-1                                                85
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    DATE              DESCRIPTION                     AMT         INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable                  Amount Not Recoverable

5/11/2018   Import Other Party Productions Into        $3,315.00 1995104     x                      x
            Review Database (51-250 GB)
5/15/2018   Outside Courier Services VENDOR:            $295.73 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. B at 16)      $                    295.73
            First Legal Network, LLC
            INVOICE#: 50035136 DATE:
            5/15/2018 Fed Summons to Testify -
            Tim Gantz
5/15/2018   Outside Courier Services VENDOR:             $50.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 42-43)   $                     50.50
            First Legal Network, LLC
            INVOICE#: 50035146 DATE:
            5/15/2018 Chambers Copies

5/15/2018   Outside Courier Services VENDOR:             $50.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 43)      $                     50.50
            First Legal Network, LLC
            INVOICE#: 50035144 DATE:
            5/15/2018 Chambers Copies

5/15/2018   Outside Courier Services VENDOR:             $50.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 43)      $                     50.50
            First Legal Network, LLC
            INVOICE#: 50035150 DATE:
            5/15/2018 Chambers Copies

5/15/2018   Outside Courier Services VENDOR:             $60.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 43)      $                     60.50
            First Legal Network, LLC
            INVOICE#: 50035140 DATE:
            5/15/2018 Champers Copies

5/15/2018   Outside Courier Services VENDOR:            $339.75 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. B at 17)      $                    339.75
            First Legal Network, LLC
            INVOICE#: 50035137 DATE:
            5/15/2018 Fed Summons to Testify -
            Tim Gantz




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    DATE               DESCRIPTION                     AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

5/17/2018   Airfare Costs VENDOR: Capital One             $10.00 1999340      x                      x
            NA INVOICE#: 61518 DATE:
            6/15/2018 Passenger:
            BRAHMA/CHARANJI Vendor: ARC
            Description: MEETING Departure
            Date: Flight Details:
5/22/2018   Monthly Data Hosting and Maintenance        $4,216.11 1995104     x                      x

5/23/2018   Overlay natives into database.                $75.00 1995104      x                      x
5/23/2018   Airfare Costs VENDOR: Capital One             $29.00 1999340      x                      x
            NA INVOICE#:61518 DATE:
            6/15/2018 Passenger:
            FRANICH/CHRISTO Vendor: ARC
            Description: MEETING Departure
            Date: Flight Details:
5/23/2018   Airfare Costs VENDOR: Capital One            $416.17 1999340      x                      x
            NA INVOICE#: 61518 DATE:
            6/15/2018 Passenger:
            FRANICH/CHRISTO Vendor:
            AMERICAN AIRLINES INC.
            Description: MEETING Departure
            Date: 05/24/2018 Flight Details:
            SAN.PHX YVR.PHX SAN
5/24/2018   Import Scanned Documents Into                 $75.00 1995104      x                      x
            Review Database (1-50 GB)
5/24/2018   Monthly Relativity Database Users -          $525.00 1995104      x                      x
            anup.shah@troutman.com;
            chris.franich@troutman.com;
            jonathan.yee@troutman.com;
            lauren.baker@troutman.com;
            Oscar.Figueroa@troutman.com;
            Sarah.Holland@troutman.com;
            Sherrill.Haupt@troutman.com




                                                                                     Defendant's Exhibit A-1                                                87
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    DATE              DESCRIPTION                       AMT        INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

5/24/2018   Airfare Costs VENDOR: Capital One               $7.00 1999340     x                      x
            NA INVOICE#: 61518 DATE:
            6/15/2018 Passenger: SHAH/ANUP M
            Vendor: ARC Description: CLIENT
            VISIT Departure Date: Flight Details:

5/24/2018   Airfare Costs VENDOR: Capital One              $29.01 1999340     x                      x
            NA INVOICE#: 61518 DATE:
            6/15/2018 Passenger: SHAH/ANUP M
            Vendor: AMERICAN AIRLINES INC.
            Description: CLIENT VISIT Departure
            Date: 05/30/2018 Flight Details: CLT
            MSN

5/24/2018   Airfare Costs VENDOR: Capital One             $804.90 1999340     x                      x
            NA INVOICE#: 61518 DATE:
            6/15/2018 Passenger: SHAH/ANUP M
            Vendor: AMERICAN AIRLINES INC.
            Description: CLIENT VISIT Departure
            Date: 05/30/2018 Flight Details: CLT
            MSN CLT

5/31/2018   Miscellaneous Expenses VENDOR:                $308.13 1999340     x                      x
            Document Technologies, LLC
            INVOICE#: 1075846 DATE: 5/31/2018
            May 2018 - Overtime fees for SDG.

5/31/2018   Outside Courier Services VENDOR:              $295.75 1999340     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. B at 17)   $                    295.75
            First Legal Network, LLC
            INVOICE#: 50035787 DATE:
            5/31/2018 Fed Summons to Testify -
            Arthur Berry




                                                                                     Defendant's Exhibit A-1                                                                       88
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    DATE               DESCRIPTION                         AMT         INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

5/31/2018   Outside Courier Services VENDOR:                  $60.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 43)   $                     60.50
            First Legal Network, LLC
            INVOICE#: 50035795 DATE:
            5/31/2018 Chambers copies

5/31/2018   Outside Courier Services VENDOR:                 $335.75 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. B at 17)   $                    335.75
            First Legal Network, LLC
            INVOICE#: 50035797 DATE:
            5/31/2018 Subpoean to Testify - Tim
            Gantz
5/31/2018   Outside Courier Services VENDOR:                  $50.50 1999340      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. F at 43)   $                     50.50
            First Legal Network, LLC
            INVOICE#: 50035794 DATE:
            5/31/2018 Chambers Copies

5/31/2018   Troutman Sanders eMerge -                       $3,507.82 1999341     x                      x
            eDiscovery/Legal
            Technology Fees
6/1/2018    Airfare Costs VENDOR: Franich,                    $26.62 2007131      x                      x
            Christopher INVOICE#:
            2524061306011341 DATE: 6/1/2018
            Christopher Franich - Airfare, 05/24/18,
            Deposition of Geoff Chutter Assigned
            Seat
6/1/2018    Hotel VENDOR: Franich, Christopher               $455.91 2007131      x                      x
            INVOICE#: 2524061306011341
            DATE: 6/1/2018 Christopher Franich -
            Hotel - Lodging, 05/25/18, Chutter
            Deposition




                                                                                         Defendant's Exhibit A-1                                                                       89
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    DATE              DESCRIPTION                        AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

6/1/2018   Miscellaneous Expenses VENDOR:                   $12.00 2007131     x                      x
           Franich, Christopher INVOICE#:
           2524061306011341 DATE: 6/1/2018
           Christopher Franich - Internet,
           05/24/18, Chutter deposition

6/1/2018   Miscellaneous Expenses VENDOR:                   $12.00 2007131     x                      x
           Franich, Christopher INVOICE#:
           2524061306011341 DATE: 6/1/2018
           Christopher Franich - Internet,
           05/25/18, Deposition of Geoff Chutter

6/1/2018   Taxi/Train/Parking VENDOR: Franich,              $37.00 2007131     x                      x
           Christopher INVOICE#:
           2524061306011341 DATE: 6/1/2018
           Christopher Franich - Taxi/Car Service,
           05/24/18, Deposition of Geoff Chutter

6/1/2018   Taxi/Train/Parking VENDOR: Franich,              $26.81 2007131     x                      x
           Christopher INVOICE#:
           2524061306011341 DATE: 6/1/2018
           Christopher Franich - Taxi/Car Service,
           05/25/18, Chutter deposition

6/4/2018   Hotel VENDOR: Shah, Anup M.                     $290.42 2007131     x                      x
           INVOICE#: 2534836006041933
           DATE: 6/4/2018 Anup Shah – Hotel -
           Lodging, 06/01/18, Deposition of Tim
           Gantz – Pacific Surf/Flowrider
6/4/2018   Meals and Entertainment VENDOR:                  $16.13 2007131     x                      x
           Shah, Anup M. INVOICE#:
           2534836006041933 DATE: 6/4/2018
           Anup Shah - Lunch, 05/31/18,
           Deposition of Tim Gantz – Pacific
           Surf/Flowrider, Anup Shah



                                                                                      Defendant's Exhibit A-1                                                90
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    DATE              DESCRIPTION                       AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

6/4/2018   Meals and Entertainment VENDOR:                 $35.50 2007131     x                      x
           Shah, Anup M. INVOICE#:
           2534836006041933 DATE: 6/4/2018
           Anup Shah - Dinner, 05/31/18,
           Deposition of Tim Gantz - Pacific
           Surf/Flowrider, Anup Shah
6/4/2018   Meals and Entertainment VENDOR:                 $14.31 2007131     x                      x
           Shah, Anup M. INVOICE#:
           2534836006041933 DATE: 6/4/2018
           Anup Shah - Breakfast, 06/01/18,
           Deposition of Tim Gantz - Pacific
           Surf/Flowrider, Anup Shah
6/4/2018   Rental Car VENDOR: Shah, Anup M.               $171.72 2007131     x                      x
           INVOICE#: 2534836006041933
           DATE: 6/4/2018 Anup Shah – Car
           Rental/Fuel, 06/01/18, Deposition of
           Tim Gantz – Pacific Surf/Flowrider

6/4/2018   Taxi/Train/Parking VENDOR: Shah,                $15.00 2007131     x                      x
           Anup M. INVOICE#:
           2534836006041933 DATE: 6/4/2018
           Anup Shah – Hotel - Parking, 05/30/18,
           Deposition of Tim Gantz – Pacific
           Surf/Flowrider
6/4/2018   Taxi/Train/Parking VENDOR: Shah,                $15.00 2007131     x                      x
           Anup M. INVOICE#:
           2534836006041933 DATE: 6/4/2018
           Anup Shah – Hotel - Parking, 05/31/18,
           Deposition of Tim Gantz – Pacific
           Surf/Flowrider




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    DATE               DESCRIPTION                       AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

6/4/2018    Taxi/Train/Parking VENDOR: Shah,                $23.03 2007131     x                      x
            Anup M. INVOICE#:
            2534836006041933 DATE: 6/4/2018
            Anup Shah - Taxi/Car Service,
            05/30/18, Deposition of Tim Gantz -
            Pacific Surf/Flowrider
6/4/2018    Taxi/Train/Parking VENDOR: Shah,                $23.55 2007131     x                      x
            Anup M.
            INVOICE#:2534836006041933 DATE:
            6/4/2018 Anup Shah -Taxi/Car Service,
            06/01/18, Deposition of Tim Gantz -
            Pacific Surf/Flowrider

6/12/2018   Airfare Costs VENDOR: Brahma,                  $852.39 2007131     x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Airfare, 05/18/18,
            Prepare for and depose C. Clutter

6/12/2018   Airfare Costs VENDOR: Brahma,                    $7.00 2007131     x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Agent Fee,
            05/18/18, Prepare for and depose C.
            Clutter
6/12/2018   Hotel VENDOR: Brahma, Charanjit                $509.12 2007131     x                      x
            INVOICE#: 2531395606121701
            DATE: 6/12/2018 Charanjit Brahma -
            Hotel - Lodging, 05/25/18, Prepare for
            and depose C. Clutterr




                                                                                      Defendant's Exhibit A-1                                                92
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    DATE               DESCRIPTION                     AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

6/12/2018   Meals and Entertainment VENDOR:                $7.55 2007131     x                      x
            Brahma, Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Dinner, 05/25/18,
            Prepare for and depose C. Clutterr,
            Charanjit Brahma

6/12/2018   Meals and Entertainment VENDOR:               $37.49 2007131     x                      x
            Brahma, Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Hotel - Dinner,
            05/24/18, Prepare for and depose C.
            Clutterr, Charanjit Brahma

6/12/2018   Meals and Entertainment VENDOR:               $24.83 2007131     x                      x
            Brahma, Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Hotel - Dinner,
            05/25/18, Prepare for and depose C.
            Clutterr, Charanjit Brahma

6/12/2018   Taxi/Train/Parking VENDOR: Brahma,            $32.60 2007131     x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Taxi/Car Service,
            05/24/18, Prepare for and depose C.
            Clutter - cab from Vancouver airport to
            hotel
6/12/2018   Taxi/Train/Parking VENDOR: Brahma,            $89.08 2007131     x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Taxi/Car Service,
            05/24/18, Prepare for and depose C.
            Clutter - Lyft from home to SFO




                                                                                    Defendant's Exhibit A-1                                                93
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    DATE              DESCRIPTION                  AMT         INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

6/12/2018   Taxi/Train/Parking VENDOR: Brahma,        $63.17 2007131      x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Taxi/Car Service,
            05/26/18, Prepare for and depose C.
            Clutter - Lyft from SFO to home

6/12/2018   Taxi/Train/Parking VENDOR: Brahma,        $32.98 2007131      x                      x
            Charanjit INVOICE#:
            2531395606121701 DATE: 6/12/2018
            Charanjit Brahma - Taxi/Car Service,
            05/25/18, Prepare for and depose C.
            Clutter - cab in Vancouver

6/14/2018   Transcript Cost VENDOR: Veritext         $777.65 2007131      x                      x
            INVOICE#: SF3379856 DATE:
            6/14/2018 Transcript services -
            5/31/2018
6/19/2018   Court Reporter/Deposition Costs         $3,272.19 2184709     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   3,272.19
            VENDOR: Veritext INVOICE#:
            SF3384378 DATE: 6/19/2018 Fees for
            videographer and copy of DVD of
            deposition of Geoffrey Paul Chutter

6/19/2018   Court Reporter/Deposition Costs         $3,626.31 2184709     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   3,626.31
            VENDOR: Veritext INVOICE#:
            SF3378357 DATE: 6/19/2018
            Videotaped deposition of Geoffrey
            Paul Chutter
6/25/2018   Import Other Party Productions Into       $75.00 2005945      x                      x
            Review Database (1-50 GB)
6/25/2018   Monthly Data Hosting and Maintenance    $4,217.40 2005945     x                      x




                                                                                 Defendant's Exhibit A-1                                                                       94
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    DATE               DESCRIPTION                      AMT         INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

6/25/2018   Monthly Relativity Database Users -           $450.00 2005945      x                      x
            anup.shah@troutman.com;
            chris.franich@troutman.com;
            lauren.baker@troutman.com;
            Oscar.Figueroa@troutman.com;
            Sarah.Holland@troutman.com;
            Sherrill.Haupt@troutman.com
6/30/2018   Copy Charges VENDOR: First Legal               $98.75 2024537      x                      x
            Network, LLC INVOICE#: 50036891
            DATE: 6/30/2018 Chambers copies
            delivered to Judge Benitez by noon on
            06-19-18 -Order No. 778734

7/11/2018   Computer Research VENDOR: Pacer                $25.60 2015791      x                      x
            Service Center INVOICE#: 6302018
            DATE: 6/30/2018 Computer Research

7/20/2018   Import Scanned Documents Into                  $75.00 2019302      x                      x
            Review Database (1-50 GB)
7/20/2018   Prepare Documents for Production (1-          $100.00 2019302      x                      x
            50 GB)
7/24/2018   Monthly Data Hosting and Maintenance         $4,219.37 2019302     x                      x

7/25/2018   Monthly Relativity Database Users -           $375.00 2019302      x                      x
            anup.shah@troutman.com;
            chris.franich@troutman.com;
            lauren.baker@troutman.com;
            Sarah.Holland@troutman.com;
            Sherrill.Haupt@troutman.com




                                                                                      Defendant's Exhibit A-1                                                95
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    DATE               DESCRIPTION                      AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

7/26/2018    Hotel VENDOR: American Express               $806.54 2015791     x                      x
            INVOICE#: 6282018 DATE: 6/28/2018
            Tran Date:06/07/2018 Merchant:SWA
            VANCOUVER HOTEL NOMINEE,
            INC. Description:Conference room for
            the Geoff Chutter deposition

7/26/2018   Import Other Party Productions Into            $75.00 2019302     x                      x
            Review Database (1-50 GB)
8/2/2018    Import Other Party Productions Into            $75.00 2027799     x                      x
            Review Database (1-50 GB)
8/6/2018    Airfare Costs VENDOR: Brahma,                 $434.96 2024537     x                      x
            Charanjit INVOICE#:
            2670448808061913 DATE: 8/6/2018
            Charanjit Brahma - Airfare, 07/09/18,
            Conduct deposition of E. Squier

8/6/2018    Airfare Costs VENDOR: Brahma,                   $7.00 2024537     x                      x
            Charanjit INVOICE#:
            2670448808061913 DATE: 8/6/2018
            Charanjit Brahma - Agent Fee,
            07/09/18, Conduct deposition of E.
            Squier
8/6/2018    Hotel VENDOR: Brahma, Charanjit               $252.35 2024537     x                      x
            INVOICE#: 2670448808061913
            DATE: 8/6/2018 Charanjit Brahma -
            Hotel - Lodging, 07/13/18, Conduct
            deposition of E. Squier
8/6/2018    Meals and Entertainment VENDOR:                $36.00 2024537     x                      x
            Brahma, Charanjit INVOICE#:
            2670448808061913 DATE: 8/6/2018
            Charanjit Brahma - Dinner, 07/12/18,
            Conduct deposition of E. Squier,
            Charanjit Brahma




                                                                                     Defendant's Exhibit A-1                                                96
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                                                                                       203

    DATE              DESCRIPTION                    AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

8/6/2018   Meals and Entertainment VENDOR:              $20.00 2024537     x                      x
           Brahma, Charanjit INVOICE#:
           2670448808061913 DATE: 8/6/2018
           Charanjit Brahma - Lunch, 07/13/18,
           Conduct deposition of E. Squier,
           Charanjit Brahma
8/6/2018   Taxi/Train/Parking VENDOR: Brahma,           $11.26 2024537     x                      x
           Charanjit INVOICE#:
           2670448808061913 DATE: 8/6/2018
           Charanjit Brahma - Taxi/Car Service,
           07/12/18, Conduct deposition of E.
           Squier - Lyft from airport to hotel

8/6/2018   Taxi/Train/Parking VENDOR: Brahma,            $9.81 2024537     x                      x
           Charanjit INVOICE#:
           2670448808061913 DATE: 8/6/2018
           Charanjit Brahma - Taxi/Car Service,
           07/13/18, Conduct deposition of E.
           Squier - Lyft from OC office to airport

8/6/2018   Taxi/Train/Parking VENDOR: Brahma,           $18.67 2024537     x                      x
           Charanjit INVOICE#:
           2670448808061913 DATE: 8/6/2018
           Charanjit Brahma - Taxi/Car Service,
           07/13/18, Conduct deposition of E.
           Squier - Lyft from airport to home

8/6/2018   Taxi/Train/Parking VENDOR: Brahma,           $10.45 2024537     x                      x
           Charanjit INVOICE#:
           2670448808061913 DATE: 8/6/2018
           Charanjit Brahma - Subway, 07/12/18,
           Conduct deposition of E. Squier -
           BART fare from SF office to Oakland
           airport




                                                                                  Defendant's Exhibit A-1                                                97
                                                     Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17817 Page 105 of
                                                                                           203

    DATE                DESCRIPTION                      AMT         INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

8/6/2018     Import Scanned Documents Into                  $75.00 2027799      x                      x
             Review Database (1-50 GB)
8/7/2018     Prepare Documents for Production (1-          $100.00 2027799      x                      x
             50 GB)
8/15/2018    Outside Courier Services VENDOR:               $50.50 2024537      x                      x
             First Legal Network, LLC INVOICE#:
             50038736 DATE: 8/15/2018 2018-08-
             09 Chambers copies to Judge Major.
             Order #786001

8/23/2018    Monthly Data Hosting and Maintenance         $4,219.41 2027799     x                      x

8/23/2018    Monthly Relativity Database Users -           $300.00 2027799      x                      x
             chris.franich@troutman.com;
             jonathan.yee@troutman.com;
             lauren.baker@troutman.com;
             Sherrill.Haupt@troutman.com
9/30/2018    Outside Courier Services                     $1,686.13 2065341     x                      x
9/30/2018    Troutman Sanders eMerge -                    $4,861.41 2065341     x                      x
             eDiscovery/Legal
             Technology Fees
10/17/2018   Court Reporter/Deposition Costs               $771.57 2184709      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    771.57
             VENDOR: Veritext INVOICE#:
             CA3513796 DATE: 10/17/2018
             Certified transcript of deposition of
             Richard Alleshouse
10/17/2018   Court Reporter/Deposition Costs              $3,096.56 2184709     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   3,096.56
             VENDOR: Veritext INVOICE#:
             SD3513686 DATE: 10/17/2018
             Certified transcript of deposition of
             Justin Lewis




                                                                                       Defendant's Exhibit A-1                                                                       98
                                                     Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17818 Page 106 of
                                                                                           203

    DATE                DESCRIPTION                      AMT           INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

10/17/2018   Court Reporter/Deposition Costs              $1,702.84 2184709       x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   1,702.84
             VENDOR: Veritext INVOICE#:
             CA3515261 DATE: 10/17/2018
             Certified transcript of deposition of
             Edward Pribonic
10/24/2018   Court Reporter/Deposition Costs              $2,598.11 2184709       x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   2,598.11
             VENDOR: Veritext INVOICE#:
             SF3521654 DATE: 10/24/2018 Fee for
             videographer and copy of DVD of
             deposition of Nicholas P. Godici

10/25/2018   Court Reporter/Deposition Costs               $920.77 2184709        x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    920.77
             VENDOR: Veritext INVOICE#:
             SD3523298 DATE: 10/25/2018 DVD
             of videotaped deposition of Justin
             Lewis
10/29/2018   Court Reporter/Deposition Costs               $905.16 2184709        x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    905.16
             VENDOR: Veritext INVOICE#:
             CA3513708 DATE: 10/29/2018 DVD
             of videotaped deposition of Edward
             Pribonic
10/30/2018   Court Reporter/Deposition Costs              $4,042.22 2184709       x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   4,042.22
             VENDOR: Veritext INVOICE#:
             SD3528788 DATE: 10/30/2018
             Deposition of Robert L. Vigil, Ph.D.

10/31/2018   Airfare Costs                                  $833.92   2065354     x                      x
10/31/2018   Filing Fees                                    $206.00   2065354     x                      x
10/31/2018   Hotel                                          $770.31   2065354     x                      x
10/31/2018   Litigation Costs                             $3,129.45   2065354     x                      x
10/31/2018   Meals and Entertainment                        $347.14   2065354     x                      x
10/31/2018   Outside Courier Services                        $60.50   2065354     x                      x
10/31/2018   Taxi/Train/Parking                             $446.36   2065354     x                      x
10/31/2018   Troutman Sanders eMerge -                    $6,902.41   2065354     x                      x
             eDiscovery/Legal Technology Fees


                                                                                         Defendant's Exhibit A-1                                                                       99
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    DATE                DESCRIPTION                     AMT        INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

11/5/2018    Court Reporter/Deposition Costs             $292.59 2184709      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    292.59
             VENDOR: Veritext INVOICE#:
             CA3536940 DATE: 11/5/2018 DVD of
             videotaped deposition of Richard
             Alleshouse
11/6/2018    Court Reporter/Deposition Costs            $2,463.81 2184709     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   2,463.81
             VENDOR: Veritext INVOICE#:
             SD3538868 DATE: 11/6/2018 Fees for
             videographer and copy of DVD of
             videotaped deposition of Glen
             Stevick, Ph.D.
11/16/2018   Court Reporter/Deposition Costs            $2,763.32 2184709     x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                   2,763.32
             VENDOR: Veritext INVOICE#:
             SF3547409 DATE: 11/16/2018 Fees
             for videographer and copy of DVD of
             deposition of Robert L. Vigil, Ph.D.

11/30/2018   Troutman Sanders eMerge -                  $4,725.41 2064520     x                      x
             eDiscovery/Legal
             Technology Fees
12/12/2018   Airfare Costs VENDOR: Mao, Mark C.          $266.41 2077833      x                      x
             INVOICE#: 2952071212121752
             DATE: 12/12/2018 Mark Mao - Airfare,
             11/29/18, Flight to SDO for Pacific Surf
             Designs mandatory settlement
             conference

12/12/2018   Airfare Costs VENDOR: Brahma,               $495.96 2077833      x                      x
             Charanjit INVOICE#:
             2957839412121752 DATE: 12/12/2018
             Charanjit Brahma - Airfare, 11/21/18,
             Travel to San Diego to attend
             mandatory settlement conference




                                                                                     Defendant's Exhibit A-1                                                                      100
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                                                                                          203

    DATE                DESCRIPTION                     AMT        INV. NO.   2017    WW INV.      FR INV      Reason Why Cost Not Recoverable   Amount Not Recoverable

12/12/2018   Airfare Costs VENDOR: Brahma,                  $7.00 2077833     x                      x
             Charanjit INVOICE#:
             2957839412121752 DATE: 12/12/2018
             Charanjit Brahma - Agent Fee,
             11/21/18, Travel to San Diego to attend
             mandatory settlement conference

12/12/2018   Hotel VENDOR: Brahma, Charanjit              $161.26 2077833     x                      x
             INVOICE#: 2957839412121752
             DATE: 12/12/2018 Charanjit Brahma -
             Hotel - Lodging, 11/26/18, Travel to
             San Diego to attend mandatory
             settlement conference

12/12/2018   Meals and Entertainment VENDOR:               $14.62 2077833     x                      x
             Brahma, Charanjit INVOICE#:
             2957839412121752 DATE: 12/12/2018
             Charanjit Brahma - Dinner, 11/25/18,
             Travel to San Diego to attend
             mandatory settlement conference,
             Charanjit
12/12/2018   Taxi/Train/Parking VENDOR: Brahma,            $12.66 2077833     x                      x
             Charanjit INVOICE#:
             2957839412121752 DATE: 12/12/2018
             Charanjit Brahma - Taxi/Car Service,
             11/25/18, Travel to San Diego to attend
             mandatory settlement conference

12/12/2018   Taxi/Train/Parking VENDOR: Brahma,            $48.00 2077833     x                      x
             Charanjit INVOICE#:
             2957839412121752 DATE: 12/12/2018
             Charanjit Brahma - Parking, 11/26/18,
             Travel to San Diego to attend
             mandatory settlement conference




                                                                                     Defendant's Exhibit A-1                                               101
                                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17821 Page 109 of
                                                                                            203

    DATE                DESCRIPTION                       AMT         INV. NO.   2017    WW INV.      FR INV                 Reason Why Cost Not Recoverable               Amount Not Recoverable

12/15/2018   Outside Courier Services VENDOR:                $60.50 2077833      x                      x
             First Legal Network, LLC INVOICE#:
             50043570 DATE: 12/15/2018 Delivery
             of chambers copies of reply in support
             of Daubert motion and motions in
             limine

12/31/2018   Troutman Sanders eMerge -                     $4,790.41 2077833     x                      x
             eDiscovery/Legal Technology Fees
1/31/2019    Computer Research                               $105.37 2086766     x                      x
1/31/2019    Troutman Sanders eMerge -                     $4,369.41 2086766     x                      x
             eDiscovery/Legal Technology Fees
2/4/2019     Court Reporter/Deposition Costs                $159.09 2184709      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    159.09
             VENDOR: Veritext INVOICE#:
             SD3643984 DATE: 2/4/2019 DVD of
             videotaped deposition of Glen
             Stevick, Ph.D.
2/4/2019     Court Reporter/Deposition Costs                $159.09 2184709      x                      x      Claimed in Bill of Costs (ECF No. 371-3, Ex. D at 31)   $                    159.09
             VENDOR: Veritext INVOICE#:
             SF3643974 DATE: 2/4/2019 DVD of
             videotaped deposition of Geoffrey
             Paul Chutter
2/28/2019    Troutman Sanders eMerge -                     $4,674.41 2095545     x                      x
             eDiscovery/Legal Technology Fees
3/31/2019    Troutman Sanders eMerge -                     $4,767.41 2110253     x                      x
             eDiscovery/Legal Technology Fees
4/30/2019    Troutman Sanders eMerge -                     $4,369.41 2126952     x                      x
             eDiscovery/Legal Technology Fees
5/31/2019    Troutman Sanders eMerge -                     $4,294.41 2126957     x                      x
             eDiscovery/Legal Technology Fees




                                                                                        Defendant's Exhibit A-1                                                                      102
                                                     Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17822 Page 110 of
                                                                                           203

    DATE               DESCRIPTION                       AMT        INV. NO.   2017    WW INV.      FR INV                Reason Why Cost Not Recoverable              Amount Not Recoverable

7/16/2019   Litigation Costs VENDOR:                       $147.68 2173116     x                      x      S.D. Cal. No. 15-01879 ("2015 Action"), ECF No. 295   $                    147.68
            Precedent Legal Services INVOICE#:
            12582 DATE: 7/16/2019 Courtesy
            Copy delivery of Renewed Motion for
            Attorneys' Fees, Declaration and
            Exhibits (689 pages) to Judge Benitez
            in USDC Southern District for
            Flowrider Surf v. Pacific Surf
            Designs before NOON



8/14/2019   Airfare Costs VENDOR: Brahma,                  $345.96 2173116     x                      x
            Charanjit INVOICE#:
            3516303908141824 DATE: 8/14/2019
            Charanjit Brahma - Airfare, 06/06/19,
            Travel to San Diego, CA to attend pre-
            trial conference

8/14/2019   Airfare Costs VENDOR: Brahma,                    $7.00 2173116     x                      x
            Charanjit INVOICE#:
            3516303908141824 DATE: 8/14/2019
            Charanjit Brahma - Agent Fee,
            06/06/19, Travel to San Diego, CA to
            attend pre-trial conference

8/14/2019   Airfare Costs VENDOR: Brahma,                   $29.00 2173116     x                      x
            Charanjit INVOICE#:
            3516303908141824 DATE: 8/14/2019
            Charanjit Brahma - Change Ticket Fee,
            06/25/19, Travel to San Diego, CA to
            attend pre-trial conference




                                                                                      Defendant's Exhibit A-1                                                                    103
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                                                                                        203

    DATE               DESCRIPTION                    AMT         INV. NO.   2017    WW INV.      FR INV                Reason Why Cost Not Recoverable              Amount Not Recoverable

8/14/2019   Airfare Costs VENDOR: Brahma,                 $7.00 2173116      x                      x
            Charanjit INVOICE#:
            3471801008141824 DATE: 8/14/2019
            Charanjit Brahma - Agent Fee,
            06/06/19, Travel to San Diego to attend
            pretrial conference.
8/14/2019   Airfare Costs VENDOR: Brahma,                $29.00 2173116      x                      x      149
            Charanjit INVOICE#:
            3471801008141824 DATE: 8/14/2019
            Charanjit Brahma - Change Ticket Fee,
            06/21/19, Travel to San Diego to attend
            pre-trial conference.

8/14/2019   Hotel VENDOR: Brahma, Charanjit             $540.15 2173116      x                      x
            INVOICE#:3471801008141824 DATE:
            8/14/2019 Charanjit Brahma - Hotel -
            Lodging, 06/30/19, Travel to San Diego
            to attend pre-trial conference.

8/14/2019   Meals VENDOR: Brahma, Charanjit              $50.00 2173116      x                      x
            INVOICE#: 3471801008141824
            DATE: 8/14/2019 Charanjit Brahma -
            Hotel - Dinner, 06/30/19, Travel to San
            Diego to attend pre-trial conference
            Charanjit Brahma
9/2/2019    Litigation Costs VENDOR: Dauntless          $163.75 2173116      x                      x      S.D. Cal. No. 15-01879 ("2015 Action"), ECF No. 295   $                    163.75
            Legal Services, LLC INVOICE#:
            2586 DATE: 9/2/2019 Delivery of
            Judge's copies of filings and
            documents under seal in USDC
            Southern District

9/30/2019   Troutman Sanders eMerge -                  $9,738.82 2173116     x                      x
            eDiscovery/Legal Technology Fees




                                                                                    Defendant's Exhibit A-1                                                                    104
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                                                                                      203

    DATE               DESCRIPTION                   AMT          INV. NO.   2017    WW INV.      FR INV                Reason Why Cost Not Recoverable       Amount Not Recoverable

11/30/2019   Troutman Sanders eMerge -                $5,971.41 2195511      x                      x
             eDiscovery/Legal Technology Fees

                                         TOTAL      $180,981.95
                                                                                                           Total Requested                                $                 180,981.95
                                                                                                           Total Not Recoverable                          $                  31,240.97
                                                                                                           Total Recoverable                              $                 149,740.98




                                                                                    Defendant's Exhibit A-1                                                             105
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                             EXHIBIT B-1
                                           Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17826 Page 114 of
                                                                                 203

         A           B                                                             C                                                      D        E               F                        G                            H                           I                          J
1      DATE       BILLER                                    DESCRIPTION OF WORK PERFORMED                                                 HRS     AMT           INV. NO.          Reason Not Recoverable        Amount Not Recoverable         PSD COMMENTS                 REDUCE BY
     10/28/2019    TDM     Conference call with W. Kolegraff regarding status of case; Review complaint; Review cross-complaint and        5.00         $750 17069
2                          answer; Review patent '589.
3    10/28/2019    WJK     Review 589 patent; Review proposed pre-trial conference report.                                                 3.50     $1,750 17069
4    10/29/2019    KB      Review and prepare binders for pre-trial conference.                                                            0.25        $21 17069
     10/29/2019    WJK     Call with opposing counsel; Work on jury instructions; Communications with C. Brahma regarding                  4.25     $2,125 17069
5                          documents; Review and analyze pleadings.
6    10/30/2019     GT     Research regarding jury instructions and previous rulings.                                                      3.00      $750 17069
7    10/30/2019     KB     Review and prepare binders regarding patent and claim construction documents.                                   1.50      $128 17069
                   TDM     Draft notices to appear for J. Thomas, W. Kolegraff and G. Thomas; Review Troutman Sanders motion to            8.00     $1,200 17069
                           withdraw; Revise same; Retrieve claim construction documents for review; Retrieve pleadings from docket;
     10/30/2019            Draft contacts list; File notices to appear with the court; Review Whitewater's motion to retax costs;
                           Research and docket response and hearing dates; Review order of proof.
8
     10/30/2019    WJK     Team conference call; Attention to filing notices of appearance; Work on jury instructions; Communications      8.50     $4,250 17069
                           with C. Brahma regarding documents; Review and analyze invalidity report; Review Whitewater costs
                           brief; Discuss same with G. Thomas; Prepare a summary of trial approaches, causes of action and
                           witnesses.



9
     10/31/2019    GT      Attention to jury instructions; Attention to memorandum in regards to opposition to retax costs.                4.00     $1,000 17069           2015 Action                      $                     1,000.00 Will not dispute               1000
10
11   10/31/2019     KB     Create binders regarding both parties claim construction briefs with exhibits.                                  1.25      $106 17069
     10/31/2019    TDM     Create witness folders for trial; Review pre-trial order; Research local rules of court and judge's rules;      8.00     $1,200 17069
12                         Review trial exhibit list and objections thereto and witness summary.
     10/31/2019    WJK     Follow up regarding documents and notices to appear; Continue reviewing pleadings in the 3 cases.               3.25     $1,625 17069
13
     11/1/2019     LBW     Intake documents from prior counsel, Troutman Sanders; Review documents and prepare for attorney                1.00         $180 17073         Duplicative                      $                       180.00 Not duplicative. Two
                           review; Confer with trial team regarding same.                                                                                                                                                                  paralegals working on the
14                                                                                                                                                                                                                                         case.
     11/1/2019     TDM     Receive documents from WWI; Import to database; Receive documents from Troutman Sanders; Import                 8.50     $1,275 17073           Duplicative                                                     Not duplicative. Two
                           same to database; Review hearing transcript regarding pre-trial conference and calendar filing dates.                                                                                                           paralegals working on the
15                                                                                                                                                                                                                                         case.
16   11/1/2019     GT      Team call and research regarding invalidity.                                                                    3.50      $875 17073
                   JET     Review documents, exhibits and deposition testimony; Conduct trial preparations.                                8.00     $4,800 17073
     11/1/2019
17
     11/1/2019     KB      Continue to work on claim construction binders; Research court electronic records for pleadings regarding       1.50         $128 17073
18                         tax costs.
     11/1/2019     WJK     Team call and meeting regarding upcoming deadlines and trial strategy; Review motion regarding tax bill;        6.25     $3,125 17073
                           Several communications with opposing counsel; Attention to trial scheduling and docketing; Review and
                           analyze non-infringement position.

19
     11/2/2019     GT      Research regarding motion to retax costs.                                                                       1.25         $313 17073         2015 Action                      $                    17,073.00 Amt. is a typo. Will not       312.5
20                                                                                                                                                                                                                                         dispute the $313
     11/2/2019     WJK     Supplemental trial strategy document; Work on order of proof; Review and supplement the opposition              3.00     $1,500 17073
21                         regarding tax costs.
22   11/4/2019      GT     Daft opposition to motion to retax costs.                                                                      3.00       $750 17073            2015 Action                      $                       750.00 Will not dispute               750
     11/4/2019     LBW     Intake documents from prior counsel, Troutman Sanders; Review documents and prepare for attorney               6.00      $1,080 17073           Duplicative                      $                     1,080.00
23                         review; Confer with trial team regarding same.
     11/4/2019     WJK     Attention to obtaining electronic hand hard files from Troutman Sanders; Attention to notices of appearance;   6.25      $3,125 17073           Should be done by associate or   $                     1,562.50 Appropriate use of trial
                           Review online information on the judge and magistrate judge; Assist in extracting key fields from the                                           paralegal                                                       team as directed by J.
24
                           T t        S d       l t i fil                                                                                                                                                                                  Th
25   11/4/2019      JET    Review documents, exhibits and deposition testimony; Conduct trial preparations.                               8.00      $4,800 17073
     11/4/2019     TDM     Review correspondence; Retrieve One Legal receipt regarding filing.                                            1.00        $150 17073




26
27   11/5/2019      JET    Review documents, exhibits and deposition testimony; Conduct trial preparations.                               8.00      $4,800   17073
28   11/5/2019      KB     Review court docket; Load deposition transcripts and exhibits into case database.                              2.00        $170   17073
29   11/5/2019     LBW     Review documents and prepare for attorney review; Confer with trial team regarding same.                       3.50        $630   17073
30   11/5/2019      TB     Review and comment on opposition to motion to retax costs.                                                     1.00       $400    17073
     11/5/2019     TDM     Receive copies of notices to appear; Send same to team; Review documents received from Troutman                9.00      $1,350   17073
                           Sanders; Continue importing into database; Team meeting regarding newly received documents; Research
31
                           documents regarding invalidity/infringement contentions




                                                                                                                               Defendant's Exhibit B-1                                                                                                                1
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                                                                                 203

         A           B                                                            C                                                          D        E              F                       G                           H                           I                  J
1     DATE        BILLER                                   DESCRIPTION OF WORK PERFORMED                                                     HRS     AMT          INV. NO.         Reason Not Recoverable       Amount Not Recoverable         PSD COMMENTS         REDUCE BY
     11/5/2019     WJK     Research and review case law regarding an exception case; Review and analyze Pacific Surf Designs                  7.50      $3,750 17073
                           invalidity positions and the prior art; Supplement the order of proof; Attention to the cease and desist letter
                           to customer; Review documents and demonstratives from Pacific Surf Designs.
32
33   11/6/2019     GT      Continue to draft opposition to motion to retax costs.                                                             3.50        $875 17073         2015 Action                    $                       875.00 Will not dispute       875
34   11/6/2019     JET     Review documents, exhibits and deposition testimony; Conduct trial preparations.                                   8.00      $4,800 17073
     11/6/2019     KB      Create a printable copy of the court docket regarding the FlowRider case; Compile documents for trial              5.00        $425 17073
                           exhibit binders; Compile documents pertaining to each specific witness and create binders; Further work on
                           loading deposition transcripts and exhibits into database.
35
                   LBW     Review documents and prepare for attorney review; Confer with trial team regarding same.                           2.75       $495 17073
     11/6/2019
36
     11/6/2019     TDM     Research documents regarding invalidity/infringement contentions; Draft witness summary; Review trial             11.00      $1,650 17073
                           exhibits list; Review order of proof; Research proper timing of costs motion; Review cease and desist letter;
                           Prepare witness folders for trial; Draft jury instructions; Send same to team for review.
37
     11/6/2019     WJK     Prepare agenda for November 7th teleconference; Work on jury instructions; Work on witness statement;              8.00      $4,000 17073
                           Attention to cease and desist letter; Amend and supplement trial strategy document; Work on cross-
                           examination of G. Stevick; Prepare witness assignments; Attention to getting documents for Troutman
38                         Sanders.
39   11/7/2019      GT     Review jury instructions; Continue to draft opposition to motion to retax costs.                                   4.00      $1,000   17073       2015 Action                    $                     1,000.00 Will not dispute       1000
40   11/7/2019      JET    Review documents, exhibits and deposition testimony; Conduct trial preparations.                                   8.00      $4,800   17073
41   11/7/2019      KB     Continue work on witness binders; Continue to work on compiling trial exhibits for binders.                        5.75        $489   17073
                   LBW     Review documents and prepare for attorney review; Confer with trial team regarding same.                           2.00        $360   17073
     11/7/2019
42
     11/7/2019     TDM     Prepare documents for conference call; Attend conference call with C. Brahma, Y. Yeh and R. Alleshouse            11.00      $1,650 17073
                           regarding case status and pending items; Revise witness summary; Revise opposition to motion to re-tax
                           cost; Review local rules regarding documents to be filed for trial; Revise jury instructions.
43
     11/7/2019     WJK     Review and supplement the opposition to tax motion; Populate detail into stock jury instruction; Continue to       8.25      $4,125 17073
                           draft witness statement; Work on G. Stevick cross-examination; Attention to Whitewater cease and desist
44                         letter; Team conference call with C. Brahma.
45   11/8/2019     GT      Continue to draft opposition to motion to retax costs.                                                             3.00        $750 17073         2015 Action                    $                       750.00 Will not dispute       750
46   11/8/2019     JET     Review documents, exhibits and deposition testimony; Conduct trial preparations.                                   8.00      $4,800 17073
     11/8/2019     KB      Further work on witness binders compiling documents specific to witness; Continue to work on compiling             5.00        $425 17073
47                         documents for trial exhibit binders.
     11/8/2019     LBW     Prepare for and attend meeting with trial team; Begin work on cross examination outlines; Research                 5.75      $1,035 17073
                           document database for exhibits and testimony regarding same.
48
     11/8/2019     TDM     Review jury instructions regarding inequitable conduct; Revise same; Finalize witness summary and jury             9.50      $1,425 17073
49                         instructions for exchange with opposing counsel; Draft verdict form.
     11/8/2019     WJK     Amend and supplement jury instructions; Amend and supplement witness statement; Finalize jury                      7.50      $3,750 17073
                           instruction and witness statement for testimony; Attention to supplement interrogatories; Review expert
50                         report of R. Alleshouse regarding non-infringing alternatives.
     11/9/2019     WJK     Review deposition transcript and exhibits for E. Pribonic; Continue working on cross-examination of G.             4.75      $2,375 17073
51                         Stevick; Review documents received from opposing counsel.
     11/10/2019    TDM     Review documents received from opposing counsel; Convert witness summary and jury instructions into                1.00       $150 17073
52                         Word versions for opposing counsel.
     11/10/2019    WJK     Work on cross-examination of G. Stevick; Review trial exhibits; Work on order of proof for November 12th           4.50      $2,250 17073
53                         meeting.
54   11/11/2019    GT      Analyze plaintiff's jury instructions and prepare an analysis memo.                                                7.00      $1,750 17073
                   JET     Conference with experts regarding trial testimony and trial preparation; Prepare expert PowerPoint                 8.00      $4,800 17073
     11/11/2019
55                         presentations.
     11/11/2019    KB      Research database for expert reports and deposition transcripts; Continue to work on documents for witness         4.75       $404 17073
56                         binders.
                   LBW     Review deposition designations; Confer with trial team regarding same; Continue trial preparations.                6.75      $1,215 17073
     11/11/2019
57
58   11/11/2019    TDM     Review correspondence; Review jury instruction analysis.                                                           0.75       $113 17073
     11/11/2019    WJK     Prepare agenda for November 12th meeting; Contact and schedule all experts; Communication with                     9.50      $4,750 17073
                           opposing counsel; Detailed review of J. Carmichael deposition for identifying deposition designations;
                           Attention to supplemental interrogatories; Review Whitewater special jury instructions; Review Whitewater
                           witness summary; Communicate with Troutman Sanders regarding documents and access to electronic files.
59
60   11/12/2019    GT      Meeting with Y. Yeh and R. Alleshouse; Review and supplement interrogatories.                                      5.00      $1,250 17073




                                                                                                                               Defendant's Exhibit B-1                                                                                                        2
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        A            B                                                          C                                                         D        E              F                        G                            H                           I                          J
1      DATE       BILLER                                DESCRIPTION OF WORK PERFORMED                                                     HRS     AMT          INV. NO.          Reason Not Recoverable        Amount Not Recoverable         PSD COMMENTS                 REDUCE BY
                    JET    Conference with experts regarding trial testimony and trial preparation; Prepare expert PowerPoint              8.00      $4,800 17073
     11/12/2019            presentations.

61
     11/12/2019    KB      Compile pleadings for binders in preparation for meeting with opposing counsel; Further work on trial           2.25       $191 17073
62                         exhibit binders.
63   11/12/2019    LBW     Continue trial preparations; Prepare for and attend meeting with client.                                        4.50        $810 17073
     11/12/2019    TDM     Review document productions in Relativity; Meeting with Y. Yeh and R. Alleshouse regarding case status;        11.00      $1,650 17073
                           Receive documents from client; Prepare for production; Review comments to interrogatories responses;
64                         Research database for privilege logs; Prepare documents for meeting with counsel
     11/12/2019    WJK     Meet with R. Alleshouse, Y. Yeh, J. Thomas, G. Thomas,                                                          9.25      $4,625 17073
                           T. Mendiola and L. Wegener regarding case facts and strategies; Begin R. Alleshouse direct examination
                           outline; Finish review of the deposition of E. Squier; Review and supplement jury instruction.
65
     11/13/2019    TDM     Research emails regarding inequitable conduct; Research employment case documents; Review trial                 8.00      $1,200 17073         Alleshouse case                  $                     1,200.00 Review of the employment
                           exhibit list from opposing counsel; Attend to infringement contention documents; Attend to materials                                                                                                           case to understand any
                           received from client; Review for privilege; Research database for hand written notes from R. Alleshouse;                                                                                                       impact on this matter
                           Review trial exhibits for relevancy/duplication.
66
     11/13/2019    WJK     Final preparation for a meet and confer regarding trial readiness; Continue supplementing the direct            7.50      $3,750 17073         Should be done by associate or   $                     1,875.00 Appropriate use of trial
                           examination of R. Alleshouse; Attention to the exhibit list; Research and review case law regarding attorney                                   paralegal                                                       team as directed by J.
                           client privilege and inequitable conduct; Calls with B. McFarland.                                                                                                                                             Thomas
67
                   GT      Review and supplement interrogatories; Review research regarding privilege patent prosecution.                  6.00      $1,500 17073
     11/13/2019
68
69   11/13/2019     JET    Prepare for and attend meet and confer with opposing counsel; Continue trial preparation.                       8.00      $4,800 17073
70   11/13/2019     KB     Further work on compiling documents for trial exhibit binders.                                                  3.00        $255 17073
     11/13/2019    LBW     Continue trial preparations; Prepare documents for supplemental production; Confer with T. Mendiola             2.50        $450 17073
                           regarding same; Intake trial exhibits from opposing counsel; Prepare for and attend meeting with clients;
                           Coordinate additional documents for production with outside vendor.
71
72   11/14/2019    ENL     Review trial exhibits; Review pretrial conference order.                                                        2.25      $1,350 17073
73   11/14/2019    GT      Research and draft special jury instructions in regards to privilege patent prosecution.                        6.00      $1,500 17073
     11/14/2019    JET     Prepare draft opposition to motion to retax costs; Continue with W. Kolegraff and client regarding same;        9.00      $5,400 17073
                           Continue trial preparation.


74
                   KB      Create trial witness binders; Resume work on trial exhibit binders.                                             2.75       $234 17073

     11/14/2019

75
     11/14/2019    LBW     Continue trial preparations; Prepare documents for supplemental production; Confer with T. Mendiola             7.25      $1,305 17073
                           regarding same; Continue work on trial cross examinations; Update deposition designations; Confer with
76                         team regarding same.
     11/14/2019    TDM     Review trial exhibits for relevancy/duplication; Attend to materials received from client; Review for           8.00      $1,200 17073
77                         privilege; Review jury instructions received from opposing counsel.
     11/14/2019    WJK     Attention to supplemental interrogatories; Review exhibit list; Prepare agenda for meeting with B.              7.25      $3,625 17073
78                         McFarland; Draft and supplement the Pacific Surf Designs special jury instructions.
79   11/15/2019     GT     Review opposition to motion to retax costs.                                                                     4.00      $1,000 17073         2015 Action                      $                     1,000.00 Will not dispute               1000
80   11/15/2019     JET    Review exhibits and witness testimony; Prepare examination outlines.                                            8.00      $4,800 17073
     11/15/2019    LBW     Continue trial preparations; Prepare documents for supplemental production; Confer with T. Mendiola             9.00      $1,620 17073
81                         regarding same; Continue work on trial cross examinations.
82   11/15/2019     TB     Review/revise opposition to motion to retax costs.                                                              0.75       $300 17073
     11/15/2019    TDM     Review trial exhibits for relevancy/duplication; Revise trial exhibit list; Review supplemental production      9.00      $1,350 17073
                           documents for final; Revise opposition to motion to re-tax costs; Revise ninth supplemental responses to
                           interrogatories; Review protective order regarding confidential designation; Review prior case regarding
                           finding of inequitable conduct; Research PTO regarding patents unenforceable to related case; Review
                           documents received by opposing counsel; Prepare interrogatories response for service.
83
     11/15/2019    WJK     Review redactions to production documents; Review new production set from opposing counsel; Update              6.50      $3,250 17073
                           and supplement jury instructions; Update witness statements; Several communications with opposing
84                         counsel.
     11/16/2019    TDM     Update trial exhibit list with documents from supplemental production; Draft version to send to opposing        5.00       $750 17073
85                         counsel of same with deletions highlighted and revisions make.
     11/17/2019    LBW     Continue trial preparations; Confer with T. Mendiola regarding same; Continue work on trial cross               1.25       $225 17073
86                         examinations.




                                                                                                                            Defendant's Exhibit B-1                                                                                                                  3
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          A           B                                                             C                                                        D        E               F                 G                           H                          I                J
 1      DATE       BILLER                                  DESCRIPTION OF WORK PERFORMED                                                     HRS     AMT           INV. NO.   Reason Not Recoverable       Amount Not Recoverable        PSD COMMENTS       REDUCE BY
      11/17/2019    TDM     Review correspondence from opposing counsel; Prepare deposition designations for Y. Yeh and R.                    5.00         $750 17073
87                          Alleshouse for review.
88    11/18/2019     JET    Continue trial preparation.                                                                                       9.00     $5,400   17073
89    11/18/2019     KB     Prepare binders for meeting with E. Pribonic.                                                                     2.50       $213   17073
90    11/18/2019    LBW     Continue trial preparations; Continue work on trial cross examinations.                                           1.50       $270   17073
91    11/18/2019     TB     Review and comment on opposition to motion to retax costs.                                                        0.25      $100    17073
      11/18/2019    TDM     Receive documents from client regarding possible production; Review and finalize opposition to plaintiff's        8.50     $1,275   17073
                            motion to retax costs in 01879 case; Review designations regarding T. Gantz and D. Keim; Research
                            database for inventor or inventorship; Review plaintiff's joint submission regarding pretrial issues and joint
                            jury instructions; Send depositions and exhibits to clients.
92
      11/18/2019    WJK     Prepare counter designations for T. Gantz and D. Keim; Work with opposing counsel on description of               8.00     $4,000 17073
                            case; Meet and confer with opposing counsel; Research regarding inventorship; Object to voir dire
93                          questions; Attention to supplemental production.
      11/19/2019    JET     Prepare for pretrial conference and exchange of documents; Review exhibits and depositions and prepare            8.00     $4,800 17073
94                          for trial.
95    11/19/2019     KB     Continue to work on binders for meeting with E. Pribonic.                                                         1.25      $106 17073
96    11/19/2019    LBW     Continue trial preparations; Continue work on trial cross examinations.                                           2.50       $450 17073
      11/19/2019    TDM     Prepare documents for E. Pribonic witness preparation meeting; Revise special jury instructions; Research        11.00     $1,650 17073
                            database for exhibits KR and KS; Review privilege logs received from Troutman Sanders: Review and
                            approve joint pretrial documents from plaintiff; Review documents from client regarding possible use at
97                          trial.
      11/19/2019    WJK     Finalize trial submissions for filing; Prepare joint statements; Attention to J. Carmichael; Draft, review and    8.00     $4,000 17073
                            supplement special jury instructions; Calls with C. Brahma regarding documents; Draft direct examination
                            for B. McFarland; Meeting with E. Pribonic.



98
                    ENL     Attend trial preparation meeting; Review E. Squier deposition transcripts and exhibits; Review documents          4.75     $2,850 17073                                    $                     1,425.00 Reasonable
      11/20/2019
 99                         redacted based on privilege.
100   11/20/2019    JET     Review exhibits and witness testimony; Prepare examination outlines.                                              8.00     $4,800 17073
      11/20/2019    KB      Review and organize electronic documents.                                                                         2.50       $213 17073


101
      11/20/2019    LBW     Continue trial preparations; Prepare for and attend team trial strategy meeting; Continue work on trial cross     5.50         $990 17073
102                         examinations.
      11/20/2019    TB      Participation in trial preparation meeting; Review various pleadings and case materials; Begin work on            8.00     $3,200 17073
103                         damages analysis and witness outlines.
      11/20/2019    TDM     Review and revise R. Alleshouse witness outline; Team meeting regarding status of case and trial witness         11.00     $1,650 17073
                            outlines; Review Y. Yeh depositions and exhibits; Begin drafting direct examination outline of same.
104
      11/20/2019    WJK     Supplement direct examination for B. McFarland and send to same for review; Prepare direct examination            8.00     $4,000 17073
                            outline for E. Pribonic; Supplement direct examination for R. Alleshouse; Team trial preparation meeting.
105
106   11/21/2019    KB      Continue to review and organize electronic documents.                                                             3.25      $276 17073
      11/21/2019    TB      Review/analyze R. Vigil expert report; Review R. Vigil deposition transcript; Analysis regarding patent           7.75     $3,100 17073
                            litigation damages and application of Georgia-Pacific factors; Work on cross-examination outline of R.
107                         Vigil.
      11/21/2019    TDM     Review Y. Yeh depositions and exhibits; Continue drafting direct examination outline of same; Review             11.00     $1,650 17073
                            supplemental document production for exhibits to use at trial; Review local rules regarding trial brief
108                         requirements.
                    WJK     Draft and supplement trial brief; Work on trial exhibits; Prepare direct examination for Y. Yeh; Trial            8.00     $4,000 17073
      11/21/2019
109                         preparation.
      11/22/2019    ENL     Review complaint and answer counter-claim; Review defendant's motion to compel on privilege instructions          3.00     $1,800 17073
110                         and magistrate's ruling.
      11/22/2019    JET     Prepare draft reply brief to motion to retax costs; Prepare exhibit list and witness list for exchange; Review    8.00     $4,800 17073
111                         deposition transcripts.
      11/22/2019    KB      Continue to review and organize electronic documents; Review files and process deposition transcript;             2.00         $170 17073
112                         Prepare and organize documents for trial.
      11/22/2019    LBW     Continue trial preparations; Prepare for and attend team trial strategy meeting; Continue work on trial cross     8.00     $1,440 17073
113                         examinations.
      11/22/2019    TB      Work on cross-examination outline of R. Vigil; Review motion for summary adjudication and motion in               7.25     $2,900 17073
                            limine regarding testimony of R. Vigil; Address issues regarding damages and application of Georgia-
114                         Pacific factors.




                                                                                                                               Defendant's Exhibit B-1                                                                                                  4
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          A           B                                                          C                                                            D        E              F                       G                           H                           I                  J
 1      DATE       BILLER                                 DESCRIPTION OF WORK PERFORMED                                                       HRS     AMT          INV. NO.         Reason Not Recoverable       Amount Not Recoverable         PSD COMMENTS         REDUCE BY
      11/22/2019    TDM     Review Y. Yeh depositions and exhibits; Finalize direct examination outline of same; Review plaintiff's            8.00      $1,200 17073
                            email regarding the supplemental production; Research specific "belatedly produced" documents; Prepare
                            draft of same; Send to team for review; Begin drafting trial brief; Prepare designations of Y. Yeh and R.
                            Alleshouse designated by plaintiff for review; Review designations of same.
115
      11/22/2019    WJK     Work on exhibits and exhibit list; Update all direct examinations; Call with B. McFarland; Update                  8.00      $4,000 17073
116                         deposition designations and prepare objections; Trial preparation.
117   11/23/2019    LBW     Continue trial preparations; Prepare documents for client review.                                                  5.00       $900 17073
      11/23/2019    TDM     Review additions and objections to designations for T. Gantz and D. Keim; Draft responses to R. Scott;             9.50      $1,425 17073
                            Send same for review; Draft list of counter designation for same; Communications with clients regarding
                            supplemental production; Review counter designation to Y. Yeh and R. Alleshouse; Prepare response
                            regarding same; Review spreadsheet from R. Alleshouse regarding supplemental production documents for
                            use at trial.
118
                    WJK     Supplement direct examinations; Read deposition transcripts to prepare for cross-examinations.                     6.25      $3,125 17073
      11/23/2019
119
      11/24/2019    TDM     Review spreadsheet from R. Alleshouse regarding supplemental production documents for use at trial; Add           10.00      $1,500 17073
                            same to trial exhibit list; Send responses to deposition designations to R. Scott; Review database for relevant
                            emails or documents regarding inequitable conduct and the maintenance fee of the '589 patent; Prepare link
                            to trial exhibits and spreadsheet for clients; Review and revise R. Alleshouse and Y. Yeh trial witness
                            outlines with additions/comments; Review G. Chutter deposition; Begin drafting cross-examination outline.

120
      11/24/2019    WJK     Trial preparation; Supplement direct examinations; Attention to exhibits and exhibit list; Review supplement       5.50      $2,750 17073
121                         production.
      11/25/2019    ENL     Review initial draft motion in limine to preclude testimony on "unintentional delay" blocked by privilege          3.25      $1,950 17073
122                         instruction; Review applicable case law regarding same.
      11/25/2019    GT      Draft motion to allow electric equipment/demonstrative evidence and proposed order; Review and edit jury           8.00      $2,000 17073
                            verdict form; Research regarding motion in limine to exclude privileged evidence.
123
      11/25/2019    JET     Finalize reply brief to motion to retax cost; Prepare exhibit list and witness list for exchange; Review           8.00      $4,800 17073
                            deposition transcripts.

124
      11/25/2019    KB      Review and prepare deposition transcripts binder for trial; Prepare trial exhibits for witness binders.            3.25       $276 17073
125
      11/25/2019    LBW     Continue trial preparations; Prepare additional documents for production; Confer with T. Mendiola                 10.00      $1,800 17073
126                         regarding same; Confer with team regarding motions in limine.
      11/25/2019    TB      Work on cross-examination outline of R. Vigil; Review J. Lewis deposition transcript; Work on direct               7.50      $3,000 17073
127                         examination outline of J. Lewis.
      11/25/2019    TDM     Review documents for possible production; Review trial exhibits list; Review M. Myrman witness outline;           13.00      $1,950 17073
                            Meeting with team regarding case status; Continue drafting trial brief; Review motion to bring in electronics
                            into court room; Draft proposed order regarding same; Conference call with clients regarding supplemental
                            production documents; Revise verdict form; Review G. Chutter deposition.
128
      11/25/2019    WJK     Review and supplement cross-examination outlines for M. Myrman and G. Chutter; Review supplemental                 6.25      $3,125 17073
                            production; Meeting with B. McFarland; Review and supplement trial brief; Trial preparation.
129
      11/26/2019    GT      Draft motion in limine to exclude privilege evidence; Draft responses to objections to opposition to motion        9.50      $2,375 17073         2015 Action                    $                     2,375.00 Will not dispute       2375
                            to retax costs; Review and edit jury verdict form; Draft E. Pribonic direct outline.
130
      11/26/2019    ENL     Review draft R. Vigil cross-examination outline; Begin preparation of E. Squier adverse direct examination;        5.50      $3,300 17073
131                         Review trial briefs.
132   11/26/2019     JET    Review pretrial filings and prepare for document exchange; Continue trial preparation.                             8.00      $4,800 17073
133   11/26/2019     KB     Continue to prepare and organize documents for trial.                                                              6.00        $510 17073
      11/26/2019    LBW     Continue trial preparations; Prepare additional documents for production; Confer with T. Mendiola                  9.00      $1,620 17073
134                         regarding same; Review and revise trial exhibit list.
                    TB      Work on cross-examination outline of R. Vigil; Work on direct examination outline of J. Lewis.                     8.50      $3,400 17073
      11/26/2019
135
      11/26/2019    TDM     Research database for R. Vigil's exhibit 11; Review G. Chutter deposition; Continue drafting cross-               13.00      $1,950 17073
                            examination outline; Review trial exhibit list; Revise same; Review objections filed by plaintiff in 01879
                            case; Prepare response regarding same; Draft notice to appear for J. Thomas regarding same case; File
                            response and notice to appear with court; Prepare agenda for meet and confer with R. Scott; Attend meet
                            and confer with R. Scott, J. Thomas and W. Kolegraff; Finalize trial brief; Send same for review; Prepare
                            for filing; Draft order of proof; Draft recap of meet and confer with R. Scott and pending items as well as
                            verbal agreements made during the meet and confer.
136




                                                                                                                               Defendant's Exhibit B-1                                                                                                         5
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          A           B                                                           C                                                       D        E              F                       G                                  H                           I                        J
 1      DATE       BILLER                                 DESCRIPTION OF WORK PERFORMED                                                   HRS     AMT          INV. NO.         Reason Not Recoverable              Amount Not Recoverable         PSD COMMENTS               REDUCE BY
      11/26/2019    WJK     Meet with E. Pribonic; Finalize trial brief; Work on supplemental productions; Work on exhibit list;           8.50      $4,250 17073
                            Supplement direct- examination outlines; Continue reading deposition transcripts; Trial preparation.
137
138   11/27/2019    ENL     Prepare adverse direct examination of E. Squier.                                                               6.25      $3,750   17073
139   11/27/2019    GT      Continue to draft jury verdict form; Review jury instructions.                                                 4.50      $1,125   17073
140   11/27/2019    JET     Prepare opening statement and witness examination outlines.                                                    8.00      $4,800   17073
      11/27/2019    KB      Prepare binders of witness outlines, trial briefs and pleadings; Continue to prepare and organize documents    7.00        $595   17073
141                         for trial.
      11/27/2019    LBW     Continue trial preparations; Prepare additional documents for production; Confer with T. Mendiola             10.50      $1,890 17073
142                         regarding same; Review and revise trial exhibit list.
      11/27/2019    TB      Telephone call from B. Mazur (Ocean Tomo) regarding damages issues; Review J. Lewis draft direct               7.00      $2,800 17073
                            outline and develop additional points for R. Vigil cross-examination and J. Lewis direct examination.
143
      11/27/2019    TDM     Review plaintiff's trial brief; Review maintenance fee timeline prepared by Y. Yeh; Prepare revised            8.00      $1,200 17073
                            deposition designations for R. Alleshouse and Y. Yeh re-designated by plaintiff; Provide detailed response
                            to plaintiff's concerns regarding November 15 supplemental production; Prepare materials for war room;
144                         Continue drafting G. Chutter witness outline.
                    WJK     Discussions with E. Pribonic; Review Whitewater's trial brief; File Pacific Surf Designs trial brief; Trial    4.25      $2,125 17073
      11/27/2019
145                         preparation.
146   11/29/2019     JET    Review deposition testimony and prepare cross-examination outlines for trial.                                  8.00      $4,800   17073
147   11/29/2019    LBW     Continue trial preparations.                                                                                   3.50        $630   17073
148   11/29/2019    TDM     Prepare items for war room.                                                                                    2.00        $300   17073
      11/29/2019    WJK     Prepare opening; Prepare T. Lochtefeld cross outline; Begin cross-examination outline for G. Stevick; Trial    7.50      $3,750   17073
149                         preparation.
150   11/30/2019     JET    Review deposition testimony and prepare cross-examination outlines for trial.                                  8.00      $4,800   17073
151   11/30/2019    LBW     Continue trial preparations.                                                                                   3.50        $630   17073
152   11/30/2019    TDM     Travel to San Diego for trial; Set up items for war room; Trial preparation.                                  10.00      $1,500   17073
      11/30/2019    WJK     Continue to supplement the opening; Continue to supplement the T. Lochtefeld cross-examination outline;        5.50      $2,750   17073
                            Continue to supplement the cross-examination outline for G. Stevick; Trial preparation.
153
154   12/1/2019      JET    Prepare opening statement and witness examination outlines.                                                   10.00      $6,000   17100
155   12/1/2019     LBW     Continue trial preparations.                                                                                   3.00        $540   17100
156   12/1/2019     TDM     Trial preparation.                                                                                            15.00      $2,250   17100
      12/1/2019     WJK     Amend and supplement trial designations; Arrive at and set up war room at the Omni Hotel; Supplement           8.00      $4,000   17100
                            opening; Prepare animations for opening; Review same with J. Thomas; Numerous communications with
                            opposing counsel; Incorporate client comments into opening.
157
                    GT      Research regarding opposition to motion.                                                                       5.50      $1,375 17100         Opp to MIL No. 5 (Filed After Court   $                     1,375.00 The opposition was filed
      12/2/2019                                                                                                                                                           Decided)                                                             and necessary in case of
158                                                                                                                                                                                                                                            appeal
      12/2/2019     ENL     Revise privilege motion in limine; Prepare notice of motion regarding same; Prepare exhibits                   6.50      $3,900 17100         Should be done by associate; Opp to   $                     3,900.00 The opposition was filed
                            regarding same; Review plaintiff's motion in limine regarding settlement communications.                                                      MIL No. 5 (Filed After Court                                         and necessary in case of
159                                                                                                                                                                       Decided)                                                             appeal
      12/2/2019     TB      Review materials from J. Lewis; Work on outline of direct examination; Review plaintiff's motion in            7.50      $3,000 17100         Should be done by associate; Opp to   $                     3,000.00 The opposition was filed
                            limine regarding purported settlement communications; Develop arguments for opposition;                                                       MIL No. 5 (Filed After Court                                         and necessary in case of
                            Research case law regarding FRE 408 and evidentiary issues; Work on opposition to motion in                                                   Decided)                                                             appeal
                            limine.
160
                    JET     Finalize witness preparation, exhibits and meet in court regarding demonstrative and documents.               10.00      $6,000 17100
      12/2/2019
161
162   12/2/2019     LBW     Continue trial preparations; Research regarding motions in limine.                                             6.75      $1,215 17100
163   12/2/2019     TDM     Trial preparation.                                                                                            18.00      $2,700 17100
      12/2/2019     WJK     Work with J. Thomas and team on finalizing opening; Attention to exhibit list; Supplement cross outline for   10.00      $5,000 17100
                            G. Stevick; Review motion to preclude settlement communications; Review opening statements from
                            Whitewater; Attend courtroom walk through and setup of courtroom exhibits.
164
                    GT      Research regarding opposition to motion.                                                                       8.00      $2,000 17100         Opp to MIL No. 5 (Filed After Court   $                     2,000.00 The opposition was filed
      12/3/2019                                                                                                                                                           Decided)                                                             and necessary in case of
165                                                                                                                                                                                                                                            appeal
                    LBW     Support trial team; Coordinate with vendors for court filings and courtesy copies; Review and revise           5.75      $1,035 17100         Opp to MIL No. 5 (Filed After Court                                  The opposition was filed
      12/3/2019             motion in limine.                                                                                                                             Decided)                                                             and necessary in case of
166                                                                                                                                                                                                                                            appeal
                    ENL     Review plaintiff's response to privilege motion in limine and outline reply; Review and revise                 6.00      $3,600 17100         Should be done by associate; Opp to   $                     3,600.00 The opposition was filed
      12/3/2019             response to plaintiff's settlement motion in limine.                                                                                          MIL No. 5 (Filed After Court                                         and necessary in case of
167                                                                                                                                                                       Decided)                                                             appeal




                                                                                                                            Defendant's Exhibit B-1                                                                                                                       6
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         A            B                                                            C                                                        D        E              F                         G                                H                              I                       J
 1      DATE       BILLER                                   DESCRIPTION OF WORK PERFORMED                                                   HRS     AMT          INV. NO.         Reason Not Recoverable              Amount Not Recoverable        PSD COMMENTS                  REDUCE BY
                     TB     Work on opposition to plaintiff's motion in limine regarding purported settlement communications;                8.50      $3,400 17100         Should be done by associate; Opp to   $                     1,700.00 The opposition was filed
                            Review J. Lewis deposition transcript and work on direct examination outline; Review/revise slide deck for                                      MIL No. 5 (Filed After Court                                         and necessary in case of
      12/3/2019
                            direct examination; Review/revise R. Vigil cross-examination outline; Telephone conference with J. Lewis                                        Decided)                                                             appeal
168                         regarding outline and testimony.
169   12/3/2019      JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400 17100
170   12/3/2019     TDM     Trial preparation.                                                                                              18.00      $2,700 17100
                    WJK     Appear at trial for voir dire and opening statements; Communications with B. McFarland and E. Pribonic          16.00      $8,000 17100
      12/3/2019             regarding scheduling; Supplement cross exam outlines for G. Stevick and T. Lochtefeld.
171
                    ENL     Review rule 50 and outline JMOL memo; Review and revise JMOL memo.                                               4.75      $2,850 17100         Should be done by associate or        $                       1,425.00 Appropriate use of trial
      12/4/2019                                                                                                                                                             paralegal                                                              team as directed by J.
172                                                                                                                                                                                                                                                Thomas
                    TB      Review FRCP 59 and 60 standards and local rules regarding JMOL procedures; Review Ninth                          7.50      $3,000 17100         Should be done by associate or        $                       1,500.00 Appropriate use of trial
                            Circuit law regarding JMOL; Prepare summary and analysis of JMOL standards; Work on motion                                                      paralegal                                                              team as directed by J.
      12/4/2019             for judgment as a matter of law; Email correspondence to/from R. Mazur regarding J. Lewis direct                                                                                                                       Thomas
                            examination outline and slide deck; Address J. Lewis comments on R. Vigil cross-examination outline;
173                         Review/revise R. Vigil cross-examination outline.
174   12/4/2019      GT     Research regarding JMOL and jury instructions.                                                                   7.75      $1,938   17100
175   12/4/2019      JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
176   12/4/2019     LBW     Support trial team; Review and revise cross examination outlines.                                                3.50        $630   17100
177   12/4/2019     TDM     Trial preparation.                                                                                              18.00      $2,700   17100
                    WJK     Appear at trial; Trial preparation; Take cross and re-cross examinations of T. Lochtefeld; Take cross and re-   12.00      $6,000   17100
      12/4/2019             cross examinations of G. Stevick; Work on direct outlines for R. Alleshouse and E. Pribonic.
178
                    ENL     Research regarding appellate review of JMOL decisions in IP context; Review and revise summary                   4.25      $2,550 17100         Should be done by associate or        $                       2,550.00 Appropriate use of trial
      12/5/2019             outline regarding JMOL agreement.                                                                                                               paralegal                                                              team as directed by J.
179                                                                                                                                                                                                                                                Thomas
180   12/5/2019      GT     Research regarding JMOL motion and standard of review.                                                           6.25      $1,563   17100
181   12/5/2019      JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
182   12/5/2019     LBW     Support trial team; Review and revise cross examination outlines.                                                3.75        $675   17100
                     TB     Review R. Vigil demonstratives and discuss with J. Lewis; Review/revise infringement causes of action and        6.50      $2,600   17100
                            elements for JMOL motion; Telephone conference with J. Lewis regarding rebuttal points to R. Vigil
      12/5/2019
                            demonstrative exhibits; Prepare summary of rebuttal points to raise on R. Vigil cross-examination.
183
184   12/5/2019     TDM     Trial preparation.                                                                                              18.00      $2,700   17100
185   12/5/2019     WJK     Prepare for and attend trial; Prepare R. Alleshouse for direct examination.                                     10.00      $5,000   17100
186   12/6/2019      GT     Draft jury instructions and jury verdict form.                                                                   7.75      $1,938   17100
187   12/6/2019      JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
188   12/6/2019     LBW     Support trial team.                                                                                              2.50        $450   17100
189   12/6/2019      TB     Work with J. Lewis on direct examination outline; Review and comment on slide deck.                              2.25       $900    17100
190   12/6/2019     TDM     Trial preparation.                                                                                              15.00      $2,250   17100
191   12/6/2019     WJK     Prepare for and attend trial; Take direct examination of R. Alleshouse.                                          8.00      $4,000   17100
192   12/7/2019      GT     Research regarding patent specification cannot broaden patent claims.                                            2.50        $625   17100
193   12/7/2019     LBW     Support trial team; Review and revise expert outlines.                                                           3.00        $540   17100
                     TB     Review and comment on J. Lewis slide deck and incorporate topics from R. Vigil trial testimony transcript.       1.50        $600   17100
      12/7/2019
194
195   12/7/2019     TDM     Trial preparation.                                                                                              12.00      $1,800 17100
                    WJK     Prepare E. Pribonic for direct examination; Complete final draft of the direct examination of E. Pribonic;      10.00      $5,000 17100
                            Route same to team for comment and review; Communications with B. McFarland; Supplement the direct
      12/7/2019
                            exam outline for B. McFarland; Review case law regarding claim analysis.
196
197   12/8/2019      GT     Research regarding patent specification cannot broaden patent claims.                                            3.00        $750   17100
198   12/8/2019      JET    Prepare closing argument and witness preparation.                                                               10.00      $6,000   17100
199   12/8/2019     TDM     Trial preparation.                                                                                              12.00      $1,800   17100
                    WJK     Review demonstratives made by R. Alleshouse; Supplement closing PowerPoint preparation.                         10.00      $5,000   17100
      12/8/2019
200
201   12/9/2019      GT     Draft and review jury verdict form.                                                                              4.00      $1,000 17100
202   12/9/2019      JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400 17100
      12/9/2019     LBW     Support trial team; Update trial exhibits; Review and revise special jury instructions for filing; File same.    7.25      $1,305 17100
203
                    TB      Review and comment on Whitewater's proposed draft verdict form; Address issues regarding dependent               0.75       $300 17100
      12/9/2019
204                         and independent claims.
205   12/9/2019     TDM     Trial preparation.                                                                                              17.00      $2,550 17100
                    WJK     Meet with E. Pribonic to prepare for direct examination; Call with B. McFarland to review direct                14.00      $7,000 17100
      12/9/2019             examination; Finalize direct examination outline for B. McFarland; Supplement direct examination outline
206                         for Y. Yeh; Prepare demonstratives for E. Pribonic.
207   12/10/2019    GT      Prepare for and attend trial; Draft jury verdict form.                                                          11.00      $2,750 17100




                                                                                                                                Defendant's Exhibit B-1                                                                                                                       7
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          A           B                                                            C                                                        D        E                F                        G                              H                           I                          J
 1      DATE       BILLER                                   DESCRIPTION OF WORK PERFORMED                                                   HRS     AMT            INV. NO.          Reason Not Recoverable          Amount Not Recoverable         PSD COMMENTS                 REDUCE BY
208   12/10/2019     JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
209   12/10/2019    LBW     Support trial team; Review and revise verdict form; Confer with team regarding same.                             2.50        $450   17100
210   12/10/2019     TB     Review and comment on proposed jury verdict form.                                                                0.50       $200    17100
211   12/10/2019    TDM     Trial preparation.                                                                                              18.00      $2,700   17100
                    WJK     Appear at trial; Trial preparation; Take direct examination of B. McFarland; Final preparation for the direct   10.00      $5,000   17100
      12/10/2019
212                         examination of E. Pribonic.
213   12/11/2019     GT     Prepare for and attend trial.                                                                                   10.00      $2,500   17100
214   12/11/2019     JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
215   12/11/2019    TDM     Trial preparation.                                                                                              12.00      $1,800   17100
216   12/11/2019    WJK     Appear at trial; Trial preparation; Take direct examination of E. Pribonic.                                      8.00      $4,000   17100
217   12/12/2019     JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400   17100
                    LBW     Support trial team; Search document database regarding expert reports; Confer with team regarding same.          2.25        $405   17100
      12/12/2019
218
219   12/12/2019    TDM     Trial preparation.                                                                                               9.00      $1,350 17100
220   12/12/2019    WJK     Appear at trial; Trial preparation; Comment on verdict form.                                                    14.00      $7,000 17100
      12/12/2019    WSS     Corporate research regarding Lightwave, Bladeloch and Waveloch; Emails to J. Thomas, W. Kolegraff and            1.50        $600 17100
221                         G. Thomas regarding same.
222   12/13/2019     JET    Prepare for and appear at trial; Meet with clients and witnesses.                                               14.00      $8,400 17100
                    LBW     Support trial team; Prepare closing slides for verdict form; Confer with trial team regarding same.              3.75        $675 17100
      12/13/2019
223
224   12/13/2019    TDM     Trial preparation.                                                                                              11.00      $1,650 17100
225   12/13/2019    WJK     Trial preparation.                                                                                              14.00      $7,000 17100
      12/13/2019    WSS     Corporate research regarding Lightwave, Ltd.; Confer with                                                        1.00        $400 17100
                            G. Thomas regarding same.




226
227   12/14/2019    TDM     Trial preparation.                                                                                               8.00      $1,200 17100
      12/14/2019    WJK     Prepare final for the cross-examination of G. Stevick regarding invalidity; Work with J. Thomas regarding       10.00      $5,000 17100
                            inequitable conduct and the examination of E. Squier; Supplement closing and prepare animations and
228                         demonstratives for same.
      12/15/2019    JET     Finalize closing arguments and witness examination of E. Squier and G. Stevick.                                 10.00      $6,000 17100
229
230   12/15/2019    TDM     Trial preparation.                                                                                              13.00      $1,950 17100
      12/15/2019    WJK     Prepare final for the cross-examination of G. Stevick regarding invalidity; Work with J. Thomas regarding       10.00      $5,000 17100
                            inequitable conduct and the examination of E. Squier; Supplement closing and prepare animations and
231                         demonstratives for same.
232   12/16/2019     GT     Prepare for and attend trial.                                                                                   10.00      $2,500   17100
233   12/16/2019     JET    Prepare for and appear at trial; Closing arguments and jury deliberations.                                      14.00      $8,400   17100
234   12/16/2019    LBW     Support trial team; Prepare additional trial exhibits; Confer with team regarding same.                          2.75        $495   17100
235   12/16/2019    TDM     Trial preparation.                                                                                              18.00      $2,700   17100
236   12/16/2019    WJK     Appear at trial; Trial preparation; Finalize closing.                                                           10.00      $5,000   17100
237   12/17/2019     GT     Attend trial; Await jury verdict.                                                                               10.00      $2,500   17100
238   12/17/2019     JET    Attend court proceedings and jury deliberations.                                                                 8.00      $4,800   17100
239   12/17/2019    TDM     Trial preparation.                                                                                              18.00      $2,700   17100
      12/17/2019    WJK     Attend trial for closing statements; Wait for verdict; Team discussion regarding post trial proceedings.         8.00      $4,000   17100
240
241   12/18/2019    JET     Attend court proceedings and jury deliberations.                                                                 8.00      $4,800 17100
      12/18/2019    WJK     Attend trial to wait for and hear verdict; Team discussion regarding next offensive steps; Communications        8.00      $4,000 17100
242                         with E. Pribonic.
                    GT      Await jury verdict.                                                                                              9.00      $2,250 17100           Verdict Received on December 18,   $                     2,250.00 Will not dispute               2250
      12/19/2019
243                                                                                                                                                                           2019
      12/19/2019    JET     Attend court proceedings and jury deliberations.                                                                 8.00      $4,800 17100           Verdict Received on December 18,   $                     4,800.00 Will not dispute               4800
244                                                                                                                                                                           2019
245   12/19/2019    TDM     Unload war room; Review draft press release; Attend to final documents filed by the court.                       8.00      $1,200 17100
      12/19/2019    WJK     Team discussions regarding next steps; Legal research and review into the exceptional case standard; Tear        6.00      $3,000 17100
246                         down war room.
      12/20/2019    JET     Team discussions regarding next steps; Legal research and review into the exceptional case standard;             4.25      $2,550 17100           Should be done by associate or     $                     1,275.00 Appropriate use of trial
                            Attention to post-trial clean up and organization.                                                                                                paralegal                                                         team as directed by J.
247                                                                                                                                                                                                                                             Thomas
      12/20/2019    WJK     Team discussions regarding next steps; Legal research and review into the exceptional case standard;             4.25      $2,125 17100           Should be done by associate or     $                     1,062.50 Appropriate use of trial
                            Attention to post-trial clean up and organization.                                                                                                paralegal                                                         team as directed by J.
248                                                                                                                                                                                                                                             Thomas
249   12/20/2019    GT      Research regarding exceptional case attorneys fees.                                                              3.75       $938 17100




                                                                                                                             Defendant's Exhibit B-1                                                                                                                       8
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          A           B                                                          C                                                        D        E               F                        G                                   H                           I                        J
 1      DATE       BILLER                                DESCRIPTION OF WORK PERFORMED                                                    HRS     AMT           INV. NO.          Reason Not Recoverable               Amount Not Recoverable         PSD COMMENTS               REDUCE BY
      12/23/2019     GT     Research regarding exceptional case attorneys fees; File motion to consider evidence outside of the jury's     3.00         $750 17100
250                         advisory ruling.
      12/23/2019    LBW     Research regarding exceptional patent cases and when to file for exceptional case attorneys' fees.             2.50         $450 17100
251
252   12/30/2019    TDM     Draft proposed judgment.                                                                                       3.00       $450 17100
253    1/2/2020      GT     Attention to motion to enter judgment.                                                                         5.00     $1,250 17113
       1/2/2020      JET    Prepare motion to enter judgment; Review trial transcripts and conduct legal and factual analysis regarding    8.00     $4,800 17113
254                         same.
       1/2/2020     LBW     Research regarding proposed judgment; Communicate with team regarding same; Review and revise                  1.50         $270 17113
255                         proposed judgment.
256    1/2/2020     TDM     Draft proposed judgment order, notice and motion to enter judgment.                                            8.00     $1,200 17113
257    1/3/2020      GT     Attention to review of motion to enter judgment.                                                               1.00       $250 17113
       1/3/2020      JET    Prepare motion to enter judgment; Review transcripts and conduct legal and factual analysis regarding          8.00     $4,800 17113
258                         same.
259    1/3/2020     TDM     Research supporting evidence for motion to enter judgment.                                                     8.00     $1,200 17113
       1/3/2020     WJK     Prepare outline for motion to enter judgment; Organize and review trial transcripts to support motion.         4.00     $2,000 17113
260
       1/4/2020     TDM     Prepare trial transcripts and PowerPoint per M. Martello.                                                      1.00         $150 17113         Wrong case? Mike Martello not an        $                       150.00 Correct case; M. Martello
                                                                                                                                                                           attorney of record in this action; no                                  supported matter from our
                                                                                                                                                                           pending proceedings in this action                                     Irvine office
261
       1/6/2020     WJK     Draft and supplement the motion to enter judgment; Team meeting to review same; Legal research on              6.50     $3,250 17113           Should be done by associate or          $                     1,625.00 Appropriate use of trial
                            patent misuse; Review and analysis case law on patent law and inequitable conduct; Research regarding                                          paralegal                                                              team as directed by J.
262                         process to file motion for entry of judgment.                                                                                                                                                                         Thomas
       1/6/2020     GT      Review motion to enter judgment; Meeting regarding same; Research regarding patent misuse.                     6.50     $1,625 17113
263
       1/6/2020     JET     Review trial transcripts and conference with team regarding judgment; Meet with clients and witnesses.         9.00     $5,400 17113
264
       1/6/2020     TDM     Team meeting regarding motion to enter judgment; Revise and reroute draft of motion to team.                   8.00     $1,200 17113
265
       1/7/2020     JET     Review trial transcripts and conference with team regarding judgment; Meet with clients and witnesses.         9.00     $5,400 17113           Duplicative                             $                     5,400.00 Not duplicative work.
                                                                                                                                                                                                                                                  Tasks extended over 2
266                                                                                                                                                                                                                                               days
       1/7/2020     WJK     Review and supplement motion for entry of judgment; Find trial citations; Further research on patent           5.50     $2,750 17113           Should be done by associate or          $                         2.75 Appropriate use of trial
                            misuse.                                                                                                                                        paralegal                                                              team as directed by J.
267                                                                                                                                                                                                                                               Thomas
268    1/7/2020      GT     Research regarding patent misuse; Draft brief regarding patent misuse.                                         5.75     $1,438 17113
269    1/7/2020     TDM     Review trial transcripts for supporting citations for motion to enter judgment.                                8.00     $1,200 17113
       1/8/2020     WJK     Review and supplement motion for entry of judgment; Select trial citations; Further research on patent         5.00     $2,500 17113           Should be done by associate or          $                     1,250.00 Appropriate use of trial
                            misuse; Find and insert trial exhibits.                                                                                                        paralegal                                                              team as directed by J.
270                                                                                                                                                                                                                                               Thomas
271    1/8/2020      GT     Draft and review motion to enter judgment.                                                                     5.25     $1,313 17113
       1/8/2020     TDM     Prepare declaration and exhibits to support motion to enter judgment; Revise motion; Draft timeline of        10.00     $1,500 17113
                            inequitable conduct evidence; Prepare same as exhibits to motion to enter judgment.
272
       1/9/2020     GT      Continue to draft and review motion to enter judgment.                                                         4.00     $1,000 17113


273
274    1/9/2020      KB     Review and organize exhibits for motion for entry of judgment.                                                 1.50      $128 17113
275    1/9/2020     LBW     Review and revise motion to enter judgment; Prepare same for filing.                                           2.50      $450 17113
                    TDM     Review Y. Yeh's changes to motion to enter judgment; Revise draft regarding same; Draft supporting             8.00     $1,200 17113
       1/9/2020
276                         declaration; Assemble exhibits; Finalize motion for filing.
       1/9/2020     WJK     Prepare proposed judgment; Review and amend final documents for filing; Attention to filing motion for         4.25     $2,125 17113
277                         entry of judgment.
      1/10/2020     JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800 17113           Should be done by associate or          $                     2,400.00 Appropriate use of trial
                            entry of final judgment.                                                                                                                       paralegal                                                              team as directed by J.
278                                                                                                                                                                                                                                               Thomas
279   1/10/2020     GT      Research regarding motion for exceptional case.                                                                2.00      $500 17113
      1/13/2020     JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800 17113           Should be done by associate or          $                     2,400.00 Appropriate use of trial
                            entry of final judgment.                                                                                                                       paralegal                                                              team as directed by J.
280                                                                                                                                                                                                                                               Thomas
      1/14/2020     JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800 17113           Should be done by associate or          $                     2,400.00 Appropriate use of trial
                            entry of final judgment.                                                                                                                       paralegal                                                              team as directed by J.
281                                                                                                                                                                                                                                               Thomas




                                                                                                                             Defendant's Exhibit B-1                                                                                                                         9
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          A          B                                                        C                                                          D        E               F                        G                               H                              I                    J
 1     DATE       BILLER                               DESCRIPTION OF WORK PERFORMED                                                     HRS     AMT           INV. NO.          Reason Not Recoverable           Amount Not Recoverable        PSD COMMENTS               REDUCE BY
      1/14/2020    LBW     Ingest documents from Troutman files; Search and coordinate document database; Confer with team                3.50         $630 17113         Should be done by associate or      $                       630.00 Appropriate use of trial
                           regarding same.                                                                                                                                paralegal                                                          team as directed by J.
282                                                                                                                                                                                                                                          Thomas
      1/15/2020    JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800 17113           Should be done by associate or      $                     2,400.00 Appropriate use of trial
                           entry of final judgment.                                                                                                                       paralegal                                                          team as directed by J.
283                                                                                                                                                                                                                                          Thomas
      1/16/2020    JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800 17113           Should be done by associate or      $                     2,400.00 Appropriate use of trial
                           entry of final judgment.                                                                                                                       paralegal                                                          team as directed by J.
284                                                                                                                                                                                                                                          Thomas
285   1/16/2020    TDM     Retrieve patent infringement cases filed by Whitewater; Route to team.                                         8.00     $1,200   17113
286   1/17/2020     JET    Review and revise proposed judgment and findings of fact.                                                      8.00     $4,800   17113
287   1/17/2020    WJK     Review and supplement the motion for attorney fees; Further legal research.                                    3.75     $1,875   17113
288   1/20/2020     JET    Finalize motion to enter judgment, declarations and supporting exhibits.                                      10.00     $6,000   17113
      1/22/2020     JET    Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and            8.00     $4,800   17113         Should be done by associate or      $                       2,400.00 Appropriate use of trial
                           entry of final judgment.                                                                                                                       paralegal                                                            team as directed by J.
289                                                                                                                                                                                                                                            Thomas
      1/22/2020    WJK     Review and supplement motion for attorney fees; Detailed review of claim construction process and the          5.25     $2,625 17113
                           motion for summary judgment; Correct and build-out timeline for multiple cases.
290
      1/23/2020    ENL     Review and revise initial draft of brief in support of fees; Research regarding same.                          3.00     $1,800 17113           Research should have been done by   $                         900.00 Appropriate use of trial
                                                                                                                                                                          associate                                                            team as directed by J.
291                                                                                                                                                                                                                                            Thomas
292   1/23/2020    JET     Review and analyze opposition to motion to enter judgment; Prepare outline of reply brief.                     9.00     $5,400 17113
      1/23/2020    KB      Research regarding subject matter jurisdiction; Review and update claim construction binders.                  0.75        $64 17113
293
      1/23/2020    TDM     Retrieve claim construction order; Retrieve Markman hearing transcript; Review draft of exceptional case;      9.00     $1,350 17113
                           Revise fact portion; Research supporting evidence; Review plaintiff's opposition to motion for entry of
294                        judgment
      1/23/2020    WJK     Review and supplement motion for attorney fees; Add citations to trial transcript and to trial exhibits;       4.75     $2,375 17113
                           Detailed review of claim construction process and motion for summary judgment; Correct and build-out
                           timeline for multiple cases; Review Whitewater opposition to entry of judgment.
295
      1/24/2020    JET     Conduct legal and factual investigation of opposition; Review trial transcripts.                               8.00     $4,800 17113           Should be done by associate or      $                       2,400.00 Appropriate use of trial
                                                                                                                                                                          paralegal                                                            team as directed by J.
296                                                                                                                                                                                                                                            Thomas
      1/27/2020    JET     Conduct legal and factual investigation of opposition; Review trial transcripts.                               8.00     $4,800 17113           Should be done by associate or      $                       2,400.00 Appropriate use of trial
                                                                                                                                                                          paralegal                                                            team as directed by J.
297                                                                                                                                                                                                                                            Thomas
      1/27/2020    LBW     Prepare for and attend litigation strategy meeting with client; Research regarding issues raised at same.      7.50     $1,350 17113
298
      1/27/2020    TDM     Research cases cited in plaintiff's opposition to motion for entry of judgment; Research ADG amendments        5.00         $750 17113
                           to license agreement; Contact court reporter for final day of trial testimony regarding verdict.
299
      1/28/2020    WJK     Prepare outline for our reply regarding entry of judgment; Prepare first draft of reply; Research regarding    8.75     $4,375 17113           Should be done by associate or      $                       2,187.50 Appropriate use of trial
                           inequitable conduct for failure to disclose material prior art.                                                                                paralegal                                                            team as directed by J.
300                                                                                                                                                                                                                                            Thomas
301   1/28/2020    GT      Reply to opposition for motion to enter judgment.                                                              8.00     $2,000 17113
      1/28/2020    JET     Prepare revised judgment and findings of fact and conclusions of law; Review and revise draft reply brief.     8.00     $4,800 17113
302
303   1/28/2020    TDM     Review verdict form; Draft revised proposed judgment; Review and revise draft reply.                           8.00     $1,200 17113
304   1/29/2020     GT     Attention to reply brief.                                                                                      7.75     $1,938 17113
      1/29/2020     JET    Prepare revised judgment and findings of fact and conclusions of law; Review and revise draft reply brief.     8.00     $4,800 17113
305
      1/29/2020    TDM     Review trial transcripts; Research supporting evidence for reply brief; Review claim construction response;   12.00     $1,800 17113
306                        Review Markman hearing; Revise draft reply brief.
      1/29/2020    WJK     Detailed review of law regarding inequitable conduct; Find caselaw regarding inequitable conduct; Continue     6.25     $3,125 17113
                           drafting the reply regarding entry of judgment; Review same with J. Thomas.

307
      1/30/2020    GT      Attention to reply brief.                                                                                      7.50     $1,875 17113

308
309   1/30/2020    JET     Review and finalize reply brief and supporting declarations and revised judgment.                              9.00     $5,400 17113
      1/30/2020    KB      Review and organize exhibits for reply to opposition to motion for entry judgment.                             3.00       $255 17113
310
      1/30/2020    LBW     Review and revise reply brief and prepare for filing; Prepare supplemental declaration of J. Thomas            6.50     $1,170 17113
311                        regarding same; Confer with team regarding same.




                                                                                                                             Defendant's Exhibit B-1                                                                                                                  10
                                           Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17836 Page 124 of
                                                                                 203

          A          B                                                             C                                                     D        E               F                        G                            H                           I                     J
 1     DATE       BILLER                                   DESCRIPTION OF WORK PERFORMED                                                 HRS     AMT           INV. NO.          Reason Not Recoverable        Amount Not Recoverable         PSD COMMENTS            REDUCE BY
      1/30/2020    TDM     Assemble exhibits; Review reply brief; Draft supplemental declaration in support of reply; Route revised       5.00         $750 17113
312                        judgment to chambers and plaintiff's counsel.
      1/30/2020    WJK     Locate citations for reply; Prepare and finalize revised proposed order; Prepare and finalize declaration     6.25      $3,125 17113
313                        supporting reply; Finalize and file our reply regarding entry of judgment.
      1/31/2020    KB      Prepare and organize binders for hearing on motion for entry judgment.                                        2.00          $170 17113
314
315   1/31/2020    TDM     Attend to documents in filing system; Draft list of witnesses in order at trial; Review exceptional case      6.00        $900 17113
      2/3/2020      GT     Review objection to motion to enter judgment; Attention to brief regarding objection to judgment.             6.00      $1,500 17135


316
      2/3/2020     JET     Prepare response to WW objection regarding motion to enter judgment; Review trial transcripts and conduct     4.00      $2,400 17135
317                        legal and factual analysis regarding same.
      2/3/2020     TDM     Review plaintiff's opposition to proposed judgment; Research case law cited in same; Retrieve cases and       8.00      $1,200 17135
                           review; Send same to team.

318
      2/3/2020     WJK     Review objections filed by Whitewater and discuss same with J. Thomas; Review and supplement legal            4.50      $2,250 17135
319                        memo regarding objections; Review and supplement responsive filing.
      2/4/2020     GT      Meeting regarding objection to motion to enter judgment; Draft objection regarding motion to enter            4.50      $1,125 17135
320                        judgment.
      2/4/2020     JET     Prepare response to WW objection regarding motion to enter judgment; Review trial transcripts and conduct     4.00      $2,400 17135
321                        legal and factual analysis regarding same.
      2/4/2020     KB      Update motion for entry judgment binders.                                                                     0.25           $21 17135
322
      2/4/2020     TDM     Review and revise draft reply to plaintiff's opposition to proposed judgment; Prepare and finalize same for   4.50          $675 17135
323                        filing.
324   2/5/2020     JET     Review trial transcripts and conference with team regarding judgment; Meet with clients.                      3.00      $1,800 17135
      2/5/2020     WJK     Prepare discussion outline for hearing on the motion to enter judgment; Team meeting regarding same;          5.25      $2,625 17135
                           Review pre-trial order, answer and counterclaims; Prepare binders and outline for hearing; Attention to
                           calling the court to determine if hearing was still on calendar.
325
      2/7/2020     JET     Review trial transcripts and conference with team regarding judgment; Meet with clients and witnesses.        3.50      $2,100 17135
326
      2/12/2020    JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and           4.00      $2,400 17135           Should be done by associate or   $                     1,200.00 Appropriate use of trial
                           entry of final judgment.                                                                                                                       paralegal                                                       team as directed by J.
327                                                                                                                                                                                                                                       Thomas
328   2/12/2020    WJK     Supplement the draft motion for fees.                                                                         3.50      $1,750 17135
      2/13/2020    JET     Review and analyze proposed judgment and findings of fact; Research regarding advisory findings and           6.00      $3,600 17135           Should be done by associate or   $                     1,800.00 Appropriate use of trial
                           entry of final judgment.                                                                                                                       paralegal                                                       team as directed by J.
329                                                                                                                                                                                                                                       Thomas
330   2/20/2020    JET     Finalize motion to enter judgment, declarations and supporting exhibits.                                      4.00      $2,400 17135
331
332                                                                                                                              TOTAL           $820,069                                                   Whitewater Summary            PSD SUMMARY
333                                                                                                                                                                       Total Requested                  $                   820,068.75 $        820,068.75
334                                                                                                                                                                       Total Not Recoverable            $                    96,928.25 $         15,112.50
335                                                                                                                                                                       Total Recoverable                $                   723,140.50 $        804,956.25




                                                                                                                             Defendant's Exhibit B-1                                                                                                             11
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                                                                              203

         A                                  B                                C             D                                   E                                     F
1      DATE                           DESCRIPTION                          AMT     INV.NO.                    Reason Cost Not Recoverable                  Amount Not Recoverable
     10/12/2019 Conference call hosted by W. Kolegraff on 09/25/19,          $3.68 17069
2               GlobalMeet invoice #9496796400-101219.
3    10/30/2019 Fee for entrance to Southern District, G. Thomas.            $206.00   17069        Bill of Costs, ECF No. 371-3 at 14, Ex. G at 48.   $                     206.00
4    10/31/2019 Color photocopy charges.                                     $118.80   17069
5    10/31/2019 Online research.                                              $43.92   17069
     11/12/2019 Conference call hosted by W. Kolegraff on 11/01/19,           $14.16   17073
6               GlobalMeet invoice #9496796400-111219.
     11/12/2019 Conference call hosted by W. Kolegraff on 11/04/19,              $1.24 17073
7               GlobalMeet invoice #9496796400-111219.
     11/12/2019 Conference call hosted by W. Kolegraff on 11/07/19,              $9.10 17073
8               GlobalMeet invoice #9496796400-111219.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942039428), FedEx
9               invoice #4-962-63378.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942039472), FedEx
10              invoice #4-962-63378.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942039704), FedEx
11              invoice #4-962-63378.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942039910), FedEx
12              invoice #4-962-63378.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942039976), FedEx
13              invoice #4-962-63378.
     11/12/2019 Overnight delivery of documents from J. Simms, Troutman       $15.80 17073
                Sanders LLP on 11/08/19 (tracking #776942040190), FedEx
14              invoice #4-962-63378.




                                                                          Defendant's Exhibit B-1                                                                            12
                                            Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17838 Page 126 of
                                                                                  203

          A                                     B                                   C             D                                   E                           F
   11/12/2019 Overnight delivery of documents from J. Simms, Troutman                $15.80 17073
              Sanders LLP on 11/08/19 (tracking #776942040384), FedEx
15            invoice #4-962-63378.
   11/12/2019 Overnight delivery of documents from J. Simms, Troutman                $15.80 17073
              Sanders LLP on 11/08/19 (tracking #776942040421), FedEx
16            invoice #4-962-63378.
   11/12/2019 Overnight delivery of documents from J. Simms, Troutman                $15.82 17073
              Sanders LLP on 11/08/19 (tracking #776942040568), FedEx
17            invoice #4-962-63378.
   11/13/2019 Meal expenses (Specialty's order #22774285) for J. Thomas.             $98.32 17073
18
     11/20/2019 22 images captured - color - 11" * 17", 22 images converted          $64.69 17073
                to PDF - image only, and 0.25 hours of project tech time -
                setup/deliverable via share file, Integrity Legal Corp invoice
19              #OC224781.
20   11/30/2019 Photocopy charges.                                                   $51.80   17073
21   11/30/2019 Online research.                                                  $2,169.76   17073
22   11/15/2019 Travel expenses (Advantage Ground) for J. Thomas.                  $153.35    17100
23   11/24/2019 Travel expenses (Advantage Ground) for J. Thomas.                  $156.85    17100
     11/27/2019 Airfare (United Airlines) for E. Pribonic - date of departure     $1,267.60   17100        Bill of Costs, ECF No. 371-3 at 12, Ex. E at 36.   $       1,267.60
24              12/08/19.
25   11/27/2019 Travel agency fee (Travel Store) for E. Pribonic.                    $35.00 17100
     11/27/2019 Meal expenses for J. Thomas regarding meeting with E.                $65.28 17100
26              Pribonic on 11/26/19, Specialty's order #22861676.
27    12/1/2019 Meal expenses (Gaslamp) for J. Thomas.                              $304.24   17100
28    12/1/2019 Travel expenses (Advantage Ground) for J. Thomas.                   $229.25   17100
29    12/1/2019 Meal expenses (Cafe Sevilla) for W. Kolegraff.                       $22.93   17100
      12/2/2019 Meal expenses (Cold Beers & Cheeseburger) for J. Thomas.            $200.98   17100
30
31   12/2/2019 Meal expenses (Cafe Sevilla) for W. Kolegraff.                        $21.00 17100
32   12/3/2019 Meal expenses (Blarney Stone Pub) for W. Kolegraff.                   $28.00 17100
33   12/3/2019 Meal expenses (Meze Greek Fusion) for W. Kolegraff.                   $22.24 17100


                                                                                 Defendant's Exhibit B-1                                                               13
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                                                                                 203

         A                                     B                                 C             D             E                 F
34   12/3/2019    Meal expenses (Bubs at the Ballpark) for W. Kolegraff.           $9.62   17100
35   12/4/2019    Meal expenses (Cafe 21-Gaslamp) for J. Thomas.                  $72.50   17100
36   12/4/2019    Meal expenses (Full Moon) for J. Thomas.                      $255.72    17100
37   12/4/2019    Meal expenses (The Tipsy Crow) for J. Thomas.                   $36.00   17100
38   12/4/2019    Travel expenses (Amtrak) for J. Thomas.                         $78.00   17100
39   12/4/2019    Meal expenses (Subway) for W. Kolegraff.                         $9.54   17100
40   12/5/2019    Hotel expenses (Omni San Diego) for W. Kolegraff.            $2,038.76   17100
41   12/5/2019    Meal expenses (Gaslamp) for W. Kolegraff.                       $66.61   17100
42   12/5/2019    Meal expenses (Chingon Havana) for W. Kolegraff.                $23.40   17100
43   12/6/2019    Hotel expenses (Omni San Diego) for J. Thomas.               $2,071.74   17100
44   12/6/2019    Hotel expenses (Omni San Diego) for J. Thomas.               $2,034.29   17100
     12/6/2019    Video tech services (VTS San Diego Driver) for J. Thomas.       $10.90   17100
45
46    12/6/2019
              Meal expenses (The Guild) for J. Thomas.                             $7.47   17100
47    12/6/2019
              Meal expenses (The Tin Roof) for W. Kolegraff.                      $20.00   17100
48    12/6/2019
              Meal expenses (Mariscos El Pulpo) for W. Kolegraff.                 $56.60   17100
49    12/6/2019
              Meal expenses (The Field) for W. Kolegraff.                         $62.99   17100
50    12/7/2019
              Travel expenses (Amtrak) for J. Thomas.                              $8.00   17100
51    12/7/2019
              Travel expenses (Amtrak) for J. Thomas.                             $16.00   17100
52    12/7/2019
              Meal expenses (The Shout House) for W. Kolegraff.                   $89.06   17100
53    12/7/2019
              Meal expenses (Fleming's) for W. Kolegraff.                         $50.94   17100
54    12/7/2019
              Meal expenses (Gaslamp) for W. Kolegraff.                           $33.89   17100
55    12/7/2019
              Meal expenses (The Hopping Pig) for W. Kolegraff.                   $50.88   17100
56    12/8/2019
              Meal expenses (Lou & Mickeys) for J. Thomas.                      $274.90    17100
57    12/8/2019
              Meal expenses (Toscana Cafe & Wine) for J. Thomas.                  $82.96   17100
58    12/9/2019
              Meal expenses (Gaslamp) for J. Thomas.                            $165.81    17100
59    12/9/2019
              Hotel expenses (Omni San Diego) for W. Kolegraff.                $2,130.83   17100
60   12/10/2019
              Meal expenses (Full Moon) for J. Thomas.                          $434.76    17100
     12/11/2019
              Hotel expenses (Intercontinental San Diego) for B.                $703.06    17100
61            McFarland for 12/09/19 - 12/10/19.
   12/11/2019 Parking expenses for T. Mendiola for the period of 12/01/19 -      $269.45 17100
62            12/11/19.


                                                                              Defendant's Exhibit B-1                              14
                                            Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17840 Page 128 of
                                                                                  203

          A                                     B                                   C             D                                   E                           F
     12/11/2019 Meal expenses (The Werewolf American) for J. Thomas.                 $36.99 17100
63
64 12/11/2019 Hotel expenses (Omni San Diego) for J. Thomas.                      $1,649.07   17100
65 12/11/2019 Hotel expenses (Omni San Diego) for J. Thomas.                      $1,932.62   17100
66 12/11/2019 Hotel expenses (Omni San Diego) for J. Thomas.                      $1,372.24   17100
   12/12/2019 Final transcripts of 12/11/19 session, DMCC Enterprises              $135.60    17100        Bill of Costs, ECF No. 371-3 at 10, Ex. C at 26.   $       135.60
67            invoice #808.
   12/12/2019 Conference call hosted by W. Kolegraff on 11/25/19,                       $6.00 17100
68            GlobalMeet invoice #9496796400-121219.
   12/12/2019 Meal expenses (Courtyard - The Nolen) for W. Kolegraff.                $30.71 17100
69
     12/12/2019 Meal expenses (Courtyard - The Nolen) for W. Kolegraff.             $145.76 17100
70
71 12/13/2019     Hotel expenses (Omni San Diego) for W. Kolegraff.               $2,429.91   17100
72 12/14/2019     Meal expenses (Gaslamp) for W. Kolegraff.                          $58.65   17100
73 12/14/2019     Meal expenses (The Hopping Pig) for W. Kolegraff.                  $17.88   17100
   12/14/2019     Meal expenses (Osetra The Fish House) for W. Kolegraff.            $22.85   17100
74
     12/16/2019 4,905 electronic captions, electric endorsements - exhibit          $544.30 17100          Bill of Costs, ECF No. 371-3 at 13, Ex. F at 44.   $       544.30
                stickers and images converted to PDF - image only and 2
                hours of project tech time - setup/deliverable via share file,
75              Integrity Legal invoice #OC224862.
76   12/16/2019 Meal expenses (The Shout House) for W. Kolegraff.                    $16.34 17100
     12/17/2019 Daily trial transcripts for 12/04, 12/05 and 12/16, Chari           $433.20 17100          Bill of Cost, ECF No. 371-3 at 10, Ex. C at 27.    $       433.20
77              Bowery invoice #2019-1029.
     12/18/2019 Travel expenses (mileage) for T. Mendiola for the period of         $208.80 17100
78              11/30/19 - 12/18/19.
     12/18/2019 Travel expenses (Uber) for T. Mendiola for the period of            $155.54 17100
79              11/30/19 - 12/18/19.
     12/18/2019 Meal expenses for T. Mendiola for the period of 11/30/19 -          $929.57 17100
80              12/18/19.
81   12/18/2019 Meal expenses (The Shout House) for W. Kolegraff.                   $166.89 17100


                                                                                 Defendant's Exhibit B-1                                                              15
                                             Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17841 Page 129 of
                                                                                   203

          A                                      B                                     C             D                                    E                         F
82    12/18/2019   Meal expenses (Bubs at the Ballpark) for W. Kolegraff.               $39.06   17100
83    12/19/2019   Hotel expenses (Omni San Diego) for W. Kolegraff.                 $3,623.82   17100
84    12/20/2019   Hotel expenses (Omni San Diego) for W. Kolegraff.                  $596.30    17100
85    12/31/2019   Online research.                                                  $2,276.78   17100
86    12/16/2019   Meal expenses (Local Downtown) for J. Thomas.                      $222.49    17113
87    12/17/2019   Meal expenses (Fleming's) for J. Thomas.                           $531.46    17113
88    12/18/2019   Meal expenses (Front Street Cafeteria) for J. Thomas.                $32.29   17113
89    12/18/2019   Meal expenses (Water Grill) for J. Thomas.                         $478.36    17113
90    12/19/2019   Hotel expenses (Omni) for J. Thomas.                              $2,554.20   17113
91    12/19/2019   Hotel expenses (Omni) for J. Thomas.                              $2,955.91   17113
       1/7/2020    Online court research for the period of 10/01/2019 to              $123.90    17113
92                 12/31/2019, PACER invoice #4433892-Q42019.
93    1/28/2020    Trial transcripts for 12/19/19, J. Eichenlaub.                      $108.90 17113          Bill of Costs, ECF No. 371-3 at , Ex. C at 28.    $       108.90
      1/28/2020    Jury trial, Vol 9 dated 12/18/19, J. Eichenlaub invoice #2020-        $6.05 17113          Bill of Costs, ECF No. 371-3 at , Ex. C at 28.    $         6.05
94                 102.
95    1/31/2020    Photocopy charges.                                                    $3.60   17113
96    1/31/2020    Color photocopy charges.                                              $6.80   17113
97    1/31/2020    Online research.                                                  $1,821.06   17113
      1/28/2020    Meal expenses for meeting with client on 01/27/20,                 $145.52    17135
98                 Specialty's order #23133826.
      1/30/2020    Overnight delivery of documents to J. Eichenlaub, official           $12.48 17135
                   court reporter on 01/28/20, FedEx invoice #2621-5952-3.
99
      1/31/2020 16 B&W digital copies, 27 color digital copies and delivery to         $121.38 17135          Bill of Cost, ECF No. 371-3 at 13, Ex. F at 45.   $       121.38
                courthouse, Integrity Legal invoice #OC224998.
100
       2/6/2020
              Meal expenses for meeting with client on 02/05/20,                       $167.98 17135
101           Specialty's order #23193602.
    2/12/2020 Conference call hosted by W. Kolegraff on 01/21/20,                       $13.40 17135
102           GlobalMeet invoice #9496796400-021220.
103 2/29/2020 Photocopy charges.                                                         $7.60 17135
104 2/29/2020 Online research.                                                         $543.37 17135


                                                                                    Defendant's Exhibit B-1                                                             16
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                                                203

      A     B                             C           D                                 E         F
105
106                          TOTAL     $43,280.72
107                                                             Total Requested               $       43,280.72
108                                                             Total Not Recoverable         $        2,823.03
109                                                             Total Recoverable             $       40,457.69




                                      Defendant's Exhibit B-1                                           17
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                                      203




                             EXHIBIT B-6
                                                Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17844 Page 132 of
                                                                                      203

          A            B                                                     C                                                     D        E             F                  G                      H                           I                      J
        DATE      BILLER                             DESCRIPTION OF WORK PERFORMED                                               HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
1
     10/15/2015   CB       Review complaint and asserted patents and identify issues for further strategic assessment; discuss   3.3   $   2,227.50 1728070     But-For                  $                2,227.50          Reasonable
2                          immediate task list with team.
     10/15/2015   MCM      Review additional documents from Whitewater and WaveLoch history for considerations in                1.0   $    385.00 1728070      But-For                  $                 385.00           Reasonable
3                          drafting Answer and Counter-Claims
     10/16/2015   CB       Review asserted patents and assess strategic advantages of PTO challenges and early claim             1.5   $   1,012.50 1728070     But-For                  $                1,012.50          Reasonable
4                          construction.
     10/16/2015   MCM      Draft Answer and Counter-Claims, by drafting pleadings and reviewing prior art proceedings and        4.5   $   1,732.50 1728070     But-For                  $                1,732.50          Reasonable
5                          documents forwarded by Yong Yeh and Richard Alleshouse
     10/16/2015   AMS      Analyze pending continuations (0.4); review patent challenges (0.3); review asserted patents and      2.2   $    979.00 1728070      But-For                  $                 979.00           Reasonable
6                          file histories (1.5)
7    10/17/2015   CB       Review potential prior art and invalidity/claim construction arguments.                               3.2   $   2,160.00   1728070   But-For                  $                2,160.00          Reasonable
8    10/18/2015   CB       Review and revise draft answer.                                                                       1.0   $     675.00   1728070   But-For                  $                  675.00          Reasonable
9    10/18/2015   AMS      Revise Answer and Counterclaims                                                                       0.7   $     311.50   1728070   But-For                  $                  311.50          Reasonable
10   10/19/2015   JMB      Review and file answer                                                                                0.4   $     270.00   1728070   But-For                  $                  270.00          Reasonable
11   10/19/2015   AMS      Revise Answer (1.1); draft Corporate Disclosure Statement (0.2)                                       1.3   $     578.50   1728070   But-For                  $                  578.50          Reasonable
12   10/21/2015   JMB      Review Order regarding early neutral evaluation and related deadlines                                 0.5   $     337.50   1728070   But-For                  $                  337.50          Reasonable
     10/21/2015   CB       Review Order setting Early Neutral Evaluation and analyze upcoming tasks and strategic position       2.3   $   1,552.50   1728070   But-For                  $                1,552.50          Reasonable
13                         to raise before neutral.
14 10/23/2015     JMB      Review upcoming dates for court filings                                                               1.8   $   1,215.00   1728070   But-For                  $                1,215.00          Reasonable
15 10/26/2015     AMS      Team call regarding IPR strategy and upcoming deadlines                                               0.7   $     311.50   1728070   IPR                      $                  311.50                       $                 311.50
16 10/28/2015     JMB      Prepare for and attend teleconference with opposing counsel                                           0.5   $     337.50   1728070                                                               Reasonable
   11/5/2015      MCM      Review and analyze documents from Yong Yeh and Richard Alleshouse, in addition to                     1.8   $     693.00   1728070   016 Patent               $                 693.00           Reasonable
                           documents from old KDV file, re prior art that could apply to '589 and '016 patent.
17
     11/9/2015    CB       Discuss strategy for Rule 16 meet-and-confer and extension of deadlines with team and                 1.2   $    810.00 1728070      But-For                  $                 810.00           Reasonable
18                         communicate with opposing counsel re same.
     11/10/2015   CB       Discuss extension of deadlines with team and opposing counsel; review papers from prior               3.2   $   2,160.00 1728070     But-For                  $                2,160.00          Reasonable
                           reexaminations of related patents and associated prior art for potential invalidity and inequitable
                           conduct defenses in litigation and discuss limited prior art search with A. Shah.
19
     11/10/2015   MCM      Review and analyze additional prior art and documents from Yong Yeh, and analysis from Brian          1.3   $    500.50 1728070      But-For                  $                 500.50           Reasonable
20                         Young.
21   11/10/2015   AMS      Analyze applicability of potential prior art reference                                                0.5   $     222.50 1728070     But-For                  $                  222.50          Reasonable
     11/11/2015   CB       conduct Rule 16 case management conference with opposing counsel and discuss extension of             1.6   $   1,080.00 1728070     But-For                  $                1,080.00          Reasonable
22                         deadlines; further review Frenzl prior art and discuss with A. Shah.
     11/13/2015   CB       Revise draft extension motion and proposed order and send to plaintiffs' counsel for review.          0.5   $    337.50 1728070      But-For                  $                 337.50           Reasonable
23
     11/13/2015   AMS      Draft Motion for Continuation of Early Neutral Evaluation Conference and associated deadlines         0.4   $    178.00 1728070      But-For                  $                 178.00           Reasonable
24
25   11/16/2015   CB       Revise and file extension request.                                                                    0.3   $    202.50 1728070      But-For                  $                 202.50           Reasonable
26   11/17/2015   AMS      Analyze Frenzl prior art reference                                                                    0.6   $    267.00 1728070      But-For                  $                 267.00           Reasonable
     11/18/2015   JMB      Contact Chambers about early neutral evaluation order; work on rule 26 statement; meet with           1.4   $    945.00 1728070      But-For                  $                 945.00           Reasonable
27                         team to discuss strategy
28   11/18/2015   AMS      Confer with C. Brahma and J. Barnes regarding Rule 26(f) conference                                   0.3   $     133.50 1728070     But-For                  $                  133.50          Reasonable
29   11/19/2015   JMB      Prepare for and attend teleconference to discuss Rule 26 statement                                    1.1   $     742.50 1728070     But-For                  $                  742.50          Reasonable
     11/19/2015   CB       Participate in telephonic meet-and-confer with opposing counsel re Rule 16 case management            3.5   $   2,362.50 1728070     But-For                  $                2,362.50          Reasonable
                           issues; discuss limitations on discovery and claim construction process with team; review and
30                         revise draft Case Management report.
     11/19/2015   MCM      Research and analysis of prior art issues raised by phone call with Rick Tache for Rule 26            0.5   $    192.50 1728070      But-For                  $                 192.50           Reasonable
31                         Conference
32   11/19/2015   AMS      Search for and review prior art for '589 patent (0.5); revise Rule 26 report (0.5)                    1.0   $    445.00    1728070   But-For                  $                 445.00           Reasonable
33   11/20/2015   JMB      Review and edit Rule 26f report                                                                       0.6   $    405.00    1728070   But-For                  $                 405.00           Reasonable
34   11/20/2015   CB       Review and revise draft Case Management Report.                                                       0.5   $    337.50    1728070   But-For                  $                 337.50           Reasonable
35   11/20/2015   MCM      Revise and finalize Joint Rule 26(f) Report                                                           1.0   $    385.00    1728070   But-For                  $                 385.00           Reasonable
36   11/23/2015   JMB      Attention to initial disclosures                                                                      0.2   $    135.00    1728070   But-For                  $                 135.00           Reasonable
37   11/23/2015   CB       Review and revise initial disclosures.                                                                0.8   $    540.00    1728070   But-For                  $                 540.00           Reasonable
38   11/23/2015   AMS      Draft Rule 26 Initial Disclosures                                                                     1.7   $    756.50    1728070   But-For                  $                 756.50           Reasonable
39   11/24/2015   JMB      Review and edit initial disclosures; review and analyze agreement with ProSlide                       1.2   $    810.00    1728070   But-For                  $                 810.00           Reasonable




                                                                                                                            Defendant's Exhibit B-6                                                                                                1
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           A           B                                                      C                                                      D        E             F                  G                      H                           I                      J
        DATE      BILLER                             DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
1
     11/24/2015   MCM      Revise and finalize PSD's Initial Disclosures; review and analyze Flowrider's initial disclosures       0.5   $    192.50 1728070      But-For                  $                 192.50           Reasonable
40
41 11/24/2015     AMS      Revise Rule 26 Initial Disclosures                                                                      0.2   $      89.00   1728070   But-For                  $                   89.00          Reasonable
42 11/25/2015     JMB      Finalize initial disclosures                                                                            0.2   $     135.00   1728070   But-For                  $                  135.00          Reasonable
43 11/29/2015     MCM      Review and analyze PSD's license agreement already signed with ProSlide                                 0.5   $     192.50   1728070   But-For                  $                  192.50          Reasonable
   12/2/2015      CB       Review ProSlide agreements and analyze impact on discovery, indemnification, and standing with          1.8   $   1,215.00   1735497   But-For                  $                1,215.00          Reasonable
                           team; participate in Case Management Conference and summarize outstanding issues.
44
     12/2/2015    AMS      Review ProSlide license agreement (0.2); attend telephone Rule 16 conference with Court (0.3);          0.9   $    400.50 1735497      But-For                  $                 400.50           Reasonable
                           call with J. Barnes to prepare for Rule 16 conference (0.2); call with M. Mao regarding
45                         agreement (0.2)
     12/2/2015    JMB      Prepare for and attend teleconference with Court regarding case scheduling; review and analyze          1.7   $   1,147.50 1735497     But-For                  $                1,147.50          Reasonable
46                         agreement with ProSlide
47   12/3/2015    JMB      Work on issues related to protective order                                                              0.2   $     135.00   1735497   But-For                  $                  135.00          Reasonable
48   12/10/2015   JMB      Review and analyze draft protective order                                                               0.7   $     472.50   1735497   But-For                  $                  472.50          Reasonable
49   12/10/2015   AMS      Revise Protective Order                                                                                 0.6   $     267.00   1735497   But-For                  $                  267.00          Reasonable
50   12/15/2015   JMB      Work on issues related to draft protective order                                                        0.2   $     135.00   1735497   But-For                  $                  135.00          Reasonable
51   12/15/2015   AMS      Revise draft Protective Order                                                                           0.2   $      89.00   1735497   But-For                  $                   89.00          Reasonable
52   12/17/2015   JMB      Finalize and file protective order                                                                      0.5   $     337.50   1735497   But-For                  $                  337.50          Reasonable
53   12/17/2015   MCM      Review and analyze Flowrider's alleged patent infringement contentions                                  1.5   $     577.50   1735497   But-For                  $                  577.50          Reasonable
54   12/17/2015   AMS      Call with M. Mao regarding prosecution bar provision of Protective Order                                0.4   $     178.00   1735497   But-For                  $                  178.00          Reasonable
     12/19/2015   CB       Review infringement contentions served by Plaintiffs to identify deficiencies and issues for            2.3   $   1,552.50   1735497   But-For                  $                1,552.50          Reasonable
55                         discovery.
56   12/21/2015   JMB      Review and analyze Flowrider infringement contentions                                                   1.8   $   1,215.00 1735497     But-For                  $                1,215.00          Reasonable
57   12/21/2015   AMS      Analyze infringement contentions                                                                        0.6   $     267.00 1735497     But-For                  $                  267.00          Reasonable
     12/21/2015   CB       Review plaintiffs' infringement contentions and identify inconsistencies and deficiencies to raise      3.7   $   2,497.50 1735497                                                                 Reasonable
                           in preparation for potential motion to compel; review Lochtefeld and Murphy prior art patents.
58
59   12/22/2015   JMB      Team call regarding strategy and upcoming tasks                                                         1.5   $   1,012.50 1735497     But-For                  $                1,012.50          Reasonable
     12/22/2015   CB       Teleconference with team re tasks arising from Plaintiffs' infringement contentions and discovery       2.2   $   1,485.00 1735497     But-For                  $                1,485.00          Reasonable
60                         plan; review infringement contentions and information re accused products
     12/22/2015   AMS      Call with M. Mao, J. Barnes, and C. Brahma to discuss infringement contentions and case                 1.5   $    667.50 1735497      But-For                  $                 667.50           Reasonable
61                         strategy
     12/23/2015   CB       Review infringement contentions and information re accused products; draft email to client re           2.8   $   1,890.00 1735497     But-For                  $                1,890.00          Reasonable
62                         follow-up issues.
63   12/28/2015   JMB      Review and analyze information from client regarding sales; examine 271f issues                         0.4   $    270.00 1735497      But-For                  $                 270.00           Reasonable
     12/28/2015   CB       Email client re follow-up issues from plaintiffs' infringement contentions and assess next steps in     1.2   $    810.00 1735497      But-For                  $                 810.00           Reasonable
64                         discovery.
     12/29/2015   CB       Review plaintiffs' infringement contentions and identify inconsistencies and deficiencies to raise      0.8   $   1,215.00 1735497                                                                 Reasonable
                           in preparation for potential motion to compel; review Lochtefeld and Murphy prior art patents.
65
66   12/30/2015   JMB      Attention to prosecution history and expiration issues                                                  0.4   $     270.00 1735497     But-For                  $                  270.00          Reasonable
     12/30/2015   CB       Review prosecution histories re abandonment and revival of asserted patents and review related          3.2   $   2,160.00 1735497     But-For                  $                2,160.00          Reasonable
                           legal research; assess impact of plaintiffs' failure to assert indirect infringement on liability and
67                         damages relating to foreign accused products.
     12/31/2015   MCM      Phone conference with Yong Yeh, Richard Alleshouse, and Brian Young re strategies going                 1.1   $    423.50 1735497      But-For                  $                 423.50           Reasonable
68
                           forward
     1/2/2016     AMS      Draft infringement contention deficiency letter                                                         1.1   $    489.50 1741647      But-For                  $                 489.50           Reasonable
69
     1/4/2016     JMB      Work on letter regarding infringement contentions; analyze invalidity issues; work on task list for 5.1       $   3,442.50 1741647     But-For                  $                3,442.50          Reasonable
70                         team
     1/4/2016     CB       Review and revise draft letter re infringement contention deficiencies; review materials            4.6       $   3,105.00 1741647     But-For                  $                3,105.00          Reasonable
71                         concerning expiration of asserted patents and related legal research.
     1/4/2016     AMS      Finalize draft deficiency letter (0.9); review case-law regarding error in issued claims (0.4)      1.3       $    578.50 1741647      But-For                  $                 578.50           Reasonable
72
     1/5/2016     JMB      Review and analyze 589 and 016 patents and respective file histories; analyze potential claim 6.8             $   4,590.00 1741647     016 Patent               $                4,590.00          Reasonable
73                         construction issues
     1/5/2016     CB       Revise letter to opposing counsel re deficiencies in infringement contentions and identify    1.8             $   1,215.00 1741647     But-For                  $                1,215.00          Reasonable
74                         additional deficiencies for letter.




                                                                                                                              Defendant's Exhibit B-6                                                                                                2
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            A          B                                                      C                                                      D        E             F                  G                      H                           I                      J
         DATE     BILLER                              DESCRIPTION OF WORK PERFORMED                                                HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      1/5/2016    MCM      Phone call with Richard Alleshouse re his questions on the claims being made against PSD, and           0.8   $    308.00 1741647      But-For                  $                 308.00           Reasonable
75                         engineering questions from Brian Young
      1/5/2016    MCM      Phone call from Brian Young to answer his questions regarding next steps and joint legal                0.2   $        77.00 1741647   But-For                  $                  77.00           Reasonable
76                         strategies
      1/6/2016    JMB      Review and analyze prior art referenced in file history of 589 and 016 patents; analyze                 6.3   $   4,252.50 1741647     016 Patent               $                4,252.50          Reasonable
                           related claim construction issues; analyze foreign sales and exportation issues
77
      1/6/2016    MCM      Review and analysis of documents from Brian Young, and assessment of IPR strategies                     0.5   $    192.50 1741647      IPR                      $                 192.50                        $                  192.50
78                         proposed
      1/6/2016    CB       Identify potential prior art for nozzle patent; prepare budget for inter partes review of               4.8   $   3,240.00 1750693     IPR                      $                3,240.00                       $                 3,240.00
79                         asserted patent.
80    1/7/2016    JMB      Work on chart of claim construction issues; review Flowrider contentions                                2.2   $   1,485.00 1741647     But-For                  $                1,485.00          Reasonable
      1/7/2016    CB       Revise inter partes review budget; review asserted patents for non-prior art-based invalidity and       3.4   $   2,295.00 1741647     IPR                      $                2,295.00                       $                 2,295.00
81                         claim construction issues.
82    1/8/2016    JMB      Work on claim construction issues and update team task list                                             2.9   $   1,957.50 1741647     But-For                  $                1,957.50          Reasonable
      1/11/2016   JMB      Communicate with opposing counsel regarding discovery; work on discovery responses and                  2.5   $   1,687.50 1741647     But-For                  $                1,687.50          Reasonable
83                         invalidity contentions
      1/13/2016   JMB      Teleconference with opposing counsel regarding infringement contentions; teleconference with            1.6   $   1,080.00 1741647     But-For                  $                1,080.00          Reasonable
84                         Charan Brahma regarding strategy; communicate with team regarding contentions
      1/13/2016   CB       Teleconference with opposing counsel re deficiencies in infringement contentions; review scope          2.8   $   1,890.00 1741647     But-For                  $                1,890.00          Reasonable
85                         of infringement claims for purposes of limiting scope of discovery.
      1/13/2016   AMS      Draft Objections and Responses to Plaintiffs' First Set of Requests for Production (2.8); draft         3.8   $   1,691.00 1741647     But-For                  $                1,691.00          Reasonable
86                         objections to Plaintiffs' First Set of Interrogatories (1.0)
      1/14/2016   JMB      Review and edit discovery responses; search for prior art                                               3.7   $   2,497.50 1741647     But-For                  $                2,497.50          Reasonable

87
      1/14/2016   AMS      Draft Responses to Plaintiffs' First Set of Interrogatories (1.0); draft litigation hold notice (0.7)   1.7   $    756.50 1741647      But-For                  $                 756.50           Reasonable
88
      1/15/2016   CB       Review and revise draft interrogatory responses and objections and draft script for contacting          4.3   $   2,902.50 1741647     But-For                  $                2,902.50          Reasonable
89                         unrepresented inventors.
90 1/15/2016      MCM      Review and analysis of additional prior art materials and documentation from Yong Yeh                   0.4   $     154.00   1741647   But-For                  $                  154.00          Reasonable
91 1/15/2016      MCM      Phone call with Yong Yeh and Richard Alleshouse re next steps in case                                   0.4   $     154.00   1741647   But-For                  $                  154.00          Reasonable
92 1/20/2016      JMB      Review and analyze new contentions from Flowrider                                                       2.4   $   1,620.00   1741647   But-For                  $                1,620.00          Reasonable
93 1/20/2016      CB       Review supplemental infringement contention documents.                                                  3.2   $   2,160.00   1741647   But-For                  $                2,160.00          Reasonable
   1/20/2016      MCM      Review and analyze new and supplemental infringement contentions from Plaintiffs' counsel,              2.2   $     847.00   1741647   But-For                  $                  847.00          Reasonable
94                         with documents produced as part of discovery exchange
      1/21/2016   AMS      Research tolling of one-year IPR filing bar based on dismissal without prejudice (0.2); draft           0.7   $    311.50 1741647      IPR                      $                  89.00                        $                  311.50
                           First Set of Interrogatories and First Set of Requests for Production to Plaintiffs (0.5)
95
      1/22/2016   MCM      Review of documents relating to both '589 and '016 patents to assess revised litigation                 1.2   $    462.00 1741647      016 Patent               $                 462.00           Reasonable
96                         strategy requested by Yong Yeh
      1/22/2016   CB       Review plaintiffs' supplemental infringement contentions to assess remaining deficiencies and           5.8   $   3,915.00 1741647     But-For                  $                3,915.00          Reasonable
                           impact on defenses; discuss document production and case strategy with client; communicate
                           with opposing counsel re extension for responding to discovery; revise draft discovery requests re
97                         expiration of asserted patents.
      1/22/2016   AMS      Draft discovery letter to Plaintiffs (0.2); revise Defendant's First Set of Interrogatories and         0.5   $    222.50 1741647      But-For                  $                 222.50           Reasonable
98                         Requests for Production to Plaintiffs (0.3)
      1/24/2016   AMS      Revise Defendant's First Set of Interrogatories and First Set of Requests for Production to             0.3   $    133.50 1741647      But-For                  $                 133.50           Reasonable
99                         Plaintiffs
      1/25/2016   CB       Review license and standing issues and draft email to opposing counsel seeking production of full       2.5   $   1,687.50 1741647                                                                 Reasonable
                           licensing agreement with Lochtefeld; review additional materials re expiration of asserted patents.
100
101   1/25/2016   AMS      Finalize discovery requests and letter to Plaintiffs                                                    0.5   $    222.50 1741647                                                                  Reasonable
102   1/28/2016   JMB      Teleconference with client; work on discovery responses                                                 0.6   $    405.00 1741647      But-For                  $                 405.00           Reasonable
      1/29/2016   MCM      Phone call with Yong Yeh re revised strategy with regard to '589 and '016 patents, focusing             0.4   $    154.00 1741647      016 Patent               $                 154.00           Reasonable
103                        on their expiration
104   1/29/2016   MCM      Review of documents relating to both '589 and '016 patents and their expiration                         0.2   $      77.00 1741647     016 Patent               $                   77.00          Reasonable
105   2/1/2016    JMB      Review and analyze documents received from client for production                                        4.1   $   2,767.50 1750693     But-For                  $                2,767.50          Reasonable




                                                                                                                               Defendant's Exhibit B-6                                                                                               3
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            A          B                                                    C                                                       D        E             F                  G                      H                           I                      J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
106 2/1/2016      JMB      Work on invalidity contentions                                                                         1.2   $     810.00   1750693   But-For                  $                  810.00          Reasonable
107 2/2/2016      JMB      Analyze prior art for 589 and 016 patents                                                              1.8   $   1,215.00   1750693   016 Patent               $                1,215.00          Reasonable
108 2/2/2016      AMS      Analyze Pacific Surf Designs' prior art production                                                     2.5   $   1,112.50   1750693   But-For                  $                1,112.50          Reasonable
    2/3/2016      MCM      Review and analysis of documents forwarded from Whitewater as part of discovery exchange of            0.3   $     115.50   1750693   But-For                  $                  115.50          Reasonable
109                        information
      2/5/2016    JMB      Analyze potential summary judgment brief based on expiration from maintenance fee lapse; work          6.8   $   4,590.00 1750693     But-For                  $                4,590.00          Reasonable
110                        on invalidity contentions; edit RFP responses
      2/5/2016    CB       Discuss preparation of invalidity contentions and treatment of prior art rides with J. Barnes and A.   0.5   $    337.50 1750693      But-For                  $                 337.50           Reasonable
111                        Shah.
112   2/8/2016    JMB      Work on discovery responses for filing                                                                 1.9   $   1,282.50 1750693     But-For                  $                1,282.50          Reasonable
      2/8/2016    AMS      Finalize Defendant's Responses and Objections to Plaintiffs' First Set of Interrogatories and First    2.3   $   1,023.50 1750693     But-For                  $                1,023.50          Reasonable
113                        Set of Requests for Production
      2/9/2016    JMB      Prepare for and attend teleconference with team to discuss strategy related to expiration of patent    1.4   $    945.00 1750693      But-For                  $                 945.00           Reasonable
114
      2/9/2016    CB       Teleconference with J. Barnes and A. Shah re discovery tasks and strategy re expiration/revival of     0.5   $    337.50 1750693      But-For                  $                 337.50           Reasonable
115                        patents-in-suit.
      2/9/2016    AMS      Call with C. Brahma and J. Barnes regarding expiration issue and discovery (0.8); attention to         1.1   $    489.50 1750693      But-For                  $                 489.50           Reasonable
116                        document production (0.3)
      2/10/2016   CF       Review correspondence regarding asserted patents and invalidity contentions; begin analysis of         0.6   $    243.00 1750693      But-For                  $                 243.00           Reasonable
117                        art for devising invalidity strategy
      2/11/2016   AMS      Draft Second Set of Requests for Production and Second Set of Interrogatories to Plaintiffs (1.6);     5.7   $   2,536.50 1750693     016 Patent               $                1,379.50          Reasonable
118                        draft claim charts for 016 Patent (3.1)
119   2/12/2016   JMB      Review and analyze draft discovery requests                                                            0.8   $    540.00 1750693      But-For                  $                 540.00           Reasonable
      2/15/2016   CF       Preliminary review of prior art uncovered by search service; draft and finalize correspondence         0.8   $    324.00 1750693      But-For                  $                 324.00           Reasonable
                           regarding invalidity contentions, claim chart, and priority dates of asserted patents
120
121   2/15/2016   AMS      Draft Invalidity Contentions cover document                                                         2.7      $   1,201.50 1750693     But-For                  $                1,201.50          Reasonable
      2/16/2016   CB       Review correspondence from Plaintiffs' counsel proposing exchange of claim terms and meet-and- 0.3           $     202.50 1750693     But-For                  $                  202.50          Reasonable
122                        confer re construction in advance of deadline.
123   2/17/2016   CB       Review patents and identify Section 112 issues for inclusion in invalidity contentions.             2.3      $   1,552.50 1750693     But-For                  $                1,552.50          Reasonable
124   2/17/2016   CF       Continue drafting invalidity contentions and claim charts                                           6.9      $   2,794.50 1750693     But-For                  $                2,794.50          Reasonable
      2/18/2016   CB       Review patents and identify Section 112 issues for inclusion in invalidity contentions; revise      4.2      $   2,835.00 1750693     But-For                  $                2,835.00          Reasonable
125                        claim charts to be included in invalidity contentions.
126 2/18/2016     CF       Continue analyzing art and drafting claim charts for invalidity contentions                         10.3     $   4,171.50   1750693   But-For                  $                4,171.50          Reasonable
127 2/18/2016     AMS      Revise Invalidity Contentions                                                                       0.9      $     400.50   1750693   But-For                  $                  400.50          Reasonable
128 2/19/2016     CB       Review and revise claim charts to be included in invalidity contentions.                            2.8      $   1,890.00   1750693   But-For                  $                1,890.00          Reasonable
    2/19/2016     JLS      Review and assemble all documents relating to the Preliminary Invalidity Contentions and serve 1.5           $     210.00   1750693   But-For                  $                  210.00          Reasonable
129                        upon opposing counsel via email
130   2/19/2016   AMS      Finalize Invalidity Contentions                                                                     1.8      $    801.00 1750693      But-For                  $                 801.00           Reasonable
      2/21/2016   CB       Review correspondence from opposing counsel re alleged delay in serving invalidity contentions 0.5           $    337.50 1750693      But-For                  $                 337.50           Reasonable
131                        and outline response.
      2/22/2016   JMB      Respond to Flowrider counsel regarding motion to strike; teleconference with opposing counsel; 2.3           $   1,552.50 1750693     But-For                  $                1,552.50          Reasonable
132                        teleconference with client
      2/22/2016   CB       Revise letter to opposing counsel re alleged belated invalidity contentions; discuss with J. Barnes 0.8      $    540.00 1750693      But-For                  $                 540.00           Reasonable
                           meet-and- confer with opposing counsel re same and Plaintiffs' proposal to extend claim
133                        construction deadlines.
      2/22/2016   CF       Review correspondence from opposing counsel regarding invalidity contentions and motion to          0.4      $    162.00 1750693      But-For                  $                 162.00           Reasonable
                           strike; review correspondence regarding reply strategy to opponent's proposed motion; draft and
                           finalize correspondence regarding same; conference regarding same and possible non
                           infringement strategy; draft and finalize correspondence regarding outside US coverage of
134                        opponent's patents
      2/23/2016   JMB      Work on responsive letter regarding document requests; communicate with client regarding            2.2      $   1,485.00 1750693     But-For                  $                1,485.00          Reasonable
135                        document collection; review and edit joint motion to court regarding extension
      2/23/2016   CF       Review joint motion and proposed order from opponent; review correspondence from opponent 0.8                $    324.00 1750693      But-For                  $                 324.00           Reasonable
                           regarding objections to request for production from opponent; conference regarding same and
                           review file history; review joint report under 26(f); conference regarding same; draft and finalize
136                        reply to opponent regarding same
137   2/24/2016   JMB      Produce documents provided by client; review and analyze terms for claim construction               2.3      $   1,552.50 1750693     But-For                  $                1,552.50          Reasonable




                                                                                                                          Defendant's Exhibit B-6                                                                                                   4
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            A          B                                                   C                                                       D        E             F                  G                      H                           I                      J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      2/24/2016   CF       Review correspondence regarding production of additional documents; conference regarding           0.5      $    202.50 1750693      But-For                  $                 202.50           Reasonable
                           pending client patent applications; review correspondence from opponent and draft and finalize
138                        correspondence to opposing counsel regarding same
      2/24/2016   CF       Review proposed constructions; conference regarding same; review client commercial                 0.8      $    324.00 1750693      But-For                  $                 324.00           Reasonable
139                        embodiment; revise and finalize proposed constructions with proposed analysis
      2/24/2016   AMS      Draft statement regarding preliminary claim constructions and identification of intrinsic evidence 2.0      $    890.00 1750693      But-For                  $                 890.00           Reasonable
140
141   2/25/2016   JMB      Work on claim construction term sheet                                                                 0.7   $     472.50 1750693     But-For                  $                  472.50          Reasonable
      2/25/2016   CB       Review and revise draft second set of discovery requests; review draft of claim terms for             3.8   $   2,565.00 1750693     But-For                  $                2,565.00          Reasonable
142                        construction and proposed constructions.
      2/25/2016   CF       Review correspondence regarding extrinsic evidence and certain claim terms; review terms in           1.4   $    567.00 1750693      But-For                  $                 567.00           Reasonable
                           relevant time period of asserted patents; draft and finalize correspondence regarding same;
143                        conference regarding same
144 2/25/2016     MCM      Review and analyze current status of case                                                             0.8   $     308.00   1750693   But-For                  $                  308.00          Reasonable
145 2/25/2016     BRR      Research and obtain eight dictionary definitions for Chris Franich                                    0.4   $      80.00   1750693   But-For                  $                   80.00          Reasonable
146 2/26/2016     JMB      Teleconference with team regarding claim construction                                                 1.5   $   1,012.50   1750693   But-For                  $                1,012.50          Reasonable
    2/26/2016     CB       Discuss claim terms to propose for construction and proposed constructions and supporting             3.2   $   2,160.00   1750693   But-For                  $                2,160.00          Reasonable
147                        evidence; review draft second set of written discovery requests.
      2/26/2016   CF       Review correspondence regarding finalized proposed claim terms for constructions; draft               2.2   $    891.00 1750693      But-For                  $                 891.00           Reasonable
148                        correspondence regarding same
149   2/26/2016   BRR      Research the dictionary definition of four terms for Chris Franich                                    0.4   $     80.00 1750693      But-For                  $                  80.00           Reasonable
150   2/26/2016   AMS      Participate in team call regarding claim constructions and evidence                                   1.4   $    623.00 1750693      But-For                  $                 623.00           Reasonable
      2/29/2016   CF       Review correspondence regarding definitions of certain terms in Geometry reference from               0.2   $     81.00 1750693      But-For                  $                  81.00           Reasonable
151                        relevant time period; review enclosures and draft correspondence regarding same
      2/29/2016   BRR      Research and obtain the definition of opposite from a geometry reference as well as the definition    0.2   $        40.00 1750693   But-For                  $                  40.00           Reasonable
152                        of radius of curvature for Chris Franich
153 3/1/2016      MCM      Review and analyze current status of case, and discovery and information received                     0.5   $    192.50    1761770   But-For                  $                 192.50           Reasonable
154 3/2/2016      JMB      Review draft of RFP requests                                                                          0.3   $    202.50    1761770   But-For                  $                 202.50           Reasonable
155 3/2/2016      CB       Review and revise draft document requests.                                                            1.3   $    877.50    1761770   But-For                  $                 877.50           Reasonable
    3/2/2016      CF       Review correspondence regarding reply to opponent's requests for production and claim charts for      0.2   $     81.00    1761770   But-For                  $                  81.00           Reasonable
156                        invalidity; draft correspondence regarding same
      3/2/2016    AMS      Revise Second Set of Interrogatories (0.5); Identify intrinsic and extrinsic evidence for proposed    1.7   $    756.50 1761770      But-For                  $                 756.50           Reasonable
157                        claim constructions (1.2)
      3/3/2016    CF       Draft and finalize letter to Flowrider regarding objections to interrogatories response; continue     1.5   $    607.50 1761770      But-For                  $                 607.50           Reasonable
158                        drafting invalidity charts with intrinsic and extrinsic evidence
159   3/3/2016    AMS      Revise Second Set of Requests for Production                                                          0.8   $    356.00 1761770      But-For                  $                 356.00           Reasonable
      3/4/2016    CF       Continue revising and finalizing claim construction chart and letter regarding proposed claim         2.0   $    810.00 1761770      But-For                  $                 810.00           Reasonable
                           terms; draft and finalize correspondence regarding extrinsic evidence as to certain terms in 589
160                        patent
      3/7/2016    CF       Revise and finalize first draft of claim constructions charts and charts of extrinsic and intrinsic   3.6   $   1,458.00 1761770     But-For                  $                1,458.00          Reasonable
                           evidence to limit term construction and summarize invalidity or noninfringement positions; draft
                           and finalize correspondence regarding same; conference regarding same, discuss certain invalidity
                           and construction strategy; revise and finalize charts per conference and draft and finalize
                           correspondence regarding additional extrinsic support for certain claim terms
161
162   3/7/2016    MCM      Phone call from Richard Alleshouse re his questions on the current status of the case                 0.5   $     192.50   1761770   But-For                  $                  192.50          Reasonable
163   3/7/2016    MCM      Review and assessment of current status of case, for final resolution strategies                      1.1   $     423.50   1761770   But-For                  $                  423.50          Reasonable
164   3/7/2016    AMS      Review C. Franich edits to claim construction exchange                                                0.2   $      89.00   1761770   But-For                  $                   89.00          Reasonable
165   3/8/2016    JMB      Attention to claim construction issues; meet to discuss strategy for resolving matter                 3.3   $   2,227.50   1761770   But-For                  $                2,227.50          Reasonable
166   3/8/2016    CB       Revise claim construction chart and review and revise supporting evidence.                            3.6   $   2,430.00   1761770   But-For                  $                2,430.00          Reasonable
167   3/8/2016    BRR      Research and obtain the definition of shield from a late 1990s dictionary for Chris Franich           0.2   $      40.00   1761770   But-For                  $                   40.00          Reasonable
      3/8/2016    CF       Review correspondence regarding revised construction, certain terms and consideration, extrinsic      3.1   $   1,255.50   1761770   But-For                  $                1,255.50          Reasonable
                           evidence, intrinsic evidence; analyze same; draft and finalize analysis of raised issues; revise
168                        proposed claim chart and related draft claim terms
169   3/9/2016    CB       Further revise claim construction positions for exchange with plaintiffs.                             1.8   $   1,215.00 1761770     But-For                  $                1,215.00          Reasonable




                                                                                                                         Defendant's Exhibit B-6                                                                                                   5
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            A          B                                                     C                                                       D        E             F                  G                      H                           I                      J
         DATE     BILLER                             DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/9/2016    CF       Review correspondence regarding extrinsic mechanical engineering definitions; review citations; 0.5           $    202.50 1761770      But-For                  $                 202.50           Reasonable
                           draft correspondence regarding same; review correspondence regarding further definitions of
                           certain terms and construction of same; draft and finalize correspondence regarding same
170
      3/9/2016    BRR      Research and obtain mechanical engineering definitions of tongue and bias for Chris Franich             0.2   $        40.00 1761770   But-For                  $                  40.00           Reasonable
171
      3/10/2016   CF       Review correspondence from opponent regarding opponent production request and responses to              3.5   $   1,417.50 1761770     But-For                  $                1,417.50          Reasonable
                           interrogatories; draft and finalize correspondence regarding same; research certain technical terms
                           in university library; draft and finalize analysis of same; draft and finalize correspondence
172                        regarding same
173   3/10/2016   AMS      Revise claim construction exchange                                                                      0.6   $     267.00 1761770     But-For                  $                  267.00          Reasonable
      3/11/2016   JMB      Teleconference with client regarding strategy; teleconference with team regarding claim                 3.4   $   2,295.00 1761770     But-For                  $                2,295.00          Reasonable
174                        construction; edit claim construction
      3/11/2016   CB       Teleconference with client re litigation strategy and status of discovery; teleconference to finalize   3.5   $   2,362.50 1761770     But-For                  $                2,362.50          Reasonable
                           claim construction proposals for exchange; review plaintiffs' objections to defendant's first sets of
175                        interrogatories and document requests.
      3/11/2016   CF       Draft and finalize correspondence regarding analysis of extrinsic evidence of certain claim terms;      2.1   $    850.50 1761770      But-For                  $                 850.50           Reasonable
                           conference regarding claim construction strategy; revise and finalize draft of claim construction
                           chart; draft and finalize correspondence regarding same further to urgent filing deadline and
176                        construction strategy
      3/11/2016   AMS      Participate in team call regarding claim construction positions (1.2); revise claim construction        1.5   $    667.50 1761770      But-For                  $                 667.50           Reasonable
177                        exchange (0.3)
178   3/14/2016   JMB      Finalize claim construction chart; review Flowrider constructions                                       0.4   $     270.00 1761770     But-For                  $                  270.00          Reasonable
      3/14/2016   CB       Revise proposed claim construction submission and discuss revisions and impact on infringement          2.3   $   1,552.50 1761770     But-For                  $                1,552.50          Reasonable
179                        and invalidity arguments with team.
      3/14/2016   CF       Review correspondence regarding final revisions to production and claim charts; create exhibits         0.6   $    243.00 1761770      But-For                  $                 243.00           Reasonable
                           from extrinsic evidence used in finalized charts; draft and finalize correspondence regarding same
180                        final revisions to chart
181 3/14/2016     AMS      Finalize P.R. 4-1 Exchange                                                                              0.7   $    311.50   1761770    But-For                  $                 311.50           Reasonable
182 3/15/2016     JMB      Communicate with team regarding claim construction strategy                                             0.4   $    270.00   1761770    But-For                  $                 270.00           Reasonable
183 3/15/2016     CB       Review plaintiffs' proposed claim constructions and supporting evidence.                                1.3   $    877.50   1761770    But-For                  $                 877.50           Reasonable
    3/15/2016     CF       Contact opposing counsel regarding meet and confer in regards to client production and responses        0.3   $    121.50   1761770    But-For                  $                 121.50           Reasonable
                           to interrogatories; preliminary review of proposed construction by plaintiff; draft and finalize
                           correspondence regarding production and proposed construction from opponent;
184
185 3/15/2016     AMS      Analyze Plaintiffs' proposed constructions                                                              0.4   $    178.00   1761770    But-For                  $                 178.00           Reasonable
186 3/16/2016     JMB      Communicate with team in preparation for discovery meet- and-confer call                                0.5   $    337.50   1761770    But-For                  $                 337.50           Reasonable
187 3/16/2016     CB       Discuss discovery meet-and-confer issues with A. Shah and J. Barnes.                                    0.8   $    540.00   1761770    But-For                  $                 540.00           Reasonable
    3/16/2016     CF       Review correspondence regarding analysis of meet and confer strategy and objections from                0.4   $    162.00   1761770    But-For                  $                 162.00           Reasonable
188                        opposing counsel; draft and finalize correspondence regarding same
      3/16/2016   AMS      Review Plaintiffs' discovery deficiency letters (0.5); analyze issues for meet and confer (1.1)         1.6   $    712.00 1761770      But-For                  $                 712.00           Reasonable
189
      3/17/2016   CF       Research case citations from opponent's letters regarding certain positions; draft and finalize         3.1   $   1,255.50 1761770     But-For                  $                1,255.50          Reasonable
                           correspondence summarizing analysis of each cite; prepare for and strategize in conference
                           regarding meet and confer; meet and confer with opponent; draft and finalize summary of call;
                           preliminary review of opponent production and draft correspondence regarding same
190
191   3/17/2016   AMS      Participate in meet and confer with Plaintiffs' counsel (1.0); summarize the same (0.3)                 1.3   $     578.50 1761770     But-For                  $                 578.50           Reasonable
      3/21/2016   CB       Review materials for claim construction response and re production of agreements relating to            2.2                1761770     But-For                                                     Reasonable
192                        Lochtefeld and license rights.                                                                                1,485.00                                          1,485.00
193   3/22/2016   JMB      Review and analyze Flowrider letter regarding invalidity contentions                                    0.8   $     540.00 1761770     But-For                  $                  540.00          Reasonable
      3/22/2016   CB       Revise responsive claim constructions and discuss with team along with plaintiffs' complaints           3.5    $ 2,362.50 1761770      But-For                  $                2,362.50          Reasonable
194                        regarding invalidity contentions and possible supplementation re same.
195   3/23/2016   JMB      Work on responsive claim constructions; work on response to Flowrider letter                            1.1   $    742.50 1761770      But-For                  $                 742.50           Reasonable
      3/23/2016   BRR      Research and obtain the definition of gate from a 1999 Webster's dictionary for Chris Franich           0.2   $     40.00 1761770      But-For                  $                  40.00           Reasonable
196
197   3/23/2016   AMS      Draft Responsive Claim Constructions                                                                    0.8   $    356.00 1761770      But-For                  $                 356.00           Reasonable




                                                                                                                             Defendant's Exhibit B-6                                                                                                 6
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            A          B                                                    C                                                      D        E           F                  G                      H                           I                      J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/23/2016   CF       Review and revise responsive claim constructions and extrinsic evidence; conference regarding       2.5     $   1,012.50 1761770   IPR                      $                1,012.50          Reasonable
                           same, IPR, settlement strategy, and plaintiff production; continue review of production; draft and
                           finalize correspondence regarding same; draft correspondence regarding extrinsic evidence of
                           certain terms, terms for filing in light of plaintiff proposed terms; review extrinsic evidence and
198                        draft correspondence regarding same
199   3/24/2016   JMB      Attention to responses to mediator                                                                  0.7     $    472.50 1761770    But-For                  $                 472.50           Reasonable
      3/24/2016   CF       Finalize production review and draft correspondence regarding analysis of same, tolling             1.9     $    769.50 1761770    But-For                  $                 769.50           Reasonable
                           agreement, non- disclosure agreement between client and Whitewater, and discovered
                           correspondence leading up to resolution of prior suit; draft correspondence regarding effect on
                           equitable relief and possible causes of action being pursued by plaintiff; review correspondence
                           regarding extrinsic evidence of certain claim terms; analyze same; draft and finalize
                           correspondence to group regarding revised claim construction strategies for noninfringement and
                           invalidity; review and analyze letter from opposing counsel regarding invalidity contentions and
                           draft correspondence regarding advised litigation strategy in light of inequitable conduct defense,
                           amended complaint, and information from plaintiff production; draft preliminary invalidity chart
                           for certain claims referenced in opponent letter; draft correspondence regarding same
200
201   3/24/2016   BRR      Research the definition of module and sluice for Chris Franich                                        0.2   $      40.00 1761770   But-For                  $                   40.00          Reasonable
      3/25/2016   CB       Teleconference with team re preparation of responsive claim constructions and outstanding             1.7   $   1,147.50 1761770   But-For                  $                1,147.50          Reasonable
202                        discovery issues and review related materials.
      3/25/2016   CF       Conference regarding constructions, amending strategy, production from plaintiff, and assertions      1.2   $    486.00 1761770    But-For                  $                 486.00           Reasonable
                           of plaintiff in regards to production and invalidity contentions; draft and finalize correspondence
                           regarding corrective contentions, Flowrider offer for sale prior to priority date and
203                        unenforceability strategy
      3/25/2016   AMS      Participate in team call to discuss responsive claim constructions and open discovery issues (1.0);   1.2   $    534.00 1761770    But-For                  $                 534.00           Reasonable
204                        call with potential expert (0.2)
      3/28/2016   JMB      Attention to responsive claim constructions; analyze plaintiff's requests for electronic discovery    1.5   $   1,012.50 1761770   But-For                  $                1,012.50          Reasonable
205
      3/28/2016   CB       Revise responsive claim construction document and review plaintiffs' responsive claim                 2.3   $   1,552.50 1761770   But-For                  $                1,552.50          Reasonable
                           constructions to assess impact on infringement and invalidity positions and identify terms to
                           prioritize for Court's construction; discuss objections to plaintiffs' identification of search terms
206                        for electronic discovery.
      3/28/2016   CF       Revise and finalize responsive claim constructions in light of extrinsic evidence for certain terms; 1.0    $    405.00 1761770    But-For                  $                 405.00           Reasonable
                           draft and finalize correspondence regarding same; research flowrider commercial products for on-
                           sale bar and draft and finalize correspondence regarding same; review correspondence from
                           opposing counsel regarding requests for electronic correspondence production; review governing
                           rules regarding same and conference regarding same; review correspondence from opposing
                           counsel regarding outside United States offers and contribution agreement previously requested;
207                        draft correspondence regarding same
      3/28/2016   BRR      Research and obtain the precise copyright date for citing to a dictionary that lists three            0.6   $    120.00 1761770    But-For                  $                 120.00           Reasonable
208                        possibilities for Chris Franich
      3/28/2016   AMS      Finalize responsive claim constructions (0.5); draft correspondence regarding email discovery         0.9   $    400.50 1761770    But-For                  $                 400.50           Reasonable
209                        requests (0.4)
      3/29/2016   MCM      Review and analyze old documents from Yong Yeh on potential of reviving anti-trust claims, and        1.0   $    385.00 1761770    But-For                  $                 385.00           Reasonable
210                        new discovery spoliation claims
      3/30/2016   JMB      Work on strategy related to exit strategies; communicate with Mark Mao regarding same                 1.6   $   1,080.00 1761770   But-For                  $                1,080.00          Reasonable
211
      3/30/2016   MCM      Review and analyze old documents from Yong Yeh on potential of reviving anti-trust claims, and 0.6          $    231.00 1761770    But-For                  $                 231.00           Reasonable
212                        new discovery spoliation claims
      3/31/2016   CF       Review correspondence from opposing counsel regarding issue of foreign sales and damages           0.7      $    283.50 1761770    But-For                  $                 283.50           Reasonable
                           analysis; draft and finalize correspondence regarding same; review citations used by opposing
                           counsel, research same; and draft and finalize correspondence regarding preliminary analysis of
213                        same
      4/2/2016    CF       Finalize research and analysis of effect of foreign goods, offer of sales and strategy to overcome 2.6      $   1,053.00 1768889   But-For                  $                1,053.00          Reasonable
                           Flowrider position; draft and finalize memo and correspondence regarding same
214
215   4/4/2016    JMB      Teleconference to discuss strategy on standing and IPRs                                               0.6   $    405.00 1768889    IPR                      $                 405.00                        $                 405.00




                                                                                                                           Defendant's Exhibit B-6                                                                                               7
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            A          B                                                     C                                                      D        E           F                   G                     H                           I                      J
         DATE     BILLER                             DESCRIPTION OF WORK PERFORMED                                                HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/4/2016    MCM      Review and analyze current status of file for chances of a motion to dismiss on '589 patent,          0.6    $    231.00 1768889    IPR; '016 Patent         $                 231.00           Reasonable
216                        and inter partes review of '016 patent, as dispositive strategy
217   4/4/2016    AMS      Call with M. Mao and J. Barnes regarding Contribution Agreement                                       0.6    $    267.00 1768889                                                                Reasonable
      4/5/2016    MCM      Review and analyze current status of file for chances of a motion to dismiss on '589 patent, and      0.9    $    346.50 1768889    IPR; '016 Patent         $                 346.50           Reasonable
218                        inter partes review of '016 patent, as dispositive strategy
219   4/5/2016    AMS      Call with M. Mao and client regarding case                                                            0.9    $     400.50 1768889                                                               Reasonable
220   4/6/2016    AMS      Review Plaintiffs' document production (0.3); analyze standing issues (0.3)                           0.6    $     267.00 1768889                                                               Reasonable
      4/6/2016    CF       Review correspondence regarding meet and confer as to claim terms; draft and finalize                 2.5    $   1,012.50 1768889   IPR; '016 Patent         $                1,012.50          Reasonable
                           correspondence regarding same; review correspondence regarding urgent joint claim construction
                           statement; review file history and begin drafting same; review correspondence regarding
                           dismissal strategy of 589 patent and IPR of 016 patent; draft and finalize correspondence
                           regarding same; draft and finalize first revision of claim terms for use in hearing; draft and
221                        finalize correspondence regarding same
222   4/7/2016    JMB      Attention to standing issues                                                                          1.5    $   1,012.50 1768889                                                               Reasonable
      4/7/2016    CB       Meet and confer with opposing counsel re claim construction positions and discuss preparation of      2.8    $   1,890.00 1768889   But-For                  $                1,890.00          Reasonable
223                        Joint Claim Construction Statement with C. Franich.
      4/7/2016    CF       Review correspondence from opposing counsel regarding second production; process same and             2.8    $   1,134.00 1768889   But-For                  $                1,134.00          Reasonable
                           draft and finalize correspondence regarding same; review correspondence regarding proposed
                           reply strategy to opposing counsel request for production of information regarding foreign sales
                           and offers, contribution agreement, PSD design of accused products; draft and finalize
                           correspondence regarding same; prepare for meet and confer call with opposing counsel
                           regarding joint claim construction; meet and confer with opposing counsel; draft and finalize
224                        correspondence regarding same
      4/7/2016    AMS      Research case-law regarding foreign sales (2.1); draft summary of the same (0.5); revise    3.1              $   1,379.50 1768889   But-For                  $                1,379.50          Reasonable
225                        correspondence regarding objections to email search requests (0.5)
226   4/8/2016    JMB      Call to discuss motion to dismiss                                                           0.5              $    337.50 1768889    But-For                  $                 337.50           Reasonable
      4/8/2016    CF       Review correspondence regarding second production and meet and confer with opposing counsel 0.3              $    121.50 1768889    But-For                  $                 121.50           Reasonable
                           regarding joint claim construction; draft and finalize correspondence regarding same
227
      4/8/2016    AMS      Call with J. Barnes regarding motion to dismiss (0.5); draft discovery deficiency response email 2.5         $   1,112.50 1768889   But-For                  $                1,112.50          Reasonable
228                        to Plaintiffs (1.6); draft and revise Joint Motion to Extend (0.4)
      4/8/2016    CB       Revise discovery letter to plaintiffs' counsel re production of plaintiffs' agreements re              1.3   $    877.50 1776865                                                                Reasonable
                           patent/license rights, standing to sue and potential inequitable conduct in revival of patent; discuss
                           revision of claim construction document for joint submission with team.
229
      4/11/2016   AMS      Revise letter regarding '016 document production (0.3); review Plaintiffs' document                   0.6    $    267.00 1768889    016 Patent               $                 267.00           Reasonable
230                        production (0.3)
      4/11/2016   JMB      Communicate with opposing counsel regarding discovery issues; work on standing issues                 0.7    $    472.50 1768889                                                                Reasonable
231
      4/11/2016   CF       Conference regarding meet and confer with opposing counsel regarding Contribution Agreement, 0.5             $    202.50 1768889                                                                Reasonable
                           standing, production, and revised search terms; review model order; review file history; draft and
232                        finalize correspondence regarding proposed strategy
      4/11/2016   AMS      Revise letter regarding '016 document production (0.3); review Plaintiffs' document                0.6       $    267.00 1768889    Duplicate                $                 267.00                        $                 267.00
233                        production (0.3)
      4/12/2016   MCM      Review and analyze documents produced in case and recently exchanges, to assess strategies 0.3               $    115.50 1768889    IPR; '016 Patent         $                 115.50           Reasonable
                           to rid of '589 patent, and inter partes review of '016 patent, as dispositive strategies
234
235   4/13/2016   JMB      Work on interrogatory responses; analyze document production                                          1.9    $   1,282.50 1768889   But-For                  $                1,282.50          Reasonable
      4/13/2016   CF       Review correspondence from opposing counsel regarding invalidity contentions, production, and         0.6    $     243.00 1768889   But-For                  $                  243.00          Reasonable
                           joint claim construction statement; draft and finalize correspondence regarding same; conference
                           regarding same, contribution agreement and offer for sale of invalidating product of each asserted
236                        Flowrider patent
      4/13/2016   AMS      Draft Supplemental Responses to First Set of Interrogatories (1.5); revise discovery response         1.7    $    756.50 1768889    But-For                  $                 756.50           Reasonable
237                        correspondence (0.2)
      4/13/2016   MCM      Review and analyze documents produced in case and recently exchanges, to assess strategies            1.1    $    423.50 1768889    IPR; '016 Patent         $                 423.50           Reasonable
                           to rid of '589 patent, and inter partes review of '016 patent, as dispositive strategies
238




                                                                                                                            Defendant's Exhibit B-6                                                                                               8
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           A           B                                                   C                                                      D        E           F                  G                      H                           I                      J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/14/2016   CF       Revise and finalize Joint Claim Construction Statement; draft and finalize correspondence            3.4   $   1,377.00 1768889   But-For                  $                1,377.00          Reasonable
                           regarding same and meet and confer with opposing counsel regarding same, production issues,
239                        contribution agreement, and electronic discovery order
      4/14/2016   AMS      Call with J. Barnes regarding discovery (0.4); review PSD's document production (0.3); draft         2.0   $    890.00 1768889    But-For                  $                 890.00           Reasonable
                           correspondence to opposing counsel regarding alleged discovery deficiencies (0.2); revise
240                        Supplemental Responses to First Set of Interrogatories (1.1)
      4/14/2016   CB       Review revised draft claim construction documents for joint submission; discuss review materials     4.2   $   2,835.00 1776865   But-For                  $                2,835.00          Reasonable
                           related to inequitable conduct and intervening rights affirmative defenses and counterclaims to be
241                        added to amended complaint; review discovery issues.
242   4/15/2016   JMB      Work on issues related to claim construction and discovery                                           3.5   $   2,362.50 1768889   But-For                  $                2,362.50          Reasonable
243   4/15/2016   CB       Revise draft of joint claim construction statement and review discovery issues                       3.2   $   2,160.00 1768889   But-For                  $                2,160.00          Reasonable
      4/15/2016   CF       Review correspondence regarding joint claim construction worksheet, statement, meet and confer       1.5   $     607.50 1768889   But-For                  $                  607.50          Reasonable
                           and possible motion to dismiss; draft correspondence regarding same; review revision of
                           statement; revise same; review correspondence from opposing counsel regarding terms and
                           additional correspondence regarding production; draft and finalize correspondence regarding
                           same and proposed terms for joint claim construction statement
244
      4/15/2016   AMS      Participate in meet and confer with Plaintiffs regarding ESI Order and discovery (0.9); summarize 4.6      $   2,047.00 1768889   But-For                  $                2,047.00          Reasonable
                           the same (0.2); analyze asserted patents and file histories to identify intrinsic evidence (2.1);
                           revise Joint Claim Construction Chart (0.6); confer with team regarding the same and
245                        identification of ten most significant terms (0.7)
246   4/18/2016   JMB      Work on issues related to claim construction filings                                              2.7      $   1,822.50 1768889   But-For                  $                1,822.50          Reasonable
      4/18/2016   CB       Finalize claim construction submission and respond to correspondence by plaintiffs re same.       3.7      $   2,497.50 1768889   But-For                  $                2,497.50          Reasonable
247
      4/18/2016   CF       Review and revise correspondence to opposing counsel regarding terms in ESI model order;         1.0       $    405.00 1768889    But-For                  $                 405.00           Reasonable
                           review plaintiff second production and draft correspondence regarding same; research public
                           disclosure of Flowrider Redlands; draft correspondence regarding same; review revisions to Joint
                           Claim Construction Statement and draft correspondence regarding same
248
      4/18/2016   AMS      Revise Joint Claim Construction Chart and cited intrinsic and extrinsic evidence (2.2); revise       6.0   $   2,670.00 1768889   But-For                  $                2,670.00          Reasonable
                           Joint Claim Construction Hearing Statement (2.1); revise Joint Claim Construction Worksheet
                           (0.8); draft correspondence to opposing counsel regarding document requests and ESI Order
                           (0.3); confer with opposing counsel regarding Joint Claim Construction filings (0.6)
249
250   4/19/2016   JMB      Attention to multiple discovery issues                                                               1.3   $    877.50 1768889    But-For                  $                 877.50           Reasonable
      4/19/2016   CF       Review correspondence from opposing counsel regarding productions and draft correspondence           0.3   $    121.50 1768889    But-For                  $                 121.50           Reasonable
                           regarding same; review correspondence regarding invalidity contentions and draft correspondence
251                        regarding same
252   4/19/2016   AMS      Draft correspondence to opposing counsel (0.1); draft questions for client (0.2)                     0.3   $    133.50 1768889    But-For                  $                 133.50           Reasonable
253   4/20/2016   JMB      Work on issues related to obtaining prior art from local water parks                                 1.4   $    945.00 1768889    But-For                  $                 945.00           Reasonable
      4/20/2016   CF       Review correspondence regarding publication bar and Redlands Flowrider investigation; review         0.3   $    121.50 1768889    But-For                  $                 121.50           Reasonable
                           correspondence regarding proposed settlement strategy; draft and finalize correspondence
254                        regarding same
      4/21/2016   CF       Conference regarding settlement strategy, invalidity contentions, theory of inequitable conduct,     1.9   $    769.50 1768889    But-For                  $                 769.50           Reasonable
                           and Rule 68 offer for judgment; review prior plaintiff cases to support theory of inequitable
                           conduct and intervening rights defense; draft and finalize correspondence regarding same;
                           research Rule 68 offer and draft and finalize correspondence regarding same and present dispute
255
256   4/21/2016   AMS      Call with C. Brahma and C. Franich regarding discovery issues and tasks                            0.8     $    356.00 1768889    But-For                  $                 356.00           Reasonable
      4/22/2016   CF       Review correspondence from client regarding publications in Dubai and Stuart communications; 1.7           $    688.50 1768889    016 Patent               $                 688.50           Reasonable
                           review enclosures; draft and finalize correspondence regarding invalidity contentions of '589
                           patent, inequitable conduct arguments of 016 patent in light of client correspondence; review
                           enclosures related to prior Murphy dispute and draft correspondence regarding same; draft and
                           finalize Rule 68 offer strategy and effect on costs; contact Redlands facility; draft and finalize
                           correspondence regarding same; review, revise and finalize first amendment response to plaintiff
                           first set of rogs; draft and finalize proof of service and serve upon plaintiffs
257




                                                                                                                         Defendant's Exhibit B-6                                                                                                9
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            A          B                                                   C                                                      D        E             F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/22/2016   JMB      Attention to multiple discovery issues; correspond with client regarding document requests           1.1   $    742.50 1768889      But-For                  $                 742.50           Reasonable
258
      4/22/2016   AMS      Call with C. Brahma and M. Mao regarding case                                                        0.9   $    400.50 1768889      But-For                  $                 400.50           Reasonable




259
      4/22/2016   CB       Discuss supplemental document production, inter partes review strategy and claim construction        3.6   $   2,430.00 1768889     IPR                      $                2,430.00          Reasonable
                           and discovery tasks with team; review public Murphys Waves document comparing Stingray and
260                        Flowrider products.
      4/22/2016   MCM      Work on dispositive strategies for case, and research and analysis of use of inter partes            1.1   $    423.50 1768889      IPR                      $                 423.50           Reasonable
261                        reexaminations
262   4/25/2016   JMB      Attention to document production issues                                                              0.2   $    135.00 1768889      But-For                  $                 135.00           Reasonable
      4/25/2016   CF       Review correspondence from plaintiff regarding third production and draft and finalize               0.2   $     81.00 1768889      But-For                  $                  81.00           Reasonable
263                        correspondence regarding same
264   4/26/2016   JMB      Review document production from Flowrider                                                            0.5   $    337.50 1768889      But-For                  $                 337.50           Reasonable
      4/26/2016   CB       Discuss alignment of inventor witnesses and potential discovery approaches and impact on             1.2   $    810.00 1776865      IPR                      $                 810.00                        $                  810.00
265                        inter partes review strategy.
      4/27/2016   CF       Preliminary review and analysis of Plaintiff's third production; draft and finalize correspondence   0.9   $    364.50 1768889      But-For                  $                 364.50           Reasonable
                           regarding unredacted Contribution Agreement, IP license, and related license agreement
266
      4/27/2016   AMS      Review Plaintiffs' documents (0.7); draft inequitable conduct counterclaim (0.6); call with J.       1.6   $    712.00 1768889      But-For                  $                 712.00           Reasonable
267                        Barnes regarding the same (0.3)
268   4/27/2016   CB       Discuss inequitable conduct allegations with A. Shah and J. Barnes.                                  0.7   $    472.50 1776865      But-For                  $                 472.50           Reasonable
      4/28/2016   AMS      Draft email to PSD regarding ex parte reexamination (0.1); draft inequitable conduct                 0.8   $    356.00 1768889      But-For                  $                 356.00           Reasonable
269                        counterclaim (0.7)
      4/29/2016   CF       Review client production for service on opposing counsel; draft and finalize correspondence          0.2   $        81.00 1768889   But-For                  $                  81.00           Reasonable
270                        regarding same prior to serving on opposing counsel
      4/29/2016   AMS      Attention to PSD's document production issues (0.4); finalize proposed inequitable conduct           0.9   $    400.50 1768889      But-For                  $                 400.50           Reasonable
271                        counterclaim (0.4)
272   5/2/2016    CB       Revise amended answer.                                                                               0.8   $    540.00 1776865      But-For                  $                 540.00           Reasonable
      5/2/2016    CF       Review plaintiff's additional production; draft correspondence regarding same; review, revise and    1.0   $    405.00 1776865      But-For                  $                 405.00           Reasonable
                           finalize amended complaint in view of inequitable conduct defense and counterclaim; revise,
273                        coordinate, and serve defendant production on opponent
      5/3/2016    CF       Review, revise and finalize draft of amended complaint; draft correspondence regarding plaintiff     0.3   $    121.50 1776865      But-For                  $                 121.50           Reasonable
274                        production
      5/3/2016    AMS      Revise inequitable conduct counterclaim and intervening rights defense; draft correspondence to      1.5   $    667.50 1776865      But-For                  $                 667.50           Reasonable
275                        Plaintiffs
      5/4/2016    CB       Revise draft amended answer; discuss retention of expert with A. Shah; revise response to            3.5   $   2,362.50 1776865     But-For                  $                2,362.50          Reasonable
276                        opposing counsel re discovery disputes.
277   5/4/2016    AMS      Revise Amended Answer and Counterclaims                                                              0.3   $    133.50 1776865      But-For                  $                 133.50           Reasonable
278   5/4/2016    MCM      Work on Inter Partes Review strategies                                                               0.8   $    308.00 1776865      IPR                      $                 308.00                        $                 308.00
      5/5/2016    CF       Revise and finalize draft of amended complaint in light of intervening rights and inequitable        1.5   $    607.50 1776865      But-For                  $                 607.50           Reasonable
                           conduct counter claim and defense; draft and finalize correspondence regarding same; conference
279                        regarding plaintiff production
      5/5/2016    AMS      Call with C. Brahma regarding IPRs; draft PSD's Opening Claim Construction Brief; review             2.9   $   1,290.50 1776865     IPR                      $                1,290.50                       $                 1,290.50
280                        '589 prior art
281   5/6/2016    AMS      Draft PSD's Opening Claim Construction brief                                                         1.8   $    801.00 1776865      But-For                  $                 801.00           Reasonable
      5/6/2016    CF       Review correspondence from opposing counsel regarding ESI order, discovery requests and              0.2   $     81.00 1776865                                                                  Reasonable
282                        compelling client discovery; draft and finalize correspondence regarding same
      5/9/2016    CF       Review correspondence regarding amended complaint; review prosecution history of 589 and             1.4   $    567.00 1776865      016 Patent               $                 567.00           Reasonable
                           016 patent; revise amended complaint to account for intervening rights defense of each asserted
                           patent matter; revise amended complaint in regards to inequitable conduct defense;
283




                                                                                                                         Defendant's Exhibit B-6                                                                                               10
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            A          B                                                   C                                                     D        E             F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                              HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      5/9/2016    CB       Discuss outstanding discovery disputes with plaintiffs and supplemental document production and     3.2   $   2,160.00 1776865     But-For                  $                2,160.00          Reasonable
                           interrogatory responses with A. Shah; review correspondence from opposing counsel; review
284                        claim construction draft brief.
      5/9/2016    AMS      Call with J. Barnes; draft correspondence to Plaintiffs regarding meet and confer; draft PSD's      6.6   $   2,937.00 1776865     But-For                  $                2,937.00          Reasonable
285                        Opening Claim Construction Brief
      5/9/2016    JMB      Work on claim construction issues; teleconference to discuss discovery issues; analyze potential    1.4   $    945.00 1776865      IPR                      $                 945.00                        $                 945.00
286                        IPR art
287   5/10/2016   JMB      Work on claim construction brief for 589 and 016 patents                                            3.4   $   2,295.00 1776865     016 Patent               $                2,295.00          Reasonable
      5/10/2016   CB       Review draft claim construction brief; revise response to opposing counsel re outstanding           6.2   $   4,185.00 1776865     But-For                  $                4,185.00          Reasonable
288                        discovery issues; discuss impact of client pursuing PTO OED complaint on case.
289 5/10/2016     CF       Review and revise client claim construction brief; draft correspondence regarding same              0.2   $      81.00   1776865   But-For                  $                   81.00          Reasonable
290 5/10/2016     MCM      Review and analyze draft Claim Construction Brief                                                   0.6   $     231.00   1776865   But-For                  $                  231.00          Reasonable
291 5/10/2016     AMS      Complete first draft of PSD's Opening Claim Construction Brief                                      1.9   $     845.50   1776865   But-For                  $                  845.50          Reasonable
    5/11/2016     JMB      Communicate with client regarding claim construction brief; work through ongoing discovery          2.9   $   1,957.50   1776865   But-For                  $                1,957.50          Reasonable
292                        disputes with Flowrider
293   5/11/2016   CB       Revise draft claim construction brief.                                                              2.3   $   1,552.50 1776865     But-For                  $                1,552.50          Reasonable
      5/11/2016   CF       Review correspondence from opposing counsel regarding meet and confer and issues wanting to         0.2   $      81.00 1776865     But-For                  $                   81.00          Reasonable
294                        bring to court; draft correspondence regarding same and reply strategy
      5/11/2016   AMS      Call with J. Barnes regarding motion to compel; draft correspondence to Plaintiffs regarding the    0.8   $    356.00 1776865                                                                  Reasonable
295                        same
296 5/12/2016     JMB      Work on inequitable conduct claims for 589 and 016 patents                                          1.5   $   1,012.50   1776865   016 Patent               $                1,012.50          Reasonable
297 5/13/2016     JMB      Research and analyze case law cited by Flowrider regarding discovery disputes                       1.5   $   1,012.50   1776865   But-For                  $                1,012.50          Reasonable
298 5/13/2016     CF       Continue revising claim construction brief and draft correspondence regarding same                  0.6   $     243.00   1776865   But-For                  $                  243.00          Reasonable
    5/13/2016     AMS      Participate in meet and confer with Plaintiffs' counsel; prepare for the same; summarize the same   1.9   $     845.50   1776865   But-For                  $                  845.50          Reasonable
299
300   5/16/2016   JMB      Edit claim construction brief                                                                       3.9   $   2,632.50 1776865     But-For                  $                2,632.50          Reasonable
      5/16/2016   CB       Revise expert retention letter; discuss claim construction and discovery issues with team; review   2.5   $   1,687.50 1776865     But-For                  $                1,687.50          Reasonable
301                        legal research re discovery dispute issues.
302   5/17/2016   JMB      Work on pending discovery issues                                                                    0.7   $     472.50 1776865     But-For                  $                  472.50          Reasonable
303   5/17/2016   CB       Review supplemental interrogatory responses.                                                        0.5   $     337.50 1776865     But-For                  $                  337.50          Reasonable
      5/17/2016   CF       Review and revise amended complaint; draft correspondence regarding basis for leave to amend        3.9   $   1,579.50 1776865     But-For                  $                1,579.50          Reasonable
                           complaint; review and revise second supplemental response to interrogatory responses; revise and
304                        finalize draft of claim construction brief; conference regarding same
      5/17/2016   AMS      Call with J. Barnes and C. Brahma regarding hearing, claim construction brief, and amended          5.0   $   2,225.00 1776865                                                                 Reasonable
                           answer; revise Pribonic engagement letter; draft correspondence to opposing counsel regarding
                           Plaintiffs' discovery deficiencies; research case-law regarding compound interrogatories; draft
305                        outline for motion to compel hearing
306   5/18/2016   JMB      Work on claim construction brief; teleconference with client                                        2.7   $   1,822.50 1776865     But-For                  $                1,822.50          Reasonable
      5/18/2016   CB       Review discovery dispute issues and related legal research in preparation for teleconference with   3.7   $   2,497.50 1776865     But-For                  $                2,497.50          Reasonable
                           Court and discuss with A. Shah and J. Barnes; review draft claim construction brief
307
      5/18/2016   CF       Review correspondence from opposing counsel regarding meet and confer and interrogatory             3.0   $   1,215.00 1776865     But-For                  $                1,215.00          Reasonable
                           responses; draft and finalize correspondence regarding extrinsic evidence for use in brief and
                           plaintiff product; revise amended complaint in light of revised inequitable conduct arguments;
                           draft correspondence regarding same and amended complaint
308
309   5/18/2016   AMS      Draft summary of arguments for hearing on Plaintiffs' motion to compel                              1.7   $    756.50 1776865      But-For                  $                 756.50           Reasonable
      5/19/2016   CF       Review correspondence regarding amended complaint and inequitable conduct argument                  0.6   $    243.00 1776865      016 Patent               $                 243.00           Reasonable
                           related to 016 patent; draft correspondence regarding same; conference regarding hearing
310                        and amended complaint
      5/19/2016   JMB      Prepare for and attend hearing with Court regarding discovery issues; work on updating discovery    1.9   $   1,282.50 1776865     But-For                  $                1,282.50          Reasonable
311                        responses; teleconference with team
      5/19/2016   CB       Argue discovery issues in teleconference with opposing counsel and Court clerk and review           3.2   $   2,160.00 1776865     But-For                  $                2,160.00          Reasonable
                           related materials in preparation; review email to opposing counsel re lack of response concerning
                           Defendants' discovery issues; discuss production of ProSlide agreement with team.
312
      5/19/2016   AMS      Revise claim construction brief; Call with Court regarding motion to compel; call with C. Brahma 3.2      $   1,424.00 1776865                                                                 Reasonable
313                        and J. Barnes regarding the same




                                                                                                                        Defendant's Exhibit B-6                                                                                               11
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           A           B                                                    C                                                       D        E             F                   G                     H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
314 5/20/2016     JMB      Work on Markman Brief                                                                                  0.6   $     405.00   1776865   But-For                  $                  405.00          Reasonable
315 5/20/2016     CB       Revise claim construction brief.                                                                       3.4   $   2,295.00   1776865   But-For                  $                2,295.00          Reasonable
316 5/20/2016     AMS      Revise Opening Claim Construction Brief                                                                0.9   $     400.50   1776865   But-For                  $                  400.50          Reasonable
317 5/22/2016     CB       Revise claim construction brief.                                                                       2.4   $   1,620.00   1776865   But-For                  $                1,620.00          Reasonable
318 5/23/2016     JMB      Finalize and file claim construction brief; work on supplemental discovery responses                   4.6   $   3,105.00   1776865   But-For                  $                3,105.00          Reasonable
    5/23/2016     CB       Revise claim construction brief; discuss outstanding discovery issues with A. Shah and J. Barnes.      4.7   $   3,172.50   1776865   But-For                  $                3,172.50          Reasonable
319
      5/23/2016   CF       Review correspondence regarding amended complaint and final revisions to brief; draft                  0.2   $        81.00 1776865   But-For                  $                  81.00           Reasonable
320                        correspondence regarding same
321 5/23/2016     MPO      Cite check claim construction brief for Anup Shah                                                      2.4   $     600.00   1776865   But-For                  $                  600.00          Reasonable
322 5/23/2016     AMS      Finalize Opening Claim Construction Brief, Barnes Declaration, and Exhibits                            7.2   $   3,204.00   1776865   But-For                  $                3,204.00          Reasonable
323 5/24/2016     AMS      Draft PSD's Second Supplemental Responses to First Set of Interrogatories                              1.6   $     712.00   1776865   But-For                  $                  712.00          Reasonable
    5/24/2016     CF       Review and analyze all of plaintiff productions; draft and finalize report of same further to          3.2   $   1,296.00   1776865   IPR; '016 Patent         $                1,296.00          Reasonable
                           amended answer, invalidity contentions and brief; draft correspondence regarding 016 IPR
324                        and proposed art; conference regarding same
      5/25/2016   CB       Review email from opposing counsel re outstanding discovery disputes and discuss production of         0.8   $    540.00 1776865      But-For                  $                 540.00           Reasonable
325                        ProSlide document and remaining discovery issues with team.
      5/25/2016   CF       Conference regarding broadest reasonable interpretation of certain terms, Plaintiff's brief, and       0.4   $    162.00 1776865      But-For                  $                 162.00           Reasonable
                           research general disclaimer effect on scope; draft correspondence regarding Federal Circuit
326                        decisions and effect on same
      5/25/2016   MCM      Review and analyze documents filed by Whitewater and PSD, and produced by same, to assess              2.0   $    770.00 1776865      But-For                  $                 770.00           Reasonable
                           potential liability and discovery issues, and also for discussions with Yong Yeh and Richard
327                        Alleshouse
      5/25/2016   AMS      Review Plaintiffs' Opening Claim Construction Brief; call with J. Barnes regarding claim               4.7   $   2,091.50 1776865     But-For                  $                2,091.50          Reasonable
328                        construction hearing; draft outline for PSD's Responsive Claim Construction Brief
      5/25/2016   JMB      Work on claim construction brief; work on response to correspondence from opposing counsel;            6.7   $   4,522.50 1776865     IPR; '016 Patent         $                4,522.50                       $                 4,522.50
                           research and analyze art for IPR on 589 patent; discuss IPR for 016 patent
329
      5/26/2016   JMB      Teleconference with team to discuss strategy for meet and confer; meet and confer with opposing        2.1   $   1,417.50 1776865     But-For                  $                1,417.50          Reasonable
                           counsel; teleconference with team to discuss issue of Proslide agreement; analyze Proslide
330                        agreement
      5/26/2016   CB       Revise draft amended answer; meet and confer with opposing counsel re outstanding discovery            6.6   $   4,455.00 1776865     But-For                  $                4,455.00          Reasonable
                           issues and review related materials in preparation; review supplemental responses to
                           interrogatories and discuss limited disclosure of Proslide agreement terms; review plaintiffs' claim
331                        construction brief and outline of response.
332   5/26/2016   MCM      Review and analyze patent filings and maintenance information from Yong Yeh                            0.2   $      77.00 1776865     But-For                  $                   77.00          Reasonable
      5/26/2016   AMS      Call with Y. Yeh and M. Mao regarding discovery issues; call with C. Brahma and J. Barnes              3.4   $   1,513.00 1776865     IPR; '016 Patent         $                1,513.00          Reasonable
                           regarding meet and confer; participate in meet and confer with Plaintiffs; draft '016 Inter Partes
333                        Review
      5/27/2016   JMB      Review supplemental interrogatory responses; teleconference with client regarding Proslide             1.3   $    877.50 1776865      But-For                  $                 877.50           Reasonable
334                        agreement and non-infringement analysis;
      5/27/2016   CF       Review correspondence from opposing counsel regarding certain production documents and meet            0.3   $    121.50 1776865      But-For                  $                 121.50           Reasonable
                           and confer; draft and finalize correspondence regarding same; review correspondence regarding
335                        amended complaint and draft correspondence regarding same
      5/27/2016   MCM      Review and analyze documents produced by PSD and Whitewater to assess potential interim                1.5   $    577.50 1776865      But-For                  $                 577.50           Reasonable
                           settlement and discovery strategy, in light of proposal from Rick Tache as to ProSlide
336
      5/27/2016   AMS      Call with Y. Yeh, M. Mao and J. Barnes regarding discovery issues; finalize Second                     2.2   $    979.00 1776865      But-For                  $                 979.00           Reasonable
337                        Supplemental Responses to First Set of Interrogatories
      5/30/2016   CF       Revise and finalize amended complaint in view of defenses and counterclaims of inequitable             1.4   $    567.00 1776865      But-For                  $                 567.00           Reasonable
                           conduct; draft and finalize correspondence regarding same, opposing counsel and client
338                        instructions
339   5/31/2016   JMB      Work on Markman brief; respond to correspondence from Flowrider                                        1.8   $   1,215.00 1776865     But-For                  $                1,215.00          Reasonable
      5/31/2016   CB       Review and revise outline for responsive claim construction brief; revise draft of amended             5.3   $   3,577.50 1776865     But-For                  $                3,577.50          Reasonable
340                        answer; discuss disclosure of portions of ProSlide agreement.
341   5/31/2016   AMS      Draft Responsive Claim Construction Brief                                                              4.0   $   1,780.00 1787446     But-For                  $                1,780.00          Reasonable




                                                                                                                          Defendant's Exhibit B-6                                                                                                12
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            A          B                                                   C                                                      D        E             F                   G                     H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      6/1/2016    CB       Review email from opposing counsel re confidentiality treatment of Proslide agreement terms and      3.2   $   2,160.00 1787446     But-For                  $                2,160.00          Reasonable
                           discuss response with A. Shah; revised amended answer; revise claim construction opposition
342                        brief.
343   6/1/2016    AMS      Draft Responsive Claim Construction Brief                                                            6.4   $   2,848.00 1787446     But-For                  $                2,848.00          Reasonable
      6/1/2016    CF       Review plaintiff's opening brief; draft and finalize correspondence regarding preliminary analysis   1.2   $     486.00 1787446     IPR                      $                  486.00                       $                   486.00
                           of same; review correspondence from opposing counsel regarding designation of certain
                           documents and protective order; draft correspondence regarding same; draft and finalize
                           correspondence regarding IPR petition related to 589 patent and amended complaint; further
344                        revise complaint
345   6/2/2016    JMB      Review and edit claim construction brief                                                             3.6   $   2,430.00 1787446     But-For                  $                2,430.00          Reasonable
      6/2/2016    CF       Review correspondence regarding IPR of 589 patent; draft correspondence regarding                    0.4   $     162.00 1787446     IPR                      $                  162.00                       $                   162.00
                           references for use against certain claims; draft and finalize correspondence regarding amended
346                        complaint and rule 408 communications
347   6/2/2016    AMS      Draft responsive claim construction brief (4.0); draft '016 Patent IPR Petition (2.5)                6.5   $   2,892.50 1787446     IPR; '016 Patent         $                1,112.50                       $                 2,892.50
348   6/3/2016    AMS      Revise Responsive Claim Construction Brief                                                           2.0   $     890.00 1787446     But-For                  $                  890.00          Reasonable
      6/3/2016    CF       Review correspondence regarding extrinsic evidence in brief; review extrinsic evidence for           2.5   $   1,012.50 1787446     IPR                      $                1,012.50                       $                 1,012.50
                           supplementing certain terms; draft and finalize correspondence regarding same; review plaintiff
                           production in regards to designation and rule 408 communications; review, revise and finalize
                           amended complaint and draft correspondence regarding same; analyze 589 invalidity references;
                           draft and finalize correspondence regarding strategy and proposed primary references for
349                        use in IPR petition for 589 patent
350   6/5/2016    CB       Revise responsive claim construction brief.                                                          3.5   $   2,362.50 1787446     But-For                  $                2,362.50          Reasonable
351   6/6/2016    CB       Revise responsive claim construction brief.                                                          3.8   $   2,565.00 1787446     But-For                  $                2,565.00          Reasonable
      6/6/2016    CF       Review correspondence regarding amended complaint and redactions versus filing under seal;           0.5   $     202.50 1787446     But-For                  $                  202.50          Reasonable
                           conference regarding same; revise and finalize redacted complaint for client review; draft
352                        correspondence regarding same
353 6/6/2016      AMS      Finalize Responsive Claim Construction Brief, supporting Declaration, and Exhibits                   4.9   $   2,180.50   1787446   But-For                  $                2,180.50          Reasonable
354 6/6/2016      JMB      Review and edit claim construction brief; work on invalidity analysis for 016 IPR                    4.1   $   2,767.50   1787446   IPR; '016 Patent         $                2,767.50                       $                 2,767.50
355 6/7/2016      CB       Revise responsive claim construction brief.                                                          0.8   $     540.00   1787446   But-For                  $                  540.00          Reasonable
    6/7/2016      CF       Review request for production from opposing counsel and inquiry regarding related meet and           0.2   $      81.00   1787446   But-For                  $                   81.00          Reasonable
356                        confer; conference regarding same; draft and finalize correspondence regarding same
357   6/7/2016    JMB      Edit and revise Markman Brief; file joint stipulation; work on IPRs                                  3.6   $   2,430.00 1787446     IPR                      $                2,430.00                       $                 2,430.00
      6/8/2016    JMB      Finalize and file Markman brief; work on IPR petitions; attention to ESI discovery issues            3.1   $   2,092.50 1787446     IPR                      $                2,092.50          Reasonable
358
      6/9/2016    CF       Review correspondence from searcher and new references for 589 and 016 IPR;                          0.9   $    364.50 1787446      IPR; '016 Patent         $                 364.50                        $                  364.50
359                        preliminary analysis of each reference; draft correspondence regarding each
360   6/13/2016   AMS      Draft email search terms                                                                             0.4   $     178.00 1787446     But-For                  $                  178.00          Reasonable
      6/13/2016   JMB      Teleconference with Mark Mao regarding strategy; review draft 016 IPR; formulate                     2.4   $   1,620.00 1787446     IPR; '016 Patent         $                1,620.00          Reasonable
361                        proposed ESI search terms for Flowrider
362   6/14/2016   JMB      Correspond with opposing counsel regarding ESI dispute                                               0.7   $    472.50 1787446      But-For                  $                 472.50           Reasonable
363   6/15/2016   AMS      Revise motion for leave to file amended answer                                                       0.5   $    222.50 1787446      But-For                  $                 222.50           Reasonable
      6/16/2016   CF       Draft correspondence regarding amended complaint and motion to file same under seal; review          0.2   $     81.00 1787446      But-For                  $                  81.00           Reasonable
364                        correspondence and draft of same
      6/16/2016   AMS      Call with M. Mao, C. Brahma and J. Barnes regarding case (0.6); revise Motion for Leave to File      1.2   $    534.00 1787446      But-For                  $                 534.00           Reasonable
365                        Amended Answer (0.6)
366   6/16/2016   JMB      Teleconference to discuss strategy for Markman and IPRs                                              0.9   $     607.50 1787446     IPR                      $                  607.50                       $                   607.50
      6/17/2016   JMB      Review new case law pertinent to claim construction; review new case law pertinent to stay           2.5   $   1,687.50 1787446     IPR                      $                1,687.50                       $                 1,687.50
367                        based on IPR; work on amended answer
368   6/18/2016   JMB      Work on amended answer and motion for leave to amend; review 016 IPR                                 2.6   $   1,755.00 1787446     IPR; '016 Patent         $                1,755.00                       $                 1,755.00
      6/20/2016   JMB      Teleconference with opposing counsel; teleconference with client; review and analyze cases           3.3   $   2,227.50 1787446     But-For                  $                2,227.50          Reasonable
369                        provided by Flowrider regarding inequitable conduct and intervening rights
      6/20/2016   CF       Review correspondence regarding meet and confer with opposing counsel and objections to              0.5   $    202.50 1787446      But-For                  $                 202.50           Reasonable
                           assertions in amended complaint; conference regarding same; preliminary review of cited cases
370                        and draft correspondence regarding same
      6/21/2016   CB       Discuss filing of amended answer and motion for leave, objections of opposing counsel with J.        0.4   $    270.00 1787446      But-For                  $                 270.00           Reasonable
371                        Barnes.
      6/21/2016   JMB      Teleconference with client regarding electronic discovery; correspond with opposing counsel          1.8   $   1,215.00 1787446     IPR; '016 Patent         $                1,215.00          Reasonable
372                        regarding inequitable conduct claim; review and edit 016 IPR




                                                                                                                         Defendant's Exhibit B-6                                                                                               13
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            A          B                                                   C                                                    D        E             F                   G                     H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                             HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      6/22/2016   JMB      Review and edit 016 IPR; review prior art for 589 patent; teleconference with opposing counsel 7.2       $   4,860.00 1787446     IPR; '016 Patent         $                4,860.00          Reasonable
                           regarding amended answer; finalize and file amended answer and motion for leave to amend
373
      6/22/2016   CF       Conference regarding amended complaint and meet and confer with opposing counsel; review           1.8   $    729.00 1787446      IPR; '016 Patent         $                 729.00           Reasonable
                           prosecution history of 589 and 016 patent; draft correspondence regarding same; meet and
                           confer with opposing counsel; confer regarding amendment complaint
374
375   6/23/2016   JMB      Review and analyze plaintiff's claim construction brief                                            1.1   $     742.50 1787446     But-For                  $                  742.50          Reasonable
      6/23/2016   CF       Review entire plaintiff production; draft correspondence regarding documents and that remain       3.8   $   1,539.00 1787446     But-For                  $                1,539.00          Reasonable
                           outstanding; draft report regarding same; review correspondence from opposing counsel
                           regarding same; review correspondence from opposing counsel regarding ESI order; draft and
                           finalize letter to opposing counsel regarding outstanding non-responsive production and ESI
376                        order and draft correspondence regarding same
      6/24/2016   JMB      Work through discovery correspondence and draft omnibus letter to plaintiffs regarding all         1.6   $   1,080.00 1787446     But-For                  $                1,080.00          Reasonable
377                        outstanding topics
      6/24/2016   CF       Review correspondence regarding plaintiff discovery; review plaintiff discovery and draft          0.5   $    202.50 1787446      But-For                  $                 202.50           Reasonable
378                        correspondence regarding same; revise letter to plaintiff regarding same
      6/28/2016   CF       Review correspondence from opposing counsel regarding defects in production requests,              0.2   $        81.00 1787446   But-For                  $                  81.00           Reasonable
                           interrogatory responses, and call with Court regarding same; draft correspondence regarding same
379
      6/28/2016   JMB      Teleconference with client; work on 016 IPR; draft correspondence to opposing counsel              2.2   $   1,485.00 1787446     IPR; '016 Patent         $                1,485.00          Reasonable
380                        regarding discovery shortcomings
      6/28/2016   AMS      Call with Y. Yeh and J. Barnes regarding expert (0.3); call with J. Barnes and C. Franich          1.0   $    445.00 1787446      IPR; '016 Patent         $                 222.50           Reasonable
                           regarding edits to '016 IPR Petition (0.5); draft responsive email to Plaintiffs (0.2)
381
      6/30/2016   CF       Draft and finalize motion to file amended answer under seal further to court order denying first   2.5   $   1,012.50 1787446     But-For                  $                1,012.50          Reasonable
382                        motion
      7/1/2016    CF       Review correspondence regarding renewed motion; revise and finalize same with instructions to      0.8   $    324.00 1794086      But-For                  $                 324.00           Reasonable
                           file; review correspondence from opposing counsel regarding new production and responses to
                           interrogatories; review correspondence from opposing counsel regarding motion; revise and
                           finalize motion and exhibits, conference regarding same with instructions to serve and file
383
384 7/1/2016      JMB      Review and edit motion to file amended answer under seal                                           0.5   $     337.50   1794086   But-For                  $                  337.50          Reasonable
385 7/5/2016      JMB      Prepare for oral argument on claim construction issues                                             2.6   $   1,755.00   1794086   But-For                  $                1,755.00          Reasonable
386 7/5/2016      AMS      Review and summarize Plaintiffs' interrogatory responses                                           0.3   $     133.50   1794086   But-For                  $                  133.50          Reasonable
    7/6/2016      JMB      Prepare for Markman hearing; correspond with opposing counsel regarding discovery                  4.8   $   3,240.00   1794086   But-For                  $                3,240.00          Reasonable
387                        deficiencies; file joint motion; email client regarding change in hearing date
388   7/6/2016    AMS      Draft responsive correspondence to Plaintiffs (0.6); draft Markman slides (3.2)                    3.8   $   1,691.00 1794086     But-For                  $                1,691.00          Reasonable
389   7/7/2016    JMB      Attention to claim construction and document collection issues                                     1.1   $     742.50 1794086     But-For                  $                  742.50          Reasonable
      7/11/2016   JMB      Review and analyze document production; teleconference with expert regarding IPRs; work on         5.7   $   3,847.50 1794086     But-For                  $                3,847.50          Reasonable
390                        stay motion
      7/11/2016   AMS      Call with E. Pribonic and J. Barnes regarding '016 IPR (0.5); call with J. Barnes regarding        1.7   $    756.50 1794086      IPR; '016 Patent         $                 534.00           Reasonable
391                        discovery (0.5); revise '016 IPR Petition (0.7)
      7/21/2016   CB       Discuss outstanding discovery issues with J. Barnes and A Shah and review related                  0.4   $    270.00 1794086      But-For                  $                 270.00           Reasonable
392                        correspondence from opposing counsel.
393   7/22/2016   JMB      Draft correspondence to opposing counsel regarding ongoing discovery issues                        0.5   $    337.50 1794086      But-For                  $                 337.50           Reasonable
      7/22/2016   CF       Review correspondence regarding 589 IPR and issues raised by opposing counsel as to ESI            0.3   $    121.50 1794086      IPR                      $                 121.50
                           order, custodians, and discovery issues; draft and finalize correspondence regarding each issue
394
      7/25/2016   CB       Review plaintiffs' opposition to motion for leave to amend and discuss response with J. Barnes     0.8   $    540.00 1794086      But-For                  $                 540.00           Reasonable
395                        and A. Shah.
      7/25/2016   CF       Review correspondence regarding Plaintiff production, interrogatory amended responses, and         0.3   $    121.50 1794086      But-For                  $                 121.50           Reasonable
396                        opposition to motion to amend; draft and finalize correspondence regarding same
      7/25/2016   AMS      Meet and confer call with opposing counsel (0.6); draft correspondence to opposing counsel         0.9   $    400.50 1794086      But-For                  $                 400.50           Reasonable
397                        regarding the same (0.3)
398   7/26/2016   JMB      Review and analyze opposition brief and cited cases; work on outline of reply                      6.2   $   4,185.00 1794086     But-For                  $                4,185.00          Reasonable
      7/26/2016   CB       Teleconference with J. Barnes and A. Shah re plaintiffs' opposition to motion for leave to amend   0.5   $     337.50 1794086     But-For                  $                  337.50          Reasonable
399                        answer and proposed reply brief.




                                                                                                                        Defendant's Exhibit B-6                                                                                              14
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            A          B                                                   C                                                      D        E             F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      7/26/2016   AMS      Review Opposition to Motion for Leave to File Amended Answer (0.4); call with C. Brahma and 5.1            $   2,269.50 1794086     But-For                  $                2,269.50          Reasonable
400                        J. Barnes regarding opposition (0.5); analyze '589 prior art references (4.2)
401   7/26/2016   CF       Conference regarding 589 IPR strategy, stay, and reply to plaintiff motion                      0.3        $    121.50 1794086      IPR                      $                 121.50                        $                   121.50
      7/26/2016   MCM      Review and analysis of current status of case, particularly on status of collateral proceedings 0.4        $    154.00 1794086      IPR                      $                 154.00                        $                   154.00
402
403   7/27/2016   JMB      Work on reply brief for motion to add answer                                                        7.9    $   5,332.50 1794086     But-For                  $                5,332.50
      7/27/2016   CF       Review declarations from opposing counsel and motion against inequitable conduct; conference 0.6           $     243.00 1794086     IPR                      $                  243.00                       $                   243.00
                           regarding same; review correspondence regarding 589 IPR and draft and finalize
404                        preliminary analysis of same and IPR strategy
      7/28/2016   AMS      Call with Y. Yeh regarding interrogatory responses (0.2); draft interrogatory responses (0.1); call 1.4    $    623.00 1794086      But-For                  $                 623.00           Reasonable
                           with J. Barnes regarding discovery issues (0.2); revise Reply in support of motion to leave (0.9)
405
      7/28/2016   JMB      Review outline of 589 IPR; work on draft of reply brief and circulate to team; attention to          5.6   $   3,780.00 1794086     IPR                      $                3,780.00                       $                 3,780.00
406                        discovery hearing correspondence
      7/29/2016   AMS      Draft supplemental interrogatory responses (1.1); review additional '589 patent prior art            1.8   $    801.00 1794086      But-For                  $                 801.00           Reasonable
407                        references (0.7)
      7/29/2016   JMB      Work on 589 IPR; edit reply brief on amended answer; review supplemental interrogatory               3.8   $   2,565.00 1794086     IPR                      $                2,565.00                       $                 2,565.00
408                        responses
      8/4/2016    CF       Review supplemental response to request for production from plaintiffs; draft correspondence         0.6   $    243.00 1797770      IPR                      $                 243.00                        $                  243.00
409                        regarding same and overlap with parallel IPR strategy
      8/8/2016    JMB      Review and analyze document production; analyze protective order issue; prepare for discovery        1.2   $    810.00 1797770      But-For                  $                 810.00           Reasonable
410                        call with Court;
      8/8/2016    CF       Review correspondence regarding potential protective order issues with respect to opposing           0.2   $        81.00 1797770   But-For                  $                  81.00           Reasonable
411                        counsel; draft and finalize correspondence regarding same
412   8/8/2016    AMS      Draft correspondence to opposing counsel                                                             0.1   $     44.50 1797770      But-For                  $                  44.50           Reasonable
      8/9/2016    JMB      Teleconference with opposing counsel regarding discovery issues; prepare for call with Court;        1.3   $    877.50 1797770      IPR                      $                 877.50                        $                  877.50
413                        work on IPR
414   8/10/2016   JMB      Prepare for and attend call with Court regarding discovery issues                                    1.5   $   1,012.50 1797770     But-For                  $                1,012.50          Reasonable
      8/10/2016   AMS      Draft summary of issues for call with Court (0.6); call with Court (0.5); draft '589 IPR petition    6.1   $   2,714.50 1797770     IPR                      $                2,225.00                       $                 2,714.50
415                        (5.0)
416   8/11/2016   JMB      Work on Markman preparation; work on '589 IPR                                                        1.3   $    877.50 1797770      IPR                      $                 877.50                        $                  877.50
      8/11/2016   CF       Review correspondence regarding conference with magistrate; draft correspondence regarding           0.5   $    202.50 1797770      IPR                      $                 202.50                        $                  202.50
                           same; review correspondence regarding '589 IPR and draft correspondence regarding same;
417                        begin drafting summary of issues for opening brief
      8/12/2016   JMB      Draft letter to opposing counsel regarding protective order; review letter from opposing IPR         0.5   $    337.50 1797770      IPR                      $                 337.50                        $                  337.50
418                        counsel
      8/12/2016   CF       Analyze protective order and draft and finalize letter to opposing counsel regarding violations of   1.4   $    567.00 1797770      IPR                      $                 567.00                        $                  567.00
                           the protective order; review notice from opposing counsel in IPR; draft correspondence
419                        regarding potential violation of protective order
420   8/24/2016   JMB      Work on outline for Markman presentation; assist with filing '589 IPR                                5.4   $   3,645.00 1797770     IPR                      $                3,645.00                       $                 3,645.00
      8/24/2016   CF       Review notice regarding '589 IPR petition; draft correspondence regarding same with                  2.2   $     891.00 1797770     IPR                      $                  891.00                       $                   891.00
421                        instructions to file; continue drafting amended invalidity contentions
      8/25/2016   CF       Review correspondence regarding definiteness standard and strategy in hearing; draft and finalize    4.1   $   1,660.50 1797770     But-For                  $                1,660.50          Reasonable
                           correspondence regarding same; continue revising and finalizing amended invalidity contention
422                        claim charts; draft correspondence regarding same
      8/25/2016   AMS      Draft Notice and supporting declaration (0.8); prepare for Markman Hearing (1.2) call with J.        2.5   $   1,112.50 1797770     But-For                  $                1,112.50          Reasonable
423                        Barnes regarding the same (0.5)
      8/25/2016   JMB      Work on notice to court regarding '589 IPR; work on outline for Markman presentation                 5.8   $   3,915.00 1797770     IPR                      $                3,915.00                       $                 3,915.00
424
425   8/26/2016   JMB      Review materials and prepare presentation for claim construction hearing                             6.4   $   4,320.00 1797770     But-For                  $                4,320.00          Reasonable
      8/26/2016   CF       Continue drafting amended invalidity contention claim charts; attend pre-hearing with clerk          5.1   $   2,065.50 1797770     But-For                  $                2,065.50          Reasonable
426                        further to Markman hearing; draft and finalize correspondence regarding same
427   8/26/2016   AMS      Prepare outline for Markman Hearing                                                                  4.0   $   1,780.00 1797770     But-For                  $                1,780.00          Reasonable
428   8/29/2016   JMB      Work on outline and slides for Markman hearing                                                       7.8   $   5,265.00 1797770     But-For                  $                5,265.00          Reasonable
      8/29/2016   CF       Conference regarding Markman strategy; research claim breadth argument and draft                     5.0   $   2,025.00 1797770     But-For                  $                2,025.00          Reasonable
429                        correspondence regarding same; review preliminary Markman presentation
      8/29/2016   MCM      Review and analyze Flowrider's claim construction arguments, and Markman hearing filings             2.2   $    847.00 1797770      But-For                  $                 847.00           Reasonable
430




                                                                                                                         Defendant's Exhibit B-6                                                                                               15
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            A          B                                                     C                                                     D         E             F                  G                      H                           I                    J
         DATE     BILLER                             DESCRIPTION OF WORK PERFORMED                                               HRS        AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
431   8/29/2016   AMS      Call with J. Barnes regarding hearing (0.4); revise outline for hearing (0.8)                         1.2    $     534.00 1797770     But-For                  $                  534.00          Reasonable
      8/30/2016   JMB      Prepare for Markman hearing; review and analyze opposition brief regarding stay; research cases       12.0   $   8,100.00 1797770     But-For                  $                8,100.00          Reasonable
432                        cited by Plaintiff; draft reply brief on motion to stay
      8/30/2016   CF       Review, revise and finalize all remaining charts for amended invalidity contentions; conference       5.2    $   2,106.00 1797770     But-For                  $                2,106.00          Reasonable
                           regarding Markman hearing; revise and finalized draft of presentation; review Flowrider
                           opposition to stay; research case cites in opposition motion; draft and finalize correspondence
433                        regarding same; conference regarding reply strategy
      8/30/2016   AMS      Revise Markman slides (2.1); prepare for Markman Hearing (1.0); review Plaintiffs' Opposition to      3.4    $   1,513.00 1797770     But-For                  $                1,513.00          Reasonable
434                        Motion to Stay (0.3)
435   8/31/2016   JMB      Work on outline and graphics for Markman presentation; prepare for hearing                            8.5    $   5,737.50 1797770     But-For                  $                5,737.50          Reasonable
      8/31/2016   CF       Revise and finalize draft of Markman presentation; conference regarding Markman strategy;             7.1    $   2,875.50 1797770     But-For                  $                2,875.50          Reasonable
                           prepare material for Markman; begin revising reply brief in support of Defendant's Motion to Stay
436                        Pending Inter Partes Review
437   8/31/2016   MCM      Assist in preparation of Markman hearing                                                              2.3    $    885.50 1797770      But-For                  $                 885.50           Reasonable
      8/31/2016   JLS      Prepare key documents and obtain all case law cited in briefs for attorney review in preparation      3.8    $    532.00 1797770      But-For                  $                 532.00           Reasonable
438                        for hearing
439   8/31/2016   AMS      Prepare for Markman Hearing                                                                           10.4   $   4,628.00 1797770     But-For                  $                4,628.00          Reasonable
      9/1/2016    CF       Draft Declaration for use in reply to Plaintiff response to stay motion; research cases cited by      2.6    $   1,053.00 1813906     But-For                  $                1,053.00          Reasonable
                           Plaintiff; draft correspondence regarding same; continue revising reply; final preparations for and
                           attend Markman; draft and finalize joint stipulation for extension of time for reply to opposition;
440                        coordinate filing of same
441   9/1/2016    AMS      Prepare for Markman Hearing (3.5); participate in Markman Hearing (2.0)                               5.5    $   2,447.50 1813906     But-For                  $                2,447.50          Reasonable
442   9/1/2016    JMB      Prepare for and attend claim construction hearing; work on reply brief for stay motion                7.3    $   4,927.50 1813906     But-For                  $                4,927.50          Reasonable
      9/1/2016    MCM      Review and revise current case defense and offensive strategy, in addition to IPR strategies          0.6    $     231.00 1813906     IPR                      $                  231.00                       $                 231.00
443
444   9/2/2016    JMB      Review and edit draft of reply brief for stay; work on supporting declaration and exhibits       4.3         $   2,902.50 1813906     But-For                  $                2,902.50          Reasonable
      9/2/2016    CF       Continue revising declaration and reply brief in response to plaintiffs reply; continue creating 2.8         $   1,134.00 1813906     But-For                  $                1,134.00          Reasonable
                           evidentiary exhibits per correspondence between parties through discovery; conference regarding
                           same; draft and finalize correspondence regarding draft of declaration, brief, and exhibits
445
446   9/2/2016    MCM      Review and revise reply brief in support of PSD's Motion For Stay                                     0.5    $     192.50 1813906     But-For                  $                  192.50          Reasonable
447   9/2/2016    AMS      Revise Reply in Support of Motion to Stay and Declaration                                             2.5    $   1,112.50 1813906     But-For                  $                1,112.50          Reasonable
      9/2/2016    MCM      Review and revise current case defense and offensive strategy, in addition to IPR strategies          0.8    $     308.00 1813906     IPR                      $                  308.00                       $                 308.00
448
449   9/6/2016    JMB      Finalize and file reply brief on motion to stay                                                       0.5    $    337.50 1813906      But-For                  $                 337.50           Reasonable
      9/6/2016    SBH      Finalize and prepare for electronic filing exhibits, declaration and reply brief and electronically   0.5    $    100.00 1813906      But-For                  $                 100.00           Reasonable
450                        file same in the Southern District Court of California
451   9/6/2016    SBH      Revise exhibits to correct IPR2016-1674 filing deficiency                                             0.5    $    100.00 1813906      IPR                      $                 100.00                        $                 100.00
      9/6/2016    MH       Organize and prepare Charan Brahma for Financial Manager for subsequent attorney                      1.8    $    486.00 1813906      IPR                      $                 486.00                        $                 486.00
452                        review
      9/6/2016    CF       Conference regarding reply brief and declaration; review and analyze discovery history and begin      3.4    $   1,377.00 1813906                                                                 Reasonable
                           drafting motion to compel discovery from plaintiffs; review correspondence regarding invalidity
                           contentions and amendment strategy; draft correspondence regarding same
453
      9/8/2016    CF       Finalize draft of motion to compel and draft correspondence regarding same; conference                9.4    $   3,807.00 1813906                                                                 Reasonable
                           regarding additional arguments under the ESI order; research legal issues and revise motion;
                           draft evidentiary exhibits and draft and finalize correspondence regarding same; begin drafting
454                        declaration
455   9/8/2016    JMB      Work on motion to compel                                                                              0.7    $     472.50   1813906                                                               Reasonable
456   9/9/2016    JMB      Review and edit motion to compel; file brief                                                          1.6    $   1,080.00   1813906                                                               Reasonable
457   9/9/2016    SBH      Prepare exhibits to conform with local rules for PSD's Motion to Compel                               0.5    $     100.00   1813906                                                               Reasonable
458   9/9/2016    MH       Organize and prepare corrected exhibits for filing as per attorney request                            3.0    $     810.00   1813906                                                               Reasonable
459   9/9/2016    AMS      Revise and finalize Motion to Compel and supporting declaration                                       5.3    $   2,358.50   1813906                                                               Reasonable
460   9/12/2016   JMB      Review and edit outline of response to motion to compel                                               0.6    $     405.00   1813906   But-For                  $                  405.00          Reasonable
      9/12/2016   CF       Review and analyze motion to compel from Plaintiffs; review and analyze cases cited; research         3.7    $   1,498.50   1813906   But-For                  $                1,498.50          Reasonable
                           cases; draft and finalize correspondence regarding analysis of same with outline of opposition
461
462   9/12/2016   SBH      Pull case law cited by Plaintiffs in their Motion to Compel; circulate link of cases to team          1.0    $    200.00 1813906      But-For                  $                 200.00           Reasonable




                                                                                                                          Defendant's Exhibit B-6                                                                                                16
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           A           B                                                   C                                                      D        E            F                      G                  H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT       INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
463   9/12/2016   AMS      Review motion to compel (0.2); edit outline (0.1)                                                    0.3   $    133.50 1813906     But-For                  $                 133.50           Reasonable
464   9/13/2016   JMB      Work on opposition to motion to compel                                                               1.1   $    742.50 1813906     But-For                  $                 742.50           Reasonable
      9/13/2016   AMS      Call with J. Barnes and C. Franich regarding Opposition Brief (0.4); revise outline of Opposition    0.8   $    356.00 1813906     But-For                  $                 356.00           Reasonable
465                        Brief (0.4)
      9/14/2016   MCM      Review and analyze court order on PSD's Motion For Stay (pending IPR), and status of case            0.6   $    231.00 1813906     But-For                  $                 231.00           Reasonable
466
      9/15/2016   CF       Continue drafting opposition brief and researching certain points; conference regarding same         3.3   $   1,336.50 1813906    But-For                  $                1,336.50          Reasonable
467
468   9/15/2016   MH       Organize and prepare recent docket filings for subsequent attorney review                0.5               $     135.00 1813906    But-For                  $                  135.00          Reasonable
469   9/15/2016   AMS      Draft Opposition to Motion to Compel                                                     5.8               $   2,581.00 1813906    But-For                  $                2,581.00          Reasonable
      9/16/2016   SBH      Prepare Table of Contents and Table of Authorities in PSD's Opposition to Motion to      1.5               $     300.00 1813906    Administrative           $                  300.00          Reasonable
                           Compel Discovery; prepare exhibits and Table of Exhibits for Declaration of Anup Shah in
                           support of PSD's Opposition to Plaintiffs' Motion to Compel Discovery
470
471   9/16/2016   JMB      Review and edit draft of motion to compel opposition                                                 1.3   $    877.50 1813906     But-For                  $                 877.50           Reasonable
      9/16/2016   CF       Revise and finalize portions of opposition brief; conference regarding same; draft and finalize      1.1   $    445.50 1813906     But-For                  $                 445.50           Reasonable
                           motion to file under seal for exhibit 5; draft and finalize declaration and create evidentiary
472                        exhibits
473   9/16/2016   AMS      Finalize Opposition to Motion to Compel                                                              4.4   $   1,958.00 1813906    But-For                  $                1,958.00          Reasonable
      9/19/2016   CF       Review Plaintiffs opposition brief; analyze augments and case cites; research case law;              3.9   $   1,579.50 1813906    But-For                  $                1,579.50          Reasonable
                           conference regarding same draft and finalize reply outline; review construction order; draft and
474                        finalize preliminary analysis of same
      9/19/2016   SBH      Pull cases cited in Plaintiffs' Opposition to Defendants' Motion to Compel Discovery and circulate   0.5   $    100.00 1813906     But-For                  $                 100.00           Reasonable
475                        link to same
476   9/19/2016   BK       Retrieve cases for Anup Shah                                                                         0.2   $     39.00 1813906     But-For                  $                  39.00           Reasonable
477   9/19/2016   JMB      Review and analyze claim construction order; discuss reply for motion to compel                      1.2   $    810.00 1813906                                                                 Reasonable
      9/19/2016   AMS      Call with C. Franich regarding Reply in support of Motion to Compel                                  0.2   $     89.00 1813906                                                                 Reasonable



478
479 9/20/2016     JMB      Review and edit outline for reply brief on discovery issues                                          0.5   $    337.50   1813906                                                               Reasonable
480 9/20/2016     AMS      Revise outline for Reply in Support of Motion to Compel                                              0.6   $    267.00   1813906                                                               Reasonable
481 9/21/2016     JMB      Teleconference with Court regarding scheduling                                                       0.2   $    135.00   1813906   But-For                  $                 135.00           Reasonable
482 9/21/2016     AMS      Revise Reply in Support of Motion to Compel                                                          2.1   $    934.50   1813906                                                               Reasonable
483 9/22/2016     JMB      Review and edit draft of reply brief on discovery                                                    1.1   $    742.50   1813906                                                               Reasonable
    9/22/2016     CF       Review correspondence regarding reply brief; continue research of specific arguments; revise and     2.4   $    972.00   1813906                                                               Reasonable
484                        finalize reply brief; conference regarding same
485   9/22/2016   AMS      Revise Reply in Support of Motion to Compel                                                          0.7   $    311.50 1813906                                                                 Reasonable
486   9/23/2016   JMB      Edit reply brief on discovery                                                                        0.7   $    472.50 1813906                                                                 Reasonable
      9/23/2016   CF       Revise and finalize reply to Plaintiffs' opposition; conference regarding same and finalize for      1.6   $    648.00 1813906                                                                 Reasonable
487                        filing
      9/23/2016   AMS      Finalize Reply in Support of Motion to Compel (2.1); call with J. Barnes regarding the same (0.4)    2.5   $   1,112.50 1813906                                                                Reasonable
488
489   9/26/2016   JMB      Analyze strategy for discovery and trial schedule                                                    0.2   $    135.00 1813906     But-For                  $                 135.00           Reasonable
      9/26/2016   CF       Review and analyze reply brief from Plaintiffs; draft correspondence regarding same; review          0.2   $     81.00 1813906                                                                 Reasonable
490                        court order regarding discovery; draft correspondence regarding same
491 9/27/2016     JMB      Teleconference with client regarding scheduling and case strategy                                    0.2   $    135.00   1813906   But-For                  $                 135.00           Reasonable
492 9/30/2016     JMB      Work on proposed schedule for discovery and trial                                                    0.6   $    405.00   1813906   But-For                  $                 405.00           Reasonable
493 10/3/2016     AMS      Draft proposed schedule                                                                              0.3   $    133.50   1821241   But-For                  $                 133.50           Reasonable
    10/3/2016              Work on proposed schedule for discovery and trial                                                    0.5   $    337.50   1821241   But-For                  $                 337.50           Reasonable
494               JMB
      10/4/2016   JMB      Multiple teleconferences with Anup Shah regarding scheduling and discovery; teleconference           2.9   $   1,957.50 1821241    But-For                  $                1,957.50          Reasonable
495                        with team to discuss strategy
496   10/4/2016   MCM      Review and assess current offensive discovery plan                                                   0.8   $    308.00 1821241     But-For                  $                 308.00           Reasonable
      10/4/2016   AMS      Meet and confer with Plaintiffs regarding case schedule (0.5); call with J. Barnes regarding         1.4   $    623.00 1821241     But-For                  $                 623.00           Reasonable
                           schedule (0.4); call with
497                        J. Barnes, M. Mao, and C. Brahma regarding case (0.5)
498   10/5/2016   JMB      Work on scheduling for trial and discovery                                                           0.4   $    270.00 1821241     But-For                  $                 270.00           Reasonable



                                                                                                                          Defendant's Exhibit B-6                                                                                             17
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           A            B                                                     C                                                       D        E             F                  G                      H                           I                    J
         DATE      BILLER                             DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
499 10/5/2016      MCM      Review and assess current offensive discovery plan, and discovery owed to Plaintiff                     0.7   $     269.50   1821241   But-For                  $                  269.50          Reasonable
500 10/5/2016      AMS      Draft PSD position on Joint Claim Construction Statement                                                0.6   $     267.00   1821241   But-For                  $                  267.00          Reasonable
501 10/6/2016      JMB      Attention to proposed schedule                                                                          0.4   $     270.00   1821241   But-For                  $                  270.00          Reasonable
502 10/6/2016      AMS      Revise Joint Claim Construction Statement                                                               0.3   $     133.50   1821241   But-For                  $                  133.50          Reasonable
    10/7/2016      JMB      Review and edit joint motion; discuss same with Anup Shah; respond to Flowrider section of              2.8   $   1,890.00   1821241   But-For                  $                1,890.00          Reasonable
503                         brief; get on file
      10/7/2016    AMS      Finalize Joint Case Management Statement (2.3); calls with J. Barnes and M. Mao regarding the           3.4   $   1,513.00 1821241     But-For                  $                1,513.00          Reasonable
504                         same (1.1)
      10/7/2016    SBH      Initial draft of Motions for Pro Hac Vice Applications with supporting Declarations on                  1.5   $    300.00 1821241      IPR                      $                 300.00           Reasonable
505                         behalf of Justin Barnes and Mark Mao in IPR2016-01674
506   10/10/2016   JMB      Review and analyze document production; work on standing and lost profits issues                        8.6   $   5,805.00 1821241                                                                 Reasonable
      10/10/2016   CF       Review correspondence regarding joint statement and discovery; conference regarding same and            0.9   $     364.50 1821241     IPR                      $                 364.50                        $                 364.50
                            corporate structure; analyze court transcripts of markman hearing and construction order; draft
                            and finalize correspondence regarding potential invalidity strategy and supplement of IPR
507                         requests
      10/11/2016   JMB      Work on task chart; prepare for and lead team meeting; work on discovery notices; research              7.3   $   4,927.50 1821241                                                                 Reasonable
508                         standing issue for 589 and 016 patents
      10/11/2016   CF       Conference regarding strategy, amending invalidity contentions, standing of plaintiffs, and             1.2   $    486.00 1821241                                                                  Reasonable
509                         subpoenas of third parties
      10/11/2016   MCM      Work on subpoenas and notices of depositions, and issues and documents to be requested                  1.2   $    462.00 1821241      But-For                  $                 462.00           Reasonable
510
      10/11/2016   AMS      Participate in team discovery call (1.1); call with J. Barnes regarding third-party deposition topics   2.0   $    890.00 1821241      But-For                  $                 890.00           Reasonable
511                         and document requests (0.5); draft third-party subpoenas (0.4)
      10/12/2016   JMB      Teleconference with client; edit document requests and deposition topics; research case law on          6.9   $   4,657.50 1821241                                                                 Reasonable
512                         standing defense for 589 patent
      10/12/2016   CF       Review scheduling order; conference regarding same, third party subpoenas and prior art                 0.3   $    121.50 1821241      But-For                  $                 121.50           Reasonable
513                         installations
514   10/12/2016   AMS      Revise Stuart deposition notice                                                                         0.9   $    400.50 1821241      But-For                  $                 400.50           Reasonable
      10/13/2016   SBH      Draft notice of deposition and Schedule A to notice to Jim Stuart; draft 30(b)(6) notice of             0.4   $     80.00 1821241      But-For                  $                  80.00           Reasonable
515                         deposition to Surf Waves, Ltd.
      10/13/2016   MCM      Work on subpoenas and notices of depositions, and issues and documents to be requested                  1.3   $    500.50 1821241      But-For                  $                 500.50           Reasonable
516
      10/13/2016   AMS      Finalize subpoena to Stuart (0.5); correspondence with opposing counsel regarding the same (0.2) 0.7          $    311.50 1821241      But-For                  $                 311.50           Reasonable
517
      10/13/2016   JMB      Draft correspondence to opposing counsel regarding discovery deficiencies; work on outline of           6.6   $   4,455.00 1821241                                                                 Reasonable
                            motion to dismiss for lack of standing; communicate with team regarding license terms
518
519   10/14/2016   JMB      Review and edit deposition topics; discuss same with Anup Shah;                                         0.7   $    472.50 1821241      But-For                  $                 472.50           Reasonable
      10/14/2016   SBH      Draft notice of depositions of Andrew Thatcher and Marshall Myrman; draft notice of subpoenas           0.5   $    100.00 1821241      But-For                  $                 100.00           Reasonable
520                         and depositions of Ken Ellis, Dave Keim and Thomas Lochtefeld
521   10/14/2016   AMS      Attention to deposition subpoenas and notices                                                           1.5   $     667.50 1821241     But-For                  $                 667.50           Reasonable
      10/17/2016   JMB      Work on outline for standing motion; draft correspondence to opposing counsel regarding                 2.8   $   1,890.00 1821241                                                                 Reasonable
522                         discovery dispute
      10/17/2016   CF       Review prior art installations; draft and finalize correspondence regarding same requesting             0.9   $    364.50 1821241                                                                  Reasonable
                            information from clients; conference regarding chain of title for asserted patents, deposition
523                         strategy, and theory of standing and invalidity
524   10/17/2016   AMS      Review correspondence (0.1); call with J. Barnes regarding the same (0.1)                               0.2   $     89.00 1821241      But-For                  $                  89.00           Reasonable
      10/18/2016   CF       Review prior art installations provided by client; draft and finalize preliminary analysis of same      0.8   $    324.00 1821241      But-For                  $                 324.00           Reasonable
                            and information required from certain deponents; review correspondence from opposing counsel
                            regarding discovery issues and review enclosures; draft and finalize correspondence regarding
525                         same
      10/18/2016   SBH      Prepare draft 30(b)(6) deposition notices directed to Flowrider Surf, Whitewater West Industries,       0.5   $    100.00 1821241      But-For                  $                 100.00           Reasonable
526                         Ltd. and Surf Waves
527   10/18/2016   MCM      Work on outstanding discovery owed to Plaintiffs, and what is still owed by Plaintiffs                  0.4   $     154.00 1821241                                                                 Reasonable
528   10/18/2016   AMS      Revise 30(b)(6) notices (0.6); call with J. Barnes regarding the same (0.3)                             0.9   $     400.50 1821241     But-For                  $                  400.50          Reasonable
      10/19/2016   JMB      Review and edit subpoenas; update team task list; lead team meeting; research lost profits              4.4   $   2,970.00 1821241     016 Patent               $                2,970.00          Reasonable
529                         availability for 589 and 016 patents
530   10/19/2016   CB       Discuss standing and discovery strategy issues with team.                                               1.0   $    675.00 1821241                                                                  Reasonable




                                                                                                                             Defendant's Exhibit B-6                                                                                               18
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           A            B                                                    C                                                        D        E             F                  G                      H                           I                    J
         DATE      BILLER                             DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
531   10/19/2016   CF       Conference regarding standing, invalidity contentions, damages, discovery issues                        1.5   $    607.50 1821241                                                                  Reasonable
      10/19/2016   AMS      Revise deposition notices (0.5); participate in team call regarding discovery and strategy (1.3)        1.7   $    756.50 1821241      But-For                  $                 756.50           Reasonable
532
      10/20/2016   JMB      Prepare for and attend call with opposing counsel; discuss standing issue with Anup Shah;               2.7   $   1,822.50 1821241                                                                 Reasonable
533                         teleconference with client; draft update email to client;
      10/20/2016   SBH      Prepare Schedule A to subpoena for documents and subpoena duces tecum directed to                       0.4   $        80.00 1821241   But-For                  $                  80.00           Reasonable
534                         Whitewater West
535   10/20/2016   MCM      Work on outstanding discovery owed to Plaintiffs, and what is still owed by Plaintiffs                  0.5   $    192.50 1821241                                                                  Reasonable
      10/20/2016   AMS      Call with J. Barnes regarding discovery issues(0.6); finalize and serve 30(b)(6) deposition notices     1.5   $    667.50 1821241      But-For                  $                 667.50           Reasonable
536                         (0.9)
      10/24/2016   CF       Draft and finalize correspondence regarding amended invalidity contentions and infringement             0.5   $    202.50 1821241      But-For                  $                 202.50           Reasonable
                            contentions; draft and finalize correspondence regarding ESI privilege review and coordinate
537                         same for client
      10/25/2016   JMB      Draft correspondence to opposing counsel regarding discovery issues; work on standing defense           1.2   $    810.00 1821241                                                                  Reasonable
538
539   10/25/2016   CF       Conference regarding invalidity contentions                                                             0.3   $    121.50 1821241      But-For                  $                 121.50           Reasonable
      10/27/2016   JMB      Teleconference to discuss outstanding discovery issues; work on potential trial themes and discuss      0.8   $    540.00 1821241      But-For                  $                 540.00           Reasonable
540                         same with team
      10/27/2016   CF       Conference regarding ESI documents; conference regarding trial strategy and themes in                   0.3   $    121.50 1821241      But-For                  $                 121.50           Reasonable
541                         deposition
      10/28/2016   CF       Begin drafting invalidity contentions further to prior art installations and claim construction order   3.4   $   1,377.00 1821241     But-For                  $                1,377.00          Reasonable
542
543   10/31/2016   MH       Organize and prepare docket filings for subsequent attorney review                                      0.3   $      81.00 1821241     But-For                  $                  81.00           Reasonable
      10/31/2016   MCM      Review and analyze documents and filings, and recent additional information, produced by                2.8   $   1,078.00 1821241                                                                 Reasonable
544                         Plaintiffs, Greenberg Taurig, and the PTO, and how it affects standing strategies
      10/31/2016   JMB      Work on standing issue; teleconference with Charan Brahma regarding strategy; review                    3.2   $   2,160.00 1821241     IPR                      $                2,160.00                       $                 2,160.00
545                         interrogatory responses; analyze ownership issue for PTAB proceeding
      10/31/2016   CB       Discuss standing, discovery and case/IPR strategy issues with J. Barnes and M. Mao.                     1.0   $    675.00 1821241      IPR                      $                 675.00                        $                  675.00
546
      11/1/2016    CF       Conference regarding motion for summary judgment, ESI, and prior art installations; continue            6.7   $   2,713.50 1838505     But-For                  $                2,713.50          Reasonable
547                         drafting amending invalidity contentions
      11/1/2016    AMS      Research standing case-law (0.5); revise Amended Invalidity Contentions (0.5); participate in           1.8   $    801.00 1838505                                                                  Reasonable
548                         team call (0.8)
      11/1/2016    JMB      Teleconference and correspondence with client; prepare for and attend team meeting; work on             2.4   $   1,620.00 1838505     But-For                  $                1,620.00          Reasonable
549                         prior art analysis
      11/2/2016    CF       Continue drafting invalidity contentions; draft and finalize correspondence to client regarding         7.5   $   3,037.50 1838505     But-For                  $                3,037.50          Reasonable
550                         prior art installations and expert witness
      11/2/2016    MCM      Review and analyze documents and filings, and recent additional information, produced by                0.3   $    115.50 1838505                                                                  Reasonable
551                         Plaintiffs, Greenberg Taurig, and the PTO, and how it affects standing strategies
      11/3/2016    CF       Continue drafting amended invalidity contentions; review order from court; draft and finalize           3.4   $   1,377.00 1838505     But-For                  $                1,377.00          Reasonable
552                         correspondence regarding same
      11/4/2016    JMB      Team meeting to discuss discovery order and strategy; review and analyze order on motion for            2.5   $   1,687.50 1838505     But-For                  $                1,687.50          Reasonable
553                         leave to amend; discuss same with team
      11/4/2016    CF       Finalize invalidity contentions; conference regarding same; analyze discovery orders and                2.6   $   1,053.00 1838505     But-For                  $                1,053.00          Reasonable
554                         conference regarding reply strategy
      11/4/2016    AMS      Call with J. Barnes and C. Franich regarding Order (1.0); analyze the same (0.5); revise Invalidity     2.0   $    890.00 1838505      But-For                  $                 890.00           Reasonable
555                         Charts (0.5)
556   11/6/2016    JMB      Review and analyze amended invalidity contentions for 589 and 016 patents                               2.8   $   1,890.00 1838505     016 Patent               $                1,890.00          Reasonable
557   11/7/2016    CF       Finalize amended invalidity contentions and coordinate service upon Plaintiffs                          0.9   $     364.50 1838505     But-For                  $                  364.50          Reasonable
      11/8/2016    CF       Draft and finalize correspondence regarding information required from client to comply with             1.0   $     405.00 1838505     But-For                  $                  405.00          Reasonable
                            Court discovery order; review correspondence regarding ESI; draft and finalize correspondence
                            regarding same, custodians, and search terms; draft and finalize correspondence regarding
558                         amended invalidity contentions, prior art production
      11/8/2016    AMS      Draft correspondence regarding custodians/terms (1.3); confer with PSD regarding email searches         2.8   $   1,246.00 1838505     But-For                  $                1,246.00          Reasonable
                            (0.4); coordinate with emerge regarding the same (0.7); revise email to PSD regarding requested
559                         documents and information (0.4)
      11/8/2016    JMB      Work on draft of motion to dismiss for lack of standing; communicate with team regarding                6.6   $   4,455.00 1838505                                                                 Reasonable
560                         possible motion to compel on Lochtefeld documents;




                                                                                                                               Defendant's Exhibit B-6                                                                                             19
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           A            B                                                    C                                                       D        E             F                   G                     H                           I                    J
         DATE      BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      11/9/2016    JMB      Finalize draft of brief and circulate to team for review; review correspondence from opposing          8.9   $   6,007.50 1838505     But-For                  $                6,007.50          Reasonable
561                         counsel regarding ESI materials
      11/9/2016    AMS      Review Plaintiffs' license agreements (1.5); attention to '016 IPR and failure to submit Patent        2.2   $    979.00 1838505      IPR                      $                 178.00                        $                 979.00
562                         Owner Statement (0.4); call with J. Barnes regarding licenses (0.3)
      11/9/2016    CF       Review correspondence regarding patent owner reply of 016 patent; draft and finalize                   0.4   $    162.00 1838505      IPR; '016 Patent         $                 162.00                        $                 162.00
                            correspondence regarding same; review correspondence regarding ownership of 589 patent;
                            draft correspondence regarding chain of title; review correspondence from plaintiffs regarding
563                         discovery orders;
      11/10/2016   CF       Review, revise and finalize draft of motion to dismiss for lack of standing; revise exhibits for use   2.6   $   1,053.00 1838505                                                                 Reasonable
                            in motion; review correspondence from plaintiffs regarding discovery, discovery order, and
564                         foreign sales
      11/14/2016   JMB      Call Court regarding hearing date; correspond with opposing counsel regarding discovery issues;        1.9   $   1,282.50 1838505     But-For                  $                1,282.50          Reasonable
565                         finalize brief; analyze potential rule 72 brief
      11/15/2016   JMB      Work on rule 72 objections to magistrate's order; correspond with client regarding subpoenas;          5.9   $   3,982.50 1838505     But-For                  $                3,982.50          Reasonable
566                         review supplemental interrogatory responses
      11/15/2016   CF       Review correspondence regarding ESI and client email production; draft and finalize                    0.3   $    121.50 1838505      But-For                  $                 121.50           Reasonable
567                         correspondence regarding same; conference regarding rule 72 motion
568   11/15/2016   AMS      Draft Rule 72(a) objections                                                                            4.3   $   1,913.50 1838505     But-For                  $                1,913.50          Reasonable
      11/16/2016   JMB      Teleconference with team; work on Rule 72 objections; attention to subpoenas for ADG and               5.5   $   3,712.50 1838505     But-For                  $                3,712.50          Reasonable
569                         Lochtefeld; gather exhibits for Rule 72 objections
570   11/16/2016   MCM      Work on offensive and defensive discovery strategies                                                   0.8   $     308.00 1838505     But-For                  $                  308.00          Reasonable
      11/16/2016   AMS      Participate in team call (1.2); review documents (1.9); draft subpoenas (2.8); revise 72(a)            7.4   $   3,293.00 1838505     But-For                  $                3,293.00          Reasonable
571                         Objections (1.0); draft Barnes Declaration (0.5)
      11/16/2016   CF       Conference regarding Rule 72 motion, ESI, IPR in view of Markman Order; continue review of             1.6   $    648.00 1838505      IPR                      $                 648.00                        $                 648.00
                            ESI to be produced information; draft and finalize correspondence regarding Plaintiffs updated
572                         discovery requests
      11/17/2016   JMB      Finalize and file Rule 72 objections; draft correspondence to opposing counsel regarding foreign       4.1   $   2,767.50 1838505     But-For                  $                2,767.50          Reasonable
                            sales; review supplemental interrogatory responses; review and analyze order denying motion to
573                         file under seal
      11/17/2016   CF       Conference regarding Rule 72 motion and ESI production; revise and finalize Rule 72 motion;            2.0   $    810.00 1838505      But-For                  $                 810.00           Reasonable
                            conference regarding reply to Plaintiffs and foreign sales issue; continue review of ESI
574
575   11/17/2016   AMS      Review emails for ESI production                                                                5.0          $   2,225.00 1838505     But-For                  $                2,225.00          Reasonable
      11/18/2016   JMB      Correspond with opposing counsel regarding order denying motion to file under seal; review      2.1          $   1,417.50 1838505     But-For                  $                1,417.50          Reasonable
576                         subpoenas prior to service; attention to mediation issues
      11/18/2016   CF       Review and analyze discovery requests from plaintiffs; draft and finalize correspondence        5.0          $   2,025.00 1838505     But-For                  $                2,025.00          Reasonable
                            regarding same, proposed answers, objections, and letter regarding same; continue review of ESI
577
578   11/18/2016   AMS      Attention to subpoenas (1.0); review emails for ESI production (4.3)                                   5.3   $   2,358.50 1838505     But-For                  $                2,358.50          Reasonable
579   11/20/2016   CF       Continue ESI review                                                                                    1.4   $     567.00 1838505     But-For                  $                  567.00          Reasonable
      11/21/2016   JMB      Review and analyze new production from Plaintiffs; meet and confer with opposing counsel               8.4   $   5,670.00 1838505                                                                 Reasonable
                            regarding depositions; correspond with counsel regarding hearing date for Rule 72 objections;
                            attention to standing issue; work on mediation statement; correspond with client regarding
                            mediation; review earlier correspondence to determine whether 271f ever raised by Plaintiffs
580
      11/21/2016   CF       Continue review of ESI; conference regarding plaintiffs production regarding standing,                 4.5   $   1,822.50 1838505                                                                 Reasonable
581                         agreements, rule 72 hearing, and discovery requests
582 11/21/2016     MCM      Review and analyze new documents produced by White Water                                               0.9   $     346.50   1838505   But-For                  $                  346.50          Reasonable
583 11/21/2016     AMS      Review emails for ESI production                                                                       4.3   $   1,913.50   1838505   But-For                  $                1,913.50          Reasonable
584 11/22/2016     AMS      Review ESI (3.8); revise Motion to Seal (1.3)                                                          5.1   $   2,269.50   1838505   But-For                  $                2,269.50          Reasonable
    11/22/2016     JMB      Teleconference with client regarding mediation; review and analyze motion to substitute; prepare       8.4   $   5,670.00   1838505                                                               Reasonable
                            for and attend team meeting; work on mediation brief; work on response to motion to substitute;
585
      11/22/2016   CF       Conference regarding mediation strategy, ESI, discovery requests, and plaintiffs motion to             3.5   $   1,417.50 1838505                                                                 Reasonable
586                         substitute party; continue ESI review
      11/23/2016   AMS      Complete ESI review (2.6); confer with J. Barnes regarding mediation statement (0.7); confer           3.5   $   1,557.50 1838505     But-For                  $                1,557.50          Reasonable
587                         with N. Day regarding ESI production and privilege log (0.2)
588   11/23/2016   JMB      Draft and circulate mediation brief; work on response to motion to substitute                          5.5   $   3,712.50 1838505                                                                 Reasonable




                                                                                                                           Defendant's Exhibit B-6                                                                                                20
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           A            B                                                    C                                                      D        E           F                  G                      H                           I                    J
         DATE      BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      11/23/2016   CF       Continue review of ESI; conference regarding opposition to motion for substitution of parties;    3.2       $   1,296.00 1838505                                                               Reasonable
                            review prior discovery orders, meet and confer correspondence, plaintiff discovery, and draft
589                         correspondence regarding same and reply strategy
590   11/25/2016   CF       Review ESI documents for production to Plaintiffs                                                 6.0       $   2,430.00 1838505   But-For                  $                2,430.00          Reasonable
      11/28/2016   JMB      Review and analyze new production from Plaintiffs; put together detailed notes on Plaintiffs      8.8       $   5,940.00 1838505   But-For                  $                5,940.00          Reasonable
                            recent productions and circulate to team; work on response to substitution motion; edit mediation
                            brief; draft correspondence to opposing counsel regarding 271f discovery;
591
      11/28/2016   CF       Finish ESI review; draft and finalize correspondence regarding same and privilege log; review         1.8   $    729.00 1838505    But-For                  $                 729.00           Reasonable
                            correspondence from plaintiffs regarding discovery and foreign sales; draft and finalize
592                         correspondence regarding same
593   11/28/2016   AMS      Revise Mediation Statement (1.1); attention to Plaintiffs' document production (0.7)                  1.8   $     801.00 1838505   But-For                  $                  801.00          Reasonable
      11/29/2016   JMB      Finalize and file mediation brief; review and analyze correspondence from Plaintiffs regarding        2.4   $   1,620.00 1838505   But-For                  $                1,620.00          Reasonable
                            foreign sales; teleconference regarding recent document production; work on opposition to
594                         substitution
      11/29/2016   CF       Review overview of plaintiffs revised discovery; analyze certain documents related to damages,        3.3   $   1,336.50 1838505   But-For                  $                1,336.50          Reasonable
                            standing, and client defenses in production; draft correspondence summarizing analysis of same;
                            conference regarding same; revise and finalize mediation brief; draft correspondence regarding
                            prior disputes between plaintiffs and others and impact on resolution
595
      11/29/2016   AMS      Finalize Mediation Statement (0.4); call with J. Barnes regarding Plaintiffs' document production     0.7   $    311.50 1838505    But-For                  $                 311.50           Reasonable
596                         (0.3)
      11/29/2016   CB       Discuss discovery of foreign sales with respect to objections to magistrate's discovery ruling with   1.0   $    675.00 1838505                                                                Reasonable
597                         team; review plaintiffs' motion to substitute party.
      11/30/2016   AMS      Draft correspondence to opposing counsel regarding extension of time (0.4); Revise Renewed            1.2   $    534.00 1838505    But-For                  $                 534.00           Reasonable
598                         Motion to Seal (0.3); Redact ESI documents (0.5)
      11/30/2016   JMB      Draft opposition to substitution motion and circulate to team; correspond with opposing counsel       6.8   $   4,590.00 1838505                                                               Reasonable
                            regarding ESI production; work on motion to file under seal; correspond regarding December 27
599                         hearing
      12/1/2016    CF       Review correspondence regarding opposition to substitute parties; review prior declaration from       1.8   $    729.00 1838505    016 Patent               $                 729.00           Reasonable
                            plaintiffs in support of opposition against motion to stay re competition of Whitewater and no
                            mention of Flowrider; review correspondence regarding amalgamation and 016 revival;
                            review 016 prosecution and draft correspondence regarding patent maintenance practices
                            of plaintiff, discovery, and argument regarding same; review correspondence from opposing
                            counsel regarding change in scheduling order; draft and finalize correspondence regarding same
                            and ESI; conference regarding mediation strategy; review joint motion from plaintiffs and revise
                            same; draft correspondence regarding same
600
      12/1/2016    AMS      Revise Joint Motion for Continuance (0.2); revise correspondence to opposing counsel regarding 0.4          $    178.00 1838505    But-For                  $                 178.00           Reasonable
601                         ex parte motion (0.2)
      12/1/2016    JMB      Correspond with opposing counsel regarding motion to continue; review exhibits for opposition 1.9           $   1,282.50 1838505                                                               Reasonable
                            to substitution motion; edit opposition; teleconference with Chris Franich regarding outstanding
602                         discovery issues
      12/1/2016    CB       Review and revise draft opposition to plaintiffs' motion to substitute party; discuss extension of 1.6      $   1,080.00 1838505                                                               Reasonable
                            discovery deadlines and impact on settlement discussions and likelihood of stay with team
603
      12/2/2016    JMB      Review and analyze objections to Lochtefeld subpoenas; discuss settlement issues with Mark      1.1         $    742.50 1838505    But-For                  $                 742.50           Reasonable
604                         Mao; correspond with client regarding motion to continue
      12/2/2016    CF       Draft and finalize correspondence regarding incorporation of claim construction order           1.9         $    769.50 1838505    IPR                      $                 769.50                        $                 769.50
                            strategy in each pending IPR; review plaintiff production and draft and finalize correspondence
                            regarding outstanding information to be produced and related requests for admission
605
      12/2/2016    MCM      Review and analyze documents produced by Whitewater, in preparation for mediation and motion 2.4            $    924.00 1838505                                                                Reasonable
606                         to dismiss hearing
      12/2/2016    AMS      Attention to Corrected Motion to Dismiss (0.2); confer with J. Barnes regarding Motion to    0.4            $    178.00 1838505                                                                Reasonable
607                         Substitute (0.2)
      12/5/2016    JMB      Finalize and file opposition to substitution motion; review and analyze new production from  4.6            $   3,105.00 1838505                                                               Reasonable
608                         Plaintiffs




                                                                                                                           Defendant's Exhibit B-6                                                                                             21
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         DATE      BILLER                             DESCRIPTION OF WORK PERFORMED                                                  HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable     PSD Comments        Not Recoverable
 1
      12/5/2016    CF       Conference regarding mediation brief; draft and finalize correspondence regarding revision to            2.2   $    891.00 1838505                                                               Reasonable
                            opposition brief to motion to substitute parties; conference regarding Rule 72 motion, mediation
                            hearing; review file history and draft correspondence regarding exhibits for hearing
609
      12/6/2016    CF       Review opposition brief and exhibits; draft and finalize correspondence regarding preliminary       2.4        $    972.00 1838505    But-For                  $                 972.00          Reasonable
                            analysis of same with exhibits refuting positions from Plaintiffs; review Rule 72 opposition brief;
610                         draft correspondence regarding analysis of same
611   12/6/2016    MCM      Phone call with Yong Yeh and Richard Alleshouse re mediation strategies                             1.1        $     423.50 1838505   But-For                  $                 423.50          Reasonable
      12/7/2016    JMB      Work on reply brief regarding standing; review newly produced documents from Plaintiffs;            10.3       $   6,952.50 1838505                                                              Reasonable
                            correspond with opposing counsel regarding depositions and documents necessary in production
612
      12/7/2016    MCM      Plan and prepare for mediation by reviewing documents filed by Plaintiffs and produced in                2.3   $    885.50 1838505    But-For                  $                 885.50          Reasonable
613                         discovery, and reviewing litigation history in prior case
614   12/7/2016    MCM      Research and analysis of case law and background facts regarding Plaintiffs for mediation                1.2   $     462.00 1838505   But-For                  $                 462.00          Reasonable
      12/7/2016    CF       Review correspondence regarding analysis of opposition brief to motion to dismiss; review prior          4.4   $   1,782.00 1838505                                                              Reasonable
615                         produced 589 file history from plaintiffs, assignments, petition history, and declarations submitted
      12/7/2016    AMS      Analyze Plaintiffs' Opposition to Motion to Dismiss (0.5); calls with J. Barnes regarding response       5.2   $   2,314.00 1838505                                                              Reasonable
                            (0.6); participate in team call regarding response (0.6); research case-law regarding dismissal with
                            prejudice and California contract interpretation (2.7); draft insert regarding agreements for Reply
                            in Support for Motion to Dismiss (0.4); draft response to Plaintiff's Second Set of Interrogatories
616                         (0.4)
      12/8/2016    JMB      Work on reply brief; review and analyze opposition to Rule 72 objections; prepare for mediation          9.8   $   6,615.00 1838505                                                              Reasonable
617                         conference
      12/8/2016    AMS      Calls with J. Barnes regarding Opposition (0.4); research case-law regarding non-substantial             3.1   $   1,379.50 1838505                                                              Reasonable
618                         rights to licensees (2.7)
619   12/9/2016    JMB      Prepare for and attend settlement conference; work on reply brief                                        5.3   $   3,577.50 1838505                                                              Reasonable
620   12/12/2016   JMB      Finalize reply brief on standing; work on discovery responses                                            5.4   $   3,645.00 1838505                                                              Reasonable
      12/12/2016   CF       Revise and finalize draft of reply brief; revise and finalize draft of declaration in support of reply   3.2   $   1,296.00 1838505                                                              Reasonable
                            brief; review plaintiff production and draft and finalize letter regarding deficiencies in production
                            and request specific production requests to cure deficiencies; draft and finalize correspondence
                            regarding discovery responses; prepare and serve ESI discovery on plaintiffs
621
      12/12/2016   AMS      Finalize Reply in Support of Motion to Dismiss (2.5); draft supporting Declaration and Motion to 5.3           $   2,358.50 1838505                                                              Reasonable
                            Seal (1.3); draft responses to First Set of Requests for Admission and Requests for Production
                            (1.0); confer with J. Barnes regarding mediation and Reply Brief (0.5)
622
      12/13/2016   AMS      Revise Responses to Second Set of Interrogatories and Requests for Production, and First Set of          1.5   $    667.50 1838505    But-For                  $                 667.50          Reasonable
623                         Requests for Admission
      12/13/2016   JMB      Review discovery responses; review Flowrider's reply on substitution; prepare for hearing                2.7   $   1,822.50 1838505                                                              Reasonable
624
      12/13/2016   CF       Review, revise and finalize draft responses to discovery requests; review plaintiffs reply brief for     0.9   $    364.50 1838505                                                               Reasonable
                            Rule 25 motion and draft correspondence regarding same; review correspondence from opposing
625                         counsel regarding production and begin review of same
      12/14/2016   JMB      Work on materials for oral argument; review correspondence to opposing counsel regarding                 1.2   $    810.00 1838505    But-For                  $                 810.00          Reasonable
626                         discovery issues
      12/14/2016   CF       Review production from plaintiffs; draft correspondence regarding same; revise and finalize              0.4   $    162.00 1838505    But-For                  $                 162.00          Reasonable
627                         discovery letter to plaintiffs and responses to discovery requests
      12/14/2016   AMS      Revise responses to First Set of Requests for Admission (0.9); confer with J. Barnes regarding           1.6   $    712.00 1838505    But-For                  $                 712.00          Reasonable
                            hearing (0.3); draft correspondence to opposing counsel regarding discovery issues (0.4)
628
      12/15/2016   CF       Revise and finalize discovery responses; coordinate service upon plaintiffs of responses; serve          0.5   $    202.50 1838505    But-For                  $                 202.50          Reasonable
629                         production on plaintiffs
630   12/15/2016   MCM      Plan and prepare for hearing on Motion to Dismiss for lack of jurisdiction                               1.6   $     616.00 1838505                                                              Reasonable
      12/15/2016   AMS      Call with J. Barnes, C. Brahma, and M. Mao regarding hearing on Motion to Dismiss (2.0;                  2.9   $   1,290.50 1838505                                                              Reasonable
631                         finalize discovery responses (0.4); draft slides for hearing (0.4)
      12/16/2016   CF       Review plaintiff production in view of hearing; draft and finalize correspondence summarizing            1.4   $    567.00 1838505    But-For                  $                 567.00          Reasonable
                            plaintiff production; review correspondence regarding argument strategy in hearing and related
632                         slides; draft and finalize correspondence regarding same




                                                                                                                             Defendant's Exhibit B-6                                                                                             22
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 1
      12/21/2016   CF       Review correspondence from opposing counsel regarding client discovery and production; draft         0.7   $    283.50 1838505    But-For                  $                 283.50           Reasonable
                            and finalize correspondence regarding same and proposed reply strategy
633
      1/3/2017     AMS      Draft correspondence to PSD regarding outstanding discovery (0.3); draft responsive                  2.2   $    979.00 1855991    But-For                  $                 979.00           Reasonable
                            correspondence to opposing counsel regarding the same (1.2); confer with eMerge regarding
634                         document review options (0.6)
      1/3/2017     JMB      Review correspondence from opposing counsel; work on response to discovery issues;                   0.7   $    472.50 1855991    But-For                  $                 472.50           Reasonable
635                         teleconference with Anup Shah regarding same
      1/3/2017     CF       Review correspondence from opposing counsel regarding discovery disputes; draft and finalize         0.6   $    264.00 1855991    IPR                      $                 264.00                        $                 264.00
                            correspondence regarding preliminary analysis of same; draft and finalize correspondence
                            regarding IPR and submission of supplemental information; draft and finalize correspondence
636                         regarding ESI production of plaintiffs and depositions
      1/4/2017     CF       Review correspondence from opposing counsel regarding discovery dispute; begin reviewing ESI         0.4   $    176.00 1855991    But-For                  $                 176.00           Reasonable
637                         produced by plaintiffs
638   1/4/2017     JMB      Attention to issues on potential motions to compel; work on Rule 72 reply                            0.8   $     540.00 1855991                                                               Reasonable
      1/5/2017     AMS      Call with J. Barnes regarding discovery issues (0.3); draft correspondence to opposing counsel       3.9   $   1,735.50 1855991   But-For                  $                1,735.50          Reasonable
639                         regarding the same (0.1); draft Reply to Rule 72 Objections (3.5)
640   1/6/2017     JMB      Work on reply for Rule 72 motion                                                                     2.6   $   1,755.00 1855991   But-For                  $                1,755.00          Reasonable
      1/6/2017     CF       Review correspondence regarding meet and confer with opponent; conference regarding same             0.4   $     176.00 1855991   But-For                  $                  176.00          Reasonable
641                         and deposition strategy
      1/6/2017     AMS      Call with J. Barnes, C. Brahma, and M. Mao regarding discovery; meet and confer with opposing        3.1   $   1,379.50 1855991   But-For                  $                1,379.50          Reasonable
                            counsel regarding discovery disputes; draft correspondence regarding the same; draft Reply in
642                         Support of Rule 72 Objections
      1/9/2017     JMB      Review and analyze new case on standing; attention to meet and confer issues; work on task list      4.5   $   3,037.50 1855991                                                               Reasonable
                            for outstanding issues; correspond with opposing counsel regarding depositions; work on Rule 72
643                         reply
      1/9/2017     CB       Revise draft reply brief in support of Rule 72 motion objecting to magistrate's discovery rulings.   0.5   $    337.50 1855991    But-For                  $                 337.50           Reasonable
644
      1/9/2017     CF       Review and revise reply brief for Rule 72 objections; review correspondence from plaintiffs          0.5   $    220.00 1855991    But-For                  $                 220.00           Reasonable
                            regarding deposition schedule; conference regarding same and initial ESI review; review recent
                            decision regarding sanctions in patent dispute; draft correspondence regarding same
645
      1/9/2017     AMS      Revise Reply in Support of Fed. R. Civ. P. 72 Motions; call with J. Barnes regarding discovery    2.9      $   1,290.50 1855991   But-For                  $                1,290.50          Reasonable
646                         disputes; correspond with ADG counsel regarding subpoena
      1/10/2017    JMB      Finalize and file Rule 72 reply; review ADG production; attention to outstanding discovery issues 3.2      $   2,160.00 1855991   But-For                  $                2,160.00          Reasonable
647
648   1/10/2017    SBH      Prepare exhibits for reply brief is support of F.R.C.P. 72(a) Objections to D77                      0.3   $      61.50 1855991   But-For                  $                   61.50          Reasonable
      1/10/2017    AMS      Draft correspondence to opposing counsel regarding discovery disputes; draft Supplemental            4.8   $   2,136.00 1855991   But-For                  $                2,136.00          Reasonable
                            Declaration of J. Barnes; finalize Reply Brief in Support of Rule 72 Objections; correspond with
                            Y. Yeh regarding discovery requests; correspond with C. Franich regarding ESI searches
649
      1/10/2017    CF       Draft and finalize letter to PTAB for 016 IPR; draft and finalize letter to PTAB for 589             4.8   $   2,112.00 1855991   IPR; '016 Patent         $                2,112.00                       $                 2,112.00
                            IPR; preliminary review of Lochtefeld production; draft and finalize correspondence
                            summarizing analysis of same; draft and finalize depositions related to ADG, Plaintiffs, and
                            Plaintiffs related entities; draft and finalize correspondence regarding Offer for Judgment
                            strategy; draft and finalize correspondence regarding cause for amending pleadings for
650                         inequitable conduct
651   1/11/2017    JMB      Work on supplemental briefing on standing; attention to deposition scheduling                        2.1   $   1,417.50 1855991                                                               Reasonable
      1/11/2017    CF       Targeted review of ESI produced from Plaintiffs; draft and finalize correspondences regarding        6.5   $   2,860.00 1855991                                                               Reasonable
                            hot documents and targeted searches; draft and finalize correspondence regarding outstanding
                            discovery issues with Plaintiffs; draft and finalize correspondence regarding effect of ESI
                            documents on supplemental brief; conference regarding same; review correspondence from
                            Plaintiffs regarding depositions; draft and finalize correspondence regarding same
652
653   1/11/2017    AMS      Review and summarize Plaintiffs' ESI Production; draft Notice of Supplemental Authority              2.9   $   1,290.50 1855991   But-For                  $                1,290.50          Reasonable
      1/12/2017    JMB      Review and analyze production related to arbitration; review and analyze ESI production; work        3.1   $   2,092.50 1855991   But-For                  $                2,092.50          Reasonable
654                         on assignment chart; correspond with client regarding settlement talks




                                                                                                                         Defendant's Exhibit B-6                                                                                              23
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         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      1/12/2017   CF       Continue review of ESI produced by Plaintiffs in view of depositions and hearing regarding        7.1      $   3,124.00 1855991                                                                 Reasonable
                           standing, substitution, Rule 72; draft and finalize correspondence regarding close of fact
                           discovery and issues; draft and finalize correspondence regarding draft deposition outline; draft
                           and finalize correspondence regarding ; review correspondence from opposing counsel regarding
                           written discovery; draft and finalize corresponding moving to compel, deadline of same; draft and
                           finalize correspondence regarding expert for trial and related issues; draft and finalize
                           correspondence regarding supplemental response to Plaintiff discovery requests
655
656   1/13/2017   JMB      Prepare for oral argument on Rule 72 and standing motions; team meeting                              4.8   $   3,240.00 1855991                                                                 Reasonable
      1/13/2017   CB       Discuss strategy and arguments for hearing on outstanding motions, discovery issues with team.       1.0   $     675.00 1855991                                                                 Reasonable
657
      1/13/2017   CF       Continue review of ESI produced by plaintiffs; conference regarding same, hearing strategy,          3.2   $   1,408.00 1855991     But-For                  $                1,408.00          Reasonable
                           experts, offer for judgement, and motion to compel; draft and finalize correspondence regarding
658                        same and proposed deposition strategy
659   1/13/2017   MCM      Review and analyze additional new discovery produced by Whitewater                                   1.0   $     385.00 1855991     But-For                  $                  385.00          Reasonable
      1/13/2017   AMS      Draft slides for Rule 72 Objections Hearing; call with C. Franich, J. Barnes, and C. Brahma          3.3   $   1,468.50 1855991     But-For                  $                1,468.50          Reasonable
660                        regarding hearing and discovery; review and summarize Plaintiffs' ESI production
      1/13/2017   SBH      Prepare exhibits regarding Markman Order for filing with the U.S. Patent & Trademark                 0.3   $        61.50 1855991   IPR                      $                  61.50                        $                 61.50
661                        Office
      1/17/2017   JMB      Work on response to discovery issues; teleconference with client regarding settlement issues         1.1   $    742.50 1855991      But-For                  $                 742.50           Reasonable
662
      1/17/2017   CF       Review correspondence from opposing counsel regarding discovery dispute; draft correspondence        0.8   $    352.00 1855991      But-For                  $                 352.00           Reasonable
                           regarding same and seeking relief with court; begin outline for deposition of plaintiffs
663                        representatives; draft correspondence regarding same
      1/17/2017   AMS      Draft correspondence to Plaintiffs' counsel regarding discovery issues; confer with C. Franich and   1.1   $    489.50 1855991      But-For                  $                 489.50           Reasonable
664                        J. Barnes regarding the same
665   1/18/2017   JMB      Attention to ongoing discovery issues; review and analyze ESI production                             3.1   $   2,092.50 1855991     But-For                  $                2,092.50          Reasonable
      1/18/2017   CF       Review correspondence from opposing counsel regarding discovery issues and relief with court;        5.2   $   2,288.00 1855991                                                                 Reasonable
                           conference regarding call with court; draft and finalize correspondence regarding same; continue
                           ESI review and draft correspondence regarding documents relevant to validity, standing, and
666                        damages
      1/18/2017   MCM      Review and analyze correspondence concerning current discovery disputes, including                   0.6   $    231.00 1855991      But-For                  $                 231.00           Reasonable
667                        Whitewater's various assertions of privilege
      1/18/2017   AMS      Prepare for hearing with the Court; participate in hearing with the Court; confer with J. Barnes     2.9   $   1,290.50 1855991     But-For                  $                1,290.50          Reasonable
668                        regarding the same
      1/19/2017   JMB      Attention to correspondence regarding common interest privilege; work on discovery response          3.7   $   2,497.50 1855991     But-For                  $                2,497.50          Reasonable
                           regarding foreign sales; review and analyze electronic production; work on strategy for case and
669                        trial themes; team call to discuss open issues
      1/19/2017   CF       Continue ESI review; draft and finalize correspondence regarding documents relevant to               3.8   $   1,672.00 1855991     But-For                  $                1,672.00          Reasonable
                           invalidity, damages, standing; draft and finalize correspondence regarding fact discovery,
                           depositions; review letter from opposing counsel and draft correspondence regarding same
670
      1/19/2017   SBH      Review Protective Order regarding claw back provision; review and pull claw back documents           0.4   $        82.00 1855991   But-For                  $                  82.00           Reasonable
                           from ADG production as identified in Attorney Bandel's 1-18-2017 correspondence
671
      1/19/2017   MCM      Review and analyze correspondence concerning current discovery disputes, including                   0.6   $    231.00 1855991      But-For                  $                 231.00           Reasonable
672                        Whitewater's various assertions of privilege
      1/19/2017   AMS      Calls with C. Franich and J. Barnes regarding discovery issues; draft correspondence to PSD          4.0   $   1,780.00 1855991     But-For                  $                1,780.00          Reasonable
                           regarding foreign sales; review ESI production; call with Court regarding discovery dispute
673
      1/20/2017   JMB      Edit multiple letters to opposing counsel regarding discovery issues; review and analyze         3.9       $   2,632.50 1855991     But-For                  $                2,632.50          Reasonable
                           document production; finalize foreign sale responses; correspond with client regarding discovery
674                        issues; attention to issue with Mr. Tolli
      1/20/2017   CF       Continue ESI review; draft and finalize correspondence regarding documents relevant to           5.8       $   2,552.00 1855991     But-For                  $                2,552.00          Reasonable
                           invalidity, damages, standing; draft and finalize correspondence regarding fact discovery,
                           depositions; review letter from opposing counsel regarding Zak and Plaintiffs; draft
675                        correspondence regarding same




                                                                                                                         Defendant's Exhibit B-6                                                                                               24
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 1
      1/20/2017   AMS      Call with opposing counsel; call with Court; call with J. Barnes and C. Franich regarding dispute 1.7      $    756.50 1855991    But-For                        $                 756.50           Reasonable
676
      1/23/2017   CB       Discuss potential trade secret misappropriation and tortious interference claim against Whitewater   0.7   $    472.50 1855991    But-For                        $                 472.50           Reasonable
677                        relating to hiring of Z. Tolli with client.
      1/23/2017   CF       Finish preliminary ESI review; draft correspondence regarding same; continue drafting outline for    2.5   $   1,100.00 1855991   But-For                        $                1,100.00          Reasonable
                           deposition; draft and finalize correspondence to opposing counsel regarding same; review
                           correspondence regarding Zak Tolli and draft and finalize correspondence regarding potential
678                        reply to same
679   1/23/2017   MCM      Work on potential claims against Whitewater for Zach Tolli                                           1.2   $     462.00 1855991   But-For                        $                  462.00          Reasonable
      1/23/2017   AMS      Draft Motion to Compel                                                                               2.5   $   1,112.50 1855991   Motion to Compel Arbitration   $                1,112.50                       $                 1,112.50
                                                                                                                                                             Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
680
      1/23/2017   JMB      Attention to 30b6 deposition; call to discuss motion to compel; review ESI material for              2.8   $   1,890.00 1855991                                                                     Reasonable
681                        information pertinent to motion to compel
      1/24/2017   CF       Finalize outline of deposition; review correspondence from opposing counsel regarding topics         1.9   $    836.00 1855991    But-For                        $                 836.00           Reasonable
                           and designated witness; draft correspondence regarding same; review hot documents from ESI
                           and draft correspondence regarding same; review correspondence regarding Zak Tolli; draft
                           correspondence regarding certain causes of action and related evidence
682
      1/24/2017   JMB      Review and edit motion to compel; review and edit joint statement regarding in camera review; 3.8          $   2,565.00 1855991   Motion to Compel Arbitration   $                2,565.00                       $                 2,565.00
                           work on strategy regarding Tolli issue; prepare for 30b6 deposition                                                               Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
683
      1/24/2017   AMS      Revise Motion to Compel; draft Joint Statement on Privilege Dispute                                  4.1   $   1,824.50 1855991   Motion to Compel Arbitration   $                1,824.50                       $                 1,824.50
                                                                                                                                                             Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
684
      1/25/2017   CF       Continue review of ESI associated with designated WWI and Flowrider deposition witness; draft 5.6          $   2,464.00 1855991   But-For                        $                2,464.00          Reasonable
                           and finalize correspondence regarding same and revision of deposition outline
685
      1/25/2017   JMB      Work on motion to compel; prepare for 30b6 deposition                                                2.9   $   1,957.50 1855991   Motion to Compel Arbitration   $                1,957.50                       $                 1,957.50
                                                                                                                                                             Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
686
      1/25/2017   SBH      Format and finalize exhibits for PSD's Motion to Compel                                              0.8   $    164.00 1855991    Motion to Compel Arbitration   $                 164.00                        $                   164.00
                                                                                                                                                             Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
687
      1/25/2017   AMS      Revise Motion to Compel; revise Joint Statement on Privilege Dispute                                 2.9   $   1,290.50 1855991   Motion to Compel Arbitration   $                1,290.50                       $                 1,290.50
                                                                                                                                                             Documents Denied, Sanctions
                                                                                                                                                             Imposed Against Defendants
                                                                                                                                                             (ECF Nos. 175, 217)
688
689   1/26/2017   JMB      Attention to common interest issue; team meeting to discuss outstanding issues                       1.4   $    945.00 1855991    But-For                        $                 945.00           Reasonable
      1/26/2017   CF       Review correspondence regarding supplemental brief; draft and finalize correspondence                0.5   $    220.00 1855991    But-For                        $                 220.00
                           regarding preliminary analysis of same; draft and finalize correspondence regarding additional
690                        questions for designated witness in deposition




                                                                                                                        Defendant's Exhibit B-6                                                                                                    25
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         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                              HRS        AMT        INV.NO.   Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      1/27/2017   SBH      Prepare exhibits in support of motion to compel discovery; draft notice of motion and       1.5            $    307.50 1855991      Motion to Compel Arbitration   $                 307.50                        $                  307.50
                           motion to compel discovery; draft motion to file motion to compel discovery and Exhibits A,                                         Documents Denied, Sanctions
                           D and I under seal; prepare proposed order; finalize for electronic filing motion to file                                           Imposed Against Defendants
                           under seal, lodge proposed seal documents with the court, and submit proposed order to                                              (ECF Nos. 175, 217)
                           Judge Major; draft declaration of Justin Barnes in support of motion to compel discovery;
                           finalize for filing notice of motion and motion to compel discovery, memorandum of points
                           and authorities (redacted and unredacted versions), declaration and exhibits in support of
                           motion; serve unredacted copies of documents upon opposing counsel
691
      1/27/2017   AMS      Review edits to Joint Statement; finalize Motion to Compel, and related filings                     3.1    $   1,379.50 1855991     Motion to Compel Arbitration   $                1,379.50                       $                 1,379.50
                                                                                                                                                               Documents Denied, Sanctions
                                                                                                                                                               Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
692
      1/29/2017   JMB      Review and analyze ESI production; prepare for 30b6 deposition; communicate with client             2.5    $   1,687.50 1855991     But-For                        $                1,687.50          Reasonable
693                        regarding depositions
694   1/30/2017   MCM      Correspondence to Rick Tache re employment of Mike Tolli                                            0.5    $     192.50 1855991     But-For                        $                  192.50          Reasonable
      1/30/2017   JMB      Prepare for Benac deposition; Discuss PTAB institution decision with team; correspond with          11.9   $   8,032.50 1855991     IPR                            $                8,032.50          Reasonable
                           opposing counsel regarding PTAB decision and deposition scheduling; draft renewed motion
695                        to stay
      1/30/2017   CB       Review PTAB decision to institute inter partes review of '016 patent and draft notice to            1.5    $   1,012.50 1855991     IPR; '016 Patent               $                1,012.50          Reasonable
                           Court re same; discuss renewed motion to stay and for expedited briefing with J. Barnes
696                        and M. Mao; draft press release
      1/30/2017   CF       Continue revising deposition outline; draft and finalize revisions with evidentiary exhibits for    3.5    $   1,540.00 1855991     IPR; '016 Patent               $                1,540.00          Reasonable
                           same; review related ESI; draft and finalize correspondence regarding same; review notice from
                           PTAB regarding institution of 016 IPR; review 589 IPR; draft correspondence regarding stay
                           strategy and effect on fact discovery and proposed strategy; revise brief for stay motion
697
      1/31/2017   JMB      Finalize and file motion to stay and ex parte motion; work on supplemental authority brief;         6.9    $   4,657.50 1855991     IPR                            $                4,657.50          Reasonable
698                        review and analyze ruling from PTAB; attend team meeting
      1/31/2017   CF       Revise and finalize draft of brief for renewed motion for stay; revise and finalize exhibits for    1.4    $    616.00 1855991      IPR; '016 Patent               $                 616.00           Reasonable
                           same; draft correspondence regarding ESI and fact discovery; draft correspondence regarding
699                        experts for IPR in 016 patent
      2/1/2017    CF       Review scheduling order for stay motion; draft and finalize correspondence regarding same;          0.3    $    132.00              No Invoice                     $                 132.00           Reasonable
                           review correspondence regarding flow services and Tolli from opposing counsel; draft
                           correspondence regarding same; review proposed scheduling order from plaintiffs; draft
700                        correspondence regarding same
      2/1/2017    JMB      Review and analyze order on ex parte request; discuss strategy with team work on supplemental       2.6    $   1,755.00             No Invoice                     $                1,755.00          Reasonable
701                        authority brief; update case task list
      2/2/2017    JMB      Review and analyze brief submitted by Plaintiffs on standing; discuss standing issues with team;    2.1    $   1,417.50                                                                               Reasonable
702                        review and analyze plaintiffs' production
703   2/3/2017    MCM      Review current status of case and strategize for net offensive steps                                0.9    $    346.50              No Invoice                     $                 346.50           Reasonable
      2/6/2017    CB       Review Plaintiffs' opposition to PSd's motion to compel discovery re Lochtefeld arbitration         0.5    $    337.50              Motion to Compel Arbitration   $                 337.50                        $                  337.50
                           documents and discuss reply with J. Barnes.                                                                                         Documents Denied, Sanctions
                                                                                                                                                               Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
704
705   2/6/2017    JMB      Review and analyze order on ex parte relief; discuss strategy with team                             0.8    $    540.00              No Invoice                     $                 540.00           Reasonable
      2/6/2017    CF       Analyze opposition brief from plaintiffs; begin drafting outline for reply brief; review            0.6    $    264.00              No Invoice                     $                 264.00           Reasonable
                           correspondence from plaintiff regarding deposition of client; draft correspondence to plaintiff
                           regarding same; review correspondence from plaintiff regarding outstanding discovery issues;
706                        draft correspondence regarding same
707   2/6/2017    AMS      Calls with J. Barnes and C. Franich regarding Flow Services                                         0.8    $    356.00              No Invoice                     $                 356.00           Reasonable




                                                                                                                             Defendant's Exhibit B-6                                                                                                 26
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            A          B                                                   C                                                    D        E               F                   G                           H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                             HRS       AMT          INV.NO.   Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      2/7/2017    CF       Draft and finalize correspondence regarding trade secret issue related to Tolli matter with WWI; 8.1     $   3,564.00               IPR; No Invoice                $                3,564.00                       $                 3,564.00
                           review correspondence from plaintiffs regarding Flow Services production and supplemental
                           discovery responses; review related production and coordinate service of same; draft and finalize
                           correspondence to plaintiffs regarding same; draft and finalize correspondence regarding
                           remaining interrogatories and serving third set on plaintiffs as to damages; draft correspondence
                           regarding case management schedule, trial, and IPR strategy; continue analyzing plaintiffs
                           opposition brief and declarations; draft outline to reply brief
708
      2/7/2017    JMB      Attend team meeting; work through deposition notices for scheduling; draft letter to opposing      4.9   $   3,307.50               No Invoice                     $                3,307.50          Reasonable
                           counsel regarding scheduling; communicate with client regarding prior art installations and case
709                        status; review and analyze Court Order on privilege waiver issue
      2/7/2017    MCM      Work on outstanding discovery to be completed, including written discovery and depositions         1.8   $    693.00                No Invoice                     $                 693.00           Reasonable
710
711   2/7/2017    AMS      Draft supplemental interrogatory responses                                                         0.5   $     222.50               No Invoice                     $                  222.50          Reasonable
      2/8/2017    JMB      Research Flowrider, Wave Loch and Whitewater websites for information on sales and                 5.3   $   3,577.50 1855992       But-For                        $                3,577.50          Reasonable
712                        marketing, potential prior art issues
      2/8/2017    AMS      Draft reply brief in support of motion to compel; calls with C. Franich and J. Barnes              3.6   $   1,602.00 1855992       Motion to Compel Arbitration   $                1,602.00                       $                 1,602.00
713                        regarding the same                                                                                                                  Documents Denied, Sanctions
      2/8/2017    CF       Draft correspondence regarding flow services production; begin drafting motion to compel           4.3   $   1,892.00 1855992                                                                         Reasonable
714
      2/9/2017    JMB      Attention to Flow Services discovery issues; review and edit reply brief on motion to compel       8.7   $   5,872.50               Motion to Compel Arbitration   $                5,872.50                       $                 5,872.50
                           arbitration documents; multiple correspondence with opposing counsel; call to discuss                                               Documents Denied, Sanctions
                           deposition notices from opposing counsel; email clients; research cases for reply brief                                             Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
715
      2/9/2017    SBH      Draft Schedules A and B to subpoena for production of documents directed to Flowrider Inc.         0.4   $        82.00             No Invoice                     $                  82.00           Reasonable
716
717   2/9/2017    BK       Retrieve a case for Anup Shah                                                                      0.2   $      40.00               No Invoice                     $                   40.00          Reasonable
      2/9/2017    CF       Continue drafting reply brief for motion to compel; draft correspondence regarding                 7.4   $   3,256.00               No Invoice; Motion to Compel $                  3,256.00                       $                 3,256.00
                           discovery requests and answers to same; finalize evidentiary exhibits for brief                                                     Arbitration Documents Denied,
                                                                                                                                                               Sanctions Imposed Against
                                                                                                                                                               Defendants (ECF Nos. 175, 217)

718
      2/9/2017    AMS      Revise Reply Brief; calls with J. Barnes and C. Franich regarding the same; draft                  5.4   $   2,403.00               No Invoice; Motion to Compel $                  2,403.00                       $                 2,403.00
                           Supplemental Interrogatory response and Verification                                                                                Arbitration Documents Denied,
                                                                                                                                                               Sanctions Imposed Against
                                                                                                                                                               Defendants (ECF Nos. 175, 217)

719
      2/10/2017   CF       Review correspondence regarding Flow Services production; draft correspondence regarding           3.8   $   1,672.00               No Invoice                     $                1,672.00          Reasonable
                           same and service on plaintiffs; review correspondence regarding exhibits and draft of reply brief;
                           draft correspondence regarding same; review and analyze prior installations and draft
720                        correspondence regarding same; review file history
      2/10/2017   SBH      Draft PSD's Motion to File Reply in Support of Motion to Compel Under Seal and proposed 1.5              $    307.50                No Invoice; Motion to Compel $                   307.50                        $                   307.50
                           order, finalize same and electronically file, submit proposed Order to Magistrate Major;                                            Arbitration Documents Denied,
                           finalize PSD's Reply in Support of Motion to Compel, finalize redacted (public) version,                                            Sanctions Imposed Against
                           lodge sealed motion on the Court's ECF filing system and serve same on opposing counsel                                             Defendants (ECF Nos. 175, 217)

721
      2/10/2017   AMS      Finalize Reply Brief in support of motion to compel and related declaration and motion to          3.7   $   1,646.50               No Invoice; Motion to Compel $                  1,646.50                       $                 1,646.50
                           file under seal                                                                                                                     Arbitration Documents Denied,
                                                                                                                                                               Sanctions Imposed Against
                                                                                                                                                               Defendants (ECF Nos. 175, 217)

722




                                                                                                                        Defendant's Exhibit B-6                                                                                                      27
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           A           B                                                   C                                                    D        E             F                  G                         H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                             HRS       AMT        INV.NO.   Reason Not Recoverable      Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      2/13/2017   AMS      Call with J. Barnes regarding discovery                                                            0.6   $    267.00              No Invoice; Motion to Compel $                267.00                        $                 267.00
                                                                                                                                                             Arbitration Documents Denied,
                                                                                                                                                             Sanctions Imposed Against
                                                                                                                                                             Defendants (ECF Nos. 175, 217)

723
      2/14/2017   JMB      Prepare for and attend teleconference with opposing counsel regarding depositions; draft         4.1     $   2,767.50             No Invoice                  $                2,767.50          Reasonable
                           summary to client regarding scheduling and strategy; correspond with opposing counsel regarding
724                        stay motion; analyze 589 prior art systems
      2/14/2017   CF       Prepare for and meet with opposing counsel regarding discovery issues and depositions; draft and 3.5     $   1,540.00             No Invoice                  $                1,540.00          Reasonable
                           finalize correspondence regarding same; preliminary review of new production from opposing
                           counsel regarding prior art designs and agreements; draft correspondence regarding analysis of
                           same; draft and finalize correspondence to client regarding deposition issues and dates
725
      2/14/2017   SBH      Create Exhibits A and B to Notice of Supplemental Authority, draft Declaration of Justin Barnes    0.5   $    102.50              No Invoice                  $                 102.50           Reasonable
726                        in support of notice, draft motion and proposed order to file exhibits under seal
727   2/14/2017   MCM      Work on WW and Lochtefeld depositions to be taken                                                  1.4   $     539.00             No Invoice                  $                  539.00          Reasonable
      2/14/2017   AMS      Analyze Plaintiffs' supplemental production; participate in meet and confer regarding deposition   2.7   $   1,201.50             No Invoice                  $                1,201.50          Reasonable
728                        scheduling; draft Notice of Supplemental Evidence
      2/15/2017   JMB      Review hot documents identified by team members; work on deposition outlines for Lochtefeld,       6.3   $   4,252.50             No Invoice                  $                4,252.50          Reasonable
                           Myrman, Thatcher, Chutter; review correspondence to send to opposing counsel; correspond with
729                        client regarding 30b6 depositions;
      2/15/2017   CF       Review correspondence from opposing counsel regarding discovery responses; draft and finalize      1.5   $    660.00              No Invoice                  $                 660.00           Reasonable
                           correspondence to opposing counsel regarding same; review pertinent documents regarding
                           deposition material; draft and finalize correspondence regarding analysis of inventorship,
                           invalidity, and non infringement in view of the hot documents; draft and finalize correspondence
730                        regarding tentative deposition scheduling
      2/15/2017   AMS      Review ESI documents; draft deposition summaries of the same; revise correspondence to             2.1   $    934.50              No Invoice                  $                 934.50           Reasonable
731                        opposing counsel; review newly-produced agreements
      2/16/2017   JMB      Work on deposition outlines; correspond with client regarding depositions; analyze discovery       5.1   $   3,442.50             No Invoice                  $                3,442.50          Reasonable
732                        issues related to Flow Services
      2/16/2017   CF       Review correspondence from opposing counsel regarding additional discovery issues and              2.0   $    880.00              No Invoice                  $                 880.00           Reasonable
                           Whitewater partners; draft and finalize correspondence to opposing counsel regarding same;
                           review correspondence from opposing counsel regarding ESI privilege; draft and finalize
                           correspondence regarding same; draft and finalize propose deposition schedule and associated
                           topics of PSD; review correspondence regarding same and revise schedule; draft and finalize
733                        correspondence to opposing counsel regarding same
734   2/16/2017   MCM      Work on Richard Alleshouse and Yong Yeh depositions to be taken                                    0.6   $    231.00              No Invoice                  $                 231.00           Reasonable
      2/16/2017   AMS      Call with J. Barnes regarding depositions; draft correspondence to opposing counsel; identify      2.1   $    934.50              No Invoice                  $                 934.50           Reasonable
                           PSD deposition topic deponents; draft correspondence to PSD regarding the same
735
      2/17/2017   JMB      Multiple correspondence with opposing counsel regarding discovery issues; analyze strategy for     2.9   $   1,957.50             No Invoice                  $                1,957.50          Reasonable
                           depositions of PSD; multiple calls with team members regarding discovery issues
736
      2/17/2017   CF       Review correspondence regarding ESI information from Plaintiffs; draft and finalize                1.3   $    572.00              No Invoice                  $                 572.00           Reasonable
                           correspondence regarding custodian accounts; draft and finalize correspondence regarding
                           deposition notice objections; draft and finalize correspondence to opposing counsel regarding
                           proposed deposition dates, topics for witnesses; coordinate and serve additional discovery on
737                        plaintiffs
      2/17/2017   AMS      Call with Y. Yeh; draft Objections to 30(b)(6) Notice; draft correspondence to opposing counsel    1.9   $    845.50              No Invoice                  $                 845.50           Reasonable
738
      2/20/2017   CF       Review support raised by Plaintiffs as to Joint Defense Agreement; draft and finalize            4.5     $   1,980.00 1855992     But-For                     $                1,980.00          Reasonable
                           correspondence analyzing same; begin drafting responses and objections to deposition notices for
739                        PSD, Richard, Yong, and Tolli
740   2/21/2017   JMB      Team meeting; work on stay motion                                                                5.5     $   3,712.50 1855992     But-For                     $                3,712.50          Reasonable




                                                                                                                           Defendant's Exhibit B-6                                                                                              28
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           A           B                                                    C                                                       D        E             F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      2/21/2017   CF       Continue drafting objections to deposition notices served by Plaintiffs; draft and finalize            3.7   $   1,628.00 1855992     But-For                  $                1,628.00          Reasonable
                           correspondence regarding Lochtefeld deposition outline; draft and finalize correspondence
                           regarding Tolli deposition outline; review correspondence from opposing counsel regarding
                           tolling agreement, Flow Services agreement, and joint defense agreement; draft and finalize
                           analysis of same; review correspondence from opposing counsel regarding discovery responses;
                           draft and finalize correspondence regarding previous court order of same
741
742   2/21/2017   MCM      Obtain additional facts regarding case, and assess additional issues in case                           1.7   $     654.50 1855992     But-For                  $                  654.50          Reasonable
743   2/21/2017   MCM      Engage in preliminary settlement discussions                                                           1.6   $     616.00 1855992     But-For                  $                  616.00          Reasonable
      2/21/2017   AMS      Revise Objections to 30(b)(6) Notice; call with J. Barnes, C. Franich and M. Mao regarding             2.6   $   1,157.00 1855992     But-For                  $                1,157.00          Reasonable
744                        discovery; calls with opposing counsel regarding discovery disputes
745 2/22/2017     MCM      Assessment on current issues of case, and engage in preliminary settlement discussions                 2.1   $     808.50   1855992   But-For                  $                  808.50          Reasonable
746 2/22/2017     MCM      Meet and confer with Rick Tache re potential settlement of case                                        0.3   $     115.50   1855992   But-For                  $                  115.50          Reasonable
747 2/22/2017     MCM      Assess IPR results on '589                                                                             0.7   $     269.50   1855992   IPR                      $                  269.50                       $                   269.50
    2/22/2017     AMS      Review '589 IPR Termination Order; summarize the same; draft correspondence to opposing                2.7   $   1,201.50   1855992   IPR                      $                1,201.50                       $                 1,201.50
                           counsel regarding Z. Tolli documents; call with M. Mao regarding settlement; calls with
                           Troutman team regarding motion to stay; review case- law regarding motion to stay; review case-
748                        law on 30(b)(6) topics regarding contentions
749   2/23/2017   JMB      Review deposition notices; attention to discovery issues                                               0.6   $    405.00 1855992      But-For                  $                 405.00           Reasonable
      2/23/2017   CF       Draft and finalize correspondence to opposing counsel regarding Flow Inc. schematics and pre-          2.0   $    880.00 1855992      But-For                  $                 880.00           Reasonable
                           589 disclosures; review ADG production and draft correspondence regarding documents to be
                           produced; revise and finalize notice of issuance of subpoena to witnesses for Plaintiffs; draft and
                           finalize correspondence regarding same and Murphy, Stuart, and Tolli notices
750
751   2/23/2017   MCM      Phone call with Rick Tache re potential settlement of case                                             0.2   $      77.00 1855992     But-For                  $                   77.00          Reasonable
752   2/23/2017   AMS      Revise correspondence                                                                                  0.3   $     133.50 1855992     But-For                  $                  133.50          Reasonable
      2/24/2017   JMB      Call to discuss Tolli issue; attention to correspondence from opposing counsel; call to discuss stay   1.9   $   1,282.50 1855992     But-For                  $                1,282.50          Reasonable
753                        motion; work on stay motion
      2/24/2017   CF       Draft and finalize correspondence regarding renewed stay motion, revisions, and filing strategy;       0.9   $    396.00 1855992      But-For                  $                 396.00           Reasonable
                           draft and finalize correspondence regarding revisions to 30b1 deposition notices; review
                           correspondence regarding trade secret issue and Tolli; draft and finalize correspondence regarding
754                        same and proposed strategy
755   2/24/2017   MCM      Work on potential trade secret/interference with contract claims against White Water                   1.2   $    462.00 1855992      But-For                  $                 462.00           Reasonable
      2/24/2017   MCM      Research and analysis re potential trade secret/interference with contract claims against White        1.4   $    539.00 1855992      But-For                  $                 539.00           Reasonable
756                        Water
757 2/24/2017     MCM      Work on potential settlement discussions in case                                                       2.4   $     924.00   1855992   But-For                  $                  924.00          Reasonable
758 2/24/2017     MCM      Phone call with Rick Tache re current status of case                                                   0.3   $     115.50   1855992   But-For                  $                  115.50          Reasonable
759 2/24/2017     AMS      Revise draft Renewed Motion to Stay                                                                    4.5   $   2,002.50   1855992   But-For                  $                2,002.50          Reasonable
760 2/25/2017     MCM      Work on potential settlement discussions in case                                                       0.6   $     231.00   1855992   But-For                  $                  231.00          Reasonable
761 2/25/2017     MCM      Plan and prepare for depositions of Yong Yeh and Richard Alleshouse                                    1.5   $     577.50   1855992   But-For                  $                  577.50          Reasonable
    2/27/2017     CF       Review correspondence regarding fact discovery and experts for prior art installations; draft          1.0   $     440.00   1855992   But-For                  $                  440.00          Reasonable
                           correspondence regarding same; review correspondence from opposing counsel regarding
                           deposition calendar and topics; draft and finalize correspondence to opposing counsel regarding
                           same; review correspondence from opposing counsel regarding third party production; draft and
762                        finalize correspondence to opposing counsel regarding same
763   2/27/2017   MCM      Plan and prepare for depositions of Yong Yeh and Richard Alleshouse                                    1.4   $    539.00 1855992      But-For                  $                 539.00           Reasonable
764   2/27/2017   AMS      Call with M. Mao regarding trade secrets (0.5); revise Renewed Motion to Stay (1.4)                    1.9   $    845.50 1855992      But-For                  $                 845.50           Reasonable
      2/27/2017   SBH      Finalize for filing motion for admission pro hac vice and declaration in support of same on            0.5   $    102.50 1855992      IPR                      $                 102.50           Reasonable
765                        behalf of Justin Barnes with regard to IPR matter
      2/28/2017   CF       Analyze discovery requests thus far from PSD to plaintiffs in view of ESI review and various           2.5   $   1,100.00 1855992     But-For                  $                1,100.00          Reasonable
                           Plaintiffs responses and close of fact discovery; draft and finalize areas in which Plaintiffs have
                           not supplemented or credibility can be challenged in deposition; draft and finalize correspondence
                           regarding Kwasnicki deposition; draft and finalize correspondence regarding objections to Flow
                           services, Tolli, and individual deposition notices of client
766
      2/28/2017   AMS      Call with C. Franich regarding discovery issues; draft correspondence to team regarding the same; 1.3        $    578.50 1855992      But-For                  $                 578.50           Reasonable
767                        attention to Z. Tolli document collection; revise motion to stay




                                                                                                                          Defendant's Exhibit B-6                                                                                                29
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            A         B                                                     C                                                      D        E             F                  G                      H                           I                    J
         DATE    BILLER                             DESCRIPTION OF WORK PERFORMED                                                HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/1/2017   SBH      Review memorandum of points and authorities in support of renewed motion to stay including             4.5   $    922.50 1874025      But-For                  $                 922.50           Reasonable
                          cite and quote checking, creation of table of authorities, and creation of exhibits; draft notice of
                          motion, declaration of Justin Barnes and proposed order; finalize all for filing and electronically
                          file motion with supporting documents; submit proposed order to Judge Benitez
768
769   3/1/2017   AMS      Finalize Revised Motion to Stay, Declaration and Exhibits                                              2.5   $   1,112.50 1874025     But-For                  $                1,112.50          Reasonable
      3/1/2017   CF       Review amended infringement contentions and motion from Plaintiffs; draft correspondence               0.8   $     352.00 1874025     But-For                  $                  352.00          Reasonable
770                       regarding preliminary analysis of same
      3/2/2017   CF       Review correspondence from opposing counsel regarding discovery issues and deposition issues;          1.7   $    748.00 1874025      But-For                  $                 748.00           Reasonable
                          draft and finalize correspondence to opposing counsel regarding same; begin review of flow
771                       services production; begin drafting outline for opposition brief
      3/2/2017   SBH      Review Plaintiffs' notice of motion re plaintiffs' leave to amend infringement contentions for         0.1   $        20.50 1874025   But-For                  $                  20.50           Reasonable
772                       computation of opposition and reply deadlines
773   3/2/2017   AMS      Attention to Z. Tolli emails; draft correspondence regarding the same                                  0.8   $    356.00 1874025      But-For                  $                 356.00           Reasonable
      3/3/2017   JMB      Communicate with team regarding strategy on discovery issues; attention to Tolli issues; calls         1.1   $    742.50 1874025      But-For                  $                 742.50           Reasonable
774                       with team members
      3/3/2017   CF       Continue ESI review of Flow Services; draft and finalize correspondence to opposing counsel            1.1   $    484.00 1874025      But-For                  $                 484.00           Reasonable
                          regarding depositions and discovery responses; review correspondence from opposing counsel
                          regarding same; draft and finalize correspondence regarding overview of fact discovery issues
775                       requiring client attention
      3/3/2017   SBH      Draft motion for extension of fact discovery deadline for the limited purpose of taking the            0.5   $    102.50 1874025      But-For                  $                 102.50           Reasonable
                          deposition of Marshall Myrman and prepare proposed order for Magistrate Judge Major's
776                       consideration
777   3/3/2017   MCM      Plan and prepare for depositions of Yong Yeh and Richard Alleshouse                                    1.7   $    654.50 1874025      But-For                  $                 654.50           Reasonable
      3/3/2017   AMS      Confer with ADG's counsel regarding depositions; call with M. Mao and PSD regarding budget             1.4   $    623.00 1874025      But-For                  $                 623.00           Reasonable
778                       and discovery
      3/6/2017   JMB      Meeting with Chris Franich and Anup Shah to discuss strategy and open issues; attention to             0.9   $    607.50 1874025      But-For                  $                 607.50           Reasonable
779                       motion to stay issues
      3/6/2017   CF       Continue ESI review of Flow Services production; revise and finalize deposition notices, and           7.3   $   3,212.00 1874025     But-For                  $                3,212.00          Reasonable
                          attachments; review correspondence from client regarding prior art; draft and finalize
                          correspondence regarding same; draft and finalize correspondence reply outline; draft and finalize
780                       objections to Flow Services deposition notice
      3/6/2017   SBH      Download and organize document production of Thomas Lochtefeld and related entities and                0.5   $    102.50 1874025      But-For                  $                 102.50           Reasonable
781                       instructions to eMerge
782 3/6/2017     MCM      Work on outstanding issues relating to currently scheduled depositions                                 0.4   $     154.00   1874025   But-For                  $                  154.00          Reasonable
783 3/6/2017     AMS      Calls with Y. Yeh and J. Barnes regarding depositions                                                  1.1   $     489.50   1874025   But-For                  $                  489.50          Reasonable
784 3/7/2017     JMB      Attention to multiple discovery issues; review new Lochtefeld production                               0.8   $     540.00   1874025   But-For                  $                  540.00          Reasonable
    3/7/2017     CF       Continue Flow Services ESI review; process and preliminary review of Lochtefeld production;            7.9   $   3,476.00   1874025   But-For                  $                3,476.00          Reasonable
                          draft and finalize correspondence regarding same; review correspondence from opposing counsel
                          regarding discovery issue and opposition brief; draft and finalize correspondence regarding same;
                          draft and finalize correspondence regarding close of discovery; begin drafting outline for
785                       opposition brief
      3/7/2017   AMS      Review identified documents for de-designation; revise Flow Services 30(b)(6) Objections; revise       1.2   $    534.00 1874025      But-For                  $                 534.00           Reasonable
786                       subpoenas
      3/8/2017   CF       Continue ESI review of Flow Services; revise and finalize outline to opposition brief; revise and      7.3   $   3,212.00 1874025     But-For                  $                3,212.00          Reasonable
                          finalize attachments for deposition notices; revise and finalize deposition notices; draft remaining
787                       objections to deposition notices
      3/8/2017   MCM      Review and analysis of additional information from clients regarding other Whitewater clients          1.1   $    423.50 1874025      But-For                  $                 423.50           Reasonable
788
789   3/8/2017   AMS      Evaluate potential discovery                                                                      0.7        $    311.50 1874025      But-For                  $                 311.50           Reasonable
      3/9/2017   CF       Draft and finalize correspondence regarding preliminary analysis to plaintiffs' opposition brief; 1.0        $    440.00 1874025      But-For                  $                 440.00           Reasonable
                          review correspondence from client regarding additional disclosure from client; review production
                          and coordinate service; continue ESI review of Flow Services production
790




                                                                                                                           Defendant's Exhibit B-6                                                                                              30
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           A           B                                                     C                                                     D        E             F                   G                           H                           I                    J
         DATE     BILLER                             DESCRIPTION OF WORK PERFORMED                                               HRS       AMT       INV.NO.    Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/10/2017   CF       Review order from Court regarding discovery; draft and finalize correspondence regarding same; 4.1          $   1,804.00 1874025     But-For                        $                1,804.00          Reasonable
                           review correspondence from opposing counsel regarding discovery issues; draft and finalize
                           correspondence to opposing counsel regarding same; continue ESI review of Flow Services; draft
                           and finalize proposed outline to reply brief to Plaintiffs' opposition
791
      3/10/2017   SBH      Download and distribute unredacted documents filed under seal by plaintiffs in support of their       0.4   $        82.00 1874025   But-For                        $                  82.00           Reasonable
792                        opposition to PSD's renewed motion to stay
793   3/10/2017   SBH      Draft shell opposition to plaintiffs' motion to amend                                                 0.4   $     82.00 1874025      But-For                        $                  82.00           Reasonable
      3/10/2017   SBH      Download and organize documents regarding plaintiffs' discovery deficiencies per Christopher          1.5   $    307.50 1874025      But-For                        $                 307.50           Reasonable
794                        Franich
      3/10/2017   JMB      Review and analyze opposition to motion to stay; work on reply brief for stay motion;                 7.4   $   4,995.00 1874025     Motion to Compel Arbitration   $                4,995.00                       $                 4,995.00
                           teleconference to discuss Court Order on motion to compel arbitration documents; discuss                                             Documents Denied, Sanctions
                           opposition for motion for leave to amend to add new contentions                                                                      Imposed Against Defendants
                                                                                                                                                                (ECF Nos. 175, 217)
795
      3/10/2017   SBH      Review order denying motion to compel discovery in order to docket deadlines for                      0.2   $        41.00 1874025   Motion to Compel Arbitration   $                  41.00                        $                   41.00
                           application for reconsideration and appeal of same                                                                                   Documents Denied, Sanctions
                                                                                                                                                                Imposed Against Defendants
                                                                                                                                                                (ECF Nos. 175, 217)
796
797   3/11/2017   MCM      Plan and prepare for trial strategies                                                                 3.5   $   1,347.50 1874025     But-For                        $                1,347.50          Reasonable
      3/12/2017   CF       Continue ESI review of Flow Services; continue drafting outline for Tolli deposition; begin           2.4   $   1,056.00 1874025     But-For                        $                1,056.00          Reasonable
798                        revising reply brief ISO stay
      3/12/2017   MCM      Prepare additional written and third party discovery, and review basis for summary judgment;          5.8   $   2,233.00 1874025     But-For                        $                2,233.00          Reasonable
799                        work on responses to revised infringement contentions
800   3/13/2017   JMB      Work on reply brief for motion to stay; review motion to file under seal, exhibits                    2.5   $   1,687.50 1874025     But-For                        $                1,687.50          Reasonable
      3/13/2017   CF       Revise and finalize draft of opposition brief; revise and finalize draft of supporting declaration;   9.0   $   3,960.00 1874025     But-For                        $                3,960.00          Reasonable
                           prepare evidentiary exhibits; continue ESI review of Flow Services; draft correspondence
                           regarding McFarland information and invalidity theories; review correspondence from client
                           regarding prior art over nozzle covers; draft correspondence regarding analysis of same
801
802   3/13/2017   MCM      Prepare additional written and third party discovery                                                  1.6   $     616.00 1874025     But-For                        $                  616.00          Reasonable
      3/14/2017   JMB      Review complaint for new suit; attention to prior art installation discovery issues; teleconference   3.7   $   2,497.50 1874025     But-For                        $                2,497.50          Reasonable
803                        with Anup Shah regarding strategy; prepare for Lochtefeld deposition
      3/14/2017   CF       Continue ESI review of Toli; continue revising Tolli deposition outline; draft and finalize           5.2   $   2,288.00 1874025     But-For                        $                2,288.00          Reasonable
                           opposing counsel regarding outstanding discovery; draft and finalize correspondence to opposing
                           counsel regarding deposition notices; analyze new complaint and devise supplemental brief reply
804                        strategy
      3/14/2017   SBH      Draft shell objections and responses to Plaintiffs' Second Set of Requests for Admission and          0.4   $        82.00 1874025   But-For                        $                  82.00           Reasonable
805                        calculate response deadline
      3/14/2017   MCM      Prepare for deposition of 30(b)(6) witness of Pacific Surf Designs and that of Yong Yeh; review       3.8   $   1,463.00 1874025     But-For                        $                1,463.00          Reasonable
                           and analyze current patent portfolio of Pacific Surf Designs and pending patent applications of
806                        Richard Alleshouse for potential production
807   3/14/2017   AMS      Draft Opposition to Plaintiff's Motion to Amend Infringement Contentions                              6.7   $   2,981.50 1874025     But-For                        $                2,981.50          Reasonable
      3/15/2017   LB       Research cases saying that a party cannot introduce new theories or causes of action in               3.3   $   1,237.50 1874025     But-For                        $                1,237.50          Reasonable
                           infringement contentions that were not raised in the complaint. Research the alter ego theory in
808                        the Ninth Circuit.
      3/15/2017   JMB      Meet to discuss case strategy; attention to various discovery issues; work on Lochtefeld              5.4   $   3,645.00 1874025     But-For                        $                3,645.00          Reasonable
                           deposition outline; correspond with opposing counsel regarding new lawsuit; work on opposition
809                        to motion to amend contentions
      3/15/2017   CF       Finish review of Lochtefeld production; draft and finalize correspondence to opposing counsel         6.5   $   2,860.00 1874025     But-For                        $                2,860.00          Reasonable
                           regarding discovery deficiencies; draft and finalize additional deposition and subpoena notices for
                           client-proposed deponents; revise and finalize additional discovery requests of client; draft and
                           finalize correspondence regarding prior art installations, invalidity and inequitable conduct;
                           conference regarding willfulness analysis, trade secrets; draft and finalize correspondence
                           regarding deposition outlines to Tolli and Lochtefeld; draft supplemental notice for filing before
                           Court regarding Whitewater complaint; serve deposition notice and subpoena on Plaintiffs; serve
810                        discovery requests on Plaintiffs




                                                                                                                            Defendant's Exhibit B-6                                                                                                   31
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           A           B                                                   C                                                     D         E             F                   G                            H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                              HRS        AMT        INV.NO.   Reason Not Recoverable          Amount Not Recoverable      PSD Comments        Not Recoverable
 1
811   3/15/2017   SBH      Initial draft of PSD's Third Set of Requests for Production of Documents to Plaintiffs              0.4    $      82.00 1874025     But-For                         $                   82.00          Reasonable
      3/15/2017   AMS      Draft new discovery requests; call with team regarding the same; revise Opposition to Motion to     5.7    $   2,536.50 1874025     But-For                         $                2,536.50          Reasonable
812                        Amend
      3/16/2017   LB       Research cases saying that a party cannot introduce new theories or causes of action in             2.8    $   1,050.00 1874025     But-For                         $                1,050.00          Reasonable
                           infringement contentions that were not raised in the complaint and saying that a party is not
813                        entitled to discovery for theories that were not alleged in the complaint
      3/16/2017   JMB      Multiple teleconferences with opposing counsel; work on case strategy with Mark Mao and             3.5    $   2,362.50 1874025     But-For                         $                2,362.50          Reasonable
                           Charan Brahma; work on notice of supplemental damages; work on opposition to motion for
814                        leave to amend;
      3/16/2017   CB       Meet with team to discuss strategic alternatives, outstanding discovery and upcoming depositions.   1.2    $    810.00 1874025      But-For                         $                 810.00           Reasonable
815
      3/16/2017   CF       Revise supplemental notice and coordinate filing before Court; draft and finalize correspondence    1.2    $    528.00 1874025      But-For                         $                 528.00           Reasonable
                           to opposing counsel regarding additional discovery requests; revise and serve additional subpoena
                           and deposition notice; draft and finalize correspondence regarding Yeh, Tolli, and Lochtefeld
816                        deposition outlines
817   3/16/2017   MCM      Prepare Richard Alleshouse and Yong Yeh for deposition                                              0.8    $     308.00 1874025     But-For                         $                  308.00          Reasonable
818   3/16/2017   AMS      Revise Opposition to Motion to Amend                                                                3.8    $   1,691.00 1874025     But-For                         $                1,691.00          Reasonable
      3/16/2017   SBH      Prepare amended Notice of Deposition of Rob Chalfont and subpoena, and service upon                 0.3    $      61.50 1874025     Wrong Action -- No Witness      $                   61.50                       $                 61.50
                           counsel                                                                                                                             Named Chalfont, No Deposition
819                                                                                                                                                            Notice
820   3/17/2017   JMB      Review new production documents regarding prior art; work on opposition brief                       2.8    $   1,890.00 1874025     But-For                         $                1,890.00          Reasonable
      3/17/2017   CF       Review new production from opposing counsel; draft and finalize correspondence regarding            1.0    $     440.00 1874025     But-For                         $                  440.00          Reasonable
                           preliminary analysis of same; serve new production on opposing counsel; revise opposition brief
821                        to plaintiffs infringement contentions
822   3/17/2017   MCM      Review and analyze supplemental document production by Greenburg Taurig                             0.7    $     269.50 1874025     But-For                         $                  269.50          Reasonable
823   3/17/2017   MCM      Prepare Richard Alleshouse and Yong Yeh for deposition                                              0.5    $     192.50 1874025     But-For                         $                  192.50          Reasonable
      3/18/2017   JMB      Work on opposition brief and exhibits regarding amended infringement contentions; work on           3.5    $   2,362.50 1874025     But-For                         $                2,362.50          Reasonable
824                        deposition preparation
825   3/19/2017   MCM      Prepare Yong Yeh for deposition                                                                     3.5    $   1,347.50 1874025     But-For                         $                1,347.50          Reasonable
      3/20/2017   JMB      Work on opposition brief regarding motion to amend contention; prepare for upcoming                 4.2    $   2,835.00 1874025     But-For                         $                2,835.00          Reasonable
826                        depositions
      3/20/2017   CF       Continue revising opposition brief; review new production from Plaintiffs; prepare exhibits for     4.0    $   1,760.00 1874025     But-For                         $                1,760.00          Reasonable
                           brief; conference with client regarding invalidity strategy; draft and finalize correspondence
                           regarding same; draft and finalize correspondence regarding subpoena of American Waves
827                        Machines
      3/20/2017   SBH      Gather and mark exhibits and create table of exhibits regarding PSD's Opposition to Plaintiffs'     2.4    $    492.00 1874025      But-For                         $                 492.00           Reasonable
                           Motion to Amend Infringement Contentions; draft motion to file opposition and Exhibits B-D
                           under seal with proposed order; initial draft of Declaration of Justin Barnes in support of
                           opposition; download and organize videos, text messages and other documents from clients for
828                        production
829   3/20/2017   MCM      Prepare Yong Yeh for deposition                                                                     0.5    $     192.50 1874025     But-For                         $                  192.50          Reasonable
      3/20/2017   AMS      Calls with PSD and M. Mao regarding 30(b)(6) depositions; finalize Opposition to Motion to          8.0    $   3,560.00 1874025     But-For                         $                3,560.00          Reasonable
830                        Amend and related filings
      3/21/2017   JMB      Attention to issues with Yeh deposition; team call; team meeting regarding Thatcher deposition      5.7    $   3,847.50 1874025     But-For                         $                3,847.50          Reasonable
831
      3/21/2017   CF       Draft and finalize correspondence regarding AWM subpoena; draft and finalize correspondence         5.5    $   2,420.00 1874025     But-For                         $                2,420.00          Reasonable
832                        regarding Chafont notice and response to opposing counsel; privilege review of PSD production;
833 3/21/2017     MCM      Attend and defend Yong Yeh's deposition                                                             9.9    $   3,811.50   1874025   But-For                         $                3,811.50          Reasonable
834 3/21/2017     MCM      Conduct additional search on prior art                                                              1.6    $     616.00   1874025   But-For                         $                  616.00          Reasonable
835 3/21/2017     AMS      Draft deposition outlines; call with R. Alleshouse regarding deposition                             5.1    $   2,269.50   1874025   But-For                         $                2,269.50          Reasonable
    3/22/2017     JMB      Work on Thatcher and Lochtefeld deposition outlines; work on correspondence regarding               5.1    $   3,442.50   1874025   But-For                         $                3,442.50          Reasonable
836                        missing documents
      3/22/2017   SBH      Prepare amended notice of 30(b)(6) deposition of ADG, subpoena and notice of deposition of          0.5    $    102.50 1874025      But-For                         $                 102.50           Reasonable
                           Steve English, and amend notices and subpoenas of Ken Ellis, David Keim and Geoff Chutter to
837                        reflect new date
      3/22/2017   MCM      Prepare for second day of Yong Yeh's deposition; attend and defend Yong Yeh's deposition; meet      10.5   $   4,042.50 1874025     But-For                         $                4,042.50          Reasonable
838                        and confer to Leanna Constantini re Plaintiffs' prior art production
839   3/22/2017   AMS      Draft deposition outlines                                                                           3.3    $   1,468.50 1874025     But-For                         $                1,468.50          Reasonable




                                                                                                                        Defendant's Exhibit B-6                                                                                                       32
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           A           B                                                    C                                                     D         E           F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS        AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/22/2017   CF       Coordinate service of additional PSD production; revise notices for ADG and designated               7.3    $   3,212.00 1874025                                                               Reasonable
                           witnesses; draft and finalize correspondence regarding Chutter subpoena and notices; draft and
                           finalize correspondence regarding McFarlane request for production; continue drafting outlines
                           for Thatcher, Lochtefeld deposition; review correspondence from opposing counsel regarding
                           prior art installations; draft and finalize correspondence to opposing counsel regarding same; draft
                           correspondence regarding moving to compel production of same; draft correspondence regarding
                           revised invalidity argument on basis of prior art installation in Lochtefeld production; conference
                           with client regarding depositions of Plaintiffs' witnesses
840
      3/23/2017   SBH      Attention to deposition scheduling; draft subpoena duces tecum to Bruce McFarland; draft             2.2    $    451.00 1874025    But-For                  $                 451.00           Reasonable
                           amended notices of depositions and subpoenas directed to Geoff Chutter, ADG, David Keim,
                           Ken Ellis and Dave English, update subpoenas; serve all notices upon opposing counsel, update
841                        docketing
      3/23/2017   MCM      Prepare for second day of Yong Yeh's deposition; attend and defend Yong Yeh's deposition             8.5    $   3,272.50 1874025   But-For                  $                3,272.50          Reasonable
842
843   3/23/2017   AMS      Calls with team and PSD; revise Lochtefeld and Thatcher deposition outlines                       4.1       $   1,824.50 1874025   But-For                  $                1,824.50          Reasonable
      3/23/2017   JMB      Research potential motion to compel prior art; issues related to Yeh deposition; meet to discuss  7.7       $   5,197.50 1874025                                                               Reasonable
                           Thatcher and Lochtefeld depositions; team call regarding Yeh deposition; draft offer for judgment
844
      3/23/2017   CF       Continue revising deposition outlines for Thatcher and Lochtefeld; prepare exhibits for same;        6.2    $   2,728.00 1874025                                                               Reasonable
845                        draft and finalize opposing counsel regarding compelling prior art production
      3/24/2017   JMB      Multiple calls regarding deposition scheduling and strategy; teleconference regarding potential      8.1    $   5,467.50 1874025   But-For                  $                5,467.50          Reasonable
                           offer for judgment; prepare for Thatcher deposition; prepare for Lochtefeld deposition
846
      3/24/2017   CF       Continue drafting outlines for Lochtefeld and Thatcher depositions; continue drafting exhibits    7.3       $   3,212.00 1874025   But-For                  $                3,212.00          Reasonable
                           from ESI; conference regarding each; review correspondence from opposing counsel regarding
                           PSD noticed depositions; review correspondence from opposing counsel regarding Wave Loch
                           installation drawings; conference regarding same with client; meet and confer with opposing
                           counsel; draft and finalize correspondence regarding proposed reply strategy, depositions, and ex
847                        parte relief with court
      3/24/2017   MCM      Prepare Richard Alleshouse and Yong Yeh for deposition; prepare for depositions of Richard  5.0             $   1,925.00 1874025                                                               Reasonable
                           Alleshouse and Bruce McFarland of American Wave Machines; meet and confer with Rick Tache
                           re prior art documents outstanding; meet and confer with Rick Tache re depositions to be
848                        scheduled
      3/24/2017   AMS      Calls with team and R. Alleshouse; calls with C. Franich and J. Barnes regarding Lochtefeld 6.6             $   2,937.00 1874025   But-For                  $                2,937.00          Reasonable
                           deposition outline; update Thatcher deposition outline with document questions
849
      3/24/2017   CB       Discuss topics and evidence for upcoming depositions of plaintiffs' witnesses with team; review      1.6    $   1,080.00 1874025                                                               Reasonable
                           correspondence re motion to compel production of prior art ride installation documents.
850
851   3/25/2017   MCM      Meet and confer with Rick Tache and Leanna Constiani re depositions to be scheduled                  1.7    $    654.50 1874025    But-For                  $                 654.50           Reasonable
      3/25/2017   MCM      Prepare for depositions of Richard Alleshouse and Bruce McFarland of American Wave                   1.9    $    731.50 1874025    But-For                  $                 731.50           Reasonable
852                        Machines
      3/26/2017   JMB      Prepare for Thatcher declaration                                                                     2.7    $   1,822.50 1874025   But-For                  $                1,822.50          Reasonable
853
      3/26/2017   CF       Review correspondence from opposing counsel regarding depositions; draft correspondence              1.0    $    440.00 1874025    But-For                  $                 440.00           Reasonable
                           regarding same; conference regarding same; draft and finalize correspondence regarding
854                        proposed resolution; conference regarding same
855   3/26/2017   MCM      Meet and confer re depositions of Tom Lochtefeld                                                     1.6    $     616.00 1874025   But-For                  $                  616.00          Reasonable
      3/27/2017   JMB      Prepare and attend Thatcher deposition; multiple teleconferences with team members; prepare for      12.3   $   8,302.50 1874025   But-For                  $                8,302.50          Reasonable
856                        Lochtefeld deposition
      3/27/2017   CF       Continue preparing outlines for Thatcher and Lochtefeld; review additional production from           8.1    $   3,564.00 1874025   But-For                  $                3,564.00          Reasonable
                           Lochtefeld; revise outline; continue preparing evidentiary exhibits; revise and reserve 30b6
                           notices; revise and reserve deposition notice on Bruce; conference with client regarding pre-2000
                           rides and Hyland Hills history; revise outlines and exhibits for Lochtefeld deposition; conference
                           regarding Thatcher deposition and revise Lochtefeld outline
857




                                                                                                                          Defendant's Exhibit B-6                                                                                             33
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           A           B                                                   C                                                    D         E           F                   G                           H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                             HRS        AMT     INV.NO.    Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/27/2017   AMS      Analyze Hyland Hills prior art; revise deposition notices and subpoenas; confer with J. Barnes     6.9    $   3,070.50 1874025   But-For                        $                3,070.50          Reasonable
                           regarding A. Thatcher deposition; finalize exhibits and outline for T. Lochtefeld deposition
858
      3/28/2017   CF       Draft correspondence regarding analysis of Thatcher deposition and affect on validity of           5.0    $   2,200.00 1874025   016 Patent                     $                2,200.00          Reasonable
                           016 patent, lost profits, and prior Flowrider installations; draft correspondence regarding
                           proposed amended answer and invalidity contentions; deposition of Lochtefeld; continue
                           preparing exhibits for production on plaintiffs and use in deposition; draft correspondence
859                        regarding same
      3/28/2017   JMB      Prepare for and attend Lochtefeld deposition; multiple team calls regarding strategy and           10.9   $   7,357.50 1874025   But-For                        $                7,357.50          Reasonable
860                        preparation for Day 2 of deposition
      3/28/2017   CB       Discuss questioning for T. Lochtefeld deposition with J. Barnes and C. Franich and review          1.2    $    810.00 1874025    But-For                        $                 810.00           Reasonable
861                        documents relating to prior art ride installations to assess invalidity defenses.
      3/28/2017   SBH      Create share file for production of documents and produce documents upon Flowrider's counsel       0.5    $    102.50 1874025    But-For                        $                 102.50           Reasonable
862
      3/28/2017   MCM      Plan and prepare for deposition of Richard Alleshouse, individually and as 30(b)(6) witness for   2.1     $    808.50 1874025    But-For                        $                 808.50           Reasonable
863                        Pacific Surf Designs
      3/28/2017   AMS      Draft 30(b)(6) outlines; call with B. McFarland's counsel; revise subpoena to B. McFarland; calls 6.6     $   2,937.00 1874025   But-For                        $                2,937.00          Reasonable
                           with C. Franich, J. Barnes, and C. Brahma regarding Lochtefeld deposition
864
      3/29/2017   CF       Prepare for day 2 of Lochtefeld deposition; conference following close of deposition; draft        4.9    $   2,156.00 1874025   But-For                        $                2,156.00          Reasonable
                           correspondence regarding new information and inequitable conduct, invalidity, and strategy to
                           utilize new information; conference with client regarding same; analyze sanction motion from
865                        Plaintiffs; begin outlining reply to same
866   3/29/2017   SBH      Draft Notice of Compliance and electronically file with Southern District of California            0.3    $     61.50 1874025    But-For                        $                  61.50           Reasonable
      3/29/2017   MCM      Work on supplementing our discovery production of documents and information before close of        1.2    $    462.00 1874025    But-For                        $                 462.00           Reasonable
867                        discovery
      3/29/2017   AMS      Draft 30(b)(6) deposition outlines; calls with J. Barnes and                                       4.2    $   1,869.00 1874025   But-For                        $                1,869.00          Reasonable
868                        C. Franich
      3/29/2017   CB       Discuss Surf Waves' proposed extension to depose Pribonic in IPR with team and draft               1.9    $   1,282.50 1874025   IPR                            $                1,282.50          Reasonable
                           response; discuss strategy re invalidity arguments based on prior rides and related discovery
                           issues and Rule 11 letter with team; outline arguments for opposition to fees motion
869
      3/29/2017   MCM      Follow up on meet and confer relating to outstanding discovery issues and '016 IPR, further        2.6    $   1,001.00 1874025   IPR; '016 Patent               $                1,001.00          Reasonable
                           factual collection related to '589 and prior art, and revise current draft Motion to Compel (for
870                        failure to produce prior art)
      3/29/2017   JMB      Prepare for and take Lochtefeld deposition; multiple calls with clients and teams regarding        8.6    $   5,805.00 1874025                                                                     Reasonable
                           strategy for motion to compel and strategy for potential settlement; review new Hyland Hills
871                        documents and discuss with team and client
      3/30/2017   MCM      Work on supplementing our discovery production of documents and information before close of        0.5    $    192.50 1874025    But-For                        $                 192.50           Reasonable
872                        discovery
      3/30/2017   CF       Draft and finalize additional correspondence regarding Plaintiffs discovery deficiencies and       5.1    $   2,244.00 1874025   Motion to Compel Arbitration   $                2,244.00                       $                 2,244.00
                           designation; draft correspondence regarding offer for judgment; draft correspondence regarding                                   Documents Denied, Sanctions
                           call with clerk regarding motion to compel; revise outline of motion to compel; draft                                            Imposed Against Defendants
                           correspondence regarding same; continue drafting reply brief to sanctions motion                                                 (ECF Nos. 175, 217)
873
      3/30/2017   JMB      Correspond with opposing counsel regarding deposition and exhibit designations; correspond         3.8    $   2,565.00 1874025                                                                     Reasonable
                           with opposing counsel regarding motion to compel; research feasibility of pursuing terminating
                           sanctions for withholding of documents; review and edit motion to compel; team call regarding
874                        strategy
875   3/30/2017   AMS      Draft Motion to Compel prior art Flowrider Installations                                           7.4    $   3,293.00 1874025                                                                     Reasonable
876   3/31/2017   SBH      Prepare documents for ADG and Keim depositions                                                     2.5    $     512.50 1874025   But-For                        $                 512.50           Reasonable
      3/31/2017   MCM      Work on supplementing our discovery production of documents and information before close of        1.8    $     693.00 1874025   But-For                        $                 693.00           Reasonable
877                        discovery
878   3/31/2017   AMS      Participate in team call; revise 30(b)(6) outline; attention to deposition exhibits                4.8    $   2,136.00 1874025   But-For                        $                2,136.00          Reasonable




                                                                                                                        Defendant's Exhibit B-6                                                                                                   34
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            A          B                                                   C                                                     D        E           F                   G                           H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                              HRS       AMT     INV.NO.    Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      3/31/2017   CF       Continue revising outlines for WW and Flowrider and Surf Waves; continue revising exhibits for 6.5        $   2,860.00 1874025   Motion to Compel Arbitration   $                2,860.00                       $                 2,860.00
                           same; continues drafting opposition brief to sanctions motion; draft and finalize                                                Documents Denied, Sanctions
                           correspondence to opposing counsel regarding installations and sanctions motion to compel same;                                  Imposed Against Defendants
                           review correspondence from Plaintiffs regarding same; conference regarding outstanding issues,                                   (ECF Nos. 175, 217)
                           strategy on production compel, sanctions, and remaining issues of invalidity; draft correspondence
879                        regarding same and Rule 11 letter
      3/31/2017   SH       Research discovery sanctions issues.                                                               3.7    $   1,387.50 1874025   Motion to Compel Arbitration   $                1,387.50                       $                 1,387.50
                                                                                                                                                            Documents Denied, Sanctions
                                                                                                                                                            Imposed Against Defendants
                                                                                                                                                            (ECF Nos. 175, 217)
880
      3/31/2017   JMB      Team call regarding possible Rule 11 letter; multiple calls to discuss Benac and ADG deposition    2.2    $   1,485.00 1874025                                                                     Reasonable
881                        preparation; communicate with counsel regarding de-designation issue
882   4/1/2017    AMS      Revise 30(b)(6) Outlines                                                                           0.3    $     133.50 1874026   But-For                        $                  133.50          Reasonable
883   4/2/2017    CF       Continue preparing outline for Surf Waves deposition; continue preparing exhibits                  1.3    $     572.00 1874026   But-For                        $                  572.00          Reasonable
      4/3/2017    CB       Discuss discovery and IPR strategy with team to narrow to dispositive issues and ensure            2.2    $   1,485.00 1874026   But-For                        $                1,485.00          Reasonable
                           completion of discovery within extended deadline; respond to Patent Owner's request for
884                        extension to depose Pribonic.
885   4/3/2017    AMS      Draft ADG deposition outlines; finalize exhibits                                                   5.9    $   2,625.50 1874026   But-For                        $                2,625.50          Reasonable
      4/3/2017    CF       Continue preparing outlines for Flowrider Surf, Surf Waves, and Whitewater; prepare exhibits for   5.4    $   2,376.00 1874026   Motion to Compel Arbitration   $                2,376.00                       $                 2,376.00
                           same; draft and finalize correspondence regarding answer strategy to WW new complaint against                                    Documents Denied, Sanctions
                           PSD as to ownership of Yong; draft correspondence regarding Rule 11 letter; continue revising                                    Imposed Against Defendants
                           opposition brief to sanctions motion; draft correspondence regarding same                                                        (ECF Nos. 175, 217)
886
      4/3/2017    JMB      Teleconference with client; review invention notebook from client; preparation for Luc Benac     8.4      $   5,670.00 1874026                                                                     Reasonable
887                        deposition; draft Rule 11 letter to opposing counsel
      4/3/2017    MCM      Work on potential Motion to Compel against Plaintiffs on prior art documentation currently being 1.2      $    462.00 1874026                                                                      Reasonable
888                        withheld
      4/4/2017    JMB      Review and edit Benac deposition outline and review associated exhibits; prepare for deposition 9.5       $   6,412.50 1874026   But-For                        $                6,412.50          Reasonable
889
      4/4/2017    MCM      Draft Counter-Claim in Whitewater v. PSD case against Whitewater, Thatcher, and Myrman             1.2    $    462.00 1874026    But-For                        $                 462.00           Reasonable
890
891   4/4/2017    AMS      Update ADG deposition outlines                                                                      0.7   $     311.50 1874026   But-For                        $                  311.50          Reasonable
      4/4/2017    CF       Finalize draft of opposition brief; draft and finalize correspondence to opposing counsel regarding 4.2   $   1,848.00 1874026   IPR; '016 Patent               $                1,848.00          Reasonable
                           discovery dispute; review correspondence from opposing counsel; analyze same and devise reply
                           strategy; review and analyze production from Plaintiffs; revise WW and FSL deposition outlines
                           and exhibits; review client production and coordinate service of same; revise deposition outline
                           for ADG; draft correspondence regarding fact discovery, experts, and interaction with 016
                           IPR; revise and finalize correspondence to 016 IPR counsel
892
      4/5/2017    CB       Correspond with opposing counsel re untimeliness of deposition request and discuss response        1.2    $    810.00 1874026    But-For                        $                 810.00           Reasonable
                           strategy and timing in relation to litigation deadlines with team; discuss litigation expert needs
                           and preparation of reports, and conclusion of fact discovery and extension of deadline with team.
893
      4/5/2017    MCM      Prepare for trial strategies with Yong Yeh, and the defense of the deposition of Richard           1.8    $    693.00 1874026    But-For                        $                 693.00           Reasonable
894                        Alleshouse
      4/5/2017    JMB      Prepare for and take Benac deposition; prepare for second day od deposition; review newly          14.1   $   9,517.50 1874026   But-For                        $                9,517.50          Reasonable
895                        production from Plaintiffs; teleconference with Mark Mao
      4/5/2017    AMS      Prepare for ADG depositions; draft responses to Requests for Admission; revise opposition to       3.2    $   1,424.00 1874026   Motion to Compel Arbitration   $                1,424.00                       $                 1,424.00
                           Sanctions Request                                                                                                                Documents Denied, Sanctions
                                                                                                                                                            Imposed Against Defendants
                                                                                                                                                            (ECF Nos. 175, 217)
896
      4/5/2017    MCM      Work on potential Motion to Compel against Plaintiffs on prior art documentation currently being 1.5      $    577.50 1874026                                                                      Reasonable
897                        withheld
      4/6/2017    MCM      Work on supplementing our discovery production of documents and information with regard to       1.6      $    616.00 1874026    But-For                        $                 616.00           Reasonable
898                        prior art installations
899   4/6/2017    AMS      Prepare for ADG depositions                                                                      6.1      $   2,714.50 1874026   But-For                        $                2,714.50          Reasonable




                                                                                                                         Defendant's Exhibit B-6                                                                                                  35
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            A          B                                                    C                                                      D         E           F                   G                           H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS        AMT     INV.NO.    Reason Not Recoverable         Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/6/2017    JMB      Prepare for and take second day of Benac deposition; teleconference with Anup Shah regarding          8.4    $   5,670.00 1874026   Motion to Compel Arbitration   $                5,670.00                       $                 5,670.00
                           deposition of ADG; edit opposition brief to sanctions motion                                                                        Documents Denied, Sanctions
                                                                                                                                                               Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
900
      4/6/2017    CB       Review opposition brief to plaintiffs' brief seeking attorneys fees; discuss discovery extension 1.0         $    675.00 1874026    Motion to Compel Arbitration   $                 675.00                        $                   675.00
                           and prioritization with team.                                                                                                       Documents Denied, Sanctions
                                                                                                                                                               Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
901
902   4/7/2017    JMB      Attention to multiple discovery issues; discussion regarding Benac and ADG depositions                2.5    $   1,687.50 1874026   But-For                        $                1,687.50          Reasonable
      4/7/2017    CF       Review correspondence regarding reply brief; revise and finalize reply brief; draft correspondence    2.5    $   1,100.00 1874026   But-For                        $                1,100.00          Reasonable
                           regarding same; draft and finalize supporting declaration; conference regarding same; draft and
                           finalize correspondence to plaintiffs regarding discovery dispute, prior art installations; draft
903                        correspondence to client regarding same
904   4/7/2017    MCM      Assess deposition of ADG                                                                              0.3    $    115.50 1874026    But-For                        $                 115.50           Reasonable
905   4/7/2017    MCM      Plan and prepare for deposition of Richard Alleshouse                                                 0.6    $    231.00 1874026    But-For                        $                 231.00           Reasonable
      4/7/2017    SBH      Draft Declaration of Anup Shah in support of opposition to motion for sanctions; finalize             0.8    $    164.00 1874026    Motion to Compel Arbitration   $                 164.00                        $                  164.00
                           opposition, declaration and exhibit and electronically file all with the Southern District of                                       Documents Denied, Sanctions
                           California                                                                                                                          Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
906
      4/7/2017    AMS      Depose ADG as a corporate entity and D. Keim as an individual; call with R. Alleshouse                10.3   $   4,583.50 1874026   Motion to Compel Arbitration   $                4,583.50                       $                 4,583.50
                           regarding the same; finalize Reply to Sanctions Request                                                                             Documents Denied, Sanctions
                                                                                                                                                               Imposed Against Defendants
                                                                                                                                                               (ECF Nos. 175, 217)
907
908   4/10/2017   JMB      Review written discovery supplementation; analyze claw back notice; work on invalidity case           2.5    $   1,687.50 1874026   But-For                        $                1,687.50          Reasonable
      4/10/2017   CF       Draft and finalize correspondence to Plaintiffs regarding discovery dispute; privilege review of      2.6    $   1,144.00 1874026   But-For                        $                1,144.00          Reasonable
                           client production and coordinate service on Plaintiffs; revise and finalize PSD answers to requests
                           for admissions; review of deposition transcripts and begin drafting report and summary of same
909                        for motion
      4/10/2017   SBH      Finalize Responses to Plaintiffs' Second Set of Requests for Admission, prepare exhibit and proof     0.5    $    102.50 1874026    But-For                        $                 102.50           Reasonable
910                        of service and serve upon opposing counsel
      4/10/2017   MCM      Meet and confer with Greenberg Taurig re our supplementing our discovery production of                1.4    $    539.00 1874026    But-For                        $                 539.00           Reasonable
                           documents and information before close of discovery, and documents owed by Plaintiffs
911
      4/10/2017   MCM      Work on supplementing our discovery production of documents and information for Flow                  0.8    $    308.00 1874026    But-For                        $                 308.00           Reasonable
912                        Services and Bruce McFarland, before close of discovery
      4/10/2017   AMS      Finalize Responses to Requests for Admission and related Exhibit; call with Z. Tolli's counsel        1.6    $    712.00 1874026    But-For                        $                 712.00           Reasonable
913                        regarding document production
914   4/11/2017   JMB      Analyze prior art applicability for Bruticus Maximus;                                                 0.6    $    405.00 1874026    But-For                        $                 405.00           Reasonable
      4/11/2017   CB       Research plaintiffs' damages expert, R. Vigil., and discuss with team; discuss strategy for           0.7    $    472.50 1874026    But-For                        $                 472.50           Reasonable
915                        extension of discovery deadlines with team.
      4/11/2017   CF       Conference regarding depositions and infringement position of Plaintiffs regarding hinge; draft       6.4    $   2,816.00 1874026   But-For                        $                2,816.00          Reasonable
                           correspondence regarding prior contentions, markman brief, and markman transcripts regarding
                           same; draft correspondence regarding outstanding discovery requests to Plaintiffs including
                           timeline of specific responses to RFPs; review and analyze production from Zak Tolli; draft
                           correspondence regarding analysis of same; contact Plaintiffs regarding discovery requests and
                           call with Clerk; revise and finalize proposed joint motion and order for Court to extend discovery;
                           draft correspondence to Plaintiffs regarding same; review correspondence from Plaintiffs
                           regarding expert; draft correspondence regarding same; continue review of Lochetefeld and
                           Thatcher transcripts and draft summary of same; draft correspondence regarding related discovery
                           requests; review correspondence from McFarland attorney regarding production; process
                           production and preliminary review
916
      4/11/2017   SBH      Download non-party Zakary Tolli's production in response to Plaintiffs' 2/17/17 subpoena              0.8    $    164.00 1874026    But-For                        $                 164.00           Reasonable
917




                                                                                                                          Defendant's Exhibit B-6                                                                                                    36
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           A           B                                                   C                                                     D        E           F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                              HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
918   4/11/2017   MCM      Review and analyze document production from Bruce McFarland                                         1.1   $    423.50 1874026    But-For                  $                 423.50           Reasonable
      4/11/2017   MCM      Work on supplementing our discovery production of documents and information, with regard to         1.8   $    693.00 1874026    But-For                  $                 693.00           Reasonable
919                        Flow Services and Bruce McFarland, before close of discovery
      4/11/2017   MCM      Meet and confer with Greenberg Taurig re our supplementing our discovery production of              0.7   $    269.50 1874026    But-For                  $                 269.50           Reasonable
                           documents and information before close of discovery, and documents owed by Plaintiffs
920
      4/11/2017   AMS      Draft Supplemental Initial Disclosures; draft Joint Motion to Extend Fact Discovery Deadline;     3.0     $   1,335.00 1874026   But-For                  $                1,335.00          Reasonable
                           call with B. McFarland's counsel regarding deposition; participate in team call regarding
921                        discovery
      4/12/2017   JMB      Research damages expert identified by Plaintiffs; discuss invalidity case with team members;      6.8     $   4,590.00 1874026   But-For                  $                4,590.00          Reasonable
                           review new production from Plaintiffs; review Hyland Hills production; team call to discuss
922                        strategy; review draft supplementary discovery responses
      4/12/2017   CF       Analyze McFarland production; draft correspondence regarding analysis of same; draft              10.9    $   4,796.00 1874026   But-For                  $                4,796.00          Reasonable
                           correspondence regarding NDA between certain entities; continue review of Lochtefeld and
                           Thatcher transcripts and draft summary of same; draft correspondence regarding related discovery
                           requests from Lochtefeld and Thatcher depositions; draft detailed list of documents outstanding
                           from Lochtefeld deposition; review PSD and FS prior productions regarding Plaintiffs' discovery
                           requests; draft correspondence regarding productions related to Surf Stream; prepare and
                           coordinate production of same; draft correspondence regarding certain components of Hyland
                           Hills; contact client regarding sales contract of Hyland Hills; analyze and verify dates of same;
                           prepare and coordinate production of same; revise joint motion in view of Plaintiffs production
                           and correspondence; draft and finalize correspondence to Plaintiffs regarding discovery, meet and
                           confer, and call with court; call with Court; draft correspondence regarding same and contact
                           Plaintiffs
923
924   4/12/2017   MCM      Review and analyze document production from Tom Lochtefeld                                          1.2   $    462.00 1874026    But-For                  $                 462.00           Reasonable
      4/12/2017   MCM      Plan and prepare for hearing before Judge Major on discovery dispute over prior art withheld by     0.8   $    308.00 1874026    But-For                  $                 308.00           Reasonable
925                        Plaintiffs
      4/12/2017   AMS      Revise correspondence to Plaintiffs; confer with attorney for                                       5.4   $   2,403.00 1874026   But-For                  $                2,403.00          Reasonable
926                        B. McFarland; draft Ex Parte Motion to Extend
      4/13/2017   JMB      Review and edit motion to request McFarland deposition; talk to potential damages expert; work      2.4   $   1,620.00 1874026   016 Patent               $                1,620.00          Reasonable
927                        on damages analysis for 589 and 016 patents; work on invalidity case
      4/13/2017   CF       Coordinate service of McFarland production, PSD, and FS production on Plaintiffs; revise and        8.7   $   3,828.00 1874026   But-For                  $                3,828.00          Reasonable
                           finalize draft of ex parte request for relief from Court regarding McFarland deposition; finalize
                           Thatcher transcript review and draft summary of same; begin Flowrider Surf Ltd., Surf Waves,
                           and Whitewater deposition review; draft correspondence regarding related discovery requests
                           from Thatcher and 30b6 depositions; draft detailed list of documents outstanding from Thatcher
                           deposition; coordinate additional Flow Services and PSD production; draft and finalize
                           correspondence to Plaintiffs regarding discovery requests from each side, meet and confer, and
                           call with court; prepare for and call with Court; draft correspondence regarding same; review
                           Order and draft correspondence regarding same; draft and finalize correspondence to Plaintiffs
                           regarding de-designation of certain discovery documents related to installations; revise PSD
                           supplemental interrogatory response and review correspondence from client regarding same


928
929   4/13/2017   SBH      Service of production of documents from PSD, Bruce McFarland and Flow Services                      0.5   $    102.50 1874026    But-For                  $                 102.50           Reasonable
      4/13/2017   MCM      Meet and confer with Plaintiffs and Judge Major's chambers re our filing a Motion to Compel on      1.7   $    654.50 1874026                                                                Reasonable
930                        RFPD No. 5 and 39
      4/13/2017   AMS      Drafting ex parte motion to amend scheduling order for deposition of Bruce McFarland; confer        4.2   $   1,869.00 1874026                                                               Reasonable
                           with team regarding motion to compel; revise Supplemental Responses to First Set of
931                        Interrogatories
      4/14/2017   CF       Revise and finalize ex part motion and corresponding declaration; revise exhibits; draft            3.5   $   1,540.00 1874026   But-For                  $                1,540.00          Reasonable
                           correspondence to plaintiffs regarding same; meet and confer with plaintiffs; revise and finalize
                           joint motion; meet and confer with plaintiffs regarding same; coordinate filing and service of
                           same; review client production and coordinate service of same on plaintiffs; draft correspondence
                           regarding de- designation of documents to plaintiffs; review plaintiffs RFP objections; draft
932                        correspondence regarding same




                                                                                                                        Defendant's Exhibit B-6                                                                                             37
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           A           B                                                   C                                                       D        E             F                  G                      H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS       AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/14/2017   SBH      Work on ex-parte motion to extend fact discovery deadline, including finalize and stamp exhibits 8.0        $   1,640.00 1874026     But-For                  $                1,640.00          Reasonable
                           (A-U) in support of motion, draft proposed order for ex-parte motion, draft declaration of Justin
                           Barnes in support of motion, draft motion to file documents under seal with proposed order;
                           revise subpoena to Bruce McFarland and notice of issuance; review, finalize and service
                           McFarland notice of issuance of subpoena, PSD's fifth supplemental responses to interrogatories,
                           and supplemental initial disclosures; review, finalize and electronically file joint motion for
                           limited fact discovery extension and submit proposed order to Judge Major
933
      4/14/2017   MCM      Draft Counter-Claim in Whitewater v. PSD case against Whitewater, Thatcher, and Myrman                4.0   $   1,540.00 1874026     But-For                  $                1,540.00          Reasonable
934
      4/14/2017   AMS      Finalize ex parte motion to amend and exhibits, declaration and under seal filings; finalize          5.2   $   2,314.00 1874026     But-For                  $                2,314.00          Reasonable
                           Supplemental Initial Disclosures; finalize Supplemental Interrogatory Responses; revise B.
935                        McFarland deposition notice; revise Joint Motion to Extend
      4/14/2017   JMB      Work on motion to take McFarland deposition; work on motion to compel; work on joint motion           1.9   $   1,282.50 1874026                                                                 Reasonable
936                        to extend discovery
      4/17/2017   SBH      Draft stipulation extending time to file answer in Whitewater action; download and organize           0.3   $        61.50 1874026   But-For                  $                  61.50           Reasonable
937                        electronic pleadings
938   4/17/2017   MCM      Plan and prepare for deposition of Richard Alleshouse                                                 3.2   $   1,232.00 1874026     But-For                  $                1,232.00          Reasonable
      4/17/2017   CB       Review Patent Owner Response to IPR and related expert declaration and discuss                        3.9   $   2,632.50 1874026     IPR                      $                2,632.50          Reasonable
                           arguments and next steps with team; discuss motion to compel and litigation expert and
                           summary judgment motion strategy with team; review discovery correspondence from opposing
939                        counsel.
      4/17/2017   JMB      Team call regarding strategy; update team task list; review production from Bruce McFarland;          7.1   $   4,792.50 1874026                                                                 Reasonable
940                        work on motion to compel
      4/17/2017   CF       Review correspondence from Plaintiffs regarding de- designation; draft and finalize                   6.2   $   2,728.00 1874026                                                                 Reasonable
                           correspondence regarding same; begin drafting outline to Bruce McFarland deposition; draft
                           correspondence regarding topics and exhibits for use in Alleshouse deposition; review patent
                           owner response in patent and draft correspondence regarding same; review draft of motion to
                           compel; review, revise outline to PSD answer in WW dispute; review Yong Yeh deposition
                           transcripts in view of Alleshouse deposition and draft correspondence regarding Plaintiffs'
941                        questions
942   4/17/2017   AMS      Draft Motion to Compel; participate in team call regarding litigation strategy                        5.3   $   2,358.50 1874026                                                                 Reasonable
      4/18/2017   CF       Continue drafting McFarland deposition outline; coordinate exhibits for same; revise motion to        6.7   $   2,948.00 1874026     016 Patent               $                2,948.00          Reasonable
                           compel; Alleshouse deposition; draft correspondence regarding same and invalidity strategy
                           for 589 and 016 patents; revise MSJ outline; revise and finalize exhibits and declaration for
                           motion to compel; draft and finalize correspondence to Plaintiffs regarding de-designation of
943                        certain documents and related Lochtefeld testimony;
944   4/18/2017   MCM      Attend deposition of Richard Alleshouse, day 1                                                        9.8   $   3,773.00 1874026     But-For                  $                3,773.00          Reasonable
      4/18/2017   CB       Review draft motion to compel; research Patent Owner's IPR expert and review declaration.             1.5   $   1,012.50 1874026     IPR                      $                1,012.50          Reasonable
945
      4/18/2017   JMB      Work on motion to compel; prepare for McFarland deposition; work on outline for summary               6.7   $   4,522.50 1874026                                                                 Reasonable
946                        judgment motion
      4/18/2017   SBH      Review draft motion to compel for creation of table of authorities, finalize and mark exhibits A-L,   1.5   $    307.50 1874026                                                                  Reasonable
                           draft Declaration of Justin Barnes in support of motion to compel, draft motion and proposed
947                        order to file motion to compel and exhibits K and L under seal
      4/18/2017   AMS      Finalize Motion to Compel, Exhibits, Motion to File Under Seal, Declaration, and Proposed             6.9   $   3,070.50 1874026                                                                 Reasonable
948                        Orders
      4/19/2017   CF       Review correspondence regarding claim terms in 589 patent versus Retro Rider installations; draft     4.8   $   2,112.00 1874026     016 Patent               $                2,112.00          Reasonable
                           correspondence regarding analysis of each term; draft correspondence regarding exhibits
                           demonstrating each; revise draft of McFarland outline and related exhibits; conference regarding
                           same and setting foundation for certain drawings in view of protective order; draft
                           correspondence regarding invalidity arguments for 016 patent; review American Waves
                           litigation and reexam and draft correspondence regarding same for deposition
949
      4/19/2017   JMB      Discuss strategy with client; work on summary judgment motion; prepare for McFarland                  7.4   $   4,995.00 1874026     But-For                  $                4,995.00          Reasonable
950                        deposition; correspond with client regarding de-designated materials
951   4/19/2017   CB       Discuss scope of Alleshouse deposition questioning and motion strategy with team.                     1.3   $    877.50 1874026      But-For                  $                 877.50           Reasonable
952   4/19/2017   MCM      Plan and prepare for deposition of Richard Alleshouse                                                 0.6   $    231.00 1874026      But-For                  $                 231.00           Reasonable




                                                                                                                         Defendant's Exhibit B-6                                                                                                38
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           A           B                                                   C                                                      D         E             F                   G                     H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                               HRS        AMT       INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
953   4/19/2017   MCM      Attend deposition of Richard Alleshouse, day 2                                                       8.7    $   3,349.50 1874026     But-For                  $                3,349.50          Reasonable
      4/20/2017   LB       Research cases saying that courts can take judicial notice of newspaper articles and city            2.2    $     825.00 1874026     But-For                  $                  825.00          Reasonable
                           government documents, specifically those disclosed pursuant to a Freedom of Information Act
954                        request.
      4/20/2017   JMB      Prepare for and attend Alleshouse deposition; correspond with client regarding strategy; prepare     7.8    $   5,265.00 1874026     But-For                  $                5,265.00          Reasonable
955                        for McFarland deposition; review McFarland exhibits
      4/20/2017   CB       Review outline of summary judgment motion/order of proof, assess strength of arguments and           2.8    $   1,890.00 1874026     But-For                  $                1,890.00          Reasonable
                           supporting evidence, and identify areas for inquiry in deposition of Bruce McFarland; discuss
                           Alleshouse deposition questions and strategy implications; discuss retention of Pribonic and
956                        outline of expert report with A. Shah.
      4/20/2017   CF       Review correspondence regarding MSJ strategy and reexam on 589 patent; draft                         4.6    $   2,024.00 1874026     IPR; '016 Patent         $                2,024.00          Reasonable
                           correspondence regarding analysis of each in view of motions pending before Court; draft
                           correspondence regarding ride surface differences between each Retro Rider installation in view
                           of Plaintiffs recent arguments; review Lochtefeld transcripts in support of same; draft
                           correspondence regarding 016 validity in view of Redlands; coordinate additional exhibits for
                           McFarland deposition; begin drafting outline for Myrman
957
      4/21/2017   JMB      Prepare for and take McFarland deposition; teleconference with client; teleconference with team; 5.7        $   3,847.50 1874026     But-For                  $                3,847.50          Reasonable
958                        review draft of 408 letter
      4/21/2017   CF       Review correspondence from Plaintiffs regarding refusal for production; draft correspondence      8.5       $   3,740.00 1874026     But-For                  $                3,740.00          Reasonable
                           regarding same and timeliness argument in view of discovery and date of requests and deposition;
                           review Benac and Thatcher depositions for portions for deference to Myrman; review new
                           production from Plaintiffs regarding purchase agreements and sales; continue drafting outline for
                           Myrman deposition and coordinate exhibits; revise and finalize new notice for Myrman
959                        deposition;
      4/21/2017   SBH      Attention to deposition logistics and materials for upcoming deposition of Marshall Myrman;          0.5    $    102.50 1874026      But-For                  $                 102.50           Reasonable
960                        prepare amended Myrman deposition notice
961   4/22/2017   JMB      Review and analyze Myrman deposition outline                                                         2.1    $   1,417.50 1874026     But-For                  $                1,417.50          Reasonable
962   4/22/2017   CF       Revise outline for Myrman and exhibits                                                               1.2    $     528.00 1874026     But-For                  $                  528.00          Reasonable
      4/24/2017   JMB      Review and analyze Myrman deposition outline; review associated exhibits; discuss summary            6.8    $   4,590.00 1874026     But-For                  $                4,590.00          Reasonable
963                        judgment motion and expert reports with Anup Shah
      4/24/2017   CF       Review correspondence from client regarding additional exhibits and questions for Myrman             2.5    $   1,100.00 1874026     But-For                  $                1,100.00          Reasonable
                           deposition; revise and finalize Myrman deposition outline; continue coordination of exhibits for
                           same; draft and finalize correspondence to Plaintiffs regarding objections to PSD RFP;
                           coordinated service of Myrman notice; review correspondence from Plaintiffs regarding same; re-
                           serve notice and coordinate reporter; conference regarding Myrman deposition
964
      4/24/2017   SBH      Amend notice of deposition and subpoena to Marshall Myrman to reflect correct deposition             0.2    $        41.00 1874026   But-For                  $                  41.00           Reasonable
965                        location and serve same on opposing counsel
966   4/24/2017   AMS      Revise M. Myrman deposition outline                                                                  0.8    $     356.00 1874026     But-For                  $                  356.00          Reasonable
      4/25/2017   LB       Research cases where a court said it did not need expert testimony to rule on a motion for           2.7    $   1,012.50 1874026     But-For                  $                1,012.50          Reasonable
                           summary judgment and cases where a court found public use of an invention based on an
967                        employee/independent contractor's use of the invention.
      4/25/2017   CB       Review plaintiffs' late-produced cost summary document and discuss response in light of strategy     0.8    $    540.00 1874026      But-For                  $                 540.00           Reasonable
968                        for damages case with team.
969   4/25/2017   AMS      Draft invalidity expert report                                                                       1.2    $     534.00 1874026     But-For                  $                  534.00          Reasonable
      4/25/2017   JMB      Prepare for and take Myrman deposition; teleconference with Anup Shah regarding 589 invalidity       11.8   $   7,965.00 1874026     But-For                  $                7,965.00          Reasonable
970                        issues
      4/26/2017   CB       Discuss summary judgment strategy and potential arguments and overlap with existing tasks with       1.2    $    810.00 1874026      But-For                  $                 810.00           Reasonable
971                        J. Barnes; discuss plaintiffs' failure to assert claim 40 with team.
      4/26/2017   CF       Conference regarding invalidity expert declaration, prior art installations, Frenzl license; draft   0.6    $    264.00 1874026      But-For                  $                 264.00           Reasonable
                           correspondence regarding same; review correspondence regarding possible settlement; draft
972                        correspondence regarding same
      4/26/2017   MCM      Revise Counter-Claim in Whitewater v. PSD case against Whitewater, Thatcher, and Myrman              0.5    $    192.50 1874026      But-For                  $                 192.50           Reasonable
973




                                                                                                                         Defendant's Exhibit B-6                                                                                                39
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            A          B                                                    C                                                       D        E             F                   G                     H                           I                    J
         DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
      4/27/2017   CF       Continue outlining 016 reply; continue drafting revision to expert declaration for expert report; 5.3        $   2,332.00 1874026     016 Patent               $                2,332.00          Reasonable
                           analyzing prior art for report; draft correspondence to plaintiffs regarding deficiencies in
                           production; analyze prior PSD responses and discovery requests; draft follow up correspondence
                           to plaintiffs regarding same; review prior infringement contentions; draft correspondence to
                           plaintiffs regarding claims 39, 40; review correspondence from plaintiffs regarding same
974
      4/27/2017   JMB      Teleconference with opposing counsel; communicate with client regarding requests from                  5.1   $   3,442.50 1874026     But-For                  $                3,442.50          Reasonable
                           opposing counsel; work on 589 summary judgment motion; attention to expert report issues
975
976   4/27/2017   MCM      Work on trial strategies                                                                           0.5       $     192.50 1874026     But-For                  $                  192.50          Reasonable
      4/28/2017   JMB      Draft 589 summary judgment motion; teleconference to discuss Supertube and possible design 5.6               $   3,780.00 1874026     016 Patent               $                3,780.00          Reasonable
977                        around for New Hampshire project; attention to expert report issues
      4/28/2017   CF       Review and analyze McFarland transcripts; draft correspondence regarding same; contact             4.6       $   2,024.00 1874026     016 Patent               $                2,024.00          Reasonable
                           Plaintiffs regarding discovery issues; revise and finalize draft of invalidity expert declaration;
                           prepare corresponding exhibits; draft correspondence regarding analysis of each ride
                           installation and arguments for 016 and 589 validity; draft correspondence regarding same
978
979   4/28/2017   MCM      Work on potential settlement discussions                                                               1.3   $     500.50 1874026     But-For                  $                  500.50          Reasonable
980   4/28/2017   AMS      Revise invalidity expert report; participate in team call regarding trial preparation                  3.1   $   1,379.50 1874026     But-For                  $                1,379.50          Reasonable
      5/1/2017    MCM      Assess documentation provided by Yong Yeh and Richard Alleshouse for effects on strategies in          0.9   $     346.50 1882581     But-For                  $                  346.50          Reasonable
981                        potential settlement discussions
982 5/1/2017      JMB      Work on summary judgment motion                                                                        4.2   $   2,835.00   1882581   But-For                  $                2,835.00          Reasonable
983 5/2/2017      JMB      Team call; work on summary judgment motion                                                             5.3   $   3,577.50   1882581   But-For                  $                3,577.50          Reasonable
984 5/2/2017      AMS      Draft invalidity expert report                                                                         5.3   $   2,358.50   1882581   But-For                  $                2,358.50          Reasonable
    5/2/2017      CF       Review exhibit from client for settlement; conference with client regarding same; review brief         4.4   $   1,936.00   1882581                                                               Reasonable
                           from Plaintiffs regarding opposition to motion to compel; review exhibits; draft analysis of same
                           and proposed reply strategy; conference regarding 589 invalidity argument and related charts;
985                        revise appendices to expert report
      5/3/2017    JMB      Correspond with counsel regarding McFarland deposition; finalize draft of MSJ and circulate to         5.8   $   3,915.00 1882581     But-For                  $                3,915.00          Reasonable
986                        team
      5/3/2017    CF       Continue analysis of 016 patent owner reply and devising reply outline to same; revise and             4.5   $   1,980.00 1882581     IPR; '016 Patent         $                1,980.00          Reasonable
                           finalize portions of draft expert report; draft correspondence regarding prior art rides and
                           each of 016 and 589 patent; draft correspondence regarding MSJ strategy and arguments for
                           certain limitations; draft correspondence regarding shortened ride surface limitation of 589 patent,
                           claim 37; draft correspondence regarding analysis of Plaintiffs' reply and misstatements made
                           therein; review correspondence regarding answer to second WW suit; draft correspondence
                           regarding answer
987
      5/4/2017    AMS      Revise Motion for Summary Judgment of Invalidity; draft '016 argument section of Invalidity            2.5   $   1,112.50 1882581     016 Patent               $                1,112.50          Reasonable
988                        Expert Report
      5/4/2017    LB       Research cases where a patent was anticipated and thus invalid because it used the same                3.7   $   1,387.50 1882581     But-For                  $                1,387.50          Reasonable
989                        components or material disclosed in the prior art.
      5/4/2017    CF       Continue analyzing exhibits, declaration and Patent Owner reply and devising reply to                  4.6   $   2,024.00 1882581     IPR                      $                2,024.00          Reasonable
                           same; conference regarding MSJ on 589 patent and arguments for certain claim limitations;
                           review correspondence from Plaintiffs regarding errata sheet for Thatcher deposition; draft
                           correspondence regarding same; draft correspondence regarding moving on certain Plaintiffs
                           reply brief and misstatements; review correspondence from client regarding Guam installation;
                           draft correspondence regarding same and MSJ; draft correspondence regarding Hyland sales
990                        contract
      5/4/2017    JMB      Attention to motion to compel opposition filed by Plaintiffs; attention to expert report issues;    2.2      $   1,485.00 1882581                                                                 Reasonable
991                        correspond with client regarding summary judgment brief
992   5/5/2017    AMS      Draft invalidity expert report                                                                      3.8      $   1,691.00 1882581     But-For                  $                1,691.00          Reasonable
      5/5/2017    CF       Finalize draft of 016 IPR petitioner reply; revise and finalize draft of motion for summary         5.5      $   2,420.00 1882581     IPR; '016 Patent         $                2,420.00          Reasonable
                           judgement on 589 patent; continue revising and coordinating exhibits for same; contact client
                           regarding Errata sheet; draft and finalize correspondence to Plaintiffs regarding discovery dispute
993
994   5/7/2017    JMB      Review and edit summary judgment motion based on team input                                            1.5   $   1,012.50 1882581     But-For                  $                1,012.50          Reasonable




                                                                                                                          Defendant's Exhibit B-6                                                                                                40
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             A          B                                                    C                                                      D        E           F                  G                      H                           I                    J
          DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                HRS       AMT     INV.NO.    Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
       5/8/2017    CB       Teleconference with R. Tache re Plaintiffs' request for stipulation to filing of further              2.1   $   1,417.50 1882581   016 Patent               $                1,417.50          Reasonable
                            amendments to infringement contentions to remove Supertube from allegedly infringing
                            products for the '016 patent; discuss summary judgment motion with J. Barnes.
995
       5/8/2017    JMB      Teleconference with Charan Brahma regarding strategy; review exhibits for summary judgment            2.1   $   1,417.50 1882581   But-For                  $                1,417.50          Reasonable
                            motion; work on brief

996
997    5/8/2017    MCM      Assist in drafting invitation for settlement discussions                                              0.5   $     192.50 1882581   But-For                  $                 192.50           Reasonable
998    5/8/2017    AMS      Revise Motion for Summary Judgment of Invalidity; draft invalidity expert report                      1.7   $     756.50 1882581   But-For                  $                 756.50           Reasonable
       5/8/2017    CF       Continue revising MSJ and related exhibits; continue revising claim chart in support of MSJ and       4.0   $   1,760.00 1882581                                                               Reasonable
                            creating exhibits for same; conference regarding same; coordinate exhibits to corroborate factual
                            background; draft correspondence; review correspondence from Plaintiffs regarding additional
                            discovery; review production; draft correspondence regarding analysis of Plaintiff production;
                            draft correspondence regarding motion to compel same
999
       5/9/2017    JMB      Attend team call; communicate with client regarding McFarland deposition; work on claim charts 4.2          $   2,835.00 1882581   But-For                  $                2,835.00          Reasonable
1000                        for invalidity case
       5/9/2017    CF       Continue revising motion for summary judgement; continue creating exhibits; draft                 9.0       $   3,960.00 1882581   But-For                  $                3,960.00          Reasonable
                            correspondence regarding context for certain exhibits and revise remarks for use in declaration;
                            conference regarding MSJ and other pending matters in case; draft correspondence regarding
                            outstanding discovery dispute with Plaintiffs; draft correspondence regarding certain claim terms
1001
1002   5/9/2017    SBH      Work on exhibits for motion for summary judgment brief                                                6.5   $   1,332.50 1882581   But-For                  $                1,332.50          Reasonable
1003   5/9/2017    AMS      Revise Motion for Summary Judgment; revise exhibits                                                   7.4   $   3,293.00 1882581   But-For                  $                3,293.00          Reasonable
       5/9/2017    CB       Review plaintiffs' motion to substitute exhibit to motion for leave to amend infringement             1.2   $     810.00 1882581                                                               Reasonable
                            contentions and draft proposed revised version and response; discuss plaintiffs' discovery
1004                        deficiencies re cost/profit documents with team.
       5/10/2017   JMB      Review and analyze exhibits for summary judgment motion; work on invalidity charts; finalize          5.8   $   3,915.00 1882581   But-For                  $                3,915.00          Reasonable
1005                        and file motion and related pleadings; attention to edits on joint motion
1006   5/10/2017   CF       Continue revising motion for summary judgment and supporting exhibits                                 5.2   $   2,288.00 1882581   But-For                  $                2,288.00          Reasonable
       5/10/2017   SBH      Finalize exhibits for motion for summary judgment brief; draft motion and proposed order to file      5.0   $   1,025.00 1882581   But-For                  $                1,025.00          Reasonable
                            certain exhibits and brief under seal and draft declaration of Justin Barnes in support of motion
1007                        for summary judgment
       5/10/2017   AMS      Finalize Motion for Summary Judgment, Exhibits, Motion to File Under Seal, Proposed Orders            4.3   $   1,913.50 1882581   But-For                  $                1,913.50          Reasonable
1008                        and Declaration
       5/10/2017   CB       Discuss plaintiffs' motion to substitute exhibit to motion for leave to amend infringement            0.4   $    270.00 1882581                                                                Reasonable
1009                        contentions and proposed response with team.
       5/11/2017   CF       Continue drafting and revising expert report and related exhibits; draft correspondence               1.5   $    660.00 1882581    016 Patent               $                 660.00           Reasonable
                            regarding 016 reply; review Plaintiffs notice of supplemental evidence; draft and finalize
1010                        correspondence regarding same to client; draft outline for supplemental notice
       5/11/2017   JMB      Review notice of supplemental evidence; work on response                                              0.5   $    337.50 1882581    But-For                  $                 337.50           Reasonable



1011
1012   5/11/2017   SBH      Upload and organize documents to FTP site for expert review (Pribonic)                                0.5   $    102.50 1882581    But-For                  $                 102.50           Reasonable
1013   5/11/2017   AMS      Revise invalidity expert report                                                                       2.0   $    890.00 1882581    But-For                  $                 890.00           Reasonable
       5/12/2017   JMB      Review and analyze draft of response to supplemental evidence; attention to issues for expert         1.2   $    810.00 1882581    But-For                  $                 810.00           Reasonable
1014                        report
       5/12/2017   CF       Draft and finalize reply to Plaintiffs supplemental notice; draft and finalize motion to file under   3.0   $   1,320.00 1882581   But-For                  $                1,320.00          Reasonable
1015                        seal and related order; continue revising expert report
1016   5/12/2017   SBH      Upload and organize additional documents to FTP site for expert review (Pribonic)                     0.6   $    123.00 1882581    But-For                  $                 123.00           Reasonable
1017   5/12/2017   MCM      Work on strategies for potential settlement discussions                                               1.5   $    577.50 1882581    But-For                  $                 577.50           Reasonable
       5/12/2017   CB       Review plaintiffs' notice of supplemental evidence re motion to compel and discuss response with      0.8   $    540.00 1882581                                                                Reasonable
1018                        team
       5/15/2017   JMB      Attention to multiple issues related to Pribonic expert report; attention to joint motion;            3.3   $   2,227.50 1882581   But-For                  $                2,227.50          Reasonable
1019                        communicate with damages expert




                                                                                                                           Defendant's Exhibit B-6                                                                                             41
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            A           B                                                     C                                                       D        E             F                  G                      H                           I                    J
          DATE     BILLER                             DESCRIPTION OF WORK PERFORMED                                                 HRS       AMT        INV.NO.   Reason Not Recoverable   Amount Not Recoverable      PSD Comments        Not Recoverable
 1
       5/15/2017   CB       Email plaintiffs' counsel re proposed joint motion to substitute amended infringement contentions. 0.4        $    270.00 1882581      But-For                  $                 270.00           Reasonable
1020
1021   5/15/2017   CF       Continue revising exhibits for expert report                                                            5.7   $   2,508.00 1882581     But-For                  $                2,508.00          Reasonable
       5/15/2017   SBH      Re: WWI - Finalize and file joint motion for extension of time to respond to complaint; draft and       0.3   $      61.50 1882581     But-For                  $                   61.50          Reasonable
1022                        submit proposed order to Judge Sabraw
1023 5/15/2017     MCM      Work on strategies for potential settlement discussions                                                 0.3   $    115.50    1882581   But-For                  $                 115.50           Reasonable
1024 5/15/2017     AMS      Revise invalidity expert report                                                                         0.9   $    400.50    1882581   But-For                  $                 400.50           Reasonable
1025 5/16/2017     JMB      Team teleconference                                                                                     0.7   $    472.50    1882581   But-For                  $                 472.50           Reasonable
     5/16/2017     CB       Revise joint motion re substitution of amended infringement contentions for which plaintiffs seek       0.3   $    202.50    1882581   But-For                  $                 202.50           Reasonable
1026                        leave to serve and correspond with plaintiffs' counsel re same.
1027   5/16/2017   CF       Continue drafting expert report and related appendices and charts                                       8.7   $   3,828.00 1882581     But-For                  $                3,828.00          Reasonable
1028   5/16/2017   MCM      Prepare for mediation                                                                                   1.5   $     577.50 1882581     But-For                  $                  577.50          Reasonable
       5/16/2017   AMS      Revise Joint Motion for Leave to Amend Infringement Contentions; revise invalidity expert report        4.6   $   2,047.00 1882581     But-For                  $                2,047.00          Reasonable
1029
       5/17/2017   LB       Research whether a party can make indefiniteness arguments to the jury after the same arguments         4.2   $   1,575.00 1882581     But-For                  $                1,575.00          Reasonable
1030                        have been rejected by the courts during claim construction.
1031   5/17/2017   JMB      Attention to multiple issues regarding expert report                                                    1.1   $     742.50 1882581     But-For                  $                  742.50          Reasonable
1032   5/17/2017   CB       Review Pribonic expert report re validity and provide comments to A. Shah.                              1.9   $   1,282.50 1882581     But-For                  $                1,282.50          Reasonable
       5/17/2017   CF       Revise and finalize expert report and appendices for expert report                                      5.3   $   2,332.00 1882581     But-For                  $                2,332.00          Reasonable
1033
       5/17/2017   SBH      Review and revise Pribonic Invalidity Report, gather and organize exhibits supporting same              2.5   $    512.50 1882581      But-For                  $                 512.50           Reasonable
1034
1035 5/17/2017     MCM      Prepare for mediation                                                                                   1.8   $     693.00   1882581   But-For                  $                  693.00          Reasonable
1036 5/17/2017     MCM      Assist in preparation of expert report                                                                  1.0   $     385.00   1882581   But-For                  $                  385.00          Reasonable
1037 5/17/2017     AMS      Call with E. Pribonic and J. Barnes; revise invalidity report                                           8.6   $   3,827.00   1882581   But-For                  $                3,827.00          Reasonable
1038 5/18/2017     JMB      Prepare for and attend settlement conference                                                            8.1   $   5,467.50   1882581   But-For                  $                5,467.50          Reasonable
     5/18/2017     CF       Continue finalizing expert report and exhibits and appendices                                           2.2   $     968.00   1882581   But-For                  $                  968.00          Reasonable
1039
1040 5/18/2017     MCM      Attend mediation                                                                                        9.3   $   3,580.50   1882581   But-For                  $                3,580.50          Reasonable
1041 5/18/2017     AMS      Revise expert report; call with E. Pribonic                                                             4.3   $   1,913.50   1882581   But-For                  $                1,913.50          Reasonable
1042 5/19/2017     JMB      Attend meeting with client; discuss settlement issues                                                   0.5   $     337.50   1882581   But-For                  $                  337.50          Reasonable
     5/19/2017     CB       Revise final invalidity expert report; review plaintiffs' infringement expert report and discuss with   2.8   $   1,890.00   1882581   But-For                  $                1,890.00          Reasonable
1043                        team.
1044   5/19/2017   CF       Revise and finalize expert report, exhibits, and appendices and serve on Plaintiffs                     2.7   $   1,188.00 1882581     But-For                  $                1,188.00          Reasonable
       5/19/2017   AMS      Finalize expert report, exhibits, and appendices; calls with                                            5.9   $   2,625.50 1882581     But-For                  $                2,625.50          Reasonable
1045                        E. Pribonic regarding the same
       5/20/2017   CB       Review plaintiffs' expert reports and assess impact on pending stay, discovery and summary              1.2   $    810.00 1882581      But-For                  $                 810.00           Reasonable
1046                        judgment motions.
       5/22/2017   JMB      Review and analyze Vigil report; teleconference with damages report; discuss damages issue with         4.9   $   3,307.50 1882581     But-For                  $                3,307.50          Reasonable
1047                        team members; communicate with client
1048   5/22/2017   CB       Discuss deficiencies in plaintiffs' damages expert report with team                                     0.5   $     337.50 1882581     But-For                  $                  337.50          Reasonable
       5/22/2017   CF       Review and preliminary analysis of infringement expert report; draft correspondence regarding           2.4   $   1,056.00 1882581     But-For                  $                1,056.00          Reasonable
1049                        same and proposed reply strategy
       5/22/2017   SBH      Identify and pull all documents identified in Plaintiffs' experts reports; prepare chart of             2.5   $    512.50 1882581      But-For                  $                 512.50           Reasonable
                            documents; upload and organize all documents to file share program for transmittal to our expert
1050                        in anticipation of preparation of rebuttal reports
1051   5/22/2017   MCM      Work on rebuttal and supplement to expert discovery, and potential settlement issues                    0.4   $     154.00 1882581     But-For                  $                  154.00          Reasonable
1052   5/22/2017   AMS      Analyze Stevick's Infringement Report                                                                   2.0   $     890.00 1882581     But-For                  $                  890.00          Reasonable
       5/23/2017   CF       Finalize review of damages report and infringement report; conference regarding same; draft             3.2   $   1,408.00 1882581     016 Patent               $                1,408.00          Reasonable
                            correspondence regarding 016 reply in view of infringement report; draft correspondence
                            regarding reply to infringement report and affect of report on MSJ briefing; draft correspondence
                            regarding related issues of estoppel per claim construction briefing and order
1053
       5/23/2017   JMB      Prepare for and attend team meeting; review and analyze Stevick report; work on strategy for            4.8   $   3,240.00 1882581     But-For                  $                3,240.00          Reasonable
                            invalidity case; communicate with client regarding strategy; analyze lost profits issues and case
1054                        law




                                                                                                                             Defendant's Exhibit B-6                                                                                               42
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            A           B                                                    C                                                       D           E              F                   G                           H                             I                    J
          DATE     BILLER                            DESCRIPTION OF WORK PERFORMED                                                 HRS        AMT           INV.NO.   Reason Not Recoverable         Amount Not Recoverable        PSD Comments        Not Recoverable
 1
       5/23/2017   CB       Discuss plan for expert discovery and related filings with team; review legal research for potential   2.2   $     1,485.00 1882581       But-For                        $                  1,485.00          Reasonable
                            motion to strike re lost profits claim; identify arguments for noninfringement expert report and
1055                        discuss with team.
1056   5/23/2017   MCM      Work on rebuttal and supplement to expert discovery, and potential settlement issues                   1.3   $       500.50     1882581   But-For                        $                   500.50           Reasonable
1057   5/24/2017   MCM      Work on rebuttal and supplement to expert discovery, and potential settlement issues                   0.3   $       115.50     1882581   But-For                        $                   115.50           Reasonable
1058   5/24/2017   VEW      Organize and file Notice of Deposition                                                                 0.4   $        32.00     1882581   But-For                        $                    32.00           Reasonable
1059   5/26/2017   MCM      Work on potential settlement issues                                                                    0.4   $       154.00     1882581   But-For                        $                   154.00           Reasonable
1060   5/27/2017   MCM      Work on potential settlement issues                                                                    0.4   $       154.00     1882581   But-For                        $                   154.00           Reasonable
1061   5/30/2017   JMB      Review and analyze Court Order; communicate with team and client regarding same                        1.1   $       742.50     1882581   But-For                        $                   742.50           Reasonable
       5/30/2017   CF       Review order from Court; draft correspondence regarding analysis of same and 016 IPR,                  0.6   $       264.00     1882581   IPR; '016 Patent               $                   264.00                        $                  264.00
1062                        reply, and deposition
       5/30/2017   MCM      Review and assess Court Order on PSD's Motion to Dismiss, and formulate post-dismissal                 1.7   $       654.50 1882581                                                                           Reasonable
1063                        strategies
       5/31/2017   CF       Review correspondence regarding 285 motion; research same and draft correspondence regarding           0.6   $       264.00 1882581       But-For                        $                   264.00           Reasonable
1064                        same, final judgment, and potential strategy
       5/31/2017   JMB      Correspond with team, client, and opposing counsel regarding sanctions order; analyze                  0.9   $       607.50 1882581       Motion to Compel Arbitration   $                   607.50                        $                  607.50
                            potential fees motion                                                                                                                     Documents Denied, Sanctions
                                                                                                                                                                      Imposed Against Defendants
                                                                                                                                                                      (ECF Nos. 175, 217)
1065
       5/31/2017   CB       Discuss effect of stay on order to pay plaintiffs' attorney's fees and call clerk re same;             1.5   $     1,012.50 1882581       Motion to Compel Arbitration   $                 1,012.50                        $                 1,012.50
                            discuss scope of objection to order with team; review correspondence related to effect of                                                 Documents Denied, Sanctions
                            dismissal and stay on settlement and assess strategic options.                                                                            Imposed Against Defendants
                                                                                                                                                                      (ECF Nos. 175, 217)
1066
1067
1068                                                                                                                   TOTAL $               1,407,256.00             Total Billed                   $              1,407,256.00                       $           1,407,256.00
1069                                                                                                                                                                  Total Not Recoverable          $              1,185,933.00                       $             119,211.50
1070                                                                                                                                                                  Total Recoverable              $                221,323.00                       $           1,288,044.50




                                                                                                                            Defendant's Exhibit B-6                                                                                                           43
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Date        TK     Description of Work            Hours   Amount   Invoice




                              Defendant's Exhibit B-6                        44
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               A                   B                         C              D                      E                          F
          Date                Description                  Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     11/30/15      Computer Research - VENDOR: Pacer   $           8.70 1735497
2                  Service
     2/12/16       Patent/Trademark Search VENDOR:     $     3,500.00 1750693
                   Planet Patent - Invalidity Search
                   US6491589 and US8088016
3
4    2/17/16       Computer Research                   $          46.27 1750693
     3/14/16       Outside Courier Services VENDOR     $          75.00 1761770
5                  University of Minnesota
6    4/11/16       Computer Research: Pacer            $           6.20 1776865
     4/12/16       Import Other Party Productions      $          75.00 1766041
7                  Into Review Database (1-50 GB)
     4/25/16       Monthly Data Hosting and            $         250.00 1766041
8                  Maintenance
     4/26/16       Import Other Party Productions      $          75.00 1766041
9                  Into Review Database (1-50 GB)
     4/26/16       Research Publications VENDOR:       $         112.00 1768889
                   University of
                   Minnesota; INVOICE#: 0370017914;
10                 DATE: 4/5/2016
11   4/26/16       Computer Research                   $         134.36 1768889




                                                                      Defendant's Exhibit B-6                                             45
                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17889 Page 177 of
                                                                            203

               A                     B                         C              D                      E                          F
          Date                 Description                   Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     4/27/16       Monthly Relativity Database Users :   $         300.00 1766041
                   anup.shah@troutmansanders.com
                   ;
                   charanjit.brahma@troutmansander
                   s.com;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
12
                   om
     4/28/16       Process collected data and import     $         350.00 1766041
                   into review database (No Filtering)
13                 (1-50 GB)
     4/29/16       Prepare Documents for Production      $         100.00 1766041
14                 (1-50 GB)
     5/25/16       Pro Hac Vice Application: Anup Shah   $         206.00 1776865
15
16   5/25/16       Computer research                     $         331.50 1776865
     6/13/16       Computer Research VENDOR: Pacer       $          28.70 1787446
                   Service Center
                   INVOICE#: 5312016 DATE: 5/31/2016
                   Computer
17                 Research
18   6/13/16       Computer Research                     $         133.89 1787446
     6/22/16       Monthly Data Hosting and              $         250.00 1783514
19                 Maintenance




                                                                        Defendant's Exhibit B-6                                             46
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17890 Page 178 of
                                                                             203

               A                      B                            C              D                      E                          F
          Date                  Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     6/23/16       Monthly Relativity Database Users         $         150.00 1783514
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
20                 ers.com
     7/1/16        Remote Collection of entire       $                 250.00 1793630
                   Webmail/Cloud Storage account
21                 yong@pacificsurfdesigns.com
     7/7/16        Computer Research VENDOR: Pacer   $                  12.40 1794086
                   Service Center
                   INVOICE#: 6302016 DATE: 6/30/2016
                   Computer
22                 Research
     7/8/16        Import Other Party Productions            $          75.00 1793630
23                 Into Review Database (1-50 GB)
     7/12/16       Import Other Party Productions            $          75.00 1793630
24                 Into Review Database (1-50 GB)
     7/12/16       Airfare Costs VENDOR: Shah, Anup          $     1,058.30 1838505
                   M. INVOICE#:
                   1319824007120205 DATE: 7/12/2016
                   Anup Shah -
                   Airfare, 07/08/16, Airfare to San Diego
                   for Claim
                   Construction Hearing (rescheduled by
                   court to
25
                   September)
     7/25/16       Monthly Data Hosting and                  $         250.00 1793630
26                 Maintenance


                                                                            Defendant's Exhibit B-6                                             47
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17891 Page 179 of
                                                                             203

               A                      B                            C              D                      E                          F
          Date                  Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     7/26/16       Monthly Relativity Database Users        $          225.00 1793630
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
27
                   om
28   7/31/16       Computer Research                        $            0.89 1794086
     8/3/16        Import Other Party Productions           $           75.00 1804196
29                 Into Review Database (1-50 GB)
     8/9/16        Import Other Party Productions           $           75.00 1804196
30                 Into Review Database (1-50 GB)
     8/24/16       Monthly Data Hosting and                 $          250.00 1804196
31                 Maintenance
     8/25/16       Monthly Relativity Database Users        $          225.00 1804196
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
32
                   om
     9/1/16        Miscellaneous Expenses VENDOR:            $           1.57 1813906
                   LexisNexis INVOICE#: EA683545
                   DATE: 9/1/2016 Courtlink
                   monthly invoice for the period 8/1/2016 -
33                 8/31/2016



                                                                            Defendant's Exhibit B-6                                             48
                                   Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17892 Page 180 of
                                                                         203

              A                    B                         C              D                      E                          F
          Date               Description                   Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     9/7/16       Computer Research VENDOR: Pacer      $           6.20 1813906
                  Service Center INVOICE#: 8312016
                  DATE: 8/31/2016 Computer
                  Research
34
     9/7/16       Taxi/Train/Parking VENDOR: Barnes,   $          20.00 1813906
                  Justin INVOICE#: 1396167009070210
                  DATE: 9/7/2016 Justin Barnes -
                  Parking, 09/01/16, Parking for
                  attendance at court hearing
35
     9/8/16       Patent/Trademark Fees VENDOR:        $         400.00 1813906    IPR                           $                        400.00
                  USPTO INVOICE#: 09092016P
                  DATE: 9/9/2016 INTER PARTES
                  POST- INSTITUTION REQUEST
                  OF EACH CLAIM IN EXCESS OF
                  15
36
     9/8/16       Patent/Trademark Fees VENDOR:        $         200.00 1813906    IPR                           $                        200.00
                  USPTO INVOICE#: 09092016P
                  DATE: 9/9/2016 INTER PARTES
                  REVIEW REQUEST OF EACH
                  CLAIM IN EXCESS OF 20
37




                                                                      Defendant's Exhibit B-6                                                49
                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17893 Page 181 of
                                                                            203

               A                     B                           C              D                      E                          F
          Date                 Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     9/15/16       Hotel VENDOR: Shah, Anup M.            $          280.61 1813906
                   INVOICE#: 1409065909150205
                   DATE: 9/15/2016 Anup Shah -
                   Hotel - Lodging, 09/01/16, Travel to
                   San Diego, CA for Claim Construction
38                 hearing
     9/15/16       Taxi/Train/Parking VENDOR: Shah,        $          23.00 1813906
                   Anup M. INVOICE#:
                   1409065909150205 DATE: 9/15/2016
                   Anup Shah -
                   Parking, 09/02/16, Travel to San Diego,
                   CA for Claim Construction hearing
39
     9/15/16       Taxi/Train/Parking VENDOR: Shah,      $            29.94 1813906
                   Anup M. INVOICE#:
                   1409199709150205 DATE: 9/15/2016
                   Anup Shah -
                   Taxi/Car Service, 08/31/16, Claim
                   Construction Hearing in San Diego, CA
40
     9/15/16       Taxi/Train/Parking VENDOR: Shah,      $            27.34 1813906
                   Anup M. INVOICE#:
                   1409199709150205 DATE: 9/15/2016
                   Anup Shah -
                   Taxi/Car Service, 08/31/16, Claim
                   Construction Hearing in San Diego, CA
41




                                                                          Defendant's Exhibit B-6                                             50
                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17894 Page 182 of
                                                                            203

               A                     B                         C              D                      E                          F
          Date                 Description                   Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     9/15/16       Taxi/Train/Parking VENDOR: Shah,      $          27.40 1813906
                   Anup M. INVOICE#:
                   1409199709150205 DATE: 9/15/2016
                   Anup Shah -
                   Taxi/Car Service, 09/01/16, Claim
                   Construction Hearing in San Diego, CA
42
     9/15/16       Filing Fees VENDOR: Nationwide       $           60.90 1821241
                   Legal, LLC. INVOICE#: 335162
                   DATE: 9/15/2016 USDC - Courtesy
43                 copy
     9/25/16       Monthly Data Hosting and Maintenance $          250.00 1812568
44
     9/27/16       Monthly Relativity Database Users    $          225.00 1812568
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
45
                   om
     10/3/16       Research Publications VENDOR: New    $           18.00 1821241
                   York Law Institute, Inc. INVOICE#:
                   133500 DATE: 10/3/2016 Westlaw
                   document retrieval
46




                                                                        Defendant's Exhibit B-6                                             51
                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17895 Page 183 of
                                                                            203

               A                     B                            C              D                      E                          F
          Date                 Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     10/7/16       Transcript Cost VENDOR: O'Connell, $                68.40 1821241
                   Deborah INVOICE#: D20160901C
                   DATE: 10/7/2016 Court reporter
                   transcript of 9/1/16 Claim Construction
47                 Hearing
     10/12/16      Computer Research VENDOR: Pacer         $            5.80 1821241
                   Service Center
                   INVOICE#: 9302016 DATE: 9/30/2016
                   Computer
48                 Research
     10/25/16      Monthly Data Hosting and Maintenance $             250.00 1817508
49
     10/26/16      Monthly Relativity Database Users       $          300.00 1817508
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
50
                   om; yong@pacificsurfdesigns.com
     11/1/16        Process collected data and import into $      5,204.50 1827237
                   review database (no filtering) (1-50 GB)
51
     11/10/16       Remote Collection of entire             $         250.00 1827237
                   Webmail/Cloud Storage account
52                 richard@pacificsurfdesigns.com
     11/11/16      Process collected data and import into   $     4,791.50 1827237
                   review database (no filtering) (1-50 GB)
53



                                                                           Defendant's Exhibit B-6                                             52
                                    Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17896 Page 184 of
                                                                          203

            A                      B                            C              D                      E                          F
          Date               Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     11/22/16    Import Other Party Productions Into      $          75.00 1827237
54               Review Database (1-50 GB)
     11/22/16    Import Other Party Productions Into      $          75.00 1827237
55               Review Database (1-50 GB)
     11/22/16    Process collected data and import into   $         350.00 1827237
                 review database (no filtering) (1-50 GB)
56
     11/23/16    Filing Fees PAYEE: Alexander Poole & $             225.00 1838505
                 Co. Inc.;
                 REQUEST#: 541684; DATE:
                 11/23/2016.Process Server
                 for Subpoenas directed to Aquatic
                 Development Group
57               Ken Elllis and David Keim
     11/27/16    Monthly Data Hosting and Maintenance $             520.83 1827237
58
     11/28/16    Monthly Relativity Database Users       $          375.00 1827237
                 -
                 anup.shah@troutmansanders.com
                 ;
                 christopher.franich@troutmansand
                 ers.com;
                 Justin.Barnes@troutmansanders.c
                 om;
                 richard@pacificsurfdesigns.com;
                 yong@pacificsurfdesigns.com
59
     11/30/16    Convert Documents to Mixed              $      3,029.50 1827237
60               Image/Native Format (1-50 GB)



                                                                         Defendant's Exhibit B-6                                             53
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17897 Page 185 of
                                                                             203

               A                      B                             C              D                      E                          F
          Date                  Description                       Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     12/1/16       Import Other Party Productions into        $          75.00 1841867
61                 Review Database (1-50 GB)
62 12/1/16         Prepare Documents for Production           $         757.36 1841867
63 12/1/16         Prepare Documents for Production           $         100.00 1841867
   12/8/16         Import Other Party Productions into        $          75.00 1841867
64                 Review Database (1-50 GB)
     12/14/16      Import Scanned Documents into Review       $          75.00 1841867
65                 Database
     12/15/16      Airfare Costs VENDOR: Mao, Mark C.         $         156.20 1838505
                   INVOICE#:
                   1545315712150205 DATE: 12/15/2016
                   Mark Mao -
                   Airfare, 11/22/16, Airfare in connection
                   with mediation in
66                 San Diego
     12/15/16      Meals and Entertainment VENDOR:            $         160.00 1838505
                   Mao, Mark C.
                   INVOICE#: 1545315712150205
                   DATE: 12/15/2016 Mark
                   Mao - Lunch, 12/09/16, Lunch in
                   connection with
                   mediation in San Diego, Richard
                   Alleshouse-Pacific Surf
                   Designs, Yong Yeh-Pacific Surf
                   Designs, Mark Mao
67




                                                                             Defendant's Exhibit B-6                                             54
                                    Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17898 Page 186 of
                                                                          203

              A                    B                           C              D                      E                          F
          Date                Description                    Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     12/15/16     Taxi/Train/Parking VENDOR: Mao,       $           36.00 1838505
                  Mark C. INVOICE#:
                  1545315712150205 DATE: 12/15/2016
                  Mark Mao -
                  Parking, 12/09/16, Airport parking in
                  connection with
68                mediation in San Diego
     12/15/16     Import Other Party Productions into    $          75.00 1841867
69                Review Database (1-50 GB)
     12/16/16     Import Other Party Productions into    $     5,400.00 1841867
70                Review Database (51-250 GB)
     12/16/16     Import Scanned Documents into Review   $          75.00 1841867
71                Database
     12/27/16      Monthly Data Hosting and              $     3,435.90 1841867
72                Maintenance
     12/28/16     Monthly Relativity Database Users      $         375.00 1841867
                  -
                  anup.shah@troutmansanders.com
                  ;
                  christopher.franich@troutmansand
                  ers.com;
                  Justin.Barnes@troutmansanders.c
                  om;
                  richard@pacificsurfdesigns.com;
                  yong@pacificsurfdesigns.com
73
     1/4/17       Import Scanned Documents into Review $            75.00 1845196
74                Database




                                                                        Defendant's Exhibit B-6                                             55
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17899 Page 187 of
                                                                             203

               A                      B                         C              D                      E                          F
          Date                  Description                   Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     1/4/17        Printing/Binding Costs VENDOR:         $          64.00 1855991
                   Aquatic Development Group Invoice
                   #33018000021 Date 1/4/17 Photocopy
                   charges for documents production per
75                 Subpoena
     1/9/17        Import Other Party Productions into    $          75.00 1845196
76                 Review Database (1-50 GB)
     1/9/17        Import Other Party Productions into    $          75.00 1845196
77                 Review Database (1-50 GB)
     1/10/17       Import Other Party Productions into    $          75.00 1845196
78                 Review Database (1-50 GB)
     1/20/17       Import Other Party Productions into    $          75.00 1845196
79                 Review Database (1-50 GB)
     1/24/17        Monthly Data Hosting and              $     3,438.22 1845196
80                 Maintenance
     1/26/17       Monthly Relativity Database Users      $         300.00 1845196
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
                   om;
81
                   richard@pacificsurfdesigns.com
     2/3/17        Import Other Party Productions         $          75.00 1851349
82                 Into Review Database (1-50 GB)
     2/10/17       Process collected data and import      $         350.00 1851349
                   into review database (No Filtering)
83                 (1-50 GB)


                                                                         Defendant's Exhibit B-6                                             56
                                      Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17900 Page 188 of
                                                                            203

               A                      B                        C              D                      E                          F
          Date                  Description                  Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
1
     2/17/17       Import Scanned Documents Into         $          75.00 1851349
84                 Review Database (1-50 GB)
     2/21/17       Import Other Party Productions        $          75.00 1851349
85                 Into Review Database (1-50 GB)
     2/21/17       Import Other Party Productions        $          75.00 1851349
86                 Into Review Database (1-50 GB)
     2/21/17       Monthly Data Hosting and              $     3,443.26 1851349
87                 Maintenance
     2/23/17       Monthly Relativity Database Users     $         225.00 1851349
                   -
                   anup.shah@troutmansanders.com
                   ;
                   christopher.franich@troutmansand
                   ers.com;
                   Justin.Barnes@troutmansanders.c
88
                   om
     2/24/17       Process collected data and import     $         350.00 1851349
                   into review database (No Filtering)
89                 (1-50 GB)
     2/24/17       Remote Collection of entire           $         250.00 1851349
                   Webmail/Cloud Storage account
90                 zak@flow-services.com
     2/28/17       Process collected data and import     $         351.00 1851349
                   into review database (No Filtering)
91                 (1-50 GB)
     3/7/17        Import Other Party Productions Into   $         237.75 1865141
92                 Review Database (1-50 GB)
     3/10/17       Import Other Party Productions Into   $          75.00 1865141
93                 Review Database (1-50 GB)


                                                                        Defendant's Exhibit B-6                                             57
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17901 Page 189 of
                                                                             203

                A                     B                            C              D                      E                          F
           Date                 Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      3/10/17       Process collected data and import into   $         350.00 1865141
                    review database (No Filtering) (1-50
94                  GB)
      3/15/17       Convert Documents to Mixed               $         400.00 1865141
95                  Image/Native Format (1-50 GB)
      3/15/17       Convert Documents to Mixed               $         400.00 1865141
96                  Image/Native Format (1-50 GB)
      3/15/17       Prepare Documents for Production (1-     $         100.00 1865141
97                  50 GB)
      3/16/17       Prepare Documents for Production (1-     $         100.00 1865141
98                  50 GB)
      3/17/17       Import Other Party Productions Into      $          75.00 1865141
99                  Review Database (1-50 GB)
      3/22/17       Process collected data and import into   $         350.00 1865141
                    review database (No Filtering) (1-50
100                 GB)
      3/23/17       Import Other Party Productions Into      $          75.75 1865141
101                 Review Database (1-50 GB)
      3/23/17       Import Scanned Documents Into Review     $          75.00 1865141
102                 Database (1-50 GB)
      3/27/17       Import Other Party Productions Into      $          75.00 1865141
103                 Review Database (1-50 GB)
      3/27/17       Monthly Data Hosting and Maintenance     $     3,573.34 1865141
104




                                                                            Defendant's Exhibit B-6                                             58
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17902 Page 190 of
                                                                              203

                A                      B                           C              D                      E                          F
           Date                  Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      3/27/17       Professional Services VENDOR: Knox       $          27.50 1874026
                    Attorney Service,
                    Inc. INVOICE#: 4202740 DATE:
                    3/27/2017 Attorney
                    service fee for delivery to Honorable
                    Roger Benitez,
                    USDC, Southern District of California
105
      3/28/17       Monthly Relativity Database Users        $         375.00 1865141
                    -
                    anup.shah@troutmansanders.com
                    ;
                    christopher.franich@troutmansand
                    ers.com;
                    Justin.Barnes@troutmansanders.c om;
                    richard@pacificsurfdesigns.com;
106
                    yong@pacificsurfdesigns.com
      3/30/17       Import Other Party Productions Into      $          75.00 1865141
107                 Review Database (1-50 GB)
      3/30/17       Process collected data and import into   $         350.00 1865141
                    review database (No Filtering) (1-50
108                 GB)
      3/31/17       Court Reporter/Deposition Costs          $     2,647.70 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2928574 DATE: 3/31/2017
                    Deposition of
109                 Thomas J. Lochtefeld




                                                                            Defendant's Exhibit B-6                                             59
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17903 Page 191 of
                                                                              203

                A                       B                             C             D                      E                          F
           Date                  Description                        Amount       Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      3/31/17        Outside Courier Services VENDOR:           $         59.49 1899972
                    Nationwide Legal, LLC. INVOICE#:
                    265249 DATE: 3/31/2017 Courtesy
                    copy
110
      4/6/17        Transcript Cost VENDOR: Veritext            $     1,632.30 1874026
                    INVOICE#:
                    CA2932523 DATE: 4/6/2017
                    Deposition transcripts for Y.
111                 Yeh
      4/7/17        Transcript Cost VENDOR: Veritext            $     1,542.40 1874026
                    INVOICE#:
                    CA2933802 DATE: 4/7/2017 Yeh
                    deposition and
112                 transcript charges
      4/7/17        Transcript Cost VENDOR: Veritext            $     1,459.50 1874026
                    INVOICE#:
                    CA2933742 DATE: 4/7/2017 Yeh
                    (Vols. 2 and 3) deposition and transcript
113                 charges
      4/10/17       Court Reporter/Deposition Costs             $     2,082.05 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2936139 DATE: 4/10/2017 Original
                    with 1
114                 Certified Transcript




                                                                              Defendant's Exhibit B-6                                             60
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17904 Page 192 of
                                                                             203

                A                     B                            C             D                      E                          F
           Date                 Description                      Amount       Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/12/17       Airfare Costs VENDOR: Barnes, Justin     $     1,357.71 1874026
                    INVOICE#: 1729744304120205
                    DATE: 4/12/2017 Justin Barnes -
                    Airfare, 03/29/17, Travel to Vancouver
                    to take depositions of PMK for
                    Flowrider, Whitewater and Surf Waves

115
      4/12/17       Copy Charges VENDOR: The Law             $         31.40 1874026
                    Office of Manuel de la Cerra
                    INVOICE#: 041217 DATE: 4/12/2017
                    Copying
                    costs associated with Bruce McFarland
116                 subpoena
      4/12/17       Hotel VENDOR: Barnes, Justin            $      1,720.72 1874026
                    INVOICE#: 1729744304120205
                    DATE: 4/12/2017 Justin Barnes - Hotel -
                    Lodging, 04/07/17, Travel to Vancouver
                    to take
                    depositions of PMK for Flowrider,
                    Whitewater and Surf
117
                    Waves




                                                                           Defendant's Exhibit B-6                                             61
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17905 Page 193 of
                                                                             203

                A                     B                           C              D                      E                          F
           Date                 Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/12/17       Taxi/Train/Parking VENDOR: Barnes, $              160.00 1874026
                    Justin INVOICE#:
                    1729744304120205 DATE: 4/12/2017
                    Justin Barnes -
                    Parking, 04/07/17, Travel to Vancouver
                    to take
                    depositions of PMK for Flowrider,
                    Whitewater and Surf
118
                    Waves
      4/12/17       Taxi/Train/Parking VENDOR: Barnes,      $          40.00 1874026
                    Justin INVOICE#:
                    1729744304120205 DATE: 4/12/2017
                    Justin Barnes -
                    Taxi/Car Service, 04/07/17, Travel to
                    Vancouver to take
                    depositions of PMK for Flowrider,
                    Whitewater and Surf
119
                    Waves
      4/12/17       Taxi/Train/Parking VENDOR: Barnes,      $          45.00 1874026
                    Justin INVOICE#:
                    1729744304120205 DATE: 4/12/2017
                    Justin Barnes -
                    Taxi/Car Service, 04/03/17, Travel to
                    Vancouver to take
                    depositions of PMK for Flowrider,
                    Whitewater and Surf
120
                    Waves




                                                                           Defendant's Exhibit B-6                                             62
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                                                                             203

                A                     B                           C              D                      E                          F
           Date                 Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/12/17       Taxi/Train/Parking VENDOR: Barnes,      $          26.00 1874026
                    Justin INVOICE#:
                    1729744304120205 DATE: 4/12/2017
                    Justin Barnes -
                    Taxi/Car Service, 04/04/17, Travel to
                    Vancouver to take
                    depositions of PMK for Flowrider,
                    Whitewater and Surf
121
                    Waves
      4/13/17       Import Other Party Productions          $          75.00 1873879
122                 Into Review Database (1-50 GB)
      4/13/17       Import Other Party Productions          $          75.00 1873879
123                 Into Review Database (1-50 GB)
      4/18/17       Import Other Party Productions          $          75.00 1873879
124                 Into Review Database (1-50 GB)
      4/18/17       Process collected data and import       $         378.00 1873879
                    into review database (No Filtering)
125                 (1-50 GB)
      4/19/17       Import Scanned Documents Into           $          75.00 1873879
126                 Review Database (1-50 GB)
      4/20/17       Court Reporter/Deposition Costs         $          44.22 1874026
                    VENDOR: Knox Attorney Service, Inc.
                    INVOICE#: 9146357 DATE: 4/20/2017
127                 Letter Size B&W Prints




                                                                           Defendant's Exhibit B-6                                             63
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17907 Page 195 of
                                                                              203

                A                      B                           C             D                      E                          F
           Date                  Description                     Amount       Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/22/17       Court Reporter/Deposition Costs         $      3,545.84 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2948532 DATE: 4/22/2017
                    Deposition
                    Charges: Original with 1 certified
128                 transcript
      4/22/17       Court Reporter/Deposition Costs          $     1,702.45 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2948233 DATE: 4/22/2017 Original
                    with 1
                    Certified Transcript, Attendance Fee,
                    Exhibits, Litigation Package, Production
                    & Processing and Shipping & Handling
129
      4/25/17       Outside Courier Services VENDOR:      $            45.00 1874026
                    Knox Attorney
                    Service, Inc. INVOICE#: 4206687
                    DATE: 4/25/2017
                    Delivery for Hon. Judge Major, USDC ;
                    Motion To File
                    Under Seal; Motion to Compel;
                    Declaration Of J. Barnes;
130
                    Index Of Exhibits A Through M
      4/26/17       Monthly Data Hosting and                $      3,604.22 1873879
131                 Maintenance




                                                                           Defendant's Exhibit B-6                                             64
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17908 Page 196 of
                                                                             203

                A                     B                            C              D                      E                          F
           Date                 Description                      Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/27/17       Monthly Relativity Database Users       $          300.00 1873879
                    -
                    anup.shah@troutmansanders.com
                    ;
                    christopher.franich@troutmansand
                    ers.com;
                    Justin.Barnes@troutmansanders.c
                    om;
132
                    richard@pacificsurfdesigns.com
      4/29/17       Court Reporter/Deposition Costs          $     1,023.85 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2956358 DATE: 4/29/2017 Original
                    with 1
133                 Certified Transcript Job #2597931
      4/29/17       Court Reporter/Deposition Costs          $     1,448.50 1874026
                    VENDOR: Veritext INVOICE#:
                    SD2956366 DATE: 4/29/2017 Court
                    reporting services - Deposition of David
                    Keim - Aquatic Development Group

134
      4/30/17       Copy Charges VENDOR: Document        $             241.38 1874026
                    Technologies, Inc. INVOICE#: 1009768
                    DATE: 4/30/2017 Flowrider v. PSD
                    Depo Preparation Print
135




                                                                            Defendant's Exhibit B-6                                             65
                                        Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17909 Page 197 of
                                                                              203

                A                      B                         C              D                      E                          F
           Date                  Description                   Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      4/30/17       Copy Charges VENDOR: Document        $           274.82 1874026
                    Technologies, Inc. INVOICE#: 1009768
                    DATE: 4/30/2017 Flowrider v. PSD
                    Depo Preparation Print
136
      5/11/17       Airfare Costs VENDOR: Shah, Anup       $         519.90 1882581
                    M. INVOICE#: 1756671905110205
                    DATE: 5/11/2017 Anup Shah -
                    Airfare, 03/29/17, Travel to ATL and
                    NY for meetings and depositions

137
      5/11/17       Hotel VENDOR: Shah, Anup M.            $         279.18 1882581
                    INVOICE#: 1756671905110205
                    DATE: 5/11/2017 Anup Shah -
                    Hotel - Lodging, 04/07/17, Travel to
                    ATL and NY for meetings and
138                 depositions
      5/11/17       Hotel VENDOR: Shah, Anup M.            $         261.01 1882581
                    INVOICE#: 1756671905110205
                    DATE: 5/11/2017 Anup Shah -
                    Hotel - Lodging, 04/08/17, Travel to
                    ATL and NY for meetings and
139                 depositions




                                                                          Defendant's Exhibit B-6                                             66
                                       Case 3:17-cv-01118-BEN-BLM Document 377-2 Filed 11/16/20 PageID.17910 Page 198 of
                                                                             203

                A                     B                           C             D                      E                          F
           Date                 Description                     Amount       Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      5/11/17       Personal Car Mileage VENDOR:            $         64.20 1882581
                    Barnes, Justin INVOICE#:
                    1763089105110205 DATE: 5/11/2017
                    Justin
                    Barnes - Mileage, 04/25/17, Miles for
                    Round Trip - Marshall Myrma Depo
140
      5/11/17       Taxi/Train/Parking VENDOR: Shah,        $         19.02 1882581
                    Anup M. INVOICE#:
                    1756671905110205 DATE: 5/11/2017
                    Anup Shah -
                    Taxi/Car Service, 04/04/17, Travel to
                    ATL and NY for meetings and
141                 depositions
      5/11/17       Taxi/Train/Parking VENDOR: Shah,        $         14.18 1882581
                    Anup M. INVOICE#:
                    1756671905110205 DATE: 5/11/2017
                    Anup Shah -
                    Taxi/Car Service, 04/07/17, Travel to
                    ATL and NY for meetings and
142                 depositions
      5/11/17       Taxi/Train/Parking VENDOR: Shah,        $         16.27 1882581
                    Anup M. INVOICE#:
                    1756671905110205 DATE: 5/11/2017
                    Anup Shah -
                    Taxi/Car Service, 04/07/17, Travel to
                    ATL and NY for meetings and
143                 depositions



                                                                          Defendant's Exhibit B-6                                             67
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                                                                             203

                A                     B                           C              D                      E                          F
           Date                 Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      5/11/17       Taxi/Train/Parking VENDOR: Barnes,      $          12.22 1882581
                    Justin INVOICE#: 1763089105110205
                    DATE: 5/11/2017 Justin Barnes -
                    Toll, 04/25/17, Toll Road - Marshall
                    Myrman Depo
144
      5/12/17       Airfare Costs VENDOR: Mao, Mark C. $              148.40 1882581
                    INVOICE#: 1780619905120205
                    DATE: 5/12/2017 Mark Mao -
                    Airfare, 03/30/17, Airfare in connection
                    with Alleshouse deposition Day 1

145
      5/12/17       Airfare Costs VENDOR: Mao, Mark C. $              148.40 1882581
                    INVOICE#: 1780619905120205
                    DATE: 5/12/2017 Mark Mao -
                    Airfare, 03/30/17, Airfare in connection
                    with Alleshouse deposition Day 2

146
      5/12/17       Court Reporter/Deposition Costs         $     2,155.00 1882581
                    VENDOR: Veritext INVOICE#:
                    SD2968735 DATE: 5/12/2017 Original
                    With
                    One Certified Transcript Job #2601778
147




                                                                           Defendant's Exhibit B-6                                             68
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                                                                             203

                A                     B                           C              D                      E                          F
           Date                 Description                     Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      5/12/17       Taxi/Train/Parking VENDOR: Mao,         $          36.00 1882581
                    Mark C. INVOICE#:
                    1780619905120205 DATE: 5/12/2017
                    Mark Mao -
                    Parking, 04/18/17, Airport parking in
                    connection with Alleshouse deposition
148                 Day 1
      5/12/17       Taxi/Train/Parking VENDOR: Mao,         $          36.00 1882581
                    Mark C. INVOICE#:
                    1780619905120205 DATE: 5/12/2017
                    Mark Mao -
                    Parking, 04/19/17, Airport parking in
                    connection with Alleshouse deposition
149                 Day 2
      5/16/17       Court Reporter/Deposition Costs      $            339.65 1882581
                    VENDOR: Veritext INVOICE#:
                    CA2971843 DATE: 5/16/2017 Original
                    With
150                 1 Certified Transcript Job #2557600
      5/18/17       Court Reporter/Deposition Costs      $            979.85 1882581
                    VENDOR: Veritext INVOICE#:
                    CA2975630 DATE: 5/18/2017 Original
                    With
                    1 Certified Transcript Job # 2557599
151




                                                                           Defendant's Exhibit B-6                                             69
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                                                                            203

                A                    B                           C              D                      E                          F
           Date                 Description                    Amount        Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      5/18/17       Court Reporter/Deposition Costs      $       1,239.85 1882581
                    VENDOR: Veritext INVOICE#:
                    CA2975631 DATE: 5/18/2017 Original
                    With
                    1 Certified Transcript Job # 2557597
152
      5/18/17       Outside Courier Services VENDOR:      $           55.75 1882581
                    Knox Attorney Service, Inc.
                    INVOICE#: 4209670 DATE: 5/18/2017
                    Delivery for Hon. Judge Benitez, USDC
                    Chambers Copy
                    Of Motion for Summary Judgment (One
                    Four Inch Binder)
153
      5/23/17       Import Other Party Productions Into    $          75.00 1882710
154                 Review Database (1-50 GB)
      5/23/17       Import Scanned Documents Into Review   $          75.00 1882710
155                 Database (1-50 GB)
      5/23/17       Monthly Data Hosting and               $     3,604.44 1882710
156                 Maintenance
      5/24/17       Import Scanned Documents Into Review   $          75.00 1882710
157                 Database (1-50 GB)
      5/25/17       Monthly Relativity Database Users      $         225.00 1882710
                    anup.shah@troutmansanders.com;
                    christopher.franich@troutmansand
                    ers.com;
158                 richard@pacificsurfdesigns.com




                                                                          Defendant's Exhibit B-6                                             70
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                                                                             203

                A                     B                        C                D                              E                  F
           Date                 Description                  Amount          Invoice   Reason Cost Not Recoverable   Amount Not Recoverable
 1
      5/26/17       Airfare Costs VENDOR: Capital One   $            7.00 1882581
                    NA INVOICE#: 5152017 DATE:
                    5/15/2017 Travel Date:N/A
                    Routing:N/A Passenger
159                 Name:MAO/HSIAO C
      5/26/17       Airfare Costs VENDOR: Capital One   $          267.95 1882581
                    NA INVOICE#: 5152017 DATE:
                    5/15/2017 Travel Date:05/25/2017
                    Routing:SJC SAN SJC Passenger
                    Name:MAO/HSIAO C
160
      6/2/17        Import Other Party Productions Into  $          75.00 1893196
161                 Review Database (1-50 GB)
      6/26/17       Monthly Data Hosting and Maintenance $     3,620.16 1893196
162
      6/27/17       Monthly Relativity Database Users   $          225.00 1893196
                    anup.shah@troutmansanders.com;
                    christopher.franich@troutmansand
                    ers.com;
163                 richard@pacificsurfdesigns.com
      6/30/19       Troutman Sanders eMerge -           $      4,444.41 2139158
164                 eDiscovery/Legal Technology Fees
165 10/1-10/31/16   Computer Research                   $        191.28 1821241
166 12/1-12/31/16   Computer Research                   $        166.90 1838505
167 9/1-9/30/16     Computer Research                   $      1,909.78 1813906
168
169                 TOTAL                               $     99,750.33
170                                                                                    Total Sought                  $                        99,750.33
171                                                                                    Total Not Recoverable         $                          600.00



                                                                          Defendant's Exhibit B-6                                                   71
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                                                        203

       A         B                      C           D                          E                           F
      Date   Description             Amount      Invoice   Reason Cost Not Recoverable        Amount Not Recoverable
 1
172                                                        Total Recoverable                  $                        99,150.33




                                              Defendant's Exhibit B-6                                                        72
